                                      EXHIBIT A


                         UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW MEXICO

       In re:
       ROMAN CATHOLIC CHURCH OF                           Case No. 18-13027-t11
       THE ARCHDIOCESE OF SANTA FE,
       a New Mexico corporation sole



           DEBTOR’S FIRST AMENDED PLAN OF REORGANIZATION DATED
                            NOVEMBER 3, 2022



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                                              SECTION 1: INTRODUCTION

         1.1     The Roman Catholic Church of the Archdiocese of Santa Fe, New Mexico, a New
 Mexico corporation sole, the debtor and debtor-in-possession, in the above-captioned Chapter 11
 reorganization case proposes the following Plan of Reorganization pursuant to §1121 of chapter
 11 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. 1

      1.2   ALL CLAIMANTS ARE STRONGLY ENCOURAGED TO CONSULT THE
 DISCLOSURE STATEMENT BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.
 AMONG OTHER IMPORTANT INFORMATION, THE DISCLOSURE STATEMENT
 CONTAINS DISCUSSIONS OF THE DEBTOR, THE HISTORICAL BACKGROUND OF THE
 BANKRUPTCY CASE AND THE PREPETITION PERIOD, THE PROJECTIONS GERMANE
 TO THE PLAN AND THE PROJECTED POST-CONFIRMATION OPERATIONS OF THE
 REORGANIZED DEBTOR, AND A SUMMARY AND ANALYSIS OF THE PLAN. NO
 SOLICITATION MATERIALS, OTHER THAN THE DISCLOSURE STATEMENT AND
 RELATED MATERIALS TRANSMITTED THEREWITH, HAVE BEEN AUTHORIZED BY
 THE BANKRUPTCY COURT OR BY THE BANKRUPTCY CODE FOR USE IN SOLICITING
 ACCEPTANCES OR REJECTIONS OF THE PLAN.

                                SECTION 2: RULES OF INTERPRETATION

         2.1     The rules of construction in § 102 apply to this Plan to the extent consistent with
 any other provision in this Section. In addition, the use of the words “includes” or “including” is
 not limiting, and means “including but not limited to” and “including without limitation;” “and/or”
 means either or both, and the words “related to,” “relates to,” or “relating to” mean with regard to,
 by reason of, based on, arising out of, or in any way connected with.

         2.2    In computing any period of time prescribed or allowed by this Plan, unless
 otherwise expressly provided, the provisions of Bankruptcy Rule 9006(a) 2 shall apply. If any act
 under this Plan is required to be performed on a date that is not a Business Day, then the
 performance of such act may be completed on the next succeeding Business Day but shall be
 deemed to have been completed as of the required date. Enlargement of any period of time
 prescribed or allowed by this Plan shall be governed by the provisions of Rule 9006(b).

        2.3     The definition of any capitalized term or provision in a Plan Document shall be
 incorporated by reference in this Plan unless this Plan provides a different definition for such term
 or provision. In the event of any conflict between a definition of a term or provision in a Plan
 Document and this Plan, the definition or provision in this Plan will control unless otherwise
 provided in this Plan or the Confirmation Order.

         2.4     If the definition given to any term or provision in this Plan is inconsistent with the
 definition of such term under the Bankruptcy Code, the Disclosure Statement, the ASF Settlement


 1
  All references to “Code Section” or “§” are to chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101 et
 seq., the Bankruptcy Code, unless otherwise indicated.
 2
     All references to “Rule” are to the Bankruptcy Rules (as defined in Section 3), unless otherwise indicated.


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 Trust Agreement, the Unknown Tort Claims Trust Agreement, the Participating Party Agreements,
 or the Insurer Settlement Agreements, then the definition ascribed to such term in this Plan
 supersedes and controls any different meaning that may be given to that term or provision in the
 Bankruptcy Code or such other document.

         2.5     Whenever it is appropriate from the context, each term, whether stated in the
 singular or the plural, includes both the singular and the plural. Any reference to a document or
 instrument being in a particular form or on particular terms means that the document or instrument
 will be substantially in that form or on those terms. No material change to the form or terms may
 be made after the Confirmation Date without the consent of any party materially affected or upon
 an order of the Bankruptcy Court.

        2.6    Unless otherwise specified, any reference to an existing document means the
 document as it has been, or may be, amended or supplemented until the date of the Confirmation
 Hearing.

         2.7     Unless otherwise indicated, the phrase “under this Plan” and the words “herein”
 and “hereto” and similar words or phrases refer to this Plan in its entirety rather than to only a
 particular portion of this Plan.

        2.8     Unless otherwise specified, all references to the terms “Sections,” “Paragraphs,”
 “Clauses,” or “Exhibits” are references to this Plan’s Sections, Paragraphs, Clauses, or Exhibits.
 Such references shall be applicable regardless of whether or not such terms are capitalized.

         2.9     Section captions and headings are used only as convenient references and do not
 affect this Plan’s meaning.

          2.10 Nothing contained in this Plan constitutes an admission or denial by any Entity of
 liability for, or the validity, priority, amount, or extent of any Claim, lien, or security interest
 asserted against the Debtor or against any third party.

                                   SECTION 3: DEFINITIONS

         3.1     Scope of Definitions. For purposes of this Plan, and except as expressly provided
 otherwise herein or unless the context otherwise requires, all of the defined terms stated in Section
 3 will have the meanings hereinafter stated. The defined terms stated in Section 3 also are
 substantive terms of this Plan, and Section 3 will be deemed incorporated throughout the rest of
 this Plan to convey the substantive provisions included in the defined terms.

         3.2    “Abuse” means any actual or alleged sexual conduct or misconduct, sexual abuse
 or molestation, indecent assault and/or battery, rape, pedophilia, ephebophilia, or sexually-related
 physical, psychological, or emotional harm, or contacts, or interactions of a sexual nature between
 a child and an adult, or a nonconsenting adult and another adult, sexual assault, sexual battery,
 sexual, psychological or emotional abuse, humiliation, or intimidation, or any other sexual
 misconduct.




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         3.3      “Abuse Claim” means any Claim (as defined in § 101(5)) against the Archdiocese
 resulting or arising in whole or in part, directly or indirectly from any Abuse, and seeking monetary
 damages or any other relief, under any theory of liability, including vicarious liability, any
 negligence-based theory, contribution, indemnity, or any other theory based on any acts or failures
 to act by the Archdiocese or any other Person or Entity for whose acts or failures to act the
 Archdiocese is or was allegedly responsible.

      3.4   “Abuse Documents” are those documents described in the Abuse Documents
 Memorandum of Agreement.

        3.5    “Abuse Documents Archive” means a repository created, organized, maintained
 and administered by the Regents of the University of New Mexico for its College of University
 Libraries and Learning Sciences’ Center for Southwest Research and Special Collections
 (“CSWR”) to allow public access to Abuse Documents that have been reviewed, redacted and
 produced to CSWR in accordance with the terms of the Abuse Documents Memorandum of
 Agreement.

        3.6    "Abuse Documents Memorandum of Agreement" means that certain
 “Memorandum of Agreement” between the Archdiocese, the Committee, and the Regents of the
 University of New Mexico for its College of University Libraries and Learning Sciences Center
 for Southwest Research and Special Collections Memorandum of Agreement among the Debtor,
 the Committee, and the CSWR dated April 20, 2020, a copy of which is attached hereto as Exhibit
 A.

          3.7     “Abuse Related Contingent Claim” means any Entity’s Claim against the
 Archdiocese for contribution, indemnity, or reimbursement arising as a result of such Entity’s
 liability to pay or defend any Tort Claim.

         3.8     “Administrative Claim” means a Claim for payment of an administrative expense
 of a kind specified in § 503(b) and referred to in § 507(a)(2) including the actual, necessary costs
 and expenses of preserving the Debtor’s estate and operating the Debtor’s businesses,
 compensation for professional services and reimbursement of expenses awarded under §§ 330(a)
 or 331, and all fees and charges assessed against the Debtor’s estate under chapter 123 of Title 28,
 United States Code.

        3.9    “Adversary Proceedings” means the following adversary proceedings pending in
 the Bankruptcy Court: Adv. No. 20-01058, Adv. No. 20-01059, Adv. No. 20-01061, and Adv. No.
 22-01005.

         3.10 “Affiliate” shall have the meaning ascribed to it under 11 U.S.C. § 101(2) and shall
 also include an Entity that directly or indirectly, through one or more intermediaries, controls, is
 controlled by, or is under common control with the other Entity. “Affiliate” includes Subsidiary
 and Parent. Religious Orders and the Holy See are not Affiliates of any of the Archdiocese Parties.

       3.11      “Allowance Date” means, with respect to a Claim, the date such Claim becomes
 Allowed.



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         3.12 “Allowed Claim” means, (i) any Claim against the Debtor which has been listed
 by the Debtor in the Schedules, as such Schedules may be amended by the Debtor from time to
 time in accordance with Bankruptcy Rule 1009, as liquidated in amount and not disputed or
 contingent and for which no contrary Proof of Claim has been filed, (ii) any timely filed Claim as
 to which no objection to allowance has been interposed in accordance with Sections 5 or 10 hereof
 or such other applicable period of limitation fixed by the Bankruptcy Code, the Bankruptcy Rules,
 or the Bankruptcy Court, or as to which any objection has been determined by a Final Order to the
 extent such objection is determined in favor of the respective holder, (iii) any Claim tardily filed
 with leave of the Bankruptcy Court; or (iv) any Claim expressly allowed by a Final Order or
 hereunder. Tort Claims are not deemed Allowed Claims except as deemed Allowed by this Plan
 for voting purposes, or as may be specifically provided in the Tort Claims Allocation Protocol or
 Final Order.

       3.13 “Archdiocese” means the Roman Catholic Church of the Archdiocese of Santa Fe,
 New Mexico, a New Mexico corporation sole, the debtor and debtor-in-possession in the
 Bankruptcy Case, its Estate, its predecessors, successors, and assigns. “Archdiocese” also means
 “Debtor.”

         3.14 “Archdiocese Parties” means collectively: (i) the Reorganized Debtor; (ii) the
 Archdiocese; (iii) the ASF Participating Parties; (iv) any and all named insureds, additional
 insureds, insureds, and any Person or Entity to the extent such Person or Entity is covered under
 the Certificates or the Insurance Policies with respect to which the Archdiocese has authority, or
 has been granted authority, to release the Claims released pursuant to the Insurer Settlement
 Agreements and this Plan; (v) any and all past and present shareholders, principals, teachers, staff,
 members, boards, administrators, priests, deacons, brothers, sisters, nuns, other clergy or religious,
 volunteers, and Representatives of the Archdiocese and of the ASF Participating Parties, and (vi)
 each of the past, present, and future Affiliates, holding companies, merged companies, related
 companies, divisions, and acquired companies of the Archdiocese and ASF Participating Parties,
 and each of their respective past, present and future Affiliates, holding companies, merged
 companies, related companies, divisions and acquired companies, and each of their respective
 predecessors, successors, and assigns, each in their capacity as such. An Archdiocese Party does
 not include, (a) any Perpetrator, (b) any archdiocese or diocese other than the Archdiocese itself,
 (c) any Religious Order, (d) the Holy See, and (e) any Person or Entity, other than the Reorganized
 Debtor, the Archdiocese, and the ASF Participating Parties, that alleges to be covered under the
 Insurance Policies, or the Certificates to the extent such coverage allegations are finally determined
 to be meritless.

          3.15 “Arrowood” means Arrowood Indemnity Company, formerly known as Royal
 Indemnity Company, successor by merger to Royal Insurance Company of America, and, solely
 in their capacity as such, (i) each of its past, present, and future parents, subsidiaries, affiliates, and
 divisions; (ii) each of the foregoing Persons’ or Entities’ respective past, present, and future
 parents, subsidiaries, affiliates, holding companies, merged companies, related companies,
 divisions and acquired companies, each of the foregoing Persons’ or Entities’ respective past,
 present, and future directors, officers, shareholders, employees, subrogees, partners, principals,
 managers, agents, attorneys, joint ventures, joint venturers, representatives, and claims handling
 administrators; and (iii) each of the foregoing Persons’ or Entities’ respective predecessors,
 successors, assignors, and assigns, whether known or unknown, and all Persons or Entities acting

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 on behalf of, by, through or in concert with them. For the avoidance of doubt, the inclusion of the
 phrase “future parents” in this definition is limited to such Entity in its capacity as a “future parent,”
 and nothing contained herein shall limit or alter the obligations of any such Entity to the extent
 that such obligations exist independent of such Entity’s role as a “future parent.”

        3.16 “Arrowood Settlement Agreement” means the Settlement Agreement, Release,
 and Policy Buyback by and between the Debtor, Arrowood, and the Archdiocese Parties dated
 October ___, 2022.

          3.17 “ASF Participating Parties” means: (i) those Entities listed on Exhibit B to this
 Plan, that are providing or will provide consideration or a portion of the funding for this Plan in
 exchange for: (a) the release of any Claim by the Debtor against such ASF Participating Party, (b)
 the benefit of the Channeling Injunction, (c) Debtor’s execution of the applicable Participating
 Party Agreement, and (d) any other benefits in favor of ASF Participating Parties under this Plan,
 and (ii) the Representatives of such Entities.

        3.18 “ASF Settlement Trust” means the trust to be established pursuant to this Plan
 and the ASF Settlement Trust Agreement for the benefit of holders of Class 3 Tort Claims.

        3.19 “ASF Settlement Trust Agreement” means the trust agreement attached as
 Exhibit C to this Plan.

        3.20 “ASF Settlement Trust Assets” means all real and personal property funded to
 the ASF Settlement Trust.

        3.21 “ASF Settlement Trust Documents” means the ASF Settlement Trust Agreement,
 Tort Claims Allocation Protocol, instruments, and other documents that are reasonably necessary
 or desirable in order to implement the provisions of this Plan that relate to the creation,
 administration and funding of the ASF Settlement Trust.

        3.22 “ASF Settlement Trustee” means Omni Management Group, LLC, or any
 successor duly appointed pursuant to the terms of this Plan and the ASF Settlement Trust
 Agreement.

         3.23 “Avoidance Rights” means those rights that may be asserted by the Debtor, as
 debtor-in-possession, or the Committee on behalf of the Estate to avoid and recover transfers, liens,
 or obligations, described in §§ 544, 545, 546, 547, 548, 549, 550, 551, 552 and 553, and any other
 actions provided for under applicable law that allows a debtor-in-possession or trustee to avoid
 certain transfers, but excluding those rights, if any, against the ASF Participating Parties and the
 Settling Insurers that are compromised and released pursuant to this Plan or the Insurer Settlement
 Agreements.

        3.24 “Award” means the amount payable to a Claimant as determined in accordance
 with the terms of the Tort Claims Allocation Protocol or the Unknown Tort Claims Allocation
 Protocol.

        3.25 “Ballot” means the ballot that is used by a Claimant to accept or reject this Plan,
 and pursuant to which each Claimant may make certain elections regarding the treatment of such

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 Claimant's Claims as provided in this Plan, including releases of the Protected Parties as set forth
 in the Insurer Settlement Agreements and this Plan.

          3.26 “Bankruptcy Code” means Title 11 of the United States Code, 11 U.S.C. §§ 101,
 et seq., and any amendments thereto.

        3.27 “Bankruptcy Case” or “Chapter 11 Case” means the case under Chapter 11 of
 the Bankruptcy Code commenced by the Roman Catholic Church of the Archdiocese of Santa Fe,
 a New Mexico corporation sole, on December 3, 2018, Case No. 18-13027.

        3.28 “Bankruptcy Claims Orders” means the Orders on Ownership of Certain Claims,
 entered in the Bankruptcy Case as Doc. Nos. 745, 768, 781, 783, and 889.

        3.29 “Bankruptcy Court” means the United States Bankruptcy Court for the District
 of New Mexico, or such other court having jurisdiction over this Bankruptcy Case or any
 proceeding within.

         3.30 “Bankruptcy Notice” means notice given pursuant to this Plan, the Insurer
 Settlement Agreements, or Confirmation Order, or as required under Bankruptcy Rule 2002,
 6004(a) and (c) and applicable local rules, sent to: (a) all known holders of Claims against any
 Archdiocese Party, including Tort Claims, and their attorneys, if any; (b) the Unknown Claims
 Representative; (c) counsel for the Committee; (d) counsel for the Settling Insurers; (e) the
 Archdiocese Parties; (f) the United States Trustee; (g) the ASF Settlement Trustee and its counsel;
 (h) the Unknown Tort Claims Trustee and its counsel; and (i) all other Entities as required by the
 Bankruptcy Code or as directed by the Court. Notice may also be given by local publication within
 New Mexico and the surrounding areas.

        3.31 “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure
 promulgated under 28 U.S.C. § 2075, as amended, and the local rules and general orders of the
 Bankruptcy Court, as applicable to Chapter 11 Cases, together with all amendments and
 modifications thereto.

          3.32 “Business Day” means any day other than Saturday, Sunday, or a “legal holiday,”
 as that term is defined in Bankruptcy Rule 9006(a).

         3.33 “Canon Law” means the Code of Canon Law of the Roman Catholic Church,
 codified in 1983 and as may hereafter be amended, and all binding universal and particular laws
 of the Roman Catholic Church.

        3.34 “Cash” means cash, cash equivalents, bank deposits, and negotiable instruments
 payable on demand.

         3.35 “Catholic Mutual” means the Catholic Mutual Relief Society of America, and
 solely in the capacity as such, (i) each of its past and present parents, subsidiaries, affiliates,
 reinsurers, retrocessionaires, and divisions; (ii) each of the foregoing Entities’ respective past and
 present, parents, subsidiaries, affiliates, holding companies, merged companies, related
 companies, divisions and acquired companies, each of their respective past, present and future,
 directors, officers, shareholders, employees, subrogees, partners, principals, agents, attorneys,

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 joint ventures, joint venturers, representatives, and claims handling administrators; (iii) each of
 the foregoing Entities’ respective past, present and future, directors, officers, shareholders,
 employees, subrogees, partners, principals, agents, attorneys, joint ventures, joint venturers,
 representatives, and claims handling administrators; and (iv) each of the foregoing Entities’
 respective predecessors, successors, assignors, and assigns, whether known or unknown, and all
 Entities acting on behalf of, by, through or in concert with them.

       3.36 “Catholic Mutual Settlement Agreement” means the settlement agreement
 between Catholic Mutual and the Debtor.

         3.37 “Causes of Action” means any and all claims, demands, rights, actions, causes of
 action and suits of the Debtor’s Estate, of any kind or character whatsoever, known or unknown,
 suspected or unsuspected, matured or unmatured, whether arising prior to, on or after the Petition
 Date, in contract or in tort, at law or in equity or under any other theory of law, of the Debtor’s
 Estate, including but not limited to (1) rights of setoff, counterclaim or recoupment, and claims on
 contracts or for breaches of duties imposed by law; (2) the right to object to claims or interests; (3)
 claims pursuant to § 362; (4) such claims and defenses as fraud, negligence, breach of fiduciary
 duty, corporate waste, unlawful dividends, mistake, duress and usury; (5) all Avoidance Rights;
 (6) claims for tax refunds; and (7) any other claims which may be asserted against third parties or
 insiders.

         3.38 “Certificates” means contracts, binders, certificates, or policies of insurance issued
 or allegedly issued by Catholic Mutual to, or for the benefit of, or that otherwise actually, allegedly,
 or potentially insure one or more of the Archdiocese Parties, and after the Effective Date shall
 mean such documents with their terms, conditions and limits as amended in accordance with the
 Catholic Mutual Settlement Agreement. The term “Certificates” does not include any binder or
 certificate that was issued to any Entity other than the Archdiocese, as the certificate holder and
 that also provides coverage to the Archdiocese and the Archdiocese Parties or other “Protected
 Persons” as defined and identified therein as covered parties.

          3.39 “Channeled Claim” means each and every Tort Claim, including Unknown Tort
 Claims, and each and every present or future Claim against any of the Protected Parties, or against
 any Person or Entity covered by the Settling Insurers, to the extent such Claim, directly or
 indirectly, arises out of, relates to, or is in connection with the same injury, damages, facts or
 circumstances giving rise to a Tort Claim (including an Unknown Tort Claim), including each and
 every Tort Claim, Unknown Tort Claim, Late-Filed Tort Claim, Related Insurance Claim, Extra-
 Contractual Claim, Medicare Claim, Claim based on respondeat superior or any employment
 based theory, and all other Claims that relate to the Insurance Policies and Certificates. “Channeled
 Claim” does not include: (a) any Claim against any Perpetrator, (b) any Claim against a diocese or
 archdiocese other than the Archdiocese itself, (c) Claims against a Religious Order, including any
 liability of a Religious Order as a successor to any religious community of the Archdiocese in each
 case, unless it is a Participating Religious Order; (d) any Claim against the Holy See; (e) a Tort
 Claim that arises from, relates to, or arises in connection with Abuse the earliest incident of which
 occurred after the Petition Date, or (f) any Covered Non-Tort Claim.

         3.40   “Channeling Injunction” means the injunction provided under Section 19.5 of
 this Plan.

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        3.41 “Chapter 7 Estates” are those chapter 7 bankruptcy estates of Class 3 Tort
 Claimants who are debtors in reopened chapter 7 bankruptcy cases, pursuant to the Bankruptcy
 Claims Orders.

       3.42 “Chapter 11 Professionals” means, collectively, the Debtor’s Professionals and
 the Committee’s Professionals.

          3.43 “Claim” means any claim within the definition of § 101(5), including without
 limitation any past, present or future claim, demand, action, request, cause of action, suit,
 proceeding, or liability of any kind or nature whatsoever, whether at law or equity, known or
 unknown, actual or alleged, asserted or unasserted, anticipated or unanticipated, accrued or
 unaccrued, fixed or contingent, which has been or may be asserted by or on behalf of any Person
 or Entity, whether seeking damages (including compensatory, punitive, or exemplary damages) or
 equitable, mandatory, injunctive, or any other type of relief, including but not limited to cross-
 claims, counterclaims, third-party claims, suits, lawsuits, administrative proceedings, notices of
 liability or potential liability, arbitrations, actions, rights causes of action or orders. “Claim”
 includes any claim or cause of action or damages relating to a “Wrongful Act” as defined under
 the Insurance Policies or Certificates, “Contribution Claim,” any “Related Insurance Claim,” any
 “Channeled Claim,” any “Extra-Contractual Claim,” “Interest,” any “Tort Claim,” “Abuse Related
 Contingent Claim,” any “Unknown Tort Claim,” “Administrative Claim,” “Medicare Claim,” and
 any “Direct Action Claim.”

         3.44    “Claimant” means a holder or owner of a Claim.

        3.45 “Claims Bar Date” means June 17, 2019, which was the last date for filing Proofs
 of Claims against the Estate pursuant to the Bankruptcy Court’s Order entered on March 19, 2019
 [Docket No. 130].

         3.46 “Claims Objection Bar Date” means, unless extended by the Court, the first
 Business Day that follows the 60th day after the Effective Date, by which any objection to a Claim
 (excluding Tort Claims) must be filed with the Bankruptcy Court or such objection will be forever
 barred.

         3.47    “Class 3 Tort Claim” is a Tort Claim other than a Class 4 Unknown Tort Claim.

         3.48    “Class 3 Tort Claimant” is the holder of a Class 3 Tort Claim.

         3.49 “Closing” means the payments and transfers to the ASF Settlement Trust of those
 assets required to be paid and transferred in accordance with Section 14 of this Plan.

          3.50 “CNA” means the Continental Insurance Company, and solely in the capacity as
 such, (i) each of its past and present parents, subsidiaries, affiliates, and divisions; (ii) each of their
 respective past and present parents, subsidiaries, affiliates, holding companies, merged companies,
 related companies, divisions and acquired companies, each of their respective past, present and
 future, directors, officers, shareholders, employees, subrogees, partners, principals, agents,
 attorneys, joint ventures, joint venturers, representatives, and claims handling administrators; and
 (iii) each of their respective predecessors, successors, assignors, and assigns, whether known or
 unknown, and all Entities acting on behalf of, by, through or in concert with them.

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        3.51 “CNA Settlement Agreement” means the settlement agreement between the
 Debtor and CNA.

         3.52 “Co-Defendant” means an Entity that is named or could be named as a defendant
 in a lawsuit in which the Debtor is also named or could be named as a defendant and/or who is
 alleged to be fully, partially or jointly responsible for a Claim asserted or that could be asserted in
 the future against both such Entity and the Debtor, including a co-debtor as described in § 509.
 For purposes of this Plan, none of the Protected Parties is or shall be deemed to be a Co-Defendant.

         3.53 “Committee” means the Official Committee of Unsecured Creditors appointed by
 the United States Trustee in the Bankruptcy Case, as such committee may be reconstituted from
 time to time.

         3.54 “Committee’s Professionals” means Pachulski Stang Ziehl & Jones LLP and all
 other professionals, if any, which the Committee has retained or may retain to provide professional
 services in accordance with § 1103(a) and as approved by the Bankruptcy Court.

        3.55 “Conditional Payment” means any payment made to a Tort Claimant or a holder
 of a Channeled Claim under the MMSEA, including any payment by a Medicare Advantage
 Organization (as defined in the MSPA).

        3.56    “Confirmation Date” means the date of the entry of the Confirmation Order.

        3.57 “Confirmation Hearing” means the hearing held by the Bankruptcy Court
 regarding confirmation of this Plan, as such may be continued from time to time.

        3.58 “Confirmation Order” means a Final Order confirming this Plan after a hearing
 upon Bankruptcy Notice. The Confirmation Order shall be acceptable in form and substance to the
 Debtor, the Committee, and the Settling Insurers. The Confirmation Order shall contain no
 provision that is contrary to or inconsistent with the Insurer Settlement Agreements.

        3.59 “Contingent” means, with respect to a Claim, a Claim that has not accrued or is
 not otherwise payable and the accrual of which or the obligation to make payment on which is
 dependent upon a future event that may or may not occur.

         3.60 “Contribution Claim” means any Claim by an Insurer against any other Insurer
 seeking contribution, equitable contribution, indemnity, equitable indemnity, subrogation,
 equitable subrogation, rights under “other insurance” clauses, or pursuant to any other theory under
 law or in equity relating to the defense or payment of such paying insurer of all or any part of any
 Claim (a) asserted against an Archdiocese Party; (b) relating to the Insurance Policies or
 Certificates; or (c) channeled to or paid, in whole or in part, by the ASF Settlement Trust and/or
 the or the Unknown Tort Claims Trust.

         3.61 “Contribution Date” is the 30th day following the later of: (a) the date on which
 the Confirmation Order becomes a Final Order, or (b) the date on which the order approving the
 Insurer Settlement Agreements becomes a Final Order, whereupon all cash contributions by the
 Insurers are due to be contributed to the ASF Settlement Trust.



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       3.62 “Covered Non-Tort Claim” means any Claim, other than a Tort Claim, Medicare
 Claim or Channeled Claim, which is covered by an Insurance Policy or Certificate issued to the
 Archdiocese.

        3.63    “Debtor” means the Archdiocese.

        3.64 “Debtor Contribution” means the $75,000,000 to be paid by the Debtor to the
 Escrow Account pursuant to this Plan, which is comprised of $69,600,000 (“Debtor’s Initial
 Contribution”) paid in immediately available funds on September 30, 2022, and $5,400,000.00 to
 be paid by the Debtor on or before March 31, 2023, as evidenced by the Promissory Note
 (“Debtor’s Second Contribution”).

         3.65 “Debtor’s Professionals” means all professionals which the Debtor has retained
 or may retain to provide professional services in accordance with §§ 327(a) and 327(e), including
 but not limited to counsel, special counsel, accountants, brokers, appraisers, surveyors, and
 redaction specialists.

         3.66 “Direct Action Claim” means any Claim by any Entity against any of the Settling
 Insurers that is identical or similar to, arises from, relates to, or arises in connection with any
 Channeled Claim, whether arising by contract, in tort, or under the laws of any jurisdiction,
 including any statute that gives a third party a direct cause of action against an insurer for monetary
 or other relief.

         3.67 “Disallowed Claim” means: (i) a Claim, or any portion thereof, that has been
 disallowed by a Final Order; (ii) a Claim that has been listed in the Schedules at zero or as
 contingent, disputed, or unliquidated and as to which no Proof of Claim has been timely filed or
 deemed timely filed with the Bankruptcy Court pursuant to the Bankruptcy Code, Final Order, or
 other applicable law; or (iii) a Claim that has not been listed in the Schedules and as to which no
 Proof of Claim has been timely filed or deemed timely filed with the Bankruptcy Court pursuant
 to the Bankruptcy Code, Final Order, or other applicable law. Disallowed Claims will not receive
 any payment or Distribution under this Plan.

       3.68 “Disclosure Statement” means the Disclosure Statement relating to this Plan, as it
 may be amended from time to time.

        3.69 “Disclosure Statement Order” means the Order entered by the Bankruptcy Court
 approving the Disclosure Statement.

         3.70 “Disputed Claim” means a Claim: (a) that is listed as disputed in the Debtor’s
 Schedules filed with the Bankruptcy Court; or (b) as to which a Proof of Claim is filed or is deemed
 filed under Bankruptcy Rule 3003(b) (1) and as to which a timely objection has been filed and not
 been withdrawn or resolved by consensual agreement or by a Final Order of the Bankruptcy Court.

        3.71 “Distribution” means any transfer of Cash or other property or instruments to a
 Claimant by the Reorganized Debtor, the ASF Settlement Trustee, or the Unknown Tort Claims
 Trustee.




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       3.72     “District Court” means the United States District Court for the District of New
 Mexico.

         3.73 “Effective Date” is the date upon which all of the following have occurred: (i) this
 Plan has been confirmed by a Final Order in form and substance acceptable to all of the Parties
 (the “Confirmation Order”); (ii) each Insurer Settlement Agreement has been approved by a Final
 Order in form and substance acceptable to the parties thereto; (iii) each Participating Party
 Agreement has been approved by a Final Order in form and substance acceptable to the parties
 thereto; (iv) all contributions from the Funding Group have been received by the Escrow Agent,
 the ASF Settlement Trustee, or the Unknown Tort Claims Trustee; (v) the Promissory Note and
 the Mortgage have been executed and delivered; and (vi) all other conditions to the Effective Date
 established in this Plan have been satisfied or waived.

          3.74 “Entity” has the meaning set forth in § 101(15), and also includes an individual,
 any corporation, corporation sole, partnership, association, limited liability company, limited
 liability partnership. joint stock company, proprietorship, unincorporated organization, joint
 venture, trust, estate, executor, legal representative, or any other entity or organization, as well as
 any federal, international, foreign, state, or local governmental or quasi-governmental entity, body,
 or political subdivision or any agency, department, board or instrumentality thereof, any other
 “Person” within the definition of § 101(41), and any successor in interest, heir executor,
 administrator, trustee, trustee in bankruptcy, or receiver of any Entity, including those within the
 definition set forth in § 101(15).

        3.75 “Escrow Account” means the account held by the Escrow Agent into which the
 Debtor Contribution, the Insurer Contributions and the Participating Religious Orders
 Contributions shall be deposited.

         3.76 “Escrow Agent” means the Entity agreed upon by the Settling Insurers, the
 Archdiocese, and the Committee to hold the Debtor Contribution, the Insurer Contributions and
 the Participating Religious Orders Contributions in the Escrow Account pursuant to Section 10
 herein.

        3.77    “Estate” means the bankruptcy estate of the Debtor as created under § 541.

         3.78 “Exculpated Parties” means the Archdiocese Parties, the Settling Insurers, the
 Participating Religious Orders, the Committee and its present and former members, the Chapter
 11 Professionals, and all Representatives of the foregoing, acting in such capacity. “Exculpated
 Parties” shall not include: (a) a Perpetrator, (b) any diocese or archdiocese (other than the
 Archdiocese itself), (c) any Religious Order (unless it is a Participating Religious Order), or (d)
 the Holy See.

         3.79 “Executory Contracts” means those executory contracts and unexpired leases
 listed by the Debtor in Schedule G filed in this Bankruptcy Case.

         3.80 “Extra-Contractual Claim” means any Claim based in whole or in part on any
 allegations that that a Settling Insurer: (a) acted in bad faith or in breach of any express or implied
 duty, obligation, or covenant, contractual, statutory, regulatory or otherwise, including any Claim
 on account of alleged bad faith; (b) failed to act in good faith; (c) committed fraud,

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 misrepresentation or any other act giving rise to tort liability; (d) failed to provide insurance
 coverage under any Certificate or Insurance Policy; (e) failed or refused to compromise and settle
 any allegedly insured Claim; (f) violated or breached any covenant or duty of good faith and fair
 dealing, whether express, implied, or otherwise; (g) violated any statute, regulation, or code
 governing unlawful, unfair, or fraudulent competition, business, or trade practices, consumer
 protection, and/or untrue or misleading advertising, including any violation of any unfair claims
 practices act or similar statute, regulation, or code; (h) failed to investigate or provide a defense or
 an adequate defense; or (i) committed any other type of alleged misconduct or otherwise acted or
 failed to act in any way for which the Tort Claimant or holder of a Channeled Claim seeks relief
 other than coverage or benefits under a Certificate or Insurance Policy. “Extra-Contractual Claim”
 includes but is not limited to: (i) any Claim that relates to a Settling Insurer’s handling of any
 Claim or any request for insurance coverage, including any request for coverage for or defense of
 any claim, including but not limited to any Tort Claim; (ii) any Claim that directly or indirectly
 relates to any of the Insurance Policies, Certificates, and any contractual duties arising therefrom,
 including any contractual duty to defend any Tort Claims or Claims against any of the Protected
 Parties (or against any Person or Entity covered by the Settling Insurers); and (iii) the conduct of
 the Parties with respect to the negotiation of the applicable Insurer Settlement Agreement.

          3.81 “Final Order” means an order, judgment, or other decree (including any
 modification or amendment thereof) that remains in effect and has not been reversed, withdrawn,
 modified, vacated, or stayed, and as to which the time to appeal or seek review, rehearing, or writ
 of certiorari has expired or, if such appeal, review, or petition for a writ has been taken, (i) it has
 been resolved without the reversal or modification of such order and no longer remains pending,
 or (ii) if an appeal or review has been taken timely but such order has not been stayed and the
 Parties have mutually agreed in writing, and in their sole discretion, that the order from which such
 appeal or review is taken should be deemed to be a Final Order.

         3.82 “Funding Group” means the Debtor, the ASF Participating Parties, and the
 Settling Insurers. “Funding Group” does not include the Participating Religious Orders.

         3.83 “General Release” means that certain release of claims against the Protected
 Parties and others, the language of which is set forth in the Class 3 Tort Claims Ballot and is set
 forth on Exhibit N attached hereto.

        3.84 “General Unsecured Claim” means any Claim against the Debtor that is not a
 Tort Claim, Administrative Claim, Channeled Claim, Priority Tax Claim, or a Claim that is
 otherwise classified under this Plan.

        3.85 “General Unsecured Convenience Claim” means any General Unsecured Claim
 in an amount of $500 or less, or voluntarily reduced to $500 by the holder of such Claim.

        3.86 “Great American” means Great American Insurance Company, and, solely in the
 capacity as such: (i) each of its past and present parents, subsidiaries, affiliates, and divisions; (ii)
 each of their respective past and present parents, subsidiaries, affiliates, holding companies,
 merged companies, related companies, divisions and acquired companies, each of their respective
 past, present and future, directors, officers, shareholders, employees, subrogees, partners,
 principals, agents, attorneys, joint ventures, joint venturers, representatives, and claims handling
 administrators; and (iii) each of their respective predecessors, successors, assignors, and assigns,

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 whether known or unknown, and all Entities acting on behalf of, by, through or in concert with
 them.

       3.87 “Great American Settlement Agreement” means the settlement agreement
 between the Debtor and Great American.

         3.88   “Initial Closing Period” shall have the meaning set forth in Section 18.3 of this
 Plan.

         3.89 “Insurance Policies” means all policies issued or allegedly issued by any of the
 Settling Insurers insuring and issued to the Archdiocese Parties and, to the extent applicable, the
 Pre-Petition Insurance Settlement Agreements and, in the case of Arrowood, the Stipulations
 Regarding Royal Policies Issued to the Archdiocese of Santa Fe, as well as all claims pertaining
 to known or unknown policies allegedly issued to the Debtor. Insurance Policies does not include
 policies issued to Entities other than the Archdiocese Parties.

         3.90 “Insured Claims” means Claims that are general, unsecured, pre-petition claims
 classified in Class 5, that are upon Debtor’s information and belief, insured under the Debtor’s or
 Reorganized Debtor’s liability insurance. Insured Claims are not Channeled Claims, Tort Claims,
 or Unknown Tort Claims, Administrative Claims, Abuse Related Contingent Claims, Penalty
 Claims, or Priority Tax Claims.

         3.91 “Insured Entities” means the Archdiocese Parties and any and all other Entities
 which are additional insureds or assert coverage or alleged coverage under any Insurance Policy
 or Certificate, provided “Insured Entities” shall not include any Person or Entity that alleges to be
 covered under any Insurance Policy or Certificate to the extent such coverage allegations are
 finally determined to be meritless.

        3.92 “Insurer Contributions” means the contributions paid by Catholic Mutual, CNA,
 Great American Insurance Company, Arrowood Indemnity Company, Travelers, and U.S. Fire
 pursuant to Section 10.2 herein.

        3.93 “Insurer Settlement Agreements” means the Catholic Mutual Settlement
 Agreement, the CNA Settlement Agreement, the Arrowood Settlement Agreement, the Great
 American Settlement Agreement, the Travelers Settlement Agreement, and the U.S. Fire
 Settlement Agreement.

        3.94     “Interest” means all Claims, liens, encumbrances, interests, and other rights of
 any nature, whether at law or in equity, including any rights of contribution, indemnity, defense,
 subrogation, or similar relief.

         3.95   “Late-filed Claim” means a Claim filed after the Claims Bar Date.

         3.96   “Late-filed Tort Claim” means a Tort Claim filed after the Claims Bar Date

         3.97 “Medicare Claims” means any and all Claims relating to Tort Claims or Claims
 against any of the Protected Parties, or against any Person or Entity covered by the Insurance
 Policies or Certificates, to the extent such Claims, directly or indirectly, arise out of, relate to, or

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 are in connection with the same injury, damages, facts or circumstances giving rise to a Tort Claim,
 including an Unknown Tort Claim, by the Centers for Medicare & Medicaid Services of the United
 States Department of Health and Human Services and/or any other agent or successor Entity
 charged with responsibility for monitoring, assessing, or receiving reports made under MMSEA
 and pursuing Claims under MSPA, including Claims for contribution to, or reimbursement of
 Conditional Payments or other payments made to Tort Claimants or holders of Channeled Claims
 who recover or receive any Distribution from the ASF Settlement Trust or the Unknown Tort
 Claims Trust and Claims relating to reporting obligations.

         3.98 “MMSEA” means §111 of the Medicare, Medicaid, SCHIP Extension Act of 2007
 (P.L. 110-173).

         3.99 “MSPA” means 42 U.S.C. §1395y et seq., or any other similar statute or regulation,
 and any related rules, regulations, or guidance issued in connection therewith or amendments
 thereto, including the regulations promulgated thereunder, found at 42 C.F.R. §411.1 et seq.

         3.100 “Mortgage” means the mortgage delivered with and securing the Promissory Note
 encumbering assets of the Debtor and the Archdiocese of Santa Fe Real Estate Trust, reasonably
 sufficient to secure the Promissory Note as reasonably acceptable to the Committee.

        3.101 “Non-Monetary Covenants” are the Debtor’s non-monetary commitment to
 healing and reconciliation as set forth in Section 10.12 and in the Stipulated Non-Monetary
 Covenants attached hereto as Exhibit L.

         3.102 “Parent” means any Entity that owns the majority of the shares, membership
 interests, or other equity interests in another Entity.

         3.103 “Parishes” means any one of the parishes, churches, and missions within the
 territory of the Archdiocese as set forth on Exhibit D hereto and their Representatives.

        3.104 “Participating Party Agreements” means those certain settlement agreements
 among the Debtor and the other ASF Participating Parties in the form attached hereto as Exhibit E
 and incorporated herein as part of this Plan. Conflicts between the Plan and the Participating Party
 Agreements will be controlled by the Plan.

         3.105 “Participating Religious Orders” means each of the Religious Orders listed on
 Exhibit F to this Plan, that are providing or will provide a portion of the funding for this Plan in
 exchange for: (a) the release of any Claim by the Debtor against such Participating Religious
 Order, (b) the benefit of the Channeling Injunction, (c) Debtor’s execution of the applicable
 Participating Religious Order Agreement, and (d) any other benefits in favor of Participating
 Religious Orders under this Plan. Notwithstanding the foregoing, a Religious Order does not
 become a Participating Religious Order unless its agreed cash contributions to the ASF Settlement
 Trust and the Unknown Tort Claims Trust are paid to and received by the Escrow Agent or, if after
 the Effective Date, received by each of the ASF Settlement Trust and Unknown Tort Claims Trust,
 on or before the Participating Religious Orders Contribution Date.

       3.106 “Participating Religious Orders Contributions” means the cash contributions to
 be made by the Participating Religious Orders and their liability carriers pursuant to the

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 Participating Religious Order Settlement Agreements which shall be made to the Escrow Agent or
 to ASF Settlement Trust and the Unknown Tort Claims Trust as set forth in 10.2.

         3.107 “Participating Religious Orders Contribution Date” is the 30th day following
 the later of: (a) the date on which the Confirmation Order becomes a Final Order, or (b) the date
 on which the order approving the respective Participating Religious Order Agreement becomes a
 Final Order, whereupon all cash contributions agreed to be paid by a Religious Order to the ASF
 Settlement Trust and the Unknown Tort Claims Trust are due and payable to the respective trusts.

        3.108 “Participating Religious Order Settlement Agreements” means the settlement
 agreements among the Committee, various Tort Claimants, as identified in the several agreements,
 the Debtor or Reorganized Debtor, the Participating Religious Orders and the liability carriers to
 such Participating Religious Orders that provide for the funding of Participating Religious Orders
 Contributions.

        3.109 “Parties” means the Archdiocese, the ASF Participating Parties, the Committee,
 and the Settling Insurers.

        3.110 “Penalty Claim” means a Claim for a fine, penalty, forfeiture, multiple damages,
 punitive damages, or exemplary damages, including any Claim not meant to compensate the
 Claimant for actual pecuniary loss.

         3.111 “Perpetrator” means any individual who committed an act of Abuse that forms
 the basis of a Tort Claim with respect to such Claim solely in his or her capacity as an individual
 abuser.

         3.112 “Petition Date” means December 3, 2018, the date the Debtor filed its voluntary
 petition commencing this Bankruptcy Case.

         3.113 “Plan” means this Debtor’s Plan of Reorganization (and all exhibits annexed
 hereto), Plan Documents and any and all modifications and/or amendments thereto.

        3.114 “Plan Documents” means all agreements, documents and exhibits, as the same
 may be amended, modified, supplemented, or restated from time to time, that are necessary or
 appropriate to implement this Plan, the Insurer Settlement Agreements, the ASF Settlement Trust,
 including the ASF Settlement Trust Documents, or the Unknown Tort Claims Trust, provided that
 the Committee and the Settling Insurers shall have approved each of said agreements, documents
 and exhibits as to form and content, such approval not to be unreasonably withheld.

          3.115 “Post-Confirmation Notice Parties” means the Reorganized Debtor, the ASF
 Settlement Trust, the Unknown Tort Claims Trust, the Office of the U.S. Trustee, and any Entity
 that files a request to be a Post-Confirmation Notice Party.

           3.116 “Post-Petition Proof of Claim” has the meaning ascribed to it in Section 5.1.1
 herein.

        3.117 “Post-Petition Claims Bar Date” means the date that is 45 days after the notice
 of Effective Date is filed with the Bankruptcy Court.


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        3.118 “Preserved Coverage” means all the insurance coverage of the Archdiocese and
 the Archdiocese Parties referred to Catholic Mutual Certificates subject to the limits, declarations,
 terms and conditions of Catholic Mutual Certificates, as amended in the Catholic Mutual
 Settlement Agreement, other than coverage for losses from Channeled Claims, which is settled,
 extinguished and excluded by the Catholic Mutual Settlement Agreement.

        3.119 “Pre-Petition Insurance Settlement Agreements” means: (a) the Settlement
 Agreement Effective May 29, 1996 between St. Paul Fire & Marine Insurance Company, its
 predecessors, successors and assigns, including St. Paul Mercury Insurance Company and St. Paul
 Mercury Indemnity Company (now, Travelers) and the Roman Catholic Church of the Archdiocese
 of Santa Fe, a New Mexico corporation sole; and (b) the Settlement Agreement Effective May 25,
 1995, between Great American Insurance Company, St. Paul Fire & Marine Insurance Company,
 Royal Insurance Company of America (now, Arrowood) and United States Fire Insurance
 Company and the Roman Catholic Church of the Archdiocese of Santa Fe, a New Mexico
 corporation sole.

        3.120 “Priority Claim” means any Claim which, if Allowed, would be entitled to priority
 under § 507.

        3.121 “Priority Claimant” means the holder of a Priority Claim.

         3.122 “Priority Tax Claim” means a Claim or a portion of a Claim, that is entitled to
 priority under § 507(a)(8) of the Bankruptcy Code.

        3.123 “Professional” means any Entity employed by the Debtor or the Committee
 pursuant to §§ 327 or 1103.

        3.124 “Professional Fee Claim” means a Claim under §§ 326, 327, 328, 330, 331,
 503(b), 1103, or 1104 for compensation for services rendered or expenses incurred by any of
 Professional prior to the Effective Date.

         3.125 “Promissory Note” means that promissory note from the Archdiocese to and in
 favor of the ASF Settlement Trust in the principal amount of $5,400,000.00 with a contract interest
 rate of 2.00% per annum from the Effective Date and a default interest rate of 10.00% per annum
 executed and delivered to the Escrow Agent on September 30, 2022, which may be prepaid in full
 or in part without penalty.

        3.126 “Proof of Claim” means a proof of claim filed in the Bankruptcy Case in the nature
 of proofs of claims described in the Bankruptcy Code, including §§ 501 and 502 and in the
 Bankruptcy Rules, including 3001 and 3002.

         3.127 “Pro Rata” when applied to a Claim means the ratio of the amount distributed on
 account of an Allowed Claim in a Class to the amount distributed on account of all Allowed Claims
 in such class.

        3.128 “Protected Parties” means: (a) the Settling Insurers; (b) the Participating Religious
 Orders and the liability carriers to such Participating Religious Orders listed on Exhibit G to this
 Plan that are providing or will provide a portion of the funding for this Plan pursuant to settlement

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 agreements with the Archdiocese or Reorganized Debtor, and (c) the Archdiocese Parties, but
 excluding, however, (i) a Perpetrator, (ii) any diocese or archdiocese (other than the Archdiocese
 itself), (iii) any Religious Order (other than a Participating Religious Order), or (iv) the Holy See.
 Notwithstanding the foregoing, a liability carrier to a Participating Religious Order in that capacity
 and a Participating Religious Order will not become Protected Parties unless its respective share
 of the Participating Religious Order Contribution is made on or before the applicable Participating
 Religious Orders Contribution Date.

         3.129 “Qualified Counsel” means an attorney representing a Tort Claimant who has
 entered into a written retainer or fee agreement with such Tort Claimant on or before the Effective
 Date; provided that such attorney agrees that the attorney’s receipt of Qualified Counsel Fees is
 credited against the fees owed by such Tort Claimant.

         3.130 “Qualified Counsel Fees” means the total fees, plus applicable gross receipts taxes
 payable to Qualified Counsel by the beneficiaries of the ASF Settlement Trust based on the
 Distributions calculated under the Tort Claims Allocation Protocol in accordance with written
 retainer or fee agreements with those beneficiaries.

        3.131 “Qualified Counsel Costs” means the amount of the unpaid reimbursable
 expenses (prepetition and post-petition through the Effective Date) payable to Qualified Counsel
 by the beneficiaries of the ASF Settlement Trust in accordance with written retainer or fee
 agreement with those beneficiaries.

         3.132 “Related Insurance Claim” means any Claim against a Settling Insurer that,
 directly or indirectly, relates to a Tort Claim or a Claim against any of the Protected Parties, or
 against any other Person or Entity covered by the Insurance Policies or Certificates, to the extent
 such Claim, directly or indirectly, arises out of, relates to, or is in connection with the same injury,
 damages, facts or circumstances giving rise to a Tort Claim, including an Unknown Tort Claim,
 or the actual or alleged coverage thereof under the Insurance Policies or Certificates, including: (i)
 any Claim for defense, indemnity, reimbursement, contribution, subrogation, or similar relief; (ii)
 any Extra-Contractual Claim or other Claim associated with any Extra-Contractual Claim; (iii) any
 Direct Action Claim; (iv) any Claim for contribution toward or reimbursement of a Medicare
 Claim; and (v) any other derivative or indirect claim of any kind whatsoever.

         3.133 “Religious Orders” means all Catholic religious order communities, including any
 religious order community that is a successor to any religious community of the Debtor, and
 includes but is not limited to, the Participating Religious Orders, the Servants of the Paraclete
 (“Servants”); Brothers of the Christian Schools, SFNO District (“Christian Brothers”); any
 province of the Franciscans; Sons of the Holy Family (“Sons”); Society of Jesus; Congregation of
 the Blessed Sacrament, Province of St. Ann (“Congregation”); and the Congregation of Saint
 Basil, aka the Basilian Fathers.

        3.134 “Reorganized Debtor” means the Debtor on and after the Effective Date.

        3.135 “Representatives” means the current and former officers, directors, agents,
 attorneys, employees, financial advisors and legal representatives of an Entity.

        3.136 “Retained Claims” means the Debtor’s Claims, including, but not limited to, all

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 Avoidance Actions, that are not otherwise settled or released pursuant to the Plan or agreements
 approved by the Bankruptcy Court on or prior to the Effective Date, any rights or Claims of the
 Debtor for indemnification, contribution, or fault allocation and other Claims of the Debtor against
 any Entity on account of any Claims which are or may be asserted against the Debtor. The Claims
 Bar Date and Claims Objection Bar Date are inapplicable to the Retained Claims.

        3.137 “Schedules” means the Schedules of Assets and Liabilities and Statement of
 Financial Affairs of the Debtor filed pursuant to § 521, the Official Bankruptcy Forms and the
 Bankruptcy Rules, including any supplements or amendments thereto through the Confirmation
 Date.

        3.138 “Section 363 Sale” means a sale of property pursuant to § 363.

         3.139 “Settled” means, with respect to a Claim, a Claim that has been resolved by
 agreement, and if required, approved by Final Order of the Bankruptcy Court or the District Court,
 as applicable.

        3.140 “Settling Insurers” means Arrowood, Catholic Mutual, CNA, Great American,
 Travelers, and U.S. Fire.

         3.141 “Subsidiary” means, with respect to an Entity, a corporation or limited liability
 company as to which the Entity possesses shares of common stock, membership interests, or other
 equity interests and may exercise control through the voting of such stock or interests.

         3.142 “Supplemental Injunction” means an injunction enjoining Claims or suits against
 the Settling Insurers on account of Channeled Claims pursuant to §§ 105(a), 363(b), (f), and (m),
 and 1123.

        3.143 “Temporarily Allowed” with reference to a Claim means such Claim as
 temporarily allowed for any purpose other than Distribution on a Claim pursuant to Bankruptcy
 Rule 3018(a) or otherwise.

       3.144 “Tort Claim” is synonymous with Abuse Claim and is intended to have the same
 meaning set forth in Doc. No. 130 entered in the Bankruptcy Case.

        3.145 “Tort Claimant” means the holder of a Tort Claim, the legal representative of the
 holder of a Tort Claim, such as a bankruptcy trustee, or the legal representative of the estate of a
 deceased individual who held a Tort Claim.

         3.146 “Tort Claims Allocation Protocol” means the Tort Claims Allocation Protocol
 set forth as Exhibit H.

        3.147 “Tort Claims Reviewer” means the Entity, including the designee of such Entity,
 who will assess Tort Claims pursuant to the Tort Claims Allocation Protocol. Subject to this
 Plan’s provisions for replacement of the Tort Claims Reviewer, the Tort Claims Reviewer is the
 Honorable William L. Bettinelli (retired).




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          3.148 “Travelers” means the Travelers Indemnity Company and St. Paul Fire and Marine
 Insurance Company, as itself and as a successor to or assignee of St. Paul Mercury Indemnity
 Company, and solely in the capacity as such, (i) each of their past and present parents, subsidiaries,
 affiliates, and divisions; (ii) each of their respective past and present parents, subsidiaries,
 affiliates, holding companies, merged companies, related companies, divisions and acquired
 companies, each of their respective past, present and future, directors, officers, shareholders,
 employees, subrogees, partners, principals, agents, attorneys, joint ventures, joint venturers,
 representatives, and claims handling administrators; and (iii) each of their respective predecessors,
 successors, assignors, and assigns, whether known or unknown, and all Entities acting on behalf
 of, by, through or in concert with them.

        3.149 “Travelers Settlement Agreement” means the settlement agreement between the
 Debtor and Travelers.

      3.150 “U.S. District Court” means the United States District Court for the District of
 New Mexico.

        3.151 “U.S. Trustee” means the Office of the United States Trustee for Region 20.

        3.152 “Unclaimed Property” means any Cash or other property which is unclaimed for
 180 days after the Distribution.

         3.153 “Unknown Claims Representative” means the Honorable Michael R. Hogan,
 U.S.D.J. (retired), for which application for appointment has been made in the Bankruptcy Case
 as the legal representative of Entities holding Unknown Tort Claims by Order Motion on June 16,
 2022 (Doc. No. 996).

         3.154 “Unknown Tort Claim” means a Tort Claim that arises from, relates to, or arises
 in connection with Abuse, the earliest incident of which occurred before the Petition Date: (i) for
 which no Proof of Claim is filed or deemed filed on or before the Bankruptcy Plan Effective Date
 or which is not otherwise allowed by the Bankruptcy Court by the Bankruptcy Plan Effective Date,
 and (ii) which is held by a Person who at the time of the Claims Bar Date was under a disability
 or other condition recognized by New Mexico law, or other applicable law, suspending the running
 of the statute of limitations period, that would toll the statute of limitations for such Claim.

        3.155 “Unknown Tort Claimant” means the holder of an Unknown Tort Claim, the legal
 representative of the holder of an Unknown Tort Claim, such as a bankruptcy trustee, the estate of
 a deceased individual who held an Unknown Tort Claim, or the personal executor or personal
 representative of the estate of a deceased individual who held an Unknown Tort Claim, as the case
 may be.

        3.156 “Unknown Tort Claims Allocation Protocol” means the Unknown Tort Claims
 Allocation Protocol set forth as Exhibit I.

        3.157 “Unknown Tort Claims Fund” means a fund in the initial amount of $ ______ to
 be paid to the Unknown Tort Claims Trust by the Debtor to pay allowed Unknown Tort Claims.
 Such fund shall be administered by the Unknown Tort Claims Trust pursuant to the terms of this
 Plan and the Unknown Tort Claims Trust Documents.

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        3.158 “Unknown Tort Claims Trust” means the trust to be established pursuant to this
 Plan and the Unknown Tort Claims Trust Documents for the benefit of holders of Class 4 Unknown
 Tort Claims.

        3.159 “Unknown Tort Claims Trust Agreement” means the agreement attached as
 Exhibit J to this Plan.

         3.160 “Unknown Tort Claims Trust Contribution Date” means the 30th Business Day
 after the Effective Date.

         3.161 “Unknown Tort Claims Trust Documents” means the Unknown Tort Claims
 Trust Agreement, Unknown Tort Claims Allocation Protocol, instruments, and other documents
 that are reasonably necessary or desirable in order to implement the provisions of this Plan that
 relate to the creation, administration and funding of the Unknown Tort Claims Trust.

         3.162 “Unknown Tort Claims Trustee” means Omni Management Group, LLC, the
 trustee of the Unknown Tort Claims Trust, and any successor trustee appointed pursuant to the
 terms of this Plan and the Unknown Tort Claims Trust Agreement.

         3.163 “U.S. Fire” means United States Fire Insurance Company, and solely in the
 capacity as such, (i) each of its past and present parents, subsidiaries, affiliates, and divisions; (ii)
 each of their respective past and present parents, subsidiaries, affiliates, holding companies,
 merged companies, related companies, divisions and acquired companies, each of their respective
 past, present and future, directors, officers, shareholders, employees, subrogees, partners,
 principals, agents, attorneys, joint ventures, joint venturers, representatives, and claims handling
 administrators; and (iii) each of their respective predecessors, successors, assignors, and assigns,
 whether known or unknown, and all Entities acting on behalf of, by, through or in concert with
 them.

        3.164 “U.S. Fire Settlement Agreement” means the settlement agreement between the
 Debtor and U.S. Fire.

        3.165 “Unsecured Claim” means every Claim, or portion thereof, which is not secured
 by property of the Estate, regardless of the priority of such Claim.

                          SECTION 4: PLAN OBJECTIVES AND SUMMARY

         4.1     Objectives.

         The essential objective of the Plan is to settle all Abuse Claims and other Claims asserted
 against the Debtor. The Debtor is contributing funds and other property for distribution to
 Claimants and will receive a discharge and other protections. The Plan includes provisions for the
 financial participation of other Entities for which they will receive the benefit of the releases and
 injunctions described in the Plan. The accompanying Disclosure Statement, along with the Plan,
 describes the objectives and provisions of the Plan in detail.

         4.2     Summary of Treatment Under the Plan.


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        Solely for the convenience of the reader, the following is a summary of the treatment of
 Claims under this Plan. This summary is not the Plan and the specific terms of this Plan control.
 This summary also explains the classes of claims that are impaired within the meaning of § 1124
 because, among other things, impaired classes may vote.

        Class       Description                   Treatment                         Impaired;
                                                                                    Voting
          N/A       Administrative Expenses       Paid in full                      No

          N/A       Priority expenses             Paid in full                      No

           1        Other Priority Claims         Paid in full                      No

           2        General Unsecured             Paid in full                      No
                    Convenience Claims
           3        Tort Claims                  Evaluated under the Tort           Yes
                                                 Claims Allocation Protocol
                                                 and paid by ASF Settlement
                                                 Trust
           4        Unknown Tort Claims          Evaluated under the Unknown        Yes
                                                 Tort Claims Allocation
                                                 Protocol and paid by
                                                 Unknown Tort Claims Trust
           5        General Unsecured            May pursue insurance, if           Yes
                    Claims                       available; may receive
                                                 payment of allowed claim in
                                                 10 annual payments, without
                                                 interest; or certain Class 5
                                                 Claims may elect alternative
                                                 $2,500.00 cash payment in
                                                 full satisfaction and release of
                                                 Claim. See Section 8.3.5 and
                                                 Exhibit K.
           6        Penalty Claims               Subordinated, no Distribution      Impaired,
                                                                                    non-
                                                                                    voting See
                                                                                    Class 3
           7        Employee/Retirement          Unimpaired                         Deemed
                    Claims                                                          to Accept
           8        Abuse Related                Disallowed under § 502(e)(1),      Impaired,
                    Contingent Claims            no Distribution                    non-
                                                                                    voting


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                 SECTION 5: TREATMENT OF UNCLASSIFIED CLAIMS

        5.1     Administrative Claims.

         Each holder of an Allowed Administrative Claim against the Debtor shall receive, in full
 satisfaction, settlement, release and extinguishment of such Claim, Cash equal to the Allowed
 amount of such Administrative Claim, either (a) on or as soon as practicable following the
 Effective Date, or, if later, the Allowance Date; or (b) upon such terms as may be agreed to in
 writing by the holder of an Administrative Claim. Provided, however, that subject to Section 5.1.1
 below, any Administrative Claim incurred post-petition by the Debtor in the ordinary course of its
 operations or arising pursuant to one or more post-petition agreements or transactions entered into
 by the Debtor with Bankruptcy Court approval, shall be paid or performed in accordance with the
 terms and conditions of the particular transaction(s) and any agreement(s) relating thereto, or as
 otherwise agreed by the Debtor (if before the Effective Date) or the Reorganized Debtor (on and
 after the Effective Date), on the one hand, and the holder of such Administrative Claim, on the
 other.

          5.1.1 Bar Date for Claims Arising or Occurring After Petition Date.
         All Claimants holding an unpaid Claim against the Archdiocese that arose or occurred after
 the Petition Date and on or before the Effective Date, including Administrative Claims, shall file
 with the Bankruptcy Court and serve on the Post-Confirmation Notice Parties proof of such post-
 petition Claim (“Post-Petition Proof of Claim”) no later than 45 days after a notice of the
 Effective Date is filed with the Bankruptcy Court (the “Post-Petition Claims Bar Date”). All
 unpaid Claims that arose or occurred after the Petition Date and on or before the Effective
 Date for which a Post-Petition Proof of Claim is not timely filed are hereby released, barred
 and discharged and holders of such Claims are enjoined from pursuing such Claims against
 or collecting from any Protected Party; provided that this section does not apply to Tort
 Claims that arose from Abuse, the first instance of which occurred on or after the Petition
 Date.
          5.1.2 Objections to Post-Petition Proofs of Claims.
         Objections to Post-Petition Proofs of Claims must be filed and served on the Post-
 Confirmation Notice Parties and the applicable Claimant on or before: (A) 45 days after the Post-
 Petition Claims Bar Date or (B) such later date as: (i) the Bankruptcy Court shall order upon
 application made prior to the end of such 45-day period or (ii) is agreed between the Debtor (if
 before the Effective Date) or the Reorganized Debtor (on and after the Effective Date), as
 applicable, and the affected Claimant.
        5.2     Professional Claims.

          5.2.1 Bar Dates for Professional Claims.

         All Professionals or other Entities requesting compensation or reimbursement of expenses
 pursuant to any of §§ 327, 328, 330, 331, 503(b) and 1103 for services rendered on or before the
 Effective Date (including, among other things, any compensation requested by any Professional
 or any other Entity for making a substantial contribution in the Chapter 11 Case) shall file and

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 serve on the Post-Confirmation Notice Parties an application for final allowance of compensation
 and reimbursement of expenses accruing from the Petition Date to the Effective Date, no later
 than: (A) 45 days after a notice of the Effective Date is filed with the Bankruptcy Court and served
 on such Professional or other Entities, or (B) such later date as the Bankruptcy Court shall order
 upon application made prior to the end of such 45-day period (the “Professional Claims Bar
 Date”).

                 5.2.2   Objections to Professional Claims.

         Objections to Professional Claims or Claims of other Entities for compensation or
 reimbursement of expenses must be filed and served on the Post-Confirmation Notice Parties and
 the Professionals or other Entities to whose application the objections are addressed on or before:
 (A) 45 days after the Professional Claims Bar Date or (B) such later date as (i) the Bankruptcy
 Court shall order upon application made prior to the end of such 45-day period or (ii) is agreed
 between the Debtor (if before the Effective Date) or the Reorganized Debtor (on and after the
 Effective Date), as applicable, and the affected Professional or other Entity. Notwithstanding
 anything contained in Section 5.2, the allowance of a Professional Claim shall not affect, impair,
 diminish or be an adjudication of any Claim that is excepted from the exculpation contained in
 Section 19.3.

         5.3     U.S. Trustee Fees.

        All fees due and payable pursuant to 28 U.S.C. § 1930 and not paid prior to the Effective
 Date shall be paid in Cash as soon as practicable after the Effective Date. After the Effective Date,
 the Reorganized Debtor shall pay quarterly fees to the U.S. Trustee, in Cash, until the Bankruptcy
 Case is closed, and a final decree is entered. In addition, the Reorganized Debtor shall file post-
 Confirmation Date reports in conformance with the U.S. Trustee guidelines. The U.S. Trustee shall
 not be required to file a request for payment of its quarterly fees, which will be deemed
 Administrative Claims against the Debtor and Debtor’s Estate. Notwithstanding anything to the
 contrary herein, the ASF Settlement Trust shall not be liable for payment of any U.S. Trustee fees.

         5.4     Priority Tax Claims. With respect to each Allowed Priority Tax Claim not paid
 prior to the Effective Date, the Reorganized Debtor shall: (i) pay such Claim in Cash as soon as
 practicable after the Effective Date, or (ii) provide such other treatment agreed to by the holder of
 such Allowed Priority Tax Claim and the Debtor (if before the Effective Date) or the Reorganized
 Debtor (on and after the Effective Date), as applicable, in writing, provided such treatment is no
 less favorable to the Debtor or the Reorganized Debtor than the treatment set forth in clause (i) of
 this sentence.

                             SECTION 6: CLASSIFICATION OF CLAIMS

         6.1     All Claims except Administrative Claims and Priority Tax Claims are placed in the
 following classes for all purposes including voting, confirmation of this Plan and Distribution
 pursuant to this Plan. A Claim is classified in a particular class only to the extent the Claim
 qualifies within the description of that class and is classified in a different class to the extent the
 Claim qualifies within the description of that different class. If a Claim is acquired or transferred,

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 the Claim will be placed in the class where it would have been placed if it were owned by the
 original holder of such Claim. If a Claimant has more than one Claim in the same class, such
 Claims will not be aggregated and treated as a single Claim. If a Claimant has Claims in different
 classes, such Claims will not be aggregated and each claim shall be included in the class applicable
 to that claim. As of the Confirmation Hearing, any Class of Claims which does not contain any
 Claims will be deemed deleted automatically from this Plan, and any Class of Claims which does
 not contain an Allowed Claim (or a Claim temporarily or provisionally Allowed by the Bankruptcy
 Court for voting purposes) will be deemed automatically deleted from this Plan with respect to
 voting on confirmation of this Plan.

         6.2    Class 1 consists of Other Priority Claims. These are Claims entitled to priority
 under § 507(a) (3) – (a) (7) and 507(a) (9) – (a) (10). These are Claims for unpaid wages, employee
 benefits plan contributions and the like.

        6.3    Class 2 consists of the holders of General Unsecured Convenience Claims against
 the Debtor or holders of Unsecured Claims who elect to be treated as a General Unsecured
 Convenience Claim. These Claimants are holders of unsecured Claims of $500.00 or less or
 Claimants who voluntarily reduce their Unsecured Claims to $500.00.

        6.4     Class 3 consists of Tort Claimants other than Class 4 Tort Claimants.

        6.5     Class 4 consists of Unknown Tort Claimants.

          6.6     Class 5 consists of holders of General Unsecured Claims. These are Claims not
 secured by any interest in the Debtor’s property and consist of any Claim against the Debtor that
 is not a Tort Claim, Channeled Claim, Unknown Tort Claim, Administrative Claim, Abuse Related
 Contingent Claim, Penalty Claim, or a Priority Tax Claim. Based upon a review of the Debtor’s
 Schedules, books, and records, as well as filed Proofs of Claims, the Debtor estimates that Class
 5 Unsecured Claims total approximately $1,313,232.89. The holders of Class 5 General Unsecured
 Claims are listed on Exhibit K attached hereto. Class 5 Claims shall receive treatment as set forth
 in Section 8.3 below.

          6.7     Class 6 consists of Claims based upon a fine, penalty, forfeiture, punitive damages,
 or the like, not meant to compensate the Claimant for actual pecuniary loss. The Debtor is unaware
 of any such Penalty Claims. Any portion of a Class 3 Tort Claim that asserts a claim that may be
 classified as a Class 6 Penalty Claim shall be treated as a Class 6 Penalty Claim and shall receive
 no Distribution under this Plan. Class 3 Tort Claims shall only receive treatment as set forth in
 Section 8.1 below.

        6.8     Class 7 consists of holders of Employee/Retirement Claims against the Debtor.

         6.9      Class 8 consists of Abuse Related Contingent Claims. These are Claims by an
 Entity against the Debtor for contribution, indemnity, or reimbursement arising as a result of such
 Entity’s liability for paying or defending against any Tort Claim, including a Co-Defendant.

              SECTION 7: TREATMENT OF UNIMPAIRED CLASSES OF CLAIMS


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        7.1     Class 1: Other Priority Claims.

         The holders of Allowed Other Priority Claims, if any are determined to exist, will receive
 either: (a) payment from the Reorganized Debtor of the full amount of their Allowed Claims in
 Cash, without interest on or as soon as practicable following the Effective Date or, if later, the
 Allowance Date; or (b) payment of their Allowed Claims upon such terms as may be agreed in
 writing by the Claimant and the Reorganized Debtor.

        7.2     Class 2: General Unsecured Convenience Claims.
          Each holder of Allowed General Unsecured Convenience Claims will receive either: (a)
 payment from the Reorganized Debtor of the full amount of its Allowed General Unsecured
 Convenience Claim in Cash, on or as soon as reasonably practicable following the Effective Date
 or, if later, the Allowance Date; or (b) payment of its Allowed General Unsecured Convenience
 Claim upon such terms as may be agreed in writing by the Claimant and the Reorganized Debtor.
        7.3     Class 7: Employee/Retirement Claims.
         Class 7 is unimpaired under this Plan and will be paid as their claims come due. Holders
 of Employee/Retirement Claims are deemed to have accepted this Plan under § 1126(f) and are
 not entitled to vote on this Plan.
              SECTION 8: TREATMENT OF IMPAIRED CLASSES OF CLAIMS

        8.1 Class 3: Tort Claims (Other than Unknown Tort Claims)

                 8.1.1 Class 3 is impaired under this Plan. The holders of Tort Claims are entitled
 to vote on this Plan. Only for purposes of voting, each Claim in Class 3 is deemed to be Allowed
 in the amount of $1.00.

               8.1.2 On the Effective Date, with no further action required: The ASF Settlement
 Trust assumes all liability for all Class 3 Tort Claims and each of the Class 3 Tort Claimants is
 deemed to have assigned his or her Claim against the Protected Parties to the ASF Settlement
 Trust, which shall be solely liable for the payment of all such Class 3 Tort Claims. Under no
 circumstances shall the ASF Settlement Trust assume any liability for any Class 4 Unknown Tort
 Claims.

                 8.1.3 Nothing in this Plan affects, diminishes or impairs any Class 3 Tort
 Claimant’s rights against any Co-Defendant, including that Co-Defendant’s comparative fault or
 joint and several liability for Abuse, if any. In any such litigation against a Co-Defendant, nothing
 in this Plan or Plan Documents shall be deemed an adjudication of a Class 3 Tort Claim for any
 purpose or a limitation on the recovery against such Co-Defendant.

               8.1.4 The Debtor, the Reorganized Debtor, and their counsel shall reasonably
 cooperate with the Tort Claims Reviewer and/or the ASF Settlement Trustee as requested by the
 Tort Claims Reviewer and/or the ASF Settlement Trustee in connection with the administration of
 the Tort Claims Allocation Protocol.




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                8.1.5 Fees payable to the Tort Claims Reviewer for review of the Class 3 Tort
 Claims shall be paid by the Debtor or the Reorganized Debtor.

                 8.1.6 No Entity, other than the ASF Settlement Trustee, may: (a) object to any
 Class 3 Tort Claim or (b) challenge the merit, validity, or amount of any Class 3 Tort Claim. Any
 objection or challenge to a Class 3 Tort Claim pending as of the Effective Date is deemed
 withdrawn and shall not be refiled, with the exception of the Committee’s pending claims
 objections or challenges, if any, which shall not be deemed withdrawn and to which the ASF
 Settlement Trustee shall have the option to continue to prosecute. With the exception of the ASF
 Settlement Trustee’s objections or challenges to a Class 3 Tort Claim, Class 3 Tort Claims shall
 be treated in accordance with the Tort Claims Allocation Protocol and shall not be subject to any
 other review or judicial consideration.

                 8.1.7 The ASF Settlement Trust shall pay Class 3 Tort Claims in accordance with
 the terms of the Tort Claims Allocation Protocol, and ASF Settlement Trust Documents. The ASF
 Settlement Trust shall be the sole source of payment on account of Class 3 Tort Claims. The ASF
 Settlement Trust shall not make any Distributions on account of Class 3 Tort Claims prior to the
 Effective Date. Except for Class 3 Tort Claims held by chapter 7 trustees, the ASF Settlement
 Trust shall pay any Distribution due to a holder of a Class 3 Tort Claim as directed by the holder
 of such Claim, including to a trust, a supplemental needs trust and a financial institution managing
 a structured settlement for or on behalf of the Claimant or a beneficiary designated by the Claimant.

                8.1.8 The Distributions from the ASF Settlement Trust are in full settlement of
 the Class 3 Tort Claims against each of the Protected Parties and the acceptance of a Distribution
 by a Class 3 Tort Claimant shall constitute a General Release granted by such Class 3 Tort
 Claimant of all Claims by such Class 3 Tort Claimant against all Protected Parties.

                8.1.9 If a Class 3 Tort Claim is denied payment, in whole or in part, pursuant to
 the Tort Claims Allocation Protocol, the holder of such Class 3 Tort Claim will have no rights
 against the Debtor, Reorganized Debtor, the ASF Settlement Trust, the ASF Settlement Trustee,
 or any of the Protected Parties relating to such Tort Claim.

                 8.1.10 Before making any Distribution(s) to Class 3 Tort Claimants on account of
 their Class 3 Tort Claims, the ASF Settlement Trustee will subtract all Qualified Counsel Fees,
 plus applicable gross receipts tax in an amount equal to the total fees payable to Qualified Counsel
 based on the Distributions calculated under the Tort Claims Allocation Protocol from the
 consideration paid by the Funding Group to the ASF Settlement Trust. The ASF Settlement Trust
 shall pay such fees to Qualified Counsel (or such counsel’s designee) as and when the responsible
 Class 3 Tort Claimant receives a Distribution from the ASF Settlement Trust. None of the
 Protected Parties are liable for any Qualified Counsel Fees or applicable gross receipts tax. The
 ASF Settlement Trust shall pay Qualified Counsel Fees as directed by the applicable Qualified
 Counsel in writing within five (5) business days after notice of payment of Qualified Counsel Fees.
 In the absence of such written instruction, the ASF Settlement Trust shall pay Qualified Counsel
 Fees by check delivered by First Class Mail or overnight courier to the address for such Qualified
 Counsel on the applicable Sexual Abuse Proof of Claim Form. None of the Protected Parties are
 liable for any Qualified Counsel Fees.


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               8.1.11 Before making any Distribution(s) to Class 3 Tort Claimants, the ASF
 Settlement Trustee will subtract all Qualified Counsel Costs in an amount equal to the unpaid
 reimbursable expenses (prepetition and post-petition through the Effective Date) payable to
 Qualified Counsel by any beneficiaries of the ASF Settlement Trust from the consideration paid
 by the Funding Group to the ASF Settlement Trust. The ASF Settlement Trust shall pay such costs
 to Qualified Counsel as and when the responsible Class 3 Tort Claimant receives a Distribution
 from the ASF Settlement Trust. None of the Protected Parties are liable for any Qualified Counsel
 Costs.

                8.1.12 Subject to the treatment of Qualified Counsel Fees and Qualified Counsel
 Costs pursuant to this Plan, the fees and expenses of attorneys representing Class 3 Tort Claimants
 who receive Distributions will be borne by such Class 3 Tort Claimants based on applicable state
 law and individual arrangements made between such Tort Claimants and their respective attorneys.
 The Protected Parties will not have any liability for any fees and expenses of attorneys representing
 any of the Class 3 Tort Claimants. The ASF Settlement Trust and the ASF Settlement Trustee will
 not have any liability for any fees and expenses of attorneys representing any of the Class 3 Tort
 Claimants, except to the extent that the ASF Settlement Trust or the ASF Settlement Trustee is
 required to make payments pursuant to the provisions herein relating to Qualified Counsel Fees
 and Qualified Counsel Costs. None of the Protected Parties are responsible for any fees and
 expenses of attorneys representing any of the Class 3 Tort Claimants.

                8.1.13 A Class 3 Tort Claimant may withdraw a Class 3 Tort Claim at any time on
 written notice to the ASF Settlement Trustee. If withdrawn, (a) the Class 3 Tort Claim will be
 withdrawn with prejudice and may not be reasserted and shall be a Disallowed Claim; (b) as a
 condition to withdrawal of the Class 3 Tort Claim, any funds paid to the Tort Claimant by the ASF
 Settlement Trust (inclusive of attorneys’ fees and costs) on account of such withdrawn claim shall
 be returned to the ASF Settlement Trust, and (c) any reserve maintained by the ASF Settlement
 Trust on account of such withdrawn Claim shall revert to the non-reserved assets of the ASF
 Settlement Trust for Distribution in accordance with this Plan.

                 8.1.14 Certain chapter 7 bankruptcy cases that met the circumstances set forth in
 the Bankruptcy Claims Orders were reopened to administer Class 3 Tort Claims held by debtors
 in those chapter 7 bankruptcy cases. In the reopened chapter 7 bankruptcy cases that have not been
 reclosed or in which the Class 3 Tort Claim was not formally abandoned, the chapter 7 bankruptcy
 estate is the Class 3 Tort Claimant and shall be treated as the holder of the Class 3 Tort Claim for
 all purposes in this Plan and in the ASF Settlement Trust.

              8.1.15 The right of any Tort Claimant to a trial by jury or otherwise against
 the Reorganized Debtor or any of the Protected Parties is waived and released upon
 occurrence of the Effective Date, and the Tort Claim of a Tort Claimant will be solely
 determined by the Tort Claims Reviewer and in accordance with the Tort Claims Allocation
 Protocol.




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                8.1.16 The Tort Claims Allocation Protocol was not developed by, or submitted
 for approval to, the Debtor or the Settling Insurers, nor are the Settling Insurers or the Debtor
 deemed to have accepted or acquiesced in such Tort Claims Allocation Protocol.

                8.1.17 Late-filed Tort Claims. Late-filed Tort Claims are Class 3 Tort Claims that
 may be: (a) allowed by the Court or disallowed by the Court, after evaluation by the Court of the
 circumstances particular to each Claim, upon motion properly filed by the Claimant; or (b) treated
 under the Tort Claims Allocation Protocol which, depending on when the Late-filed Tort Claim
 was filed, provides for no Distribution or Distribution in varying amounts. A Late-filed Tort Claim
 could be deemed timely if the Claimant files a motion establishing that its excusable neglect
 excuses the late filing and the Bankruptcy Court orders that the Late-filed Tort Claim will be
 treated as timely filed. If a Late-filed Tort Claim is not deemed timely by order of the Court and
 the Claimant does not accept the treatment under the Tort Claims Allocation Protocol, the Late-
 filed Tort Claim is disallowed and will not receive any Distribution. For more information about
 treatment of Late-filed Tort Claims under the Tort Claims Allocation Protocol, see the Tort Claims
 Allocation Protocol attached as Exhibit H to the Plan.

            8.2 Class 4: Unknown Tort Claims

                 8.2.1 Class 4 is impaired under this Plan. The Unknown Claims Representative
 is entitled to vote on this Plan on behalf of Class 4 Tort Claimants. Only for purposes of voting,
 the Unknown Claims Representative is deemed to have an Allowed Claim in the amount of $1.00.

                8.2.2 The Unknown Tort Claims Trust will be funded by the Debtor and
 Participating Religious Orders up to $2.5 Million pursuant to the provisions of this Plan. The
 Debtor or the Reorganized Debtor shall pay the costs of administering the Unknown Tort Claims
 Trust. The Unknown Tort Claims Trust shall be the sole source of payment on account of Class 4
 Unknown Tort Claims. Holders of Unknown Tort Claims shall have no rights against the Debtor,
 Reorganized Debtor, the Protected Parties, the ASF Settlement Trust, ASF Settlement Trustee, the
 Unknown Tort Claims Trust, or the Unknown Tort Claims Trustee relating to such Unknown Tort
 Claim.
               8.2.3 On the Effective Date, with no further action required, the Unknown Tort
 Claims Trust assumes all liability for all Unknown Tort Claims, and each Unknown Tort Claimant
 is deemed to have assigned his or her Claim against the Protected Parties to the Unknown Tort
 Claims Trust, which shall be solely liable for the payment of all such Unknown Tort Claims.
                8.2.4 Unknown Tort Claimants shall have their Class 4 Unknown Tort Claims
 treated pursuant to the Unknown Tort Claims Allocation Protocol, including review of such Claims
 by the Unknown Tort Claims Reviewer in accordance with the Unknown Tort Claims Allocation
 Protocol.
                 8.2.5 Fees payable to the Unknown Claims Representative for review of the
 Unknown Tort Claims shall be paid by the Debtor or the Reorganized Debtor. Nothing in this Plan
 shall affect, diminish or impair any Unknown Tort Claimant’s rights against any Co-Defendant,
 including that Co-Defendant’s comparative fault or joint and several liability for Abuse.
               8.2.6 The Debtor, the Reorganized Debtor and their counsel shall reasonably
 cooperate with the Unknown Claims Representative and the Unknown Tort Claims Trustee as

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 requested by the Unknown Claims Representative or the Unknown Tort Claims Trustee in
 connection with any inquiries in the administration of the Unknown Tort Claims Allocation
 Protocol.
                  8.2.7 No Entity other than the Unknown Tort Claims Trustee may challenge the
 merit, validity, or amount of any Unknown Tort Claim. The Unknown Tort Claims Trustee has the
 sole and exclusive right to object to any Unknown Tort Claim. The Reorganized Debtor shall not
 have the right to object to an Unknown Tort Claim.
                8.2.8 The Distributions from the Unknown Tort Claims Trust are in full
 settlement of the Class 4 Unknown Tort Claims against each of the Protected Parties and the
 acceptance of a Distribution by a Class 4 Unknown Tort Claimant shall constitute a General
 Release granted by such Class 4 Unknown Tort Claimant of all Claims by such Class 4 Unknown
 Tort Claimant against all Protected Parties.

                8.2.9 If a Class 4 Unknown Tort Claim is denied payment, in whole or in part,
 pursuant to the Unknown Tort Claims Allocation Protocol, the holder of such Class 4 Unknown
 Tort Claim will have no rights against the Debtor, Reorganized Debtor, the Unknown Tort Claims
 Trust, the Unknown Tort Claims Trustee, or any of the Protected Parties relating to such Class 4
 Unknown Tort Claim.

                8.2.10 Before making any Distribution(s) to Class 4 Unknown Tort Claimants on
 account of their Class 4 Unknown Tort Claims, the Unknown Tort Claims Trustee will subtract all
 Qualified Counsel Fees, plus applicable gross receipts tax in an amount equal to the total fees
 payable to Qualified Counsel based on the Distributions calculated under the Unknown Tort
 Claims Allocation Protocol. The Unknown Tort Claims Trust shall pay such fees to Qualified
 Counsel as and when the responsible Class 4 Unknown Tort Claimant receives a Distribution from
 the Unknown Tort Claims Trust. None of the Protected Parties are liable for any Qualified Counsel
 Fees or applicable gross receipts tax.

                8.2.11 Before making any Distribution(s) to Class 4 Unknown Tort Claimants, the
 Unknown Tort Claims Trustee will subtract all Qualified Counsel Costs in an amount equal to the
 unpaid reimbursable expenses (prepetition and post-petition through the Effective Date) payable
 to Qualified Counsel by any beneficiaries of the Unknown Tort Claims Trust. The Unknown Tort
 Claims Trust shall pay such costs to Qualified Counsel as and when the responsible Class 4
 Unknown Tort Claimant receives a Distribution from the Unknown Tort Claims Trust. None of
 the Protected Parties are liable for any Qualified Counsel Costs.

                8.2.12 Subject to the treatment of Qualified Counsel Fees and Qualified Counsel
 Costs pursuant to this Plan, the fees and expenses of attorneys representing Class 4 Unknown Tort
 Claimants who receive Distributions will be borne by such Class 4 Unknown Tort Claimants based
 on applicable state law and individual arrangements made between such Class 4 Unknown Tort
 Claimants and their respective attorneys. The Protected Parties will not have any liability for any
 fees and expenses of attorneys representing any of the Class 4 Unknown Tort Claimants. The
 Unknown Tort Claims Trust and the Unknown Tort Claims Trustee will not have any liability for
 any fees and expenses of attorneys representing any of the Class 4 Unknown Tort Claimants,

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 except to the extent that the Unknown Tort Claims Trust or the Unknown Tort Claims Trustee is
 required to make payments pursuant to the provisions herein relating to Qualified Counsel Fees
 and Qualified Counsel Costs.

                 8.2.13 A Class 4 Unknown Tort Claimant may withdraw a Class 4 Unknown Tort
 Claim at any time on written notice to the ASF Settlement Trustee. If withdrawn, (a) the Class 4
 Unknown Tort Claim will be withdrawn with prejudice and may not be reasserted and shall be a
 Disallowed Claim; (b) as a condition to withdrawal of the Class 4 Unknown Tort Claim, any funds
 paid to the Unknown Tort Claimant by the Unknown Tort Claims Trust (inclusive of attorneys’
 fees and costs) on account of such withdrawn claim shall be returned to the Unknown Tort Claims
 Trust, and (c) any reserve maintained by the Unknown Tort Claims Trust on account of such
 withdrawn Unknown Tort Claim shall revert to the non-reserved assets of the Unknown Tort
 Claims Trust for Distribution in accordance with this Plan.

              8.2.14 The right of any Class 4 Unknown Tort Claimant to a trial by jury or
 otherwise against the Reorganized Debtor or any of the Protected Parties is waived and
 released upon occurrence of the Effective Date, and the Unknown Tort Claim of a Class 4
 Unknown Tort Claimant will be solely determined by the Unknown Tort Claims Reviewer
 and in accordance with the Unknown Tort Claims Allocation Protocol.

                8.2.15 The Unknown Tort Claims Allocation Protocol was not developed by, or
 submitted for approval to, the Debtor or the Settling Insurers, nor are the Settling Insurers or the
 Debtor deemed to have accepted or acquiesced in such Unknown Tort Claims Allocation Protocol.

              8.2.16 The Unknown Tort Claims Trust shall pay Unknown Tort Claimants in
 accordance with the terms of this Plan, Confirmation Order and Unknown Tort Claims Trust
 Documents.
         8.3      Class 5: General Unsecured Claims. See Exhibit K, Attached. Class 5 General
 Unsecured Claims shall receive no Distribution, unless and except as provided herein. Class 5
 Claimants may proceed against Debtor’s or Reorganized Debtor’s Preserved Coverage, to the
 extent the Claim is insured. Class 5 Claims will be paid from the Preserved Coverage, if applicable,
 or if not, as follows.
                  8.3.1 If Debtor or Reorganized Debtor timely objects to a Class 5 Claim, the
 Claim will be determined and liquidated in the claim adjudication proceeding in the Bankruptcy
 Court. If the Class 5 Claim is allowed over the objection of the Debtor, the Debtor will pay the
 allowed amount of the Class 5 Claim over a period of ten years, in annual installments in full
 satisfaction of the Class 5 Claim. The allowed amount of the Class 5 Claim will not accrue interest
 during this period.

                8.3.2 If Debtor or Reorganized Debtor has not timely objected to a Class 5 Claim,
 then following expiration of the Claims Objection Bar Date, the discharge injunction pursuant to
 § 524 shall be modified for that Claim, to permit the Class 5 Claimant to file and prosecute and to
 permit the Debtor or Reorganized Debtor to defend, to final judgment, the Class 5 Claim in the
 appropriate non-bankruptcy forum and to permit the Class 5 Claimant to seek to collect on any
 judgment that may be obtained in that action from the Preserved Coverage, up to the limits of such


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 coverage for that Claim. Any such judgment will be paid over a period of ten years, in annual
 installments in full satisfaction of the Class 5 Claim. The allowed amount of the Class 5 Claim
 will not accrue interest during this period.

                8.3.3. Any judgment entered on a Class 5 Claim in favor of the respective Class 5
 Claimant shall not be a personal liability of and will not be collectable from the Debtor,
 Reorganized Debtor, or any of the Protected Parties, other than Catholic Mutual, to the extent
 applicable, and shall be collectable only from the Preserved Coverage and from no other source.

               8.3.4. Debtor makes no representation or warranty about the availability of
 insurance coverage for any of the Class 5 Claims.

                8.3.5 In the alternative to the treatment set out above in this Section 8.3, certain
 Class 5 Claimants, as shown on Exhibit K, may elect to receive $2,500.00 from the Debtor within
 30 days of the Effective Date of the Plan in full and final satisfaction of such Claim. If the Class 5
 Claimant elects to receive the $2,500.00, the Class 5 Claimant must waive and release any and all
 other rights and claims it has, or may have, against the Debtor, Reorganized Debtor, or any of the
 Protected Parties arising out of its Claim as set forth on its Proof of Claim filed herein or as set
 forth in the Debtor’s Schedules filed herein.

                8.3.6 Late-filed Claims. Class 5 General Unsecured Claims that are Late-filed
 Claims are disallowed and will receive no Distribution. A Late-filed Claim may be deemed timely
 if the Claimant files a motion establishing that its excusable neglect excuses the late filing and the
 Bankruptcy Court orders that the Tort Claim will be treated as timely filed. If the Claimant files
 such a motion and the Court orders that the Late-filed Claim will not be treated as timely filed, the
 Late-filed Claim will be disallowed and will not receive any Distribution.


        8.4     Class 6: Penalty Claims
                8.4.1 Claims for punitive or exemplary damages in connection with any of the
 Claims will be treated as Penalty Claims and will receive no Distribution under this Plan.
        8.5     Class 8: Abuse Related Contingent Claims
                8.5.1 In accordance with § 502(e)(1), each Abuse Related Contingent Claim held
 by any Entity against the Debtor shall be disallowed and will receive no Distribution.
        8.6.    Disallowed Claims. Disallowed Claims shall not receive any payment or
 Distribution under this Plan.
                   SECTION 9: ACCEPTANCE OR REJECTION OF PLAN

        9.1     Classes Entitled to Vote
        Each Claimant in Classes 3, 4 and 5 is impaired and entitled to vote to accept or reject this
 Plan. Only the Unknown Claims Representative is entitled to vote on behalf of the holders of Class
 4 Claims.
        9.2     Presumed Acceptance of this Plan


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        Classes 1, 2 and 7 are unimpaired under this Plan and are, therefore, conclusively presumed
 to have accepted this Plan pursuant to § 1126(f).
        9.3       Presumed Rejection of this Plan
        Classes 6 and 8 are impaired and shall receive no Distribution and to the extent that such
 claims exist, they are conclusively deemed to have rejected this Plan pursuant to § 1126(g)
 regardless of any votes by a holder of a Class 6 or 8 Claim.
        9.4       “Cram Down” Request
         The Debtor requests confirmation of this Plan under § 1129(b) with respect to any impaired
 Class that does not accept this Plan pursuant to § 1126(c). The Debtor reserves the right to modify
 this Plan to the extent that confirmation pursuant to § 1129(b) requires modification.

                SECTION 10: MEANS OF IMPLEMENTATION OF THE PLAN

        10.1      Establishment of Escrow Account.

         No later than September 30, 2022, the Debtor will establish the Escrow Account. Upon the
 Effective Date, the funds held in the Escrow Account will be administered in accordance with this
 Plan, the Insurer Settlement Agreements, the Participating Party Agreements and the Confirmation
 Order. The Escrow Account shall be interest-bearing, with interest to be paid to Debtor or
 Reorganized Debtor in order to fund this Plan. The Escrow Account shall be terminated and all
 Contributions returned if the Effective Date of this Plan has not timely occurred pursuant to Section
 18.3 of this Plan. No funds will be removed from the Escrow Account except pursuant to (a)
 Sections 11.2 and 14.2 upon the occurrence of the Effective Date, (b) Section 18.3 due to the non-
 occurrence of the Effective Date pursuant to Section 18.3, or (c) a prior written agreement among
 the Debtor, the Committee and the Settling Insurers.

        10.2      Funding.

        The following will be transferred by wire transfer to the Escrow Account:

               i. Debtor’s Initial Contribution.

        The Debtor transferred $69,600,000.00 to the Escrow Account on September 30, 2022.

                 Insurer Contributions
               ii. Travelers Contribution.

       Pursuant and subject to the Travelers Settlement Agreement, Travelers will transfer
 $16,000,000.00 to the Escrow Account on or before the Contribution Date.

               iii.     Arrowood Contribution.

      Pursuant and subject to the Arrowood Settlement Agreement, Arrowood Indemnity
 Company will transfer $11,250,000.00 to the Escrow Account on or before the Contribution Date.

               iv.      U.S. Fire Contribution.

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        Pursuant and subject to the U.S. Fire Settlement Agreement, U.S. Fire will transfer
 $7,250,000.00 to the Escrow Account on or before the Contribution Date.

              v.        Great American Contribution.

        Pursuant and subject to the Great American Settlement Agreement, Great American
 Insurance Company will transfer $7,250,000.00 to the Escrow Account on or before the
 Contribution Date.

             vi.        Catholic Mutual Contribution.

         Pursuant and subject to the Catholic Mutual Settlement Agreement, Catholic Mutual will
 transfer $4,000,000.00 to the Escrow Account on or before the Contribution Date.

             vii.       CNA Contribution.

        Pursuant and subject to the CNA Settlement Agreement, CNA will transfer $750,000.00 to
 the Escrow Account on or before the Contribution Date.

            viii.       Second Debtor Contribution.

        On September 30, 2022, the Debtor executed the Promissory Note and Mortgage. The
 Reorganized Debtor shall deliver the original Promissory Note and original Mortgage to the ASF
 Settlement Trust on the Effective Date. Following delivery, the ASF Settlement Trustee may
 undertake any action to perfect the Mortgage. A copy of the Promissory Note and Mortgage are
 attached hereto as Exhibits O and P. Upon payment of the Promissory Note, the ASF Settlement
 Trustee shall deliver to the Reorganized Debtor the original Promissory Note marked “Paid” and
 all documents necessary to release the Mortgage in recordable form. Reorganized Debtor will
 prepare the necessary documents.

        Participating Religious Order Contributions
             ix.        Servants of the Paraclete (the “Servants”).

         Pursuant and subject to the Participating Religious Order Settlement Agreement with the
 Servants, on or before the Participating Religious Orders Contribution Date, the Servants and its
 funding liability carriers (as listed on Exhibit G) will transfer $4,000,000 to the Escrow Agent for
 transfer to the ASF Settlement Trust and $200,000 to the Escrow Agent for transfer to the
 Unknown Tort Claims Trust or, if funded after the Effective Date, the Servants will deliver the
 funds to the ASF Settlement Trust and to the Unknown Tort Claims Trust in the stated amounts.
 The Escrow Agent shall deliver such funds to the respective Trusts within two business days after
 the Effective Date.

              x.        Sons of the Holy Family, Inc. (the “Sons”).
        Pursuant and subject to the Participating Religious Order Settlement Agreement with Sons,
 on or before the Participating Religious Orders Contribution Date, the Sons will transfer
 $1,050,000.00 to the Escrow Agent for transfer to the ASF Settlement Trust and $50,000.00 to the
 Escrow Agent for transfer to Unknown Tort Claims Trust or, if funded after the Effective Date,

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 the Sons will deliver the funds to the ASF Settlement Trust and to the Unknown Tort Claims Trust
 in the stated amounts. The Escrow Agent shall deliver such funds to the respective Trusts within
 two business days after the Effective Date.

           xi.         Congregation of the Blessed Sacrament, Province of St. Ann (the
 “Congregation”).
         Pursuant and subject to the Participating Religious Order Settlement Agreement with
 Congregation, on or before the Participating Religious Orders Contribution Date, the Congregation
 will transfer $525,000.00 to the Escrow Agent for transfer to the ASF Settlement Trust and
 $25,000.00 to the Escrow Agent for transfer to the Unknown Tort Claims Trust or, if funded after
 the Effective Date, the Congregation will deliver the funds to the ASF Settlement Trust and to the
 Unknown Tort Claims Trust in the stated amounts. The Escrow Agent shall deliver such funds to
 the respective Trusts within two business days after the Effective Date.

           xii.        Brothers of the Christian Schools, SFNO District (the “Christian
 Brothers”).
         Pursuant and subject to the Participating Religious Order Settlement Agreement with the
 Christian Brothers, on or before the Participating Religious Orders Contribution Date, the
 Christian Brothers and its funding liability carriers (as listed on Exhibit G) will transfer
 $1,900,000.00 to the Escrow Agent for transfer to the ASF Settlement Trust and $95,000.00 to the
 Escrow Agent for transfer to the Unknown Tort Claims Trust or, if funded after the Effective
 Date, the Christian Brothers will deliver the funds to the ASF Settlement Trust and to the Unknown
 Tort Claims Trust in the stated amounts. The Escrow Agent shall deliver such funds to the
 respective Trusts within two business days after the Effective Date.

           xiii.      The Province of St. John the Baptist of the Order of the Friars Minor
  and the Province of Our Lady of Guadalupe of the Order of Friars Minor (the “Province”).
         Pursuant and subject to the Participating Religious Order Settlement Agreement with the
 Province, on or before the Participating Religious Orders Contribution Date, the Province [and its
 funding liability carriers (as listed on Exhibit G)] will transfer $600,000.00 to the Escrow Agent
 for transfer to the ASF Settlement Trust and $30,000.00 to the Escrow Agent for transfer to the
 Unknown Tort Claims Trust or, if funded after the Effective Date, the Province will deliver the
 funds to the ASF Settlement Trust and to the Unknown Tort Claims Trust in the stated amounts.
 The Escrow Agent shall deliver such funds to the respective Trusts within two business days after
 the Effective Date.

       10.3 Payment and Treatment of Claims Other Than Tort Claims and Unknown
 Tort Claims.

        Payments due to creditors on account of Allowed Claims other than Tort Claims or
 Unknown Tort Claims will be paid pursuant to the terms of this Plan from the Reorganized
 Debtor’s assets and ongoing operations or the Preserved Coverage, if applicable.

        10.4    Retained Claims.




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         On or before the Effective Date, all Retained Claims will be assigned by the Debtor to the
 Reorganized Debtor. The Reorganized Debtor may pursue any Retained Claims at the discretion
 of the Reorganized Debtor and will retain the proceeds of all such Retained Claims, if any.

         10.5    Approval of Financing and 363 Sales.

         On or before the Effective Date, the Bankruptcy Court shall have entered orders approving
 the sale under § 363, free and clear of all liens, Claims, encumbrances, and Interests, of: any
 Insurance Policies and Certificates to be purchased by a Settling Insurer pursuant to the
 requirements of the applicable Insurer Settlement Agreement, and the Court shall have granted the
 Insurers the protections available under § 363(m). The entry of the Confirmation Order shall
 constitute the Bankruptcy Court’s approval of the financing evidenced by the Promissory Note and
 Mortgage, § 363 sales and grant of § 363(m) protections.

         10.6    Approval of Settlement Agreements.

          Pursuant to §§ 105, 363, and 1123 and Rule 9019, and in consideration for the
 classification, Distributions and other benefits provided under this Plan, including, inter alia, (i)
 the commitment by the ASF Participating Parties, the Participating Religious Orders, and Settling
 Insurers to fund the Debtor’s obligations under this Plan to the Escrow Account; (ii) the Travelers
 Settlement Agreement; (iii) the Arrowood Settlement Agreement; (iv) the U.S. Fire Settlement
 Agreement; (v) the Great American Settlement Agreement; (vi) the Catholic Mutual Settlement
 Agreement; (vii) the CNA Settlement Agreement; (viii) the Participating Party Agreements; and
 (ix) the Debtor’s non-monetary commitment to healing and reconciliation as set forth in Section
 10.12 and in the Stipulated Non-Monetary Covenants attached as Exhibit L to this Plan, the
 provisions of this Plan, the Insurer Settlement Agreements, the Participating Religious Order
 Settlement Agreements, and the Participating Party Agreements shall constitute good faith
 compromises and settlements of all Claims against the Debtor, the Settling Insurers and the other
 Protected Parties. The entry of the Confirmation Order shall constitute the Bankruptcy Court’s
 approval of the global compromise and the Bankruptcy Court’s findings shall constitute its
 determination that such compromises and settlements are in the best interests of the Debtor, the Estate,
 ASF Participating Parties, Settling Insurers, Tort Claimants, Unknown Tort Claimants and other
 parties in interest, and are fair, equitable and within the range of reasonableness. The Insurer Settlement
 Agreements and this Plan shall have no effect on coverage under insurance policies or certificates
 issued to Religious Orders, except for the Participating Religious Orders.

         10.7    Indemnification of Settling Insurers.

             10.7.1      Effective on the Effective Date, the ASF Settlement Trust shall defend,
 indemnify, and hold harmless the Settling Insurers with respect to all Channeled Claims (other
 than Unknown Tort Claims) provided, however, that the Settling Insurers shall not seek to recover
 from a Tort Claimant or any transferee of a Tort Claimant any property distributed or to be
 distributed after the Effective Date by the ASF Settlement Trust in accordance with the confirmed
 Plan. Neither the ASF Settlement Trustee nor the Reorganized Debtor will have any personal
 liability for breach by the Settling Insurers of this provision.




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           10.7.2     Effective on the Effective Date, the Unknown Tort Claims Trust shall
 defend, indemnify, and hold harmless the Settling Insurers with respect to all Unknown Tort
 Claims.

          10.7.3     Effective on the Effective Date, the Reorganized Debtor shall defend,
 indemnify, and hold harmless the Settling Insurers as set forth in the Insurer Settlement
 Agreements.

           10.7.4       Nothing herein shall be construed to require the ASF Settlement Trust to
 maintain any reserve of funds to defend, indemnify and/or hold harmless the Settling Insurers
 pursuant to the Plan, the Confirmation Order, and/or any Plan Document.

        10.8 Debtor’s Waiver and Release of Claims Against ASF Participating Parties and
 Participating Religious Orders.

         Debtor’s waiver and release of Claims against ASF Participating Parties is as provided in
 the Participating Party Agreements and against the Participating Religious Orders as provided in
 the Participating Religious Order Settlement Agreements.

        10.9    Dismissal of Adversary Proceedings and Pending Appeal.

        Within five Business Days of the Effective Date, the Adversary Proceedings and Case No.
 21-702 pending before the United States Court of Appeals for the Tenth Circuit (“Appeal”) shall
 be dismissed with prejudice. The parties to the Adversary Proceedings and the Appeal shall
 cooperate to effect the dismissals in substantially the forms attached hereto as Exhibit M, which,
 upon Confirmation, are deemed approved by counsel of record.

        10.10 Non-Monetary Commitment to Healing and Reconciliation.

          In order to further promote healing and reconciliation, and in order to continue its efforts
 to prevent Abuse from occurring in the Archdiocese in the future, the Reorganized Debtor agrees
 that beginning within 30 days after the Effective Date (unless a different date is provided below),
 it will undertake the commitments set forth in the Stipulated Non-Monetary Covenants attached
 hereto as Exhibit L attached hereto and incorporated herein, including the establishment of the
 Abuse Documents Archive.

       10.11 Procedure for Determination of Claims Other Than Tort Claims or Unknown
 Tort Claims.

         The following procedures will be used for purposes of allowance and disallowance of
 creditors’ Claims that are not Tort Claims, Channeled Claims, or Unknown Tort Claims:

                10.12.1        Objections to Claims. Notwithstanding the occurrence of the
 Effective Date, and except as to any Claim that has been Allowed prior to the Effective Date, all
 objections to Claims must be filed by the Claims Objection Bar Date, provided, however, that
 nothing contained in this Plan will affect the right of the Debtor to seek estimation of any Claims,
 except Tort Claims, Channeled Claims, and Unknown Tort Claims, on any grounds permitted by
 the Bankruptcy Code at any time. Treatment of Tort Claims, Channeled Claims, and Unknown

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 Tort Claims shall be solely pursuant to the Tort Claims Allocation Protocol and the Unknown Tort
 Claims Allocation Protocol, as the case may be.

                 10.12.2       Disputed Claims. No payments or other Distributions will be made
 to the holders of Disputed Claims unless and until such Claims are Allowed Claims pursuant to a
 Final Order. If a Disputed Claim is not an Allowed Claim by the Effective Date, or when payment
 is otherwise due under this Plan, payment on the Allowed Claim (plus interest, if any is provided
 for in this Plan) will commence on the date set forth in the Final Order allowing the Claim, in
 accordance with the treatment set forth in this Plan.

                10.12.3        Treatment of Contingent Claims. Until such time as a Contingent
 Claim or a Contingent portion of an Allowed Claim becomes fixed or absolute or is disallowed,
 such Claim will be treated as a Disputed Claim for all purposes related to Distributions under this
 Plan. The holder of a Contingent Claim will only be entitled to a Distribution under this Plan when
 and if such Contingent Claim becomes an Allowed Claim, subject, however, to the provisions of
 § 502(e), and, provided that if such Contingent Claim is for reimbursement, indemnification or
 contribution at the time of allowance or disallowance, it will be disallowed pursuant to §
 502(e)(1)(B).

        10.13 Payments Effective Upon Tender.

         Whenever this Plan requires payment to be made, such payment will be deemed made and
 effective upon tender thereof by the ASF Settlement Trustee, Debtor, or the Reorganized Debtor
 to the creditor to whom payment is due. If any creditor expressly refuses a tender, the amount
 tendered and refused will be held by the ASF Settlement Trustee, Debtor or the Reorganized
 Debtor for the benefit of that creditor pending final adjudication of the dispute. However, when
 and if the dispute is finally adjudicated and the creditor receives the funds previously tendered and
 refused, the creditor will be obliged to apply the funds in accordance with this Plan as of the date
 of the tender; and while the dispute is pending and after adjudication thereof, the creditor will not
 have the right to claim interest or other charges or to exercise any other rights which would be
 enforceable by the creditor, if the Debtor or the Reorganized Debtor failed to pay the tendered
 payment.

        10.14 Preservation of Debtor’s Claims, Demands, and Causes of Action.

          Except as otherwise provided in this Plan, all Claims, demands, and Causes of Action of
 any kind or nature whatsoever held by, through, or on behalf of the Debtor and/or the Estate against
 any other Entity, including but not limited to, the Retained Claims arising before the Effective
 Date which have not been resolved or disposed of prior to the Effective Date, are hereby preserved
 in full for the benefit of the Reorganized Debtor, except for such Claims or Causes of Action,
 cross-claims, and counterclaims which: (a) have been released hereunder or pursuant to any
 applicable Insurer Settlement Agreement, Participating Party Agreement or a Final Order prior to
 the Effective Date; and (b) which have been or are being transferred to the ASF Settlement Trustee.
 Claims or Causes of Action, crossclaims and counterclaims which are being transferred to the ASF
 Settlement Trustee, if any, are preserved under this Plan for the benefit of the ASF Settlement
 Trust and/or the Unknown Tort Claims Trust. To the extent necessary, the Reorganized Debtor is
 hereby designated as the estate representative pursuant to, and in accordance with,


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 § 1123(b)(3)(B). Furthermore, in accordance with § 1123(b)(3), after the Effective Date, the
 Reorganized Debtor will own and retain, and may prosecute, enforce, compromise, settle, release,
 or otherwise dispose of, any and all Claims, defenses, counterclaims, setoffs, and recoupments
 belonging to the Debtor or its Estate, including, but not limited to the Retained Claims. The Debtor
 and the Reorganized Debtor will also be entitled to assign their rights under this Plan (except to
 the extent they are prohibited from doing so pursuant to the express terms of any applicable
 agreement for insurance coverage, Insurer Settlement Agreement, or Participating Party
 Agreement). On the Effective Date, and except as otherwise specifically provided in this Plan,
 including but not limited to Retained Claims which are specifically retained by the Debtor and
 assigned to the Reorganized Debtor, the ASF Settlement Trustee is hereby designated as the estate
 representative, pursuant to and in accordance with, § 1123(b)(3) with respect to any and all Claims,
 defenses, counterclaims, setoffs, and recoupments belonging to the Debtor or its Estate with
 respect to Tort Claims and Unknown Tort Claims.

        10.15 Special Provisions Governing Unimpaired Claims.

         Except as otherwise provided in this Plan, nothing will affect the Debtor’s or the
 Reorganized Debtor’s rights and defenses with respect to any unimpaired Claims, including, but
 not limited to, all rights with respect to legal and equitable defenses to, or setoffs or recoupments
 against, such unimpaired Claims.

        10.16 Operative Documents.

        The Debtor or the Committee will prepare any documents that the Debtor, the Reorganized
 Debtor and/or the Committee deem are necessary or appropriate to execute this Plan or are
 provided for under this Plan, including, but not limited to, the Plan Documents. If there is any
 dispute regarding the reasonableness or propriety of any such documents, any such dispute will be
 presented to the Bankruptcy Court for determination, at or in conjunction with the Confirmation
 Hearing.

        10.17 Return of Deposits.

         To the extent that the Debtor was required to and did pay deposits to any creditors after the
 Petition Date, as a condition of or as security for continued service after the Petition Date,
 including, but not limited to, deposits paid to utility companies for adequate assurance pursuant to
 § 366, then, upon satisfaction of the Claims of such creditor pursuant to this Plan or if such creditor
 did not have any Claims against the Debtor, any such deposits, together with any interest or other
 income earned thereon, if any, will be refunded to the Reorganized Debtor within 15 days of
 demand by the Reorganized Debtor for return of such deposit.

        10.18 Delivery of Distributions (Except to Tort Claims and Unknown Tort Claims).

        Distributions will be made by the Debtor or the Reorganized Debtor as follows:

                10.18.1       At the addresses set forth in the Proofs of Claim (and if both a
 claimant’s address and a claimant’s counsel are listed on the Proof of Claim then to counsel’s
 address) filed by holders of Claims or the last known addresses of such holders if no Proof of


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 Claim is filed or if the Debtor, the Reorganized Debtor, the ASF Settlement Trustee has not been
 notified of a change of address;

                10.18.2        At the addresses set forth in written notices of address change
 delivered to the Debtor, the ASF Settlement Trustee or the Reorganized Debtor after the date of
 any related Proof of Claim; or

               10.18.3       At the addresses reflected in the Schedules filed in the Bankruptcy
 Case if no Proof of Claim has been filed, and the Debtor, the ASF Settlement Trustee or the
 Reorganized Debtor has not received a written notice of change of address.

        10.19 Transmittal of Distributions to Tort Claimants and Unknown Tort Claimants.

        Except as otherwise provided in this Plan, in the Plan Documents, or in an order of the
 Bankruptcy Court, Distributions to Class 3 Tort Claimants will be made by and in accordance with
 the ASF Settlement Trust and Distributions to the Unknown Tort Claimants will be made by and
 in accordance with the Unknown Tort Claims Trust.

        10.20 Efforts Regarding Absence of Address or Returned Mail.

          If a claimant’s Distribution is not mailed or is mailed but returned to the Reorganized
 Debtor or ASF Settlement Trustee because of the absence of a proper mailing address, the
 Reorganized Debtor or ASF Settlement Trustee, as the case may be, shall make a reasonable effort
 to locate or ascertain the correct mailing address for such claimant from information generally
 available to the public and from such party’s own records, but shall not be liable to such claimant
 for having failed to find a correct mailing address. The ASF Settlement Trustee shall have no
 liability to a Tort Claimant on account of Distributions made to the client trust account of a Tort
 Claimant’s attorney.

                          SECTION 11: ASF SETTLEMENT TRUST

        11.1    Establishment of ASF Settlement Trust

         The ASF Settlement Trust shall be established in accordance with the ASF Settlement Trust
 Documents; provided that the Debtor may execute the ASF Settlement Trust Documents upon
 entry of the Confirmation Order to enable the ASF Settlement Trust to obtain a Federal Tax
 Identification number. The ASF Settlement Trust shall qualify as a Qualified Settlement Fund
 pursuant to Section 468B of the Internal Revenue Code and the Treasury Regulations promulgated
 thereunder. The ASF Settlement Trust Documents, including the ASF Settlement Trust
 Agreement, are incorporated herein by reference.
        11.2    Funding of ASF Settlement Trust

         Within two Business Days after the Effective Date, the Escrow Agent shall pay all funds
 in the Escrow Account to the ASF Settlement Trust by wire transfer.
                11.2.1 Fees and Expenses. The Reorganized Debtor shall pay the fees and
 expenses incurred by the ASF Settlement Trust and the ASF Settlement Trustee within 30 days of
 delivery of an invoice by the ASF Settlement Trustee, as provided in the ASF Settlement Trust

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 Agreement. The fees and expenses include but are not limited to the ASF Settlement Trust's
 professional fees and expenses and the ASF Settlement Trustee’s fees and expenses. The
 Reorganized Debtor is not responsible for and will not pay or reimburse Qualified Counsel Fees,
 Qualified Counsel Costs, fees and costs of attorneys representing Tort Claimants, or fees and
 expenses incurred in administration and payment of Claims against Participating Religious Orders.
        11.3    Reserve Accounts

         As set forth in the ASF Settlement Trust Agreement, the ASF Settlement Trustee may
 establish reserves within the ASF Settlement Trust for various purposes.
        11.4    No Execution

        All property held in the ASF Settlement Trust will remain property of the ASF Settlement
 Trust until such time as the property actually has been paid to and received by an Entity entitled
 to receive payment pursuant to the terms of the Tort Claims Allocation Protocol and ASF
 Settlement Trust Documents. Except as expressly provided in this Plan, Plan Documents,
 Confirmation Order, Tort Claims Allocation Protocol and the ASF Settlement Trust Documents,
 the ASF Settlement Trust shall not be responsible for any Claims against the Debtor.
        11.5    Trust Distributions

                 11.5.1 Release. No Tort Claimant or holder of a Channeled Claim shall receive
 any Distribution unless and until such Claimant has executed the General Release of any and all
 Claims against all of the Protected Parties, the Exculpated Parties, the Settling Insurers’ reinsurers
 or retrocessionaires that, directly or indirectly, relate to one or more Tort Claims, Channeled
 Claims, or the injuries or damages alleged by the Tort Claimant or holder of a Channeled Claim
 in the form attached as Exhibit N to this Plan. The General Release shall be incorporated into the
 ballot for voting on this Plan or may be executed independent of the ballot, but in any event shall
 be an independently effective instrument that is personally signed by the Tort Claimant or his or
 her legal representative. A Tort Claimant or holder of a Channeled Claim who does not timely
 submit a ballot that includes an executed release must personally execute the General Release
 required by this Section 11.5.1 and deliver it to the ASF Settlement Trustee prior to receiving any
 Distribution from the ASF Settlement Trust, provided, however that nothing in this Section shall
 require any Tort Claimant or holder of a Channeled Claim to release any Claims against any Co-
 Defendants. The ASF Settlement Trust shall be obligated to provide copies of any Channeled
 Claimants’ executed General Releases (including ballots incorporating such releases) to the
 Protected Parties.

                11.5.2 The ASF Settlement Trust shall terminate and the ASF Settlement Trustee
 shall be discharged in accordance with the ASF Settlement Trust Agreement.

        11.6    Special Distribution Conditions.

        Prior to any Distribution to a Class 3 Tort Claimant or to a Class 3 Tort Claimant’s counsel,
 the ASF Settlement Trustee shall obtain a certification of compliance with MMSEA for such Class
 3 Tort Claimant or holder of a Channeled Claim from the Claimant’s counsel, or, if the Class 3
 Tort Claimant is pro se, the ASF Settlement Trustee shall obtain the certification of compliance
 with MMSEA for such Claimant from the Claimant’s counsel, if such claimant has an attorney

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 and, if the Claimant is pro se from the third party administrator engaged by and paid for by the
 Archdiocese for the purpose of providing certifications of compliance with MMSEA for all such
 pro se Claimants. The certifications of compliance shall provide that the Claimant has or will
 provide for the payment and/or resolution of any obligations owing or asserted under 42 U.S.C.
 §1395y(b), or any related rules, regulations, or guidance, in connection with, or relating to, such
 Claimant’s Channeled Claim.

                  11.6.1 The ASF Settlement Trust shall defend, indemnify and hold harmless the
 Reorganized Debtor and the Protected Parties, other than Participating Religious Orders and any
 liability carriers to a Participating Religious Order in that capacity, from any Claims related to
 Medicare Claims reporting and payment obligations, whether relating to past Conditional
 Payments made, future payments to be made, or otherwise arising out of, relating to, or in
 connection with Channeled Claims (other than Unknown Tort Claims), including any obligations
 owing or potentially owing under MMSEA or MSPA, and any Claims related to the ASF
 Settlement Trust’s obligations under this Plan, the ASF Settlement Trust Documents, and the Plan
 Documents. The ASF Settlement Trust also shall have the obligation to cooperate in the assertion
 of the Channeling Injunction provided in the Participating Religious Order Settlement
 Agreements. The ASF Settlement Trustee shall not have personal liability for these obligations
 and the ASF Settlement Trust shall not create a reserve for these potential obligations.

                11.6.2 The ASF Settlement Trust Assets shall also be used for payment of
 indemnity and expenses relating to reimbursing the United States government or its contractors
 for Conditional Payments made pursuant to the MSPA applicable to any Medicare beneficiary who
 is a Class 3 Tort Claimant or holder of a Channeled Claim. The amount of such payment shall not
 exceed that Claimant’s award under the ASF Settlement Trust Documents. The ASF Settlement
 Trustee shall not have personal liability for these obligations and the ASF Settlement Trust shall
 not create a reserve for these potential obligations. The Reorganized Debtor shall not be
 responsible for and will not pay indemnity or expenses relating to reimbursing the United States
 government or its contractors for Conditional Payments made pursuant to the MSPA applicable to
 any Medicare beneficiary who is a Class 3 Tort Claimant or holder of a Channeled Claim.



                     SECTION 12: UNKNOWN TORT CLAIMS TRUST
            12.1       Establishment of Unknown Tort Claims Trust

         On the Confirmation Date, the Unknown Tort Claims Trust shall be established in
 accordance with the Unknown Tort Claims Trust Documents. The Unknown Tort Claims Trust
 shall qualify as a Qualified Settlement Fund pursuant to Section 468B of the Internal Revenue
 Code and the Treasury Regulations promulgated thereunder. The Unknown Tort Claims Trust
 Documents, including the Unknown Tort Claims Trust Agreement, are incorporated herein by
 reference.

        12.2    Funding

        The Debtor shall fund the Unknown Tort Claims Trust as provided in the Unknown Tort
 Claims Trust Agreement.

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        12.3    Reserve Accounts

        As set forth in the Unknown Tort Claims Trust Agreement, the Unknown Tort Claims
 Trustee may establish reserves within the Unknown Tort Claims Trust for various purposes.
        12.4    No Execution

         All property held in the Unknown Tort Claims Trust will remain property of the Unknown
 Tort Claims Trust until such time as the property actually has been paid to and received by an
 Entity entitled to receive payment pursuant to the terms of the Unknown Tort Claims Allocation
 Protocol and Unknown Tort Claims Trust Documents. Except as expressly provided in this Plan,
 Plan Documents, Confirmation Order, Unknown Tort Claims Allocation Protocol and the
 Unknown Tort Claims Trust Documents, the Unknown Tort Claims Trust shall not be responsible
 for any Claims against the Debtor.
        12.5    Trust Distributions

           12.5.1        Release. No Unknown Tort Claimant shall receive any Distribution unless
 and until the Unknown Tort Claimant has executed and delivered to the Unknown Tort Claims
 Trustee the General Release of any and all Claims against all of the Protected Parties, the
 Exculpated Parties, the Settling Insurers’ reinsurers or retrocessionaires that, directly or indirectly,
 relate to the Unknown Tort Claims or the injuries or damages alleged by the Unknown Tort
 Claimants. The General Release shall be in the form included in Exhibit N. The General Release
 of any Unknown Tort Claims must be executed personally by the Unknown Tort Claimant. The
 Unknown Tort Claims Trust shall be obligated to provide copies of the Unknown Tort Claimants’
 releases to the Protected Parties.

         12.5.2        The Unknown Tort Claims Trust shall terminate and the Unknown Tort
 Claims Trustee shall be discharged pursuant to the Unknown Tort Claims Trust Agreement.

        12.6    Special Distribution Conditions.

          Prior to any Distribution to a Class 4 Unknown Tort Claimant or to a Class 4 Unknown
 Tort Claimant’s counsel, the Unknown Tort Claims Trustee shall obtain a certification of
 compliance with MMSEA for such Class 4 Unknown Tort Claimant from the Claimant’s counsel,
 or, if the Class 4 Unknown Tort Claimant is pro se, the Unknown Tort Claims Trustee shall obtain
 the certification of compliance from the third party administrator engaged by and paid for by the
 Archdiocese for the purpose of providing certifications of compliance with MMSEA for all such
 pro se Claimants. The certifications shall provide that the Claimant has or will provide for the
 payment and/or resolution of any obligations owing or asserted under 42 U.S.C. §1395y(b), or any
 related rules, regulations, or guidance, in connection with, or relating to, such Class 4 Unknown
 Tort Claimant’s Channeled Claim. The Unknown Tort Claims Trustee shall withhold the
 Distribution(s) to the Unknown Tort Claimant and Unknown Tort Claimant’s counsel pending
 receipt of such certification of compliance.


               12.6.1 The Unknown Tort Claims Trust shall defend, indemnify and hold harmless
 the Reorganized Debtor and the Protected Parties, other than Participating Religious Orders and

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 any liability carriers to a Participating Religious Order in that capacity, from any Claims related
 to Medicare Claims reporting and payment obligations, whether relating to past Conditional
 Payments made, future payments to be made, or otherwise arising out of, relating to, or in
 connection with Tort Claims, including any obligations owing or potentially owing under MMSEA
 or MSPA, and any Claims related to the Unknown Tort Claims Trust’s obligations under this Plan,
 the Unknown Tort Claims Trust Documents, and the Plan Documents. The Unknown Tort Claims
 Trustee shall not have personal liability for this obligation and the Unknown Tort Claims Trust
 shall not create a reserve for this potential obligation.

        12.6.2 The Unknown Tort Claims Trust Assets shall also be used for payment of indemnity
 and expenses relating to reimbursing the United States government or its contractors for
 Conditional Payments made pursuant to the MSPA applicable to any Medicare beneficiary who is
 an Unknown Tort Claimant. The amount of such payment shall not exceed that Claimant’s award
 under the Unknown Tort Claims Trust documents. The Unknown Tort Claims Trustee shall not
 have personal liability for this obligation and the Unknown Tort Claims Trust shall not create a
 reserve for this potential obligation. The Reorganized Debtor shall not be responsible for and will
 not pay indemnity or expenses relating to reimbursing the United States government or its
 contractors for Conditional Payments made pursuant to the MSPA applicable to any Medicare
 beneficiary who is an Unknown Tort Claimant or holder of any other Channeled Claim.

               SECTION 13: TREATMENT OF EXECUTORY CONTRACTS

        13.1    Assumption and Rejection of Executory Contracts.

         On the Effective Date, except as otherwise provided herein, all Executory Contracts of the
 Debtor, that have not been previously rejected or terminated, will be assumed in accordance with
 the provisions and requirements of §§ 365 and 1123, other than those Executory Contracts that:
 (a) have already been assumed by Final Order of the Bankruptcy Court; (b) are subject to a motion
 to reject Executory Contracts that is pending on the Effective Date (subject to the Debtor’s right
 to request rejection retroactive to an earlier date); or (c) are subject to a motion to reject an
 Executory Contract pursuant to which the requested effective date of such rejection is after the
 Effective Date. Approval of any motions to assume Executory Contracts pending on the
 Confirmation Date or thereafter will be approved by the Bankruptcy Court on or after the
 Confirmation Date by a Final Order. Each Executory Contract assumed pursuant to this Section
 13.1 will revest in and be fully enforceable by the Reorganized Debtor in accordance with its terms,
 except as such terms are modified by the provisions of this Plan or any order of the Bankruptcy
 Court authorizing and providing for its assumption or applicable law.

        13.2    Claims Based on Rejection of Executory Contracts.

         Every Claim asserted by a creditor arising from the rejection of an Executory Contract
 pursuant to this Plan must be filed with the Bankruptcy Court no later than the first Business Day
 which is 30 days after the Effective Date or the first Business Day that is 30 days after entry of the
 Final Order of the Bankruptcy Court approving rejection, if such Final Order is entered after the
 Effective Date. Every such Claim which is timely filed, as and when it becomes an Allowed Claim,
 will be treated under Class 5 of this Plan. Every such Claim which is not timely filed by the
 deadline stated above will be forever barred, unenforceable, and discharged, and the creditor

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 holding the Claim will not receive or be entitled to any Distribution under this Plan on account of
 such Claim.

        13.3    Indemnification of Members, Managers, Officers, and Employees.

         The obligation of the Debtor to indemnify any individual serving at any time on or prior to
 the Effective Date as one of its officers, employees, or volunteers by reason of such individual’s
 service in such capacity, to the extent provided in any of the Debtor’s constituent documents or by
 a written agreement with the Debtor or under the laws of the State of New Mexico, as applicable,
 pertaining to the Debtor, will be deemed and treated as Executory Contracts that are assumed by
 the Reorganized Debtor, pursuant to this Plan and § 365 as of the Effective Date. Obligations of
 the Debtor to indemnify any such individual that are assumed will survive unimpaired and
 unaffected by entry of the Confirmation Order, irrespective of whether such indemnification is
 owed for an act or event occurring before or after the Petition Date unless such individual is a
 Protected Party. Notwithstanding the foregoing, under no circumstances will the Debtor or the
 Reorganized Debtor assume or be responsible for any alleged indemnification obligations of any
 Perpetrators, or any priests or others against whom the Debtor has determined or may, in the future
 determine, that there are credible allegations of Abuse asserted against such individual(s) or such
 Entity has or may have engaged in some other conduct that would excuse the Reorganized Debtor
 from providing any indemnification to such individual or Entity.

               SECTION 14: OTHER POST-EFFECTIVE DATE OBLIGATIONS

        14.1    Closing.

         Closing will be conducted at such location designated by the Debtor and the ASF
 Settlement Trustee, as soon as reasonably practicable following the Effective Date for the purpose
 of the Reorganized Debtor executing and delivering the Plan Documents and completing those
 actions necessary for the Reorganized Debtor to establish and fund the ASF Settlement Trust and
 make other Distributions required to be made upon, or promptly following, the Effective Date and
 in accordance with the terms of the respective Insurer Settlement Agreements and the Participating
 Party Agreements. Notwithstanding the foregoing, the Escrow Agent shall wire transfer: (a) the
 ASF Settlement Trust’s portion of the funds in the Escrow Account to the ASF Settlement Trust
 within two business days after the Effective Date and (b) the Unknown Tort Claims Trust’s portion
 of the funds in the Escrow Account to the Unknown Tort Claims Trust within two business days
 after the Effective Date. As soon as practicable, the ASF Settlement Trustee shall file notice of
 the Closing and the Reorganized Debtor will file notice of the occurrence of the Effective Date.

        14.2    Obligations of the Reorganized Debtor.

        Subject to Sections 18 and 20 of this Plan, the Reorganized Debtor will:

           14.2.1       In the exercise of its respective business judgment, review all Claims filed
 against the Estate except for Tort Claims, Channeled Claims, and Unknown Tort Claims and, if
 advisable, object to such Claims;




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         14.2.2       Honor the Debtor’s obligations arising under each Participating Party
 Agreement and Insurer Settlement Agreement and any other agreement that has been approved by
 the Bankruptcy Court as part of this Plan;

          14.2.3      Cause the Escrow Agent to transfer by wire the respective shares of the
 funds from the Escrow Account to the ASF Settlement Trustee and to the Unknown Tort Claims
 Trustee within two Business Days after the Effective Date;

         14.2.4        Transfer by wire any balance owed on the Promissory Note to the ASF
 Settlement Trust pursuant to the terms of the Promissory Note on or before March 31, 2023; and

           14.2.5      Perform all of its obligations under this Plan and Plan Documents, in each
 case, as and when the same become due or are to be performed.

        14.3    No Professional Fees or Expenses.

        No professional fees or expenses incurred by a claimant will be paid by the Reorganized
 Debtor, the Protected Parties, the ASF Settlement Trust and/or the Unknown Tort Claims Trust,
 or the ASF Settlement Trustee with respect to any Claim except as specified in this Plan or the
 Trust Documents.

        14.4    Closing of the Bankruptcy Case.

         As soon as practicable after the Effective Date, when the Reorganized Debtor deems
 appropriate, the Reorganized Debtor will seek authority from the Bankruptcy Court to close the
 Bankruptcy Case in accordance with the Bankruptcy Code and the Bankruptcy Rules; provided,
 however, that entry of a final decree closing the Bankruptcy Case shall, whether or not specified
 therein, be without prejudice to the right of the Reorganized Debtor, the ASF Settlement Trustee,
 or any other party in interest to reopen the Bankruptcy Case for any matter over which the
 Bankruptcy Court or the U.S. District Court has retained jurisdiction under this Plan or otherwise
 has jurisdiction under applicable law. Any order closing the Bankruptcy Case will provide that the
 Bankruptcy Court or the U.S. District Court, as appropriate, will retain: (a) jurisdiction to enforce,
 by injunctive relief or otherwise, the Confirmation Order, any other orders entered in the
 Bankruptcy Case, and the obligations created by this Plan and the Plan Documents; (b) all other
 jurisdiction and authority granted to it under this Plan and the Plan Documents; and (c) provide
 that the ASF Settlement Trust or the Unknown Tort Claims Trust may be terminated and the ASF
 Settlement Trustee and/or or the Unknown Tort Claims Trustee discharged as ordered by the
 Bankruptcy Court without reopening the Bankruptcy Case.

                             SECTION 15: INSURANCE MATTERS

         15.1 Nothing in this Plan, the Confirmation Order or in any Plan Document: (i) modifies
 any of the terms or the rights and obligations of Catholic Mutual, the Reorganized Debtor or any
 other Archdiocese Party under the Catholic Mutual Settlement Agreement or the Certificates, as
 amended by such settlement agreement on the Effective Date, which shall govern the coverage,
 limits, declarations, terms and conditions of liability coverage under the Certificates by Catholic
 Mutual from and after the Effective Date; (ii) impairs, diminishes or affects Catholic Mutual’s
 legal and equitable defenses under the Certificates, as so amended, relating to any and all Claims;

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 (iii) shall have any collateral estoppel or res judicata effect with respect to the liability for any and
 all Claims of the Reorganized Debtor or of any other Entity covered or allegedly covered under
 any Certificate, as so amended; (iv) shall have any collateral estoppel or res judicata effect with
 respect to the obligations, if any, of Catholic Mutual under the Certificates, as so amended, to
 provide a defense or indemnity with respect to any and all Claims; (v) shall impose any obligation
 on Catholic Mutual not set forth in the Certificates, as so amended, to provide a defense for, settle
 or pay any judgement with respect to any and all Claims; or (vi) shall grant any right of the holder
 of a Claim to sue Catholic Mutual in a direct action. For the avoidance of doubt, nothing in this
 section shall diminish the protection of Catholic Mutual under the Channeling Injunction and
 Supplemental Injunction.

         15.2 Unless otherwise determined by order of the Bankruptcy Court, the filing of a proof
 of claim or the estimation or allowance of a Claim shall not: (i) constitute a trial, an adjudication
 on the merits or evidence of liability or damages in any litigation with Catholic Mutual, the
 Reorganized Debtor, or any other Entity covered or allegedly covered under a Certificate, as
 amended by the Catholic Mutual Settlement Agreement on the Effective Date; or (ii) constitute,
 or be deemed to be a determination of the amount of any Claim, either individually or in the
 aggregate with other Claims.

         15.3 Nothing in this Plan, Confirmation Order or any Plan Document, shall impose any
 obligation on any Settling Insurer to provide a defense for, settle, or pay any judgment with respect
 to, any Tort Claim, Channeled Claim, or Unknown Tort Claim.

         15.4 Nothing in this Plan, the Confirmation Order or any Plan Document shall grant to
 any Entity any right to sue any Settling Insurer directly, in connection with a Tort Claim,
 Channeled Claim, Unknown Tort Claim or any Certificate or Insurance Policy (including a
 released Certificate or released Insurance Policy). To the extent that a Certificate or Insurance
 Policy continues in effect after the Effective Date because it is not a released Certificate or released
 Insurance Policy, the terms of the Certificate or Insurance Policy and applicable non-bankruptcy
 law will govern the rights and obligations of such Entity; provided, however, that pursuant to this
 Plan and the Insurer Settlement Agreements, no Entity shall have any right to sue any Settling
 Insurer or Participating Party directly or indirectly in connection with a Tort Claim, Unknown Tort
 Claim, Channeled Claim, or a released Certificate or released Insurance Policy. The ASF
 Settlement Trustee shall have the right to bring legal action to enforce the Insurer Settlement
 Agreements.

         15.5 Nothing in this Plan, Confirmation Order, or in any Plan Document shall constitute
 a finding or determination that any Debtor and/or third party is a named insured, additional insured
 or insured in any other way under any Certificate or Insurance Policy; or that any Settling Insurer
 has any defense or indemnity obligation with respect to any Tort Claim, Channeled Claim, or
 Unknown Tort Claim.

        15.6 Nothing in this Plan is intended to affect the governing law of any Certificate or
 Insurance Policy.

        15.7 The indemnification provisions in the Insurer Settlement Agreements survive the
 confirmation and effectiveness of this Plan.

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                                    SECTION 16: LITIGATION

         16.1 Preservation of Retained Claims.

         The Reorganized Debtor shall retain and exclusively enforce the Retained Claims, whether
 arising before or after the Petition Date, in any court or other tribunal, including, without limitation,
 a bankruptcy court adversary proceeding filed in the Bankruptcy Case. The Reorganized Debtor
 shall have the exclusive right, authority, and discretion to institute, prosecute, abandon, settle, or
 compromise any and all such Retained Claims, without obtaining Bankruptcy Court approval.

         Except for Tort Claimants, holders of Channeled Claims, or Unknown Tort Claimants, any
 Entity to whom the Debtor has incurred an obligation (whether on account of the provision of
 goods, services or otherwise), or who has received goods or services from the Debtor or a transfer
 of money or property of the Debtor, or who has transacted business with the Debtor, or leased
 equipment or property from the Debtor should assume that such obligation, transfer, or transaction
 may be reviewed by the Reorganized Debtor, subsequent to the Effective Date and may, if
 appropriate, be the subject of an action after the Effective Date, regardless of whether: (i) such
 Entity has filed a Proof of Claim against the Debtor in this Bankruptcy Case; (ii) such Entity’s
 Proof of Claim has been objected to; (iii) such Entity’s Claim was included in the Schedules; or
 (iv) such Entity’s scheduled Claims have been objected to or have been identified as disputed,
 Contingent, or unliquidated.

   SECTION 17: LIQUIDATION OF TORT CLAIMS AND UNKNOWN TORT CLAIMS

         17.1    Liquidation and Payment of Tort Claims.

             17.1.1     The ASF Settlement Trust shall pay or otherwise treat Class 3 Tort Claims
 and Channeled Claims (other than Unknown Tort Claims or Channeled Claims that arise out of
 the same set of facts and circumstances as an Unknown Tort Claim) in accordance with the terms
 of the ASF Settlement Trust Documents. The amount of the ASF Settlement Trust’s Distributions
 and reserves on account of the Class 3 Tort Claims and Channeled Claims (other than Unknown
 Tort Claims or Channeled Claims that arise out of the same set of facts and circumstances as an
 Unknown Tort Claim) shall not be binding upon any Co-Defendant in connection with a Co-
 Defendant’s liquidation of any contribution or indemnity claim. Nothing in the ASF Settlement
 Trust Documents shall: (i) impose any costs, directly or indirectly, upon the Estate, the
 Reorganized Debtor, any Participating Party or any Settling Insurer relating to the treatment of
 Class 3 Tort Claims and Channeled Claims (other than Unknown Tort Claims or Channeled Claims
 that arise out of the same set of facts and circumstances as an Unknown Tort Claim) or (ii)
 otherwise modify the rights or obligations of the Estate, the Reorganized Debtor, any Participating
 Party or Settling Insurer as otherwise set forth in the respective Insurer Settlement Agreement,
 Participating Party Agreement, this Plan, or a Plan Document.

            17.1.2     Notwithstanding the foregoing, the Reorganized Debtor is responsible for
 the ASF Settlement Trust’s administrative expenses as set forth in the Plan and in the ASF
 Settlement Trust. The Reorganized Debtor is not responsible for the ASF Settlement Trust’s
 administrative expenses incurred in the administration and payment of Claims against Participating
 Religious Orders. Because Class 3 Tort Claims are being paid by the ASF Settlement Trust without

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 regard to whether those Claims are covered by Certificates or Insurance Policies, the ASF
 Settlement Trust shall be deemed to be subrogated to the Claims of Tort Claimants paid by the
 ASF Settlement Trust. The ASF Settlement Trust may not bring any action against the Reorganized
 Debtor, any Protected Party, or their respective assets; provided, however, that the ASF Settlement
 Trust may bring an action against any of the foregoing Entities to enforce this Plan or Plan
 Documents.

        17.2 Effect of No Award on Tort Claims or Channeled Claims. If a Tort Claim,
 Channeled Claim, or Unknown Tort Claim is denied payment pursuant to the respective Tort
 Claims Allocation Protocol or Unknown Tort Claims Allocation Protocol, the holder of such Tort
 Claim, Channeled Claim, or Unknown Tort Claim will have no further rights against the Debtor,
 Reorganized Debtor, ASF Participating Parties, Settling Insurers, the ASF Settlement Trust,
 Unknown Tort Claims Trust, ASF Settlement Trustee, or Unknown Tort Claims Trustee relating
 to such Tort Claim, Channeled Claim, or Unknown Tort Claim and such Tort Claim, Channeled
 Claim, or Unknown Tort Claim shall be a Disallowed Claim and subject to all provisions of Section
 19 below.

          17.3 The Unknown Tort Claims Trust shall pay or otherwise treat (a) Class 4 Unknown
 Tort Claims and (b) Channeled Claims that arise out of the same set of facts and circumstances as
 a Class 4 Unknown Tort Claim in accordance with the terms of the Unknown Tort Claims
 Allocation Protocol. The amount of the Unknown Tort Claims Trust’s Distributions and reserves
 allocated to (i) Class 4 Unknown Tort Claims and (ii) Channeled Claims that arise out of the same
 set of facts and circumstances as a Class 4 Unknown Tort Claim shall not be binding upon any Co-
 Defendant in connection with a Co-Defendant’s liquidation of any contribution or indemnity
 claim.


                          SECTION 18: CONDITIONS PRECEDENT

        18.1    Conditions to Occurrence of the Effective Date.

        The Effective Date will occur when each of the following conditions have been satisfied
 or waived in accordance with Section 18.2 of this Plan:

           18.1.1       The Bankruptcy Court shall have entered a Final Order or Final Orders
 approving each Insurer Settlement Agreement and any appropriate judgments consistent therewith,
 in form and substance reasonably acceptable to the Settling Insurer with respect to that Settling
 Insurer’s Insurer Settlement Agreement and consistent with the requirements of such Settling
 Insurer’s applicable Insurer Settlement Agreement, and no stay of such orders is in effect;

           18.1.2       The Bankruptcy Court shall have entered a Final Order or Final Orders
 approving all Participating Party Agreements and any appropriate judgments consistent therewith,
 in form and substance reasonably acceptable to the Participating Party with respect to that
 Participating Party’s Participating Party Agreement and consistent with the requirements of such
 Participating Party’s applicable Participating Party Agreement, and no stay of such orders is in
 effect;



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           18.1.3        The Bankruptcy Court shall have entered the Confirmation Order in form
 and substance that is reasonably acceptable to the Reorganized Debtor, the Committee, the Settling
 Insurers, and the ASF Participating Parties, and the Confirmation Order is a Final Order;

         18.1.4       The ASF Settlement Trustee and the Reorganized Debtor have signed the
 ASF Settlement Trust Agreement;

           18.1.5      All Insurer Contributions and the Debtor’s Initial Contribution have been
 paid to the ASF Settlement Trust or the Escrow Agent; and
          18.1.6        The Promissory Note has been executed and delivered to the ASF
 Settlement Trustee and the Mortgage has been executed and delivered to the ASF Settlement
 Trustee in recordable form.
        18.2    Waiver of Conditions.

         Any condition to the occurrence of the Effective Date set forth in Section 18.1 of this Plan
 may be waived by the mutual written consent of the Debtor, the Committee, the Settling Insurers
 with respect to any conditions affecting such Settling Insurer’s rights or obligations and the ASF
 Participating Parties with respect to any conditions affecting such Participating Party’s obligations.

        18.3    Non-Occurrence of Effective Date.

         Subject to further order of the Bankruptcy Court, in the event that the Effective Date does
 not occur before the expiration of the 90-day period beginning after the Confirmation Order
 becoming a Final Order, or the last of the Orders approving the Insurer Settlement Agreements
 and Participating Party Agreements becoming Final Orders, whichever occurs last (the “Initial
 Closing Period”), this Plan shall become null and void and all funds in the Escrow Account shall
 be returned to the Entity that deposited them unless agreed otherwise by the Debtor, the
 Committee, and the Settling Insurers. Such agreement shall be deemed to have occurred if none of
 the foregoing parties object to Debtor’s notice of intent to extend the time by 90 days to make the
 confirmed Plan effective. Debtor must serve such notice on the foregoing parties no less than ten
 business days before the expiration of the Initial Closing Period or within five business days after
 the occurrence of any other event that would render this Plan null and void.


                        SECTION 19: EFFECTS OF CONFIRMATION

         19.1   Discharge.

         Upon the Effective Date, except as otherwise expressly provided in this Plan or in the
 Confirmation Order, the Debtor is discharged pursuant to §1141(d)(1) from any Claim and debt,
 whether reduced to judgment or not, liquidated or unliquidated, Contingent or noncontingent,
 asserted or unasserted, fixed or not, matured or unmatured, disputed or undisputed, legal or
 equitable, known or future, that arose from any agreement of the Debtor entered into or obligation
 of the Debtor incurred before the Confirmation Date, or from any conduct of the Debtor prior to
 the Confirmation Date, or that otherwise arose before the Confirmation Date, including, without
 limitation, all interest, if any, on any such Claims or debts, whether such interest accrued before
 or after the Petition Date, and including all Claims and debts of the kind specified in §§ 502(g),

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 502(h), and 502(i), whether or not a Proof of Claim is filed or is deemed filed under § 501, such
 Claim is Allowed under § 502, or the holder of such Claim has accepted this Plan. This Plan does
 not discharge any Tort Claims based on Abuse, the first incident of which occurred after the
 Petition Date.

         19.2   Vesting.

         Except as otherwise expressly provided in this Plan or in the Confirmation Order, on the
 Effective Date, and subject to the terms of the Promissory Note and the Mortgage, the Reorganized
 Debtor will be vested with all of the assets, including all property of the Estate free and clear of all
 Claims, liens, encumbrances, charges and other Interests of creditors. The Reorganized Debtor
 will, thereafter, hold, use, dispose, or otherwise deal with such property, operate its business and
 conduct its ministry and mission free of any restrictions imposed by the Bankruptcy Code or by
 the Court. All Retained Claims are hereby preserved for the benefit of the Reorganized Debtor.
 Unclaimed Property shall vest in the Reorganized Debtor.

         19.3   Exculpation and Limitation of Liability.

         Except as expressly provided in this Plan, none of the Protected Parties will have or
 incur any liability to, or be subject to any right of action by, any claimant, any other party
 in interest, or any of their respective Representatives, financial advisors, or Affiliates, or any
 of their successors or assigns, for any act or omission in connection with, relating to, or
 arising out of the Bankruptcy Case, including the exercise of their respective business
 judgment and the performance of their respective fiduciary obligations, the pursuit of
 confirmation of this Plan, or the negotiation or approval of the Insurer Settlement
 Agreements, or the administration of this Plan or of the property to be distributed under this
 Plan or the ASF Settlement Trust created hereunder, except for their willful misconduct or
 gross negligence and in all respects such parties will be entitled to reasonably rely upon the
 advice of counsel with respect to their duties and responsibilities under this Plan or the
 Bankruptcy Case. Without limiting the generality of the foregoing, the Debtor, its financial
 advisors, attorneys, and other professionals shall be entitled to and granted the benefits of
 § 1125(e).

         19.4   Limitation of Liability.

        The Protected Parties, the ASF Settlement Trust, the ASF Settlement Trustee, and
 professionals employed by the foregoing shall not have any liability to any Entity, including any
 governmental entity or insurer, on account of payments made to a Tort Claimant or a holder of a
 Channeled Claim, including any liability under the MSPA.

         19.5   Channeling Injunction.

         In consideration of (a)(1) completion of the undertakings of the Protected Parties hereunder
 and (2) other consideration, and (b)(1) to further preserve and promote the agreements between
 and among the ASF Participating Parties, the Settling Insurers, and the Debtor, which also benefit
 the Tort Claimants and Unknown Tort Claimants and (2) the protections afforded the Protected
 Parties under the Bankruptcy Code, including § 105:


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           19.5.1       Any and all Channeled Claims that are neither Unknown Tort Claims nor
 arise from the same facts and circumstances that could give rise to an Unknown Tort Claim are
 channeled into the ASF Settlement Trust and shall be treated, administered, determined, and
 resolved under the procedures and protocols and in the amounts as established under Tort Claims
 Allocation Protocol, as the sole and exclusive remedy for all holders of Channeled Claims that are
 not Unknown Tort Claims. Any and all Channeled Claims that are Class 4 Unknown Tort Claims,
 as well as any Channeled Claims that arise from the same set of facts and circumstances as an
 Unknown Tort Claim are channeled into the Unknown Tort Claims Trust and shall be treated,
 administered, determined, and resolved under the procedures and protocols and in the amounts as
 established under the Unknown Tort Claims Allocation Protocol as the sole and exclusive remedy
 for all holders of Channeled Claims that are channeled to the Unknown Tort Claims Trust.

          19.5.2        All Entities who have held or asserted, hold or assert, or may in the
 future hold or assert, any Channeled Claim are hereby permanently stayed, enjoined, barred
 and restrained from taking any of the following action, directly or indirectly, for the
 purposes of asserting, enforcing, or attempting to assert or enforce any Channeled Claim,
 including:

                 (a) commencing or continuing in any manner any action or other
          proceeding of any kind with respect to any Channeled Claim against any of the
          Protected Parties or against the property of any of the Protected Parties;

                 (b) enforcing, attaching, collecting or recovering, by any manner or means,
          from any of the Protected Parties, or from the property of any of the Protected
          Parties, with respect to any such Channeled Claim, any judgment, Award, decree,
          or order adverse to any of the Protected Parties;

                 (c) except as provided in or with respect to the Promissory Note and/or the
          Mortgage, creating, perfecting or enforcing any lien of any kind against any
          Protected Parties, or the property of any of the Protected Parties with respect to
          any such Channeled Claim;

                 (d) asserting, implementing or effectuating any Channeled Claim of any
          kind against:

                    (i) any obligation due any of the Protected Parties;

                    (ii) any Protected Party; or

                    (iii) the property of any Protected Party.

                (e) taking any act, in any manner, in any place whatsoever that does not
          conform to, or comply with, the provisions of this Plan; and

                 (f) except as provided in or with respect to the Promissory Note and/or the
          Mortgage, asserting or accomplishing any setoff, right of indemnity, subrogation,
          contribution, or recoupment of any kind against any obligation due any of the
          Protected Parties or the property of any of the Protected Parties.

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           19.5.3        The provisions of this Section 19.5 will further operate, as between all
 Protected Parties only, as a mutual release of all Claims relating to the Debtor, the Claims against
 the Debtor, the Certificates, and the Insurance Policies, which any Protected Party may have
 against another Protected Party except as may specifically be reserved or set forth in a Participating
 Party Agreement, an Insurer Settlement Agreement, a Participating Religious Order Settlement
 Agreement or this Plan. The foregoing channeling provisions are an integral part of this Plan and
 are essential to its implementation. For purposes of Section 19.5 only, the definition of Protected
 Parties does not include the Committee and each of its members; the Committee’s Professionals;
 the Unknown Claims Representative, the Claims Reviewer, the Unknown Claims Reviewer, and
 all of their respective present or former members, managers, officers, directors, employees,
 Representatives, attorneys, and agents acting in such capacity. Notwithstanding anything to the
 contrary herein, loans among ASF Participating Parties are not forgiven hereby.

       19.6 Supplemental Injunction Preventing Prosecution of Claims Against Settling
 Insurers and Insured Entities.

        Pursuant to §§ 105(a) and 363 and in consideration of the completed performance of
 the undertakings of the Settling Insurers pursuant to the Insurer Settlement Agreements,
 including any of the Settling Insurers’ purchases of Insurance Policies and Interests in the
 Pre-Petition Insurance Coverage Agreements free and clear of all Interests pursuant to
 § 363(f), any and all Entities who have held, now hold or who may in the future hold any
 Interests (including all debt holders, all equity holders, all Entities holding a Claim,
 governmental, tax and regulatory authorities, lenders, trade and other creditors,
 Archdiocese Parties, Tort Claimants, Unknown Tort Claimants, holders of Channeled
 Claims, perpetrators, and all others holding Interests of any kind or nature whatsoever,
 including those Claims released or to be released pursuant to this Plan, the Insurer
 Settlement Agreements, and the Participating Religious Order Agreements) against any of
 the Protected Parties, Insured Entities, or the Certificates or Insurance Policies, which,
 directly or indirectly, relate to, any of the Certificates or Insurance Policies, any Channeled
 Claims, any Tort Claims or any Related Insurance Claims, are hereby permanently stayed,
 enjoined, barred, and restrained from taking any action, directly or indirectly, to assert,
 enforce or attempt to assert or enforce any such Interest against the Settling Insurers,
 Insured Entities, and/or Certificates or the Insurance Policies, including:

                 (a) Commencing or continuing in any manner any action or other
          proceeding against the Settling Insurers or the Insured Entities or the property of
          the Settling Insurers or the Insured Entities;

                (b) Enforcing, attaching, collecting, or recovering, by any manner or
          means, any judgment, Award, decree or order against the Settling Insurers or the
          Insured Entities or the property of the Settling Insurers or the Insured Entities;

                 (c) Creating, perfecting, or enforcing any lien of any kind against the
          Settling Insurers or the Insured Entities or the property of the Settling Insurers or
          the Insured Entities;




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                 (d) Asserting or accomplishing any setoff, right of indemnity, subrogation,
          contribution, or recoupment of any kind against any obligation due the Settling
          Insurers or the Insured Entities or the property of the Settling Insurers or the
          Insured Entities; and,

                (e) Taking any act, in any manner, in any place whatsoever, that does not
          conform to, or comply with, the provisions of this Plan.

        19.7    Term of Injunctions or Stays and Confirmation of Settlements.

         The foregoing discharge and injunctive provisions of Article 19 of the Plan are an
 integral part of this Plan and are essential to its implementation, and not subject to alteration
 or termination without the consent of the Protected Parties. On the Effective Date, the
 injunctions provided for in this Plan shall be deemed issued, entered, valid and enforceable
 according to their terms and shall be permanent and irrevocable, provided however, that
 any Participating Religious Order or liability carrier that has agreed to make a Participating
 Religious Order Contribution as set forth in Section 10 above that has not paid its share of
 such contribution shall not be entitled to the protections of the Channeling Injunction except
 to the extent a liability carrier is entitled to such protections based solely on its status as a
 Protected Party pursuant to an Insurer Settlement Agreement. All injunctions and/or stays
 provided for in this Plan, the injunctive provisions of §§ 524 and 1141, and all injunctions or
 stays protecting any Settling Insurer that has participated in a buy back or has purchased
 its Insurance Policies in a § 363 sale, are permanent and will remain in full force and effect
 following the Effective Date and are not subject to being vacated or modified. Any and all
 currently pending court proceedings arising from Channeled Claims, the continuation of
 which would violate the provisions of this Article, shall be dismissed with prejudice. Nothing
 herein shall affect the ASF Settlement Trustee’s rights to enforce the Promissory Note and
 the Mortgage.
        19.8 Insurer Settlement Agreements, Participating Party Agreements, and the
 Participating Religious Order Settlement Agreements Incorporated into the Confirmed
 Plan.

        On the Effective Date, the Insurer Settlement Agreements, Participating Party Agreements,
 and the Participating Religious Order Settlement Agreements, if and to the extent approved by
 Final Orders, and the Final Orders approving them, shall be deemed incorporated into the
 confirmed Plan. Conflicts between the Plan and the Participating Party Agreements, the Insurer
 Settlement Agreements or the Participating Religious Order Settlement Agreements or the Final
 Orders approving them shall be controlled by the Plan.
        19.9    No Release of Criminal Liability.
        The releases, injunctions, and exculpations afforded by this Plan do not release, enjoin, or
 exculpate any Person or Entity of or from any criminal liability or prosecution, whatsoever.
                          SECTION 20: MODIFICATION OF PLAN

        20.1    Non-Material Modification of Plan.



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         The Plan may be modified by the Debtor or the Reorganized Debtor (as applicable) from
 time to time in accordance with, and pursuant to, § 1127, provided that such modifications also
 comply with the Insurer Settlement Agreements and the Participating Party Agreements. The Plan
 may be modified by the Debtor at any time before the Confirmation Date, provided that this Plan,
 as modified, meets the requirements of §§ 1122 and 1123, and the Debtor has complied with §
 1125. Each holder of a Claim that has accepted this Plan will be deemed to have accepted such
 Plan as modified if the proposed alteration, amendment or modification does not adversely change
 the treatment of the Claim of such holder. Each holder of a Claim that votes in favor of this Plan
 authorizes the Debtor to modify, at any time prior to the Effective Date and without the
 requirement of further solicitation, the treatment provided to the Class of Claims such Claims are
 classified in, provided that the Bankruptcy Court determines that such modification is not material.

         20.2   Additional Documentation; Non-Material Modifications of Plan Documents.

         From and after the Effective Date, the ASF Settlement Trustee, the Reorganized Debtor,
 ASF Participating Parties and the Settling Insurers shall be authorized to enter into, execute, adopt,
 deliver and/or implement all contracts, leases, instruments, releases, and other agreements or
 documents necessary to effectuate or memorialize the settlements contained in this Plan, and Plan
 Documents without further order of the Bankruptcy Court. Additionally, the ASF Settlement
 Trustee, the Reorganized Debtor, ASF Participating Parties and the Settling Insurers may make
 technical and/or immaterial alterations, amendments, modifications or supplements to the terms of
 any settlement, subject to Bankruptcy Court approval, provided that the amendment or
 modification does not materially and adversely change the treatment of any holder of any Claim
 without the prior written agreement of such holder. A Class of Claims that has accepted this Plan
 shall be deemed to have accepted this Plan, as altered, amended, modified or supplemented
 hereunder, if the proposed alteration, amendment, modification or supplement does not materially
 and adversely change the treatment of the Claims within such Class.

         20.3   No Re-Solicitation.

         An order of the Bankruptcy Court approving any amendment or modification made to this
 Plan shall constitute an order in aid of consummation of this Plan and shall not require the re-
 solicitation of votes on this Plan.

                       SECTION 21: RETENTION OF JURISDICTION

        21.1 Notwithstanding confirmation of this Plan and the occurrence of the Effective Date,
 the Bankruptcy Court will retain jurisdiction for the following purposes:

          21.1.1        In General. The Bankruptcy Court will retain jurisdiction to determine the
 allowance and payment of any Claims upon any objections thereto (or other appropriate
 proceedings) by the Debtor, by the Reorganized Debtor, or by any other party in interest entitled
 to proceed in that manner. As part of such retained jurisdiction, the Bankruptcy Court will continue
 to determine the allowance of Administrative Claims and any request for payment thereof,
 including Administrative Claims for Professional Charges. The Bankruptcy Court will not retain
 or obtain jurisdiction to determine any internal disputes between or among the Debtor (or the
 Archdiocese), a Parish, or any other related Entity that, under applicable Canon Law, would be


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 determined in a specialized religious court. Notwithstanding the foregoing, the Bankruptcy Court
 will not have jurisdiction to review the Claims Administrator’s determination or evaluation of
 Class 3 Tort Claims, Class 4 Tort Claims, or Channeled Claims, or the allocations made from the
 ASF Settlement Trust or the Unknown Tort Claims Trust on account of such Claims.

            21.1.2       Plan Disputes and Enforcement. Subject to the limitations set forth in this
 Plan, the Bankruptcy Court will retain jurisdiction to determine any dispute which may arise
 regarding the interpretation of any provision of this Plan. The Bankruptcy Court will also retain
 jurisdiction to enforce any provisions of this Plan and any and all Plan Documents, including, but
 not limited to, any actions to enforce the discharge, releases and injunctions provided for in Section
 19 of this Plan. The Bankruptcy Court will also retain jurisdiction over any matter relating to the
 implementation, effectuation, and/or consummation of this Plan including enforcement of the
 Promissory Note and Mortgage. The Debtor and Reorganized Debtor, as the case may be, consent
 to the jurisdiction of and venue in the Bankruptcy Court to enter a Final Order with respect to any
 action by the ASF Settlement Trust to enforce the terms of the Promissory Note and the ASF
 Settlement Trust.

           21.1.3       Further Orders. Subject to the limitations set forth in Section 21.1.1
 above, the Bankruptcy Court will retain jurisdiction to facilitate the performance of this Plan by
 entering, consistent with the provisions of this Plan, any further necessary or appropriate order
 regarding enforcement of this Plan, the Plan Documents and any provisions thereof, and to protect
 the Debtor, the Reorganized Debtor, and the Protected Parties from actions prohibited under this
 Plan. In addition, the Bankruptcy Court will retain jurisdiction to facilitate or implement the
 allowance, disallowance, treatment, or satisfaction of any Claim, or any portion thereof, pursuant
 to this Plan (other than Tort Claims, Channeled Claims, or Unknown Tort Claims, except to the
 extent that any retained jurisdiction is consistent with this Plan, and the ASF Settlement Trust) to
 which an objection has not been filed prior to the Effective Date.

          21.1.4        Retained Debtor Claims. Subject to the limitations set forth in Section
 21.1.1 above, and to the extent the Bankruptcy Court would otherwise have jurisdiction over such
 Claims, the Bankruptcy Court will retain jurisdiction with respect to any Claims not otherwise
 compromised or settled by the Debtor prior to the Effective Date.

           21.1.5        Post-Confirmation Agreements. The Bankruptcy Court will retain
 jurisdiction to approve and enter appropriate orders regarding any Participating Party Agreements
 entered into between the ASF Settlement Trust, the Debtor (or Reorganized Debtor) and a
 Participating Party or Participating Religious Order, whereupon such settling parties shall have the
 obligations and rights set forth in this Plan, the Confirmation Order and Participating Party
 Agreements or Participating Religious Order Settlement Agreements.

           21.1.6         Final Decree. The Bankruptcy Court will retain jurisdiction to enter an
 appropriate final decree in the Bankruptcy Case; provided, however, that the Bankruptcy Court
 will retain jurisdiction to enter an order terminating the ASF Settlement Trust and discharging the
 ASF Settlement Trustee in accordance with the terms of the ASF Settlement Trust notwithstanding
 the issuance of the final decree and closing of the Bankruptcy Case and without the necessity of
 reopening the Bankruptcy Case.



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           21.1.7      Appeals. In the event of an appeal of the Confirmation Order or any other
 kind of review or challenge to the Confirmation Order, and provided that no stay of the
 effectiveness of the Confirmation Order has been entered, the Bankruptcy Court will retain
 jurisdiction to implement and enforce the Confirmation Order and this Plan according to their
 terms, including, but not limited to, jurisdiction to enter such orders regarding this Plan or the
 performance thereof as may be necessary to effectuate the reorganization of the Debtor.

          21.1.8        Executory Contracts. The Bankruptcy Court will retain jurisdiction to
 determine any and all motions regarding assumption or rejection of Executory Contracts and any
 and all Claims arising therefrom.

         21.1.9       Claims. Subject to the limitations set forth in Section 21.1.1 above, the
 Bankruptcy Court will retain jurisdiction:

                 (a) To hear and determine any Claim or cause of action by or against the
          Debtor, the Debtor’s officers, officials, employees or Representatives, the Chapter 11
          Professionals, the Committee members in their capacity as such, and the Reorganized
          Debtor;

                 (b) To adjudicate any causes of action or other proceeding currently pending or
          otherwise referenced here or elsewhere in this Plan, including, but not limited to, the
          adjudication of the Retained Claims and any and all “core proceedings” under 28 U.S.C.
          § 157(b) which may be pertinent to the Bankruptcy Case and which the Debtor or the
          Reorganized Debtor may deem appropriate to initiate and prosecute before the
          Bankruptcy Court in aid of the implementation of this Plan; and

                  (c) To approve any settlements between or among the Debtor, the Committee,
          the ASF Settlement Trustee and the party against whom the Debtor, the Committee
          and/or the ASF Settlement Trustee asserts a Retained Claim.

          21.1.10       Modification of this Plan. The Bankruptcy Court will retain jurisdiction to
 modify this Plan.

           21.1.11       Failure of Court to Exercise Jurisdiction. If the Bankruptcy Court
 abstains from exercising or declines to exercise jurisdiction or is otherwise without jurisdiction
 over any matter arising out of the Bankruptcy Case, including matters set forth in this Section 20,
 such lack of jurisdiction will not diminish, control, prohibit or limit the exercise of jurisdiction by
 any other court having competent jurisdiction with respect to such matter.

                       SECTION 22: REORGANIZATION OF DEBTOR

       22.1 Continued Corporate Existence of the Archdiocese and Operation of the
 Reorganized Debtor.

         The Archdiocese will, as a Reorganized Debtor, continue to exist after the Effective Date
 as a separate legal entity, with all powers of a corporation sole under the laws of the State of New
 Mexico and without prejudice to any right to alter or terminate such existence under applicable
 state law but subject to applicable Canon Law. On and after the Effective Date, the Archdiocese

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 may operate its businesses and carry on the ministry and the mission of the Roman Catholic Church
 and may use, acquire, or dispose of property, and compromise or settle any Claims without
 supervision or approval of the Bankruptcy Court and free of any restrictions of the Bankruptcy
 Code or Bankruptcy Rules, other than those restrictions expressly imposed by this Plan or the
 Confirmation Order.

        22.2    Management of Reorganized Debtor.

        From and after the Effective Date, the Reorganized Debtor will continue to be managed in
 accordance with the principles of Canon Law and applicable state law.

                           SECTION 23: GENERAL PROVISIONS

        23.1    Election Pursuant to § 1129(b).

         If necessary, the Debtor hereby requests confirmation of this Plan pursuant to § 1129(b) if
 the requirements of all provisions of § 1129(a), except Section (a)(8) thereof, are met with regard
 to this Plan.

        23.2    Post-Confirmation Coverage.

           Notwithstanding any provision of this Plan or the Confirmation Order to the contrary, the
 terms of the Catholic Mutual Settlement Agreement and the Certificates, as amended by such
 settlement agreement, shall govern the coverage, limits, declarations, terms and conditions of
 liability coverage of the Archdiocese and Reorganized Debtor by Catholic Mutual from and after
 the Effective Date; provided, however, that Catholic Mutual’s coverage of Channeled Claims is
 settled, extinguished and excluded by such settlement agreement and this Plan.

        23.3    Extension of Payment Dates.

         If any payment date falls due on any day which is not a Business Day, then such due date
 will be extended to the next Business Day.

         23.4 Extension of Deadlines. The Court shall retain jurisdiction to approve an extension
 of any deadline provided in the Plan (i) upon motion of Debtor prior to the Effective Date; (ii)
 upon motion of Reorganized Debtor as to matters that do not materially affect Tort Claimants after
 the Effective Date; and (iii) as to matters that may materially affect Tort Claimants, on motion of
 the ASF Settlement Trustee after the Effective Date. The granting of, or refusal to grant, one
 extension shall not preclude the Court’s consideration of additional extensions. Notwithstanding
 the foregoing, the maturity date of the Promissory Note and any deadlines associated with
 enforcement of the Mortgage shall not be extended by the Court without express, written consent
 of the Committee or the ASF Settlement Trustee.

        23.5    Notices.

        Any notice required or permitted to be provided under this Plan will be in writing and
 served by regular first class mail, electronic mail, overnight delivery, or hand-delivery.


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        23.6    Closing of the Bankruptcy Case.

        At such time as this Plan has been fully administered and/or this Plan has been substantially
 consummated, the Reorganized Debtor will file an application for Final Order showing that this
 Plan has been fully administered or substantially consummated upon notice to only those creditors
 and parties that, after the Effective Date, have specifically requested, after which an order
 approving the Reorganized Debtor’s final report and closing the Bankruptcy Case may be entered.

        23.7    Interest.

        Whenever interest is to be computed under this Plan, interest will be simple interest and
 not compounded.

        23.8    Additional Assurances.

        The Debtor, the Reorganized Debtor, the ASF Settlement Trustee and the creditors holding
 Claims herein, including Tort Claims and Unknown Tort Claims will execute such other further
 documents as are necessary to implement any of the provisions of this Plan.

        23.9    Withdrawal of Plan.

         The Plan may be withdrawn or revoked prior to entry of the Confirmation Order in which
 event the provisions of Sections 23.14 will apply.

        23.10 Severability and Reformation.

         It is the Debtor’s intention to comply fully with the Bankruptcy Code and applicable non-
 bankruptcy law in proposing this Plan. Therefore, if any provision of this Plan is determined by
 the Bankruptcy Court to be contrary to the Bankruptcy Code or applicable non-bankruptcy law,
 that provision may be modified with the consent of the Debtor, the ASF Participating Parties, the
 Committee, and the Settling Insurers, provided, however, that nothing contained in this Section
 will prevent the Debtor from modifying this Plan in any manner whatsoever in accordance with
 and as set forth in Section 20.1 of this Plan and the Bankruptcy Code.

        23.11 Prohibition Against Prepayment Penalties.

        If the Debtor or the Reorganized Debtor chooses, in its sole and absolute discretion, to
 prepay any obligation on which deferred payments are provided for under this Plan, the Debtor or
 the Reorganized Debtor will not be liable or subject to the assessment of any prepayment penalty
 thereon unless otherwise ordered by the Bankruptcy Court.

        23.12 Fractional Dollars.

         Notwithstanding any other provision of this Plan, no payments or Distributions under this
 Plan of or on account of fractions of dollars will be made. When any payment or Distribution of
 or on account of a fraction of a dollar to any holder of an Allowed Claim would otherwise be
 required, the actual payment or Distribution made will reflect a rounding of such fraction to the
 nearest whole number (up or down).


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        23.13 Payment of Statutory Fees and Filing of Quarterly Reports.

         All fees payable pursuant to 28 U.S.C. § 1930 as determined by the Bankruptcy Court at
 or in conjunction with the Confirmation Hearing, will be paid on or before the Effective Date and,
 thereafter, in accordance with applicable bankruptcy law. All quarterly reports of disbursements
 required to be filed by applicable bankruptcy law will be filed by the Debtor or Reorganized Debtor
 in accordance with applicable bankruptcy law.

        23.14 Reservation of Rights.

         Except as expressly provided herein, this Plan will have no force or effect unless the
 Confirmation Order is entered by the Bankruptcy Court and the Effective Date has occurred. None
 of the filing of this Plan, any statement or provision contained herein, or the taking of any action
 by the Debtor with respect to this Plan will be nor will it be deemed to be an admission or waiver
 of any rights of the Debtor or the Committee with respect to the holders of Claims prior to the
 Effective Date or with respect to any matter which is pending before or may come before the
 Bankruptcy Court or any other court for determination in the Bankruptcy Case or any other case.

        23.15 No Professional Fees or Expenses.

        No professional fees or expenses will be paid by the Debtor or the Reorganized Debtor
 with respect to any Claim except as specified in this Plan or as Allowed by Final Order of the
 Court.

        23.16 Dissolution of Committee.

        Upon the occurrence of the Effective Date, the Committee will be dissolved; provided,
 however, that Committee may continue to exist after the Effective Date with respect to any and all
 applications for Professional fees and expenses but not for any other purpose.

        23.17 Headings.

       The headings of the articles, paragraphs, and sections of this Plan are inserted for
 convenience only and will not affect the interpretation hereof.

        23.18 Section 1146 Exemption.

        Pursuant to § 1146(c), any transfers of property pursuant hereto will not be subject to any
 document, recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax,
 stamp act, real estate transfer tax, mortgage recording tax or other similar tax or governmental
 assessment in the United States, and the Confirmation Order will direct the appropriate state or
 local governmental officials or agents to forgo the collection of any such tax or governmental
 assessment and to accept for filing and recordation any of the foregoing instruments or other
 documents without the payment of any such tax or governmental assessment.

        23.19 Successors and Assigns.




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        The rights, benefits and obligations of any Entity named or referred to in this Plan will be
 binding upon, and will inure to the benefit of, the heirs, executors, administrator, successors or
 assigns of such Entity.


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                                              SUBMITTED this 3rd day of November, 2022.

                                              ROMAN CATHOLIC CHURCH OF THE
                                              ARCHDIOCESE OF SANTA FE, a New Mexico
                                              corporation sole,

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                                                 Most Reverend John C� ester




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                                  EXHIBIT A
              ABUSE DOCUMENTS MEMORANDUM OF AGREEMENT




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                                           Exhibit _B___

     The ASF Participating Parties include the following entities (and their respective officers,
 directors, employees, trustees, agents, and subsidiaries):

    -   All parishes within the territory of the Debtor (each a “Parish” and together, the
        “Parishes”)
    -   Any school operated by or in conjunction with a Parish
    -   Any mission operated by a Parish
    -   Archdiocese of Santa Fe Catholic Foundation
    -   Catholic Cemetery Association
    -   Catholic Charities
    -   Annual Catholic Appeal Foundation
    -   Archbishop’s School Fund, Inc.
    -   Santo Nino Regional Catholic School
    -   Villa Therese Clinic
    -   St. Pius X High School
    -   St. Pius X Foundation
    -   Archdiocese of Santa Fe Deposit & Loan Trust
    -   Archdiocese of Santa Fe Real Estate Trust
    -   Archdiocese of Santa Fe Real Estate Corporation
    -   Society of St. Vincent DePaul


                                    [Subject to supplementation]

 Notwithstanding any of the foregoing, no perpetrator of abuse will be a protected party or receive
 the benefit of a release or channeling injunction.




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                                                Santa Fe Parishes
          Name
          The Cathedral Basilica of St. Francis of Assisi
          Cristo Rey Parish
          San Isidro
          Santa Maria de La Paz Catholic Community
          Shrine of Our Lady of Guadalupe
          St. Anne’s
          St. John the Baptist


                                             Albuquerque Parishes
          Name
          Church of the Ascension
          Holy Family
          Holy Ghost
          Immaculate Conception
          Nativity of the Blessed Virgin Mary
          Our Lady of Fatima
          Our Lady of Guadalupe
          Our Lady of Lavang
          Our Lady of the Annunciation
          Our Lady of the Assumption
          Our Lady of the Most Holy Rosary
          Prince of Peace Catholic Community
          Queen of Heaven
          Risen Savior Catholic Community
          Sacred Heart
          Saint John XXIII Catholic Community
          San Felipe de Neri
          San Ignacio
          San Jose
          Sangre de Cristo
          Santuario de San Martin de Porres
          Shrine of St. Bernadette
          Shrine of the Little Flower /
             St. Therese of the Infant Jesus
          St. Anne
          St. Charles Borromeo
          St. Edwin
          St. Francis Xavier
          St. Joseph on the Rio Grande
          St. Jude Thaddeus
          St. Thomas Aquinas University Parish
          Our Lady of Perpetual Help




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                          Parishes Outside of Santa Fe and Albuquerque
          Name
          Abiquiu - St. Thomas Apostle
          Anton Chico - San Jose
          Arroyo Seco - La Santisima Trinidad
          Belen - Our Lady of Belen
          Bernalillo - Our Lady of Sorrows
          Cerrillos - St. Joseph
          Chama - St. Patrick
          Chimayo - Holy Family
          Cimarron - Immaculate Conception Church
          Clayton - St. Francis Xavier
          Clovis - Our Lady of Guadalupe
          Clovis - Sacred Heart
          Corrales - San Ysidro
          Dixon - St. Anthony
          El Rito - San Juan Nepomuceno
          Española - Sacred Heart
          Fort Sumner - St. Anthony of Padua
          Isleta Pueblo - St. Augustine
          Jemez Pueblo - San Diego Mission
          Jemez Springs - Our Lady of the Assumption
          La Joya - Our Lady of Sorrows
          Las Vegas - Immaculate Conception
          Las Vegas - Our Lady of Sorrows Church
          Los Alamos - Immaculate Heart of
          Mary
          Los Lunas - San Clemente
          Los Ojos - San Jose
          Mora - St. Gertrude the Great
          Moriarty - Estancia Valley Catholic Parish
          Mountainair - St. Alice
          Pecos - St. Anthony of Padua
          Peña Blanca - Nuestra Señora de Guadalupe
          Peñasco - San Antonio de Padua
          Peralta - Our Lady of Guadalupe
          Pojoaque - Nuestra Senora de Guadalupe
          Portales - St. Helen
          Questa - St. Anthony
          Ranchos de Taos - San Francisco de Asis
          Raton - St. Patrick-St. Joseph
          Ribera, San Miguel del Vado
          Rio Rancho, Church of the Incarnation
          Rio Rancho, St. John Vianney Church
          Rio Rancho, St. Thomas Aquinas
          Roy Mosquero, Holy Family-St. Joseph
          San Juan, Ohkay Owingeh - San Juan Bautista
          Santa Cruz - Holy Cross
          Santa Rosa - St. Rose of Lima
          Socorro - San Miguel
          Springer - St. Joseph
          Taos - Nuestra Señora de Guadalupe
          Tierra Amarilla - Santo Niño
          Tijeras - Holy Child
          Tome - Immaculate Conception
          Tucumcari - St. Anne
          Vaughn - St. Mary
          Villanueva - Our Lady of Guadalupe
          Wagon Mound - Santa Clara



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                                              Missions
                           (Please contact Mother Parish for any information)

          Location           Mission                                                 Mother Parish
          Abeytas            San Antonio                            Our Lady of Sorrows, La Joya
          Abo                San Lorenzo                                     St. Alice, Mountainair
          Alamillo           San Antonio                                      San Miguel, Socorro
          Albert             San Isidro                              Holy Family-St. Joseph, Roy
          Albuquerque        Our Lady of Mount Carmel          Nativity of the BVM, Albuquerque
          Albuquerque        San Jose de Los Duranes             San Felipe de Neri, Albuquerque
          Alcalde            St. Anne                         San Juan Bautista, San Juan Pueblo
          Alcalde            San Antonio                      San Juan Bautista, San Juan Pueblo
          Algodones          San Jose                            Our Lady of Sorrows, Bernalillo
          Alto del Talco     San Santiago                            St. Gertrude the Great, Mora
          Amalia             Santo Niño                                        St. Anthony, Questa
          Angel Fire         Holy Angels               Immaculate Conception Church, Cimarron
          Arroyo Hondo       Nuestra Señora de Dolores       La Santísima Trinidad, Arroyo Seco
          Aurora             San Antonio                      Our Lady of Guadalupe, Villanueva
          Bernal             Santa Rita                              San Miguel del Vado, Ribera
          Bernalillo         Santuario de San Lorenzo            Our Lady of Sorrows, Bernalillo
          Black Lake         San Antonio               Immaculate Conception Church, Cimarron
          Borica             San Isidro                              St. Rose of Lima, Santa Rosa
          Bosque             Cristo Rey                                  Our Lady of Belen, Belen
          Buena Vista        El Santo Niño de Atocha                 St. Gertrude the Great, Mora
          Bueyeros           Sacred Heart                            Holy Family-St. Joseph, Roy
          Canjilon           San Juan Nepomuceno                                 St. Patrick, Chama
          Cañon              Nuestra Señora de los Dolores    Nuestra Señora de Guadalupe, Taos
          Cañon              Our Lady of Guadalupe              San Diego Mission, Jemez Pueblo
          Cañon Plaza        Our Lady of Mount Carmel             San Juan Nepomuceno, El Rito
          Cañoncito          Nuestra Señora de La Luz                 St. Anthony of Padua, Pecos
          Cañoncito          San Jose                                St. Gertrude the Great, Mora
          Cañoncito          San Lorenzo                                        Holy Child, Tijeras
          Cañones            San Miguel Archangel                    St. Thomas Apostle, Abiquiu
          Capulin            Santo Niño                              St. Thomas Apostle, Abiquiu
          Carnuel            Holy Child                                         Holy Child, Tijeras
          Casa Colorada      Immaculate Conception                 Immaculate Conception, Tome
          Cebolla            Santo Niño de Atocha                                St. Patrick, Chama
          Cedar Crest        San Antonio                                        Holy Child, Tijeras
          Cerro              Nuestra Señora de Guadalupe                       St. Anthony, Questa
          Chacon             San Antonio de Padua                    St. Gertrude the Great, Mora
          Chamisal           Santa Cruz                           San Antonio de Padua, Peñasco
          Chamita            San Pablo                        San Juan Bautista, San Juan Pueblo
          Chililli           San Juan Nepomuceno                                Holy Child, Tijeras
          Cleveland          San Antonio de Padua                    St. Gertrude the Great, Mora
          Cochiti Pueblo     St. Bonaventure           Nuestra Señora de Guadalupe, Peña Blanca
          Colonias           San Jose                                St. Rose of Lima, Santa Rosa
          Contreras          San Jose                               Our Lady of Sorrows, La Joya
          Cordova            San Antonio                                    Holy Family, Chimayo
          Costilla           Sagrado Corazon                                   St. Anthony, Questa
          Coyote             San Juan Bautista                       St. Thomas Apostle, Abiquiu
          Cuarteles          La Sangre de Cristo                           Holy Cross, Santa Cruz
          Cuervo             Santo Niño                              St. Rose of Lima, Santa Rosa
          Cundiyo            Santo Domingo                                  Holy Family, Chimayo
          Dahlia             Santo Niño de Atocha                           San Jose, Anton Chico
          Des Moines         Our Lady of Guadalupe                     St. Francis Xavier, Clayton
          Dilia              Sacred Heart-San Isidro                        San Jose, Anton Chico




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          Location                  Mission                                                Mother Parish
          Duran                     St. John the Baptist                                St. Mary, Vaughn
          Eagle Nest                St. Mel                    Immaculate Conception Church, Cimarron
          Edgewood                  St. Elizabeth Ann Seaton Estancia Valley Catholic Parish, Moriarity
          El Carmen                 Nuestra Señora de Carmel                 St. Gertrude the Great, Mora
          El Cerrito                Nuestra Señora de Los Desamparados OL of Guadalupe, Villanueva
          El Duende                 San Francisco                                  Sacred Heart, Española
          El Guache                 San Antonio                                    Sacred Heart, Española
          El Guique                 San Rafael                        San Juan Bautista, San Juan Pueblo
          El Llanito                Christ the King              Our Lady of Sorrows Church, Las Vegas
          El Macho                  Nuestra Señora de Guadalupe              St. Anthony of Padua, Pecos
          El Porvenir               San Antonio                  Our Lady of Sorrows Church, Las Vegas
          El Prado                  Santa Teresita de Jesús           Nuestra Señora de Guadalupe, Taos
          El Pueblo                 San Antonio                              San Miguel del Vado, Ribera
          El Rancho                 San Antonio de Padua          Nuestra Señora de Guadalupe, Pojoaque
          El Valle                  San Miguel                                      Holy Family, Chimayo
          Encino                    Our Lady of Guadalupe                               St. Mary, Vaughn
          Ensenada                  San Joaquin                                        San Jose, Los Ojos
          Escobosa                  San Isidro                                         Holy Child, Tijeras
          Estaca                    San Francisco                     San Juan Bautista, San Juan Pueblo
          Estancia                  Sts. Peter and Paul         Estancia Valley Catholic Parish, Moriarity
          Folsom                    St. Joseph                                 St. Francis Xavier, Clayton
          Galisteo                  Nuestra Señora de Los Remedios                    St. Joseph, Cerrillos
          Gallegos                  Immaculate Conception                    Holy Family-St. Joseph, Roy
          Gallina                   Nuestra Señora de Guadalupe              St. Thomas Apostle, Abiquiu
          Gallinas                  Santo Niño                   Our Lady of Sorrows Church, Las Vegas
          Glorieta                  Nuestra Señora de Guadalupe              St. Anthony of Padua, Pecos
          Golden                    San Francisco de Asis                             St. Joseph, Cerrillos
          Golondrinas               San Acacio                               St. Gertrude the Great, Mora
          Gonzales Ranch            San Isidro & Santa Teresita       Our Lady of Guadalupe, Villanueva
          Guachupangue              Our Lady of Guadalupe                          Sacred Heart, Española
          Guadalupita               Nuestra Señora de Guadalupe              St. Gertrude the Great, Mora
          Hernandez                 San Jose                                       Sacred Heart, Española
          Holman                    Immaculate Heart of Mary                 St. Gertrude the Great, Mora
          Jarales                   St. Francis Xavier                           Our Lady of Belen, Belen
          Kelly                     San Juan Bautista                                 San Miguel, Socorro
          La Bajada                 San Miguel                Nuestra Señora de Guadalupe, Peña Blanca
          La Cañada de Los Alamos   Our Lady of Guadalupe                     Cristo Rey Parish, Santa Fe
          La Cienega                San Jose                                          San Isidro, Santa Fe
          La Cueva                  San Rafael                               St. Gertrude the Great, Mora
          La Loma                   San Antonio                       Nuestra Señora de Guadalupe, Taos
          La Madera                 Our Lady of Guadalupe                 San Juan Nepomuceno, El Rito
          La Manga                  Santo Niño                   Our Lady of Sorrows Church, Las Vegas
          La Mesilla                San Isidro                                     Holy Cross, Santa Cruz
          La Petaca                 Nuestra Divina Pastora                San Juan Nepomuceno, El Rito
          La Puebla                 Naciemento de Santo Niño Jesús                 Holy Cross, Santa Cruz
          La Puente                 St. Michael                                        San Jose, Los Ojos
          Lagunita                  Our Lady of the Rosary                   San Miguel del Vado, Ribera
          Las Colonias              Santo Niño                               St. Anthony of Padua, Pecos
          Las Colonias              Santo Niño de Atocha              La Santísima Trinidad, Arroyo Seco
          Las Nutrias               San Isidro                             Our Lady of Sorrows, La Joya
          Las Tablas                San Luis Gonzaga                      San Juan Nepomuceno, El Rito
          Ledoux                    San Jose                                 St. Gertrude the Great, Mora
          Lemitar                   La Sagrada Familia                                San Miguel, Socorro
          Leyba                     San Francisco                     Our Lady of Guadalupe, Villanueva
          Llano de San Juan         San Juan Nepomuceno                   San Antonio de Padua, Peñasco
          Los Chavez                Nuestra Señora de Guadalupe                  Our Lady of Belen, Belen



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          Location          Mission                                                Mother Parish
          Llano Quemado     Nuestra Señora del Carmen San Francisco de Asis, Ranchos de Taos
          Logan             St. Anthony                                      St. Anne, Tucumcari
          Los Cordovas      San Ysidro                  San Francisco de Asis, Ranchos de Taos
          Los Hueros        San Juan Bautista                        Santa Clara, Wagon Mound
          Los LeFebres      Nuestro Señor de Esquipula               Santa Clara, Wagon Mound
          Los Lentes        San Antonio                                San Clemente, Los Lunas
          Los Luceros       Sagrada Familia                  San Juan Bautista, San Juan Pueblo
          Los Montoyas      San Antonio                 Our Lady of Sorrows Church, Las Vegas
          Los Vigiles       Our Lady of Refuge               Immaculate Conception, Las Vegas
          Lower Rociada     Santo Niño                  Our Lady of Sorrows Church, Las Vegas
          Lucero            Santa Rita                              St. Gertrude the Great, Mora
          Luis Lopez        San Jose                                         San Miguel, Socorro
          Lyden             San Jose                                          St. Anthony, Dixon
          Maes              San Santiago                Our Lady of Sorrows Church, Las Vegas
          Magdalena         St. Mary Magdalene                               San Miguel, Socorro
          Manzano           Nuestra Señora de Dolores                      St. Alice, Mountainair
          Maxwell           St. Vincent de Paul                     St. Patrick-St. Joseph, Raton
          Meadowlake        Misión de San Juan Diego                   San Clemente, Los Lunas
          Medanales         San Antonio                            St. Thomas Apostle, Abiquiu
          Melrose           St. Catherine                                    Sacred Heart, Clovis
          Mesa de Poleo     Santa Teresa                           St. Thomas Apostle, Abiquiu
          Milagro           Our Lady of Sorrows                    St. Rose of Lima, Santa Rosa
          Monte Aplanado    El Santo Niño de Atocha                 St. Gertrude the Great, Mora
          Montoya           St. Joan of Arc                                  St. Anne, Tucumcari
          Nambe             Sagrado Corazon de Jesús    Nuestra Señora de Guadalupe, Pojoaque
          Nambe Pueblo      San Francisco de Asis       Nuestra Señora de Guadalupe, Pojoaque
          Nara Visa         Sacred Heart                                     St. Anne, Tucumcari
          Ocate             Nuestra Señora de Guadalupe              Santa Clara, Wagon Mound
          Ojo Caliente      St. Mary                             San Juan Nepomuceno, El Rito
          Ojo Feliz         San Isidro                              St. Gertrude the Great, Mora
          Ojo Sarco         Santo Tomas                                   Holy Family, Chimayo
          Palo Blanco       Our Lady of Mount Carmel                          St. Joseph, Springer
          Pastura           St. Helen                                           St. Mary, Vaughn
          Picuris Pueblo    San Lorenzo                          San Antonio de Padua, Peñasco
          Pilar             Nuestra Señora de Dolores                         St. Anthony, Dixon
          Pinos Wells       San Jose                                            St. Mary, Vaughn
          Pintada           Holy Family                            St. Rose of Lima, Santa Rosa
          Placita           Nuestra Señora de la Asuncion        San Antonio de Padua, Peñasco
          Placitas          San Antonio                         Our Lady of Sorrows, Bernalillo
          Placitas          St. Anthony                          San Juan Nepomuceno, El Rito
          Plaza Blanca      San Antonio                                        San Jose, Los Ojos
          Plaza de Arriba   Sangre de Cristo                              San Jose, Anton Chico
          Polvadera         San Lorenzo                                      San Miguel, Socorro
          Ponderosa         Santo Toribio                      San Diego Mission, Jemez Pueblo
          Pueblitos         San Isidro                                 Our Lady of Belen, Belen
          Puerto de Luna    Our Lady of Refuge                     St. Rose of Lima, Santa Rosa
          Punta de Agua     St. Vincent de Paul                            St. Alice, Mountainair
          Rainsville        Sacred Heart of Jesus                   St. Gertrude the Great, Mora
          Ranchitos         Imaculada Concepcion             Nuestra Señora de Guadalupe, Taos
          Ranchitos         St. Michael Archangel            San Juan Bautista, San Juan Pueblo
          Rayado            Holy Child Chapel                 Immaculate Conception, Cimarron
          Red River         St. Edwin                                        St. Anthony, Questa
          Riley             Santa Rita                                       San Miguel, Socorro
          Rio Chiquito      San Ysidro & Sagrado Corazon                  Holy Family, Chimayo
          Rio en Medio      Our Lady of Sorrows      Shrine of Our Lady of Guadalupe, Santa Fe




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          Location               Mission                                                Mother Parish
          Rio Lucio              Sagrada Corazon de Jesús             San Antonio de Padua, Peñasco
          Rodarte                Santa Barbara                        San Antonio de Padua, Peñasco
          Rowe                   Sagrada Familia                          St. Anthony of Padua, Pecos
          Sabinal                San Antonio                            Our Lady of Sorrows, La Joya
          Sabinoso               Nuestra Señora de Guadalupe             Holy Family-St. Joseph, Roy
          San Antonio            San Antonio                                      San Miguel, Socorro
          San Antonito           Nuestro Señor de Mapimi                           Holy Child, Tijeras
          San Augustine          San Augustine                Our Lady of Sorrows Church, Las Vegas
          San Cristobal          San Cristobal                    La Santísima Trinidad, Arroyo Seco
          San Felipe Pueblo      San Felipe                Nuestra Señora de Guadalupe, Peña Blanca
          San Geronimo           San Geronimo                 Our Lady of Sorrows Church, Las Vegas
          San Idelfonso Pueblo   San Idelfonso                     San Juan Bautista, San Juan Pueblo
          San Ignacio            San Ignacio                  Our Lady of Sorrows Church, Las Vegas
          San Ignacio            San Ignacio                             St. Rose of Lima, Santa Rosa
          San Isidro del Sur     Nuestra Señora de Guadalupe             San Miguel del Vado, Ribera
          San Isidro Norte       San Isidro Labrador                     San Miguel del Vado, Ribera
          San Jon                Our Lady of Guadalupe                            St. Anne, Tucumcari
          San Jose               San Jose                                San Miguel del Vado, Ribera
          San Juan               San Juan Nepomuceno                     San Miguel del Vado, Ribera
          San Pedro              San Pedro                                     Holy Cross, Santa Cruz
          San Ysidro             San Ysidro                         San Diego Mission, Jemez Pueblo
          Sandia Pueblo          St. Anthony                          Our Lady of Sorrows, Bernalillo
          Santa Ana Pueblo       Santa Ana (St. Anthony)            San Diego Mission, Jemez Pueblo
          Santa Clara Pueblo     Santa Clara                       San Juan Bautista, San Juan Pueblo
          Santo Domingo Pueblo   Santo Domingo             Nuestra Señora de Guadalupe, Peña Blanca
          Santo Niño             Santo Niño                                    Holy Cross, Santa Cruz
          Sapello                Nuestra Señora de Guadalupe         Our Lady of Sorrows, Las Vegas
          Sedillo                San Isidro                                        Holy Child, Tijeras
          Sena                   Nuestro Señor Esquipula          Our Lady of Guadalupe, Villanueva
          Servilleta             St. Anthony                           San Juan Nepomuceno, El Rito
          Sile                   Santa Barbara             Nuestra Señora de Guadalupe, Peña Blanca
          Tajique                San Antonio                Estancia Valley Catholic Parish, Moriarity
          Talpa                  Nuestra Señora de San Juan de Los Lagos              Ranchos de Taos
          Taos Pueblo            San Geronimo                     Nuestra Señora de Guadalupe, Taos
          Tecolote               Our Lady of Sorrows          Our Lady of Sorrows Church, Las Vegas
          Tecolotito             Our Lady of Guadalupe                          San Jose, Anton Chico
          Tesuque                San Ysidro                Shrine of Our Lady of Guadalupe, Santa Fe
          Tesuque Pueblo         San Diego                         San Juan Bautista, San Juan Pueblo
          Texico                 San Jose                              Our Lady of Guadalupe, Clovis
          Tinaja                 San Isidro                                        St. Joseph, Springer
          Torreon                St. Anthony                                    St. Alice, Mountainair
          Trampas                San Jose                                      Holy Family, Chimayo
          Trementina             San Rafael                   Our Lady of Sorrows Church, Las Vegas
          Tres Piedras           Immaculate Conception                 San Juan Nepomuceno, El Rito
          Truchas                Santo Rosario                                 Holy Family, Chimayo
          Trujillo               San Isidro                   Our Lady of Sorrows Church, Las Vegas
          Turquillo              Santa Teresitadel Niño Jesús            St. Gertrude the Great, Mora
          Upper Rociada          San Jose                     Our Lady of Sorrows Church, Las Vegas
          Upper Town             San Antonio                       Immaculate Conception, Las Vegas
          Vadito                 Nuestra Señora de Dolores            San Antonio de Padua, Peñasco
          Valdez                 San Antonio de Padua             La Santísima Trinidad, Arroyo Seco
          Valencia               Sangre de Cristo                     Our Lady of Guadalupe, Peralta
          Vallecitos             Our Lady of Sorrows                   San Juan Nepomuceno, El Rito
          Variadero              Holy Family                  Our Lady of Sorrows Church, Las Vegas
          Veguita                San Juan                               Our Lady of Sorrows, La Joya




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          Velarde                  Nuestra Señora de Guadalupe                    St. Anthony, Dixon
          Watrous                  Sagrado Corazon                        Santa Clara, Wagon Mound
          White Rock               St. Joseph                  Immaculate Heart of Mary, Los Alamos
          Willard                  Our Lady of Sorrows                         St. Alice, Mountainair
          Youngsville              San Pedro                            St. Thomas Apostle, Abiquiu
          Zia Pueblo               Our Lady of the Assumption      San Diego Mission, Jemez Pueblo




                                                    Shrines
                                 (Please contact Mother Parish for any information)

          Shrine                                                                           Mother Parish
          Santuario de Chimayo                                                     Holy Family, Chimayo
          Shrine of the Little Flower                         St.Therese of the Infant Jesus, Albuquerque
          Shrine of Our Lady of Guadalupe                     Shrine of Our Lady of Guadalupe, Santa Fe
          Shrine of Our Lady of Lourdes                              San Juan Baustista, San Juan Pueblo
          Shrine of St. Bernadette                                 Shrine of St. Bernadette, Albuquerque
          Shrine of St. Kateri Tekakwitha                                     St. Augustine, Isleta Pueblo




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 Annunciation Catholic School

 Holy Ghost Catholic School

 Our Lady of Fatima Catholic School

 Our Lady of the Assumption Catholic School

 Risen Savior Catholic School

 San Felipe de Neri Catholic School

 St. Charles Borromeo Catholic School

 St. Mary Catholic School

 St. Pius X High School

 St. Therese Catholic School

 St. Mary Catholic School (Belen)

 Holy Child Catholic School

 St. Thomas Aquinas Catholic School

 Holy Cross Catholic School

 Santo Niño Regional Catholic School

 St. Michael's High School




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                    ASF SETTLEMENT TRUST AGREEMENT


                            DATED AS OF [●], 2022


                     PURSUANT TO CHAPTER 11 PLAN OF

                           REORGANIZATION FOR

     THE ROMAN CATHOLIC CHURCH OF THE ARCHDIOCESE OF SANTA FE




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                                ASF SETTLEMENT TRUST AGREEMENT

         This ASF Settlement Trust Agreement (this “ASF Settlement Trust Agreement”), dated
 as of [●], 2022, and effective as of the Effective Date, is entered in accordance with the Debtor’s
 Plan of Reorganization Dated [●], 2022 (as it may be amended, modified, or supplemented, the
           1
 “Plan”), by the Roman Catholic Church of the Archdiocese of Santa Fe, a New Mexico
 corporation sole (the “Archdiocese,” also known as the “Debtor” or the “Settlor,” in its capacity
 as settlor of the ASF Settlement Trust), on the one hand, and Omni Management Group LLC as
 trustee (together with any successor serving in such capacity, the “ASF Settlement Trustee”), on
 the other hand;

                                                         RECITALS


        (A)    The Archdiocese has, or contemporaneously with the execution of this ASF
 Settlement Trust Agreement will have, reorganized under the provisions of chapter 11 of the
 Bankruptcy Code in a case filed in the Bankruptcy Court, administered and known as In re The
 Roman Catholic Church of the Archdiocese of Santa Fe, a New Mexico corporation sole, Case
 No. 18-13027-t11 (Bankr. D.N.M. (the “Chapter 11 Case”).

         (B)     The Plan and the Confirmation Order in the Chapter 11 Case provide, among other
 things, for the creation of the ASF Settlement Trust.

         (C)     The Archdiocese is executing this ASF Settlement Trust Agreement in its capacity
 as Settlor to implement the Plan and to create the ASF Settlement Trust (the “ASF Settlement
 Trust”) for the exclusive benefit of the holders of Class 3 Tort Claims.



        (D)    The Bankruptcy Court held in the Confirmation Order that all the prerequisites for
 the Channeling Injunction have been satisfied, and such Channeling Injunction is fully effective
 and enforceable as provided in the Plan and Confirmation Order with respect to the Channeled
 Claims.

          (E)     The Plan and Confirmation Order provide that, on the Effective Date, the Aggregate
 Settlement Consideration (as defined in Section 1.3 below) shall be transferred to the ASF
 Settlement Trust free and clear of all liens, encumbrances, charges, claims, interests or other
 liabilities of any kind of the Debtor or their affiliates, any creditor or any other entity, other than
 as provided in the Channeling Injunction with respect to the Channeled Claims and as provided in
 Section 1.3 below.

         NOW, THEREFORE, it is hereby agreed as follows:



 1
     All capitalized terms used but not otherwise defined herein shall have their respective meanings as set forth in the Plan or in
     the Confirmation Order, as applicable, or, if not defined therein, as set forth in the Allocation Protocol (as defined in Section
     1.2 below).


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                                        ARTICLE 1.
                                    AGREEMENT OF TRUST

 Section 1.1 Creation and Name. Archdiocese as Settlor hereby creates a trust known as the
 “ASF Settlement Trust” which is the trust provided for and referred to in the Plan. The ASF
 Settlement Trustee may transact the business and affairs of the ASF Settlement Trust in the name
 of the ASF Settlement Trust and references herein to the ASF Settlement Trust shall include the
 ASF Settlement Trustee acting on behalf of the ASF Settlement Trust. The Confirmation Order,
 the Plan and this ASF Settlement Trust Agreement, including the Exhibits hereto, including the
 Tort Claims Allocation Protocol as defined in Section 1.2 below, (collectively, the “ASF
 Settlement Trust Documents”), constitute the governing instruments of the ASF Settlement
 Trust. The ASF Settlement Trustee is hereby authorized to execute and file a Certificate of ASF
 Settlement Trust with the New Mexico Secretary of State.

 Section 1.2 Purposes. The purposes of the ASF Settlement Trust are (i) to assume all liability
 for the Channeled Claims,2 except for Unknown Tort Claims and other Channeled Claims related
 to such Unknown Tort Claims; (ii) to administer the Class 3 Tort Claims; and (iii) to make
 Distributions to holders of Class 3 Tort Claims, in each case in accordance with the Tort Claims
 Allocation Protocol attached hereto as Exhibit 1 (the “Tort Claims Allocation Protocol”). In
 connection therewith, the ASF Settlement Trust shall hold, manage, protect and monetize the ASF
 Settlement Trust Assets (as defined in Section 1.3 below) in accordance with the terms of the ASF
 Settlement Trust Documents for the benefit of the Beneficiaries (as defined in Section 1.6(a)
 below). All Class 3 Tort Claims shall be resolved exclusively in accordance with the Tort Claims
 Allocation Protocol.

 Section 1.3 Transfer of Assets. Pursuant to the Plan, within two Business Days of the Effective
 Date, the Escrow Agent shall pay all funds in the Escrow Account to the ASF Settlement Trust by
 wire transfer. The ASF Settlement Trust will receive and hold all right, title and interest in and to
 the funds transferred, including Contributions from Participating Religious Orders (the
 “Aggregate Settlement Consideration” and together with any income or gain earned thereon and
 proceeds derived therefrom, collectively, the “ASF Settlement Trust Assets”). The Aggregate
 Settlement Consideration shall be transferred to the ASF Settlement Trust free and clear of any
 liens, encumbrances, charges, claims, interests or other liabilities of any kind of the Debtor or its
 affiliates, any creditor or any other person or entity, other than as provided in the Channeling
 Injunction with respect to Channeled Claims. The Debtor or Reorganized Debtor shall execute
 and deliver such documents to the ASF Settlement Trust as the ASF Settlement Trustee reasonably
 requests to transfer and assign any assets comprising all or a portion of the Aggregate Settlement
 Consideration to the ASF Settlement Trust.

 Section 1.4 Acceptance of Assets. In furtherance of the purposes of the ASF Settlement Trust,
 the ASF Settlement Trustee, on behalf of the ASF Settlement Trust, hereby expressly accepts the
 transfer to the ASF Settlement Trust of the Aggregate Settlement Consideration, subject to the
 terms of the ASF Settlement Trust Documents and the Plan Documents. The ASF Settlement Trust
 shall succeed to all of the Funding Group’s and the Participating Religious Orders’ respective

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     See Plan, Section 8.1.2.



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 rights, title, and interest, including all legal privileges, in the Aggregate Settlement Consideration
 and neither the Debtor nor any other person or entity transferring such Aggregate Settlement
 Consideration will have any further equitable or legal interest in, or with respect to, the ASF
 Settlement Trust Assets, including the Aggregate Settlement Consideration, or the ASF Settlement
 Trust.

                 (b)    Except as otherwise provided in the Plan, Confirmation Order or ASF
 Settlement Trust Documents, the ASF Settlement Trust shall have all defenses, cross-claims,
 offsets, and recoupments, as well as rights of indemnification, contribution, subrogation, and
 similar rights, regarding Channeled Claims that the Debtor or the Reorganized Debtor have or
 would have had under applicable law.

                 (c)    No provision herein or in the Tort Claims Allocation Protocol shall be
 construed or implemented in a manner that would cause the ASF Settlement Trust to fail to qualify
 as a “qualified settlement fund” under the QSF Regulations (as defined in Section 8.4(a) below).

               (d)    Nothing in this ASF Settlement Trust Agreement shall be construed in any
 way to limit the scope, enforceability, or effectiveness of the Channeling Injunction, the
 Supplemental Injunction or other terms of the Plan or Confirmation Order.

                 (e)    In this ASF Settlement Trust Agreement and the Tort Claims Allocation
 Protocol, the words “must,” “will,” and “shall” are intended to have the same mandatory force and
 effect, while the word “may” is intended to be permissive rather than mandatory.

 Section 1.5    Intentionally Omitted

 Section 1.6    Beneficiaries.

                 (a)     The ASF Settlement Trust is established for the benefit of the holders of
 Class 3 Tort Claims and other Channeled Claims related to such Class 3 Tort Claims that are
 entitled to a Distribution under the Plan Documents (the “Beneficiaries”). In the case of holders
 such Claims who have open bankruptcy cases, the bankruptcy estate in those cases is the
 Beneficiary and the chapter 7 debtor is not a Beneficiary.

                (b)   The Beneficiaries shall be subject to the terms of this ASF Settlement Trust
 Agreement and ASF Settlement Trust Documents, including without limitation, the Tort Claims
 Allocation Protocol.

 Section 1.7 Jurisdiction. The Bankruptcy Court shall have continuing jurisdiction with respect
 to the ASF Settlement Trust; provided however, the courts of the State of New Mexico, including
 any federal court located therein, shall also have jurisdiction over the ASF Settlement Trust if and




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 to the extent the Bankruptcy Court cannot exercise or properly abstains from exercising
 jurisdiction over the ASF Settlement Trust.

 Section 1.8    Privileged and confidential information.

         The transfer or assignment of any information subject to an attorney-client or similar
 privilege to the ASF Settlement Trustee shall not result in the destruction or waiver of any
 applicable privileges pertaining thereto. Further, with respect to any such privileges: (a) they are
 transferred to or contributed for the purpose of enabling the ASF Settlement Trustee to perform
 his or her duties to administer the ASF Settlement Trust and (b) they are vested solely in the ASF
 Settlement Trustee and not in the ASF Settlement Trust, or any other person, committee or
 subcomponent of the ASF Settlement Trust, or any other person (including counsel and other
 professionals) who has been engaged by, represents, or has represented any holder of a Channeled
 Claim.

 Section 1.9    Relation-back election.

         Upon request of the ASF Settlement Trustee, the Settlor shall fully cooperate in filing a
 relation-back election under Treasury Regulation Section 1.468B-1(j)(2), to treat the ASF
 Settlement Trust as coming into existence as a settlement fund as of the earliest possible date.

 Section 1.10 Employer identification number.

         Upon establishment of the ASF Settlement Trust, the ASF Settlement Trustee shall apply
 for an employer identification number for the ASF Settlement Trust in accordance with Treasury
 Regulation Section 1.468B-2(k)(4).

 Section 1.11 Relationship to Plan.

        The principal purpose of this ASF Settlement Trust Agreement is to aid in the
 implementation of the Plan and the Confirmation Order and therefore, this ASF Settlement Trust
 Agreement incorporates the provisions of the Plan and the Confirmation Order (which may amend
 or supplement the Plan). To the extent that there is conflict between the provisions of this ASF
 Settlement Trust Agreement, the Tort Claims Allocation Protocol, the provisions of the Plan or the
 Confirmation Order, each document shall have controlling effect in the following order: (1) the
 Confirmation Order; (2) the Plan; (3) this ASF Settlement Trust Agreement; and (4) the Tort
 Claims Allocation Protocol.

                                     ARTICLE 2.
                          POWERS AND TRUST ADMINISTRATION

 Section 2.1    Powers.

                 (a)    The ASF Settlement Trustee is empowered to take all actions, including
 such actions as may be consistent with those expressly set forth above, as the ASF Settlement
 Trustee deems necessary to reasonably ensure that the ASF Settlement Trust is treated as a
 “qualified settlement fund” under Section 468B of the Tax Code and the regulations promulgated


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 pursuant thereto. Further, the ASF Settlement Trustee may, unilaterally and without court order,
 amend, either in whole or in part, any administrative provision of this ASF Settlement Trust
 Agreement which causes unanticipated tax consequences or liabilities inconsistent with the
 foregoing.

                  (b)     The ASF Settlement Trustee is and shall act as the fiduciary to the ASF
 Settlement Trust Assets in accordance with the provisions of the ASF Settlement Trust Documents.
 The ASF Settlement Trustee shall administer the ASF Settlement Trust, the ASF Settlement Trust
 Assets, and any other amounts to be received under the terms of the ASF Settlement Trust
 Documents in accordance with the purposes set forth in Section 1.2 above and in the manner
 prescribed by the ASF Settlement Trust Documents. Subject to the limitations set forth in the ASF
 Settlement Trust Documents, the ASF Settlement Trustee shall have the power to take any and all
 actions that in the judgment of the ASF Settlement Trustee are necessary or advisable to fulfill the
 purposes of the ASF Settlement Trust, including, without limitation, each power expressly granted
 in this Section 2.1, any power reasonably incidental thereto and any trust power now or hereafter
 permitted under the laws of the State of New Mexico. Nothing in the ASF Settlement Trust
 Documents or any related document shall require the ASF Settlement Trustee to take any action if
 the ASF Settlement Trustee reasonably believes that such action is contrary to law. In addition to
 all powers enumerated in the ASF Settlement Trust Documents, including, but not limited to, the
 ASF Settlement Trustee’s powers and authority in respect of the interpretation, application of
 definitions and rules of construction set forth in Sections 2 and 3 of the Plan to the fullest extent
 set forth therein, from and after the Effective Date, the ASF Settlement Trust shall succeed to all
 of the rights and standing of the Debtor with respect to the Aggregate Settlement Consideration in
 its capacity as a trust administering assets for the benefit of the Beneficiaries.

                (c)    Except as required by applicable law or the ASF Settlement Trust
 Documents, the ASF Settlement Trustee need not obtain the order or approval of any court in the
 exercise of any power or discretion conferred hereunder.

                (d)     Without limiting the generality of Sections 2.1(a) and (b) above, and except
 as limited in the ASF Settlement Trust Documents and by applicable law, the ASF Settlement
 Trustee shall have the power to:

                      (i)    supervise and administer the ASF Settlement Trust in accordance
 with the ASF Settlement Trust Documents, including the Tort Claims Allocation Protocol;

                        (ii)    receive and hold the ASF Settlement Trust Assets, and exercise all
 rights with respect thereto including the right to vote and sell any securities that are included in
 such funds;

                       (iii) invest the monies held from time to time by the ASF Settlement
 Trust in accordance with Section 3.2;

                       (iv)    enter into leasing, financing or other agreements with third parties,
 as determined by the ASF Settlement Trustee, in his or her discretion, to be useful in carrying out
 the purposes of the ASF Settlement Trust;



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                       (v)   determine and pay all liabilities, fees and expenses incurred in
 administering the ASF Settlement Trust, managing the ASF Settlement Trust Assets and making
 Distributions in accordance with the ASF Settlement Trust Documents (the “ASF Settlement
 Trust Operating Expenses”);

                       (vi)    establish accounts and reasonable reserves within the ASF
 Settlement Trust, in his discretion, to be necessary, prudent or useful in administering the ASF
 Settlement Trust;

                          (vii) sue, be sued and participate, as a party or otherwise, in any judicial,
 administrative, arbitrative or other proceeding, however nothing herein shall be deemed to either
 (a) affect, limit or expand any party’s rights to sue or otherwise commence a case or proceeding
 against a trustee in a case under chapter 11 of the Bankruptcy Code or (b) allow any party asserting
 a Class 3 Tort Claim, Unknown Tort Claim and/or Channeled Claim to commence any action
 against the ASF Settlement Trustee or the ASF Settlement Trust with respect to such claim;

                       (viii) appoint such officers and retain such employees, consultants,
 advisors, independent contractors, experts and agents and engage in such legal, financial,
 administrative, accounting, investment, auditing and alternative dispute resolution services and
 activities as the ASF Settlement Trust requires, and delegate to such persons such powers and
 authorities as this ASF Settlement Trust Agreement provides or the fiduciary duties of the ASF
 Settlement Trustee permits and as the ASF Settlement Trustee, in his or her discretion, deems
 advisable or necessary in order to carry out the terms of this ASF Settlement Trust Agreement;

                       (ix)   pay reasonable compensation and reimbursement of expenses to any
 of the ASF Settlement Trust’s trustee(s), employees, consultants, advisors, independent
 contractors, experts and agents for legal, financial, administrative, accounting, investment,
 auditing and alternative dispute resolution services and activities as the ASF Settlement Trust
 requires;

                        (x)    compensate professionals retained by the ASF Settlement Trust for
 services, costs and expenses incurred prior to the Effective Date in accordance with the terms of
 the ASF Settlement Trust Documents;

                       (xi)    execute and deliver such instruments as the ASF Settlement Trustee
 considers advisable or necessary in administering the ASF Settlement Trust;

                        (xii) timely file such income tax and other tax returns and statements
 required to be filed and timely pay all taxes, if any, required to be paid from the ASF Settlement
 Trust Assets and comply with all applicable tax reporting and withholding obligations;

                        (xiii) require, in respect of any Distribution of ASF Settlement Trust
 Assets, the timely receipt of properly executed documentation (including, without limitation, IRS
 Form W-9) as the ASF Settlement Trustee determines in his or her discretion necessary or
 appropriate to comply with applicable tax laws;




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                       (xiv) resolve all applicable lien resolution matters with respect to
 Beneficiaries that may be subject to liens arising pursuant to the MMSEA (as defined in the Plan)
 in accordance with the Plan; provided, however, that for claims where there is an open chapter 7
 bankruptcy case, such lien resolution is subject to the approval of the chapter 7 bankruptcy trustee
 and applicable bankruptcy court; and provided further, however, that in such cases, the chapter 7
 bankruptcy trustee shall have sole responsibility to seek court approval for such lien resolution;

                        (xv) register as a responsible reporting entity (“RRE”) and timely submit
 all reports under the reporting provisions of section 111 of the Medicare, Medicaid, and SCHIP
 Extension Act of 2007 (Pub. L. 110-173) (“MMSEA”) as required under Section 4.6 below and
 the terms of the Plan;

                        (xvi)   intentionally omitted;

                       (xvii) enter into such other arrangements with third parties as are deemed
 by the ASF Settlement Trustee to be useful in carrying out the purposes of the ASF Settlement
 Trust, provided such arrangements do not conflict with any other provision of the ASF Settlement
 Trust Documents;

                       (xviii) in accordance with Section 5.9 below, defend, indemnify, and hold
 harmless (and purchase insurance indemnifying) the ASF Settlement Trust Indemnified Parties (as
 defined in Section 5.7(a) below) solely from the ASF Settlement Trust Assets and to the fullest
 extent permitted by law; provided that the cost of any such insurance shall be an expense of the
 ASF Settlement Trust that is payable by the Debtor;

                       (xix) delegate any or all of the authority herein conferred with respect to
 the investment of all or any portion of the ASF Settlement Trust Assets to any one or more
 reputable investment advisors or investment managers without liability for any action taken or
 omission made because of any such delegation;

                       (xx) initiate, prosecute, defend, settle, maintain, administer, preserve,
 pursue, and resolve, pursuant to section 1123(b)(3)(B) of the Bankruptcy Code, all legal actions
 and other proceedings related to any asset, liability, or responsibility of the ASF Settlement Trust;

                       (xxi) enter into structured settlements and other similar arrangements with
 any Beneficiary (including a minor or other person in need of special consideration) or any
 Attorney of any Beneficiary, upon such terms as the ASF Settlement Trustee and such Beneficiary
 (or such Beneficiary’s counsel or other authorized person) agree, in all cases in accordance with
 the Tort Claims Allocation Protocol;

                       (xxii) take any and all actions appropriate or necessary in order to carry
 out the terms of the ASF Settlement Trust Documents and;

                        (xxiii) except as otherwise expressly provided in the ASF Settlement Trust
 Documents, exercise any other powers now or hereafter conferred upon or permitted to be
 exercised by a trustee under the laws of the State of New Mexico; and



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                (e)    intentionally omitted.

                (f)      The ASF Settlement Trustee may take all actions necessary or advisable for
 the enforcement of the non-monetary commitments of Reorganized Debtor with respect to Child
 Protection as set forth in the Plan and Confirmation Order.

 Section 2.2    Limitations on the ASF Settlement Trustee.

       (a)     Notwithstanding anything in the ASF Settlement Trust Documents to the contrary,
 the ASF Settlement Trustee shall not do or undertake any of the following:

                (i)    guaranty any debt;

                (ii)   make or enter into any loan of ASF Settlement Trust Assets;

                (iii) make any transfer or Distribution of ASF Settlement Trust Assets other than
                those authorized by the ASF Settlement Trust Documents;

                (iv)   engage in any trade or business with respect to the ASF Settlement Trust
                Assets or proceeds therefrom, other than managing such assets;

                (v)     engage in any investment of the ASF Settlement Trust Assets, other than as
                explicitly authorized by this ASF Settlement Trust Agreement; and

                (vi)   engage in any activities inconsistent with the treatment of the ASF
                Settlement Trust as a “qualified settlement fund” within the meaning of Treasury
                Regulations issued under Section 468B of the Tax Code.

         2.2    General Administration.

         The ASF Settlement Trustee shall act in accordance with the ASF Settlement Trust
 Documents. The ASF Settlement Trustee shall establish the location of the principal office of the
 ASF Settlement Trust and may change the location of the principal office or establish other offices
 at other locations in his or her discretion.

 Section 2.3 Accounting. The fiscal year of the ASF Settlement Trust shall begin on January 1
 and shall end on December 31 of each calendar year. The ASF Settlement Trustee shall maintain
 the books and records relating to the ASF Settlement Trust Assets and income and the payment of
 ASF Settlement Trust Operating Expenses and other liabilities of the ASF Settlement Trust. The
 detail of these books and records and the duration of time during which the ASF Settlement Trustee
 shall keep such books and records shall be such as to allow the ASF Settlement Trustee to make a
 full and accurate accounting of all ASF Settlement Trust Assets, as well as to comply with
 applicable provisions of law and standard accounting practices necessary or appropriate to produce
 an annual report containing special-purpose financial statements of the ASF Settlement Trust,
 including, without limitation, the assets and liabilities of the ASF Settlement Trust as of the end
 of such fiscal year and the additions, deductions and cash flows for such fiscal year (the “Annual
 Report”); provided however, that the ASF Settlement Trustee shall maintain such books and


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 records until the wind-up of the ASF Settlement Trust’s affairs and satisfaction of all of ASF
 Settlement Trust liabilities. The ASF Settlement Trustee shall serve the Annual Report on all
 counsel of record for Class 3 Tort Claimants and the Office of the United States Trustee.

 Section 2.4    Financial Reporting.

               (a)    Within one hundred twenty (120) days following the end of each calendar
 year, the ASF Settlement Trustee shall file with the Bankruptcy Court the Annual Report.

                (b)    All materials filed with the Bankruptcy Court pursuant to this Section 2.5
 need not be served on any parties in the Chapter 11 Case.

 Section 2.5    Intentionally Omitted.

 Section 2.6    Names and addresses.

         The ASF Settlement Trustee shall keep a register (the “Register”) in which the ASF
 Settlement Trustee shall at all times maintain the names and addresses of the Beneficiaries and the
 awards made to the Beneficiaries pursuant to the ASF Settlement Trust Documents. The ASF
 Settlement Trustee may rely upon this Register for the purposes of delivering Distributions or
 notices. In preparing and maintaining this Register, the ASF Settlement Trustee may rely on the
 name and address of each Class 3 Tort Claim holder as set forth in a proof of claim filed by such
 holder, or proper notice of a name or address change, which has been delivered by such Class 3
 Tort Claim holder to the ASF Settlement Trustee; provided, that in the case of Class 3 Tort
 Claimants who have open chapter 7 bankruptcy cases, the ASF Settlement Trustee shall rely on
 the schedule provided, if any, by counsel for the Chapter 7 trustees and if no such schedule is
 provided, the ASF Settlement Trustee shall rely on the docket of the chapter 7 case to identify the
 current chapter 7 trustee. The ASF Settlement Trustee may deliver Distributions and notices to
 counsel for any Class 3 Tort Claimant identified in such Beneficiary’s proof of claim or proper
 notice of a name or address change; provided that Distributions and notices to Abuse Claimants
 with open chapter 7 cases shall be delivered to counsel for the chapter 7 trustee. The Register shall
 be confidential and will not be disclosed to any third party absent a duly obtained court order.

 Section 2.7    Intentionally Omitted.

 Section 2.8    Transfers of the ASF Settlement Trust Assets.

        To the fullest extent permitted by law, neither the principal nor income of the ASF
 Settlement Trust, in whole or part, shall be subject to any legal or equitable claims of creditors of
 any Beneficiary or others, nor to legal process, nor be voluntarily or involuntarily transferred,
 assigned, anticipated, pledged or otherwise alienated or encumbered except as may be ordered by
 the Bankruptcy Court or other competent court of jurisdiction.




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                                       ARTICLE 3.
                            ACCOUNTS, INVESTMENTS, EXPENSES

 Section 3.1    Accounts.

                (a)     The ASF Settlement Trustee shall maintain one or more accounts (“ASF
 Settlement Trust Accounts”) on behalf of the ASF Settlement Trust with one or more financial
 depository institutions (each a “Financial Institution”).

                (b)    The ASF Settlement Trustee may replace any retained Financial Institution
 with a successor Financial Institution at any time.

                (c)    Intentionally omitted.

                 (d)    The ASF Settlement Trustee may maintain segregated accounts to hold any
 assets received as a result of or in connection with a settlement with a Religious Order that is or
 becomes a Participating Religious Order, (the “Religious Order Claims Reserve”) to the extent
 required to implement the Plan, the Tort Claims Allocation Protocol, and the Participating
 Religious Order Settlement Agreements. ASF Settlement Trust Operating Expenses directly
 allocable to the administration of Religious Order Claims and the Religious Order Claims Reserve
 shall be charged against the Religious Order Claims Reserve, as reasonably determined by the
 ASF Settlement Trustee.

                (e)     The ASF Settlement Trustee may, from time to time, create such accounts
 and reasonable reserves within the ASF Settlement Trust Accounts as authorized in this Section
 3.1 and as he or she may deem necessary, prudent or useful in order to provide for Distributions
 to the Beneficiaries and the payment of ASF Settlement Trust Operating Expenses and may, with
 respect to any such account or reserve, restrict the use of money therein for a specified purpose
 (the “ASF Settlement Trust Subaccounts”). Any such ASF Settlement Trust Subaccounts
 established by the ASF Settlement Trustee shall be held as ASF Settlement Trust Assets and are
 not intended to be subject to separate entity tax treatment as a “disputed claims reserve” or a
 “disputed ownership fund” within the meaning of the Internal Revenue Code (“IRC”) or Treasury
 Regulations.

 Section 3.2    Investment Guidelines.

               (a)    The ASF Settlement Trustee may invest the ASF Settlement Trust Assets in
 insured checking accounts, money market accounts and certificates of deposit.

 Section 3.3 Payment of ASF Settlement Trust Operating Expenses. All ASF Settlement Trust
 operating expenses shall be payable out of the ASF Settlement Trust Assets. None of the ASF
 Settlement Trustee, the Beneficiaries nor any of their officers, agents, advisors, professionals or
 employees shall be personally liable for the payment of any ASF Settlement Trust operating
 expense or any other liability of the ASF Settlement Trust. The Plan provides that the Reorganized
 Debtor shall pay to the ASF Settlement Trust all of the ASF Settlement Trust Operating Expenses
 (as defined above) excluding ASF Settlement Trust Operating Expenses directly allocable to the



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 administration of Religious Order Claims and the Religious Order Claims Reserve (see Section
 5.5, below), within 30 days of invoice from the ASF Settlement Trust.

                                   ARTICLE 4.
                    CLAIMS ADMINISTRATION AND DISTRIBUTIONS

 Section 4.1 Claims Administration and Distributions. The ASF Settlement Trust shall fairly
 and reasonably compensate Class 3 Tort Claims and shall pay up to the full value of such claims,
 solely in accordance with the ASF Settlement Trust Documents, including the Tort Claims
 Allocation Protocol.

 Section 4.2    Intentionally Omitted.

 Section 4.3 Manner of Payment. Distributions from the ASF Settlement Trust to the
 Beneficiaries may be made by the ASF Settlement Trustee on behalf of the ASF Settlement Trust
 or by a disbursing agent retained by the ASF Settlement Trust to make Distributions on behalf of
 the ASF Settlement Trust.

 Section 4.4    Delivery of Distributions.

                  (a)     Distributions shall be payable to the Beneficiary (or to counsel for the
 Beneficiary) on the date approved for Distribution by the ASF Settlement Trustee (the
 “Distribution Date”) in accordance with the terms of the ASF Settlement Trust Documents,
 including the Tort Claims Allocation Protocol. With respect to each Class 3 Tort Claim approved
 for payment, Distributions shall be made only after the ASF Settlement Trustee has determined
 that all obligations of the ASF Settlement Trust with respect to each such Class 3 Tort Claim have
 been satisfied. In the event that any Distribution to a Beneficiary is returned as undeliverable, no
 further Distribution to such Beneficiary shall be made unless and until the ASF Settlement Trustee
 has been notified of the then current address of such Beneficiary, at which time such Distribution
 shall be made to such Beneficiary without interest; provided however, that all Distributions shall
 be deemed unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of
 six (6) months from the applicable Distribution Date. After such date, (i) all unclaimed
 Distributions shall revert to the ASF Settlement Trust (notwithstanding any applicable federal or
 state escheat, abandoned or unclaimed property laws to the contrary), (ii) the Claim of such
 Beneficiary shall be released, settled, compromised and forever barred as against the ASF
 Settlement Trust, and (iii) all unclaimed property interests shall be distributed to other
 Beneficiaries in accordance with the ASF Settlement Trust Documents, as if the Claim of such
 Beneficiary had been disallowed as of the date the undeliverable Distribution was first made. The
 ASF Settlement Trustee shall take reasonable efforts to obtain a current address for any Beneficiary
 with respect to which any Distribution is returned as undeliverable.

                (b)    In the event the ASF Settlement Trust holds cash after paying all ASF
 Settlement Trust Operating Expenses and making all Distributions contemplated under the ASF
 Settlement Trust Documents, such remaining cash shall be distributed to Beneficiaries in
 accordance with the Tort Claims Allocation Protocol. If the ASF Settlement Trustee determines
 that such a Distribution is not economically reasonable in light of the costs associated with
 distributing such cash to Beneficiaries, the ASF Settlement Trustee shall deliver such cash to a


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 national recognized charitable organization of the ASF Settlement Trustee’s choice, which
 charitable organization shall have a charitable purpose consistent with the protection of children
 from sexual abuse or its ramifications. No ASF Settlement Trust Asset or any unclaimed property
 shall escheat to any federal, state, or local government or any other entity.

                 (c)     Notwithstanding any provision in the ASF Settlement Trust Documents to
 the contrary, no payment shall be made to any Beneficiary on account of any Claim if the ASF
 Settlement Trustee determines that the costs of making such Distribution is greater than the amount
 of the Distribution to be made.

                 (d)     The Settlement Trustee shall not make any Distribution to a Beneficiary
 unless and until the Settlement Trustee has received an original general release of all Claims in
 favor of all Protected Parties and Exculpated Parties executed by such Beneficiary, in the form
 attached to, or contained in, the Ballot. For the avoidance of doubt, subject to any order of a court
 of competent jurisdiction, the Settlement Trustee shall not make any Distribution to a chapter 7
 trustee for those holders of Class 3 Tort Claims who have open chapter 7 bankruptcy cases, unless
 and until the Settlement Trustee has received an original general release of all Claims in favor of
 all Protected Parties and Exculpated Parties executed by such chapter 7 trustee in the form attached
 to the Ballot. The ASF Settlement Trustee shall provide copies of Beneficiaries' executed releases
 to the Reorganized Debtor within five business days of any initial Distribution to such Beneficiary.
 Any requests by Protected Parties or Exculpated Parties for copies of such executed releases shall
 be made to and fulfilled by the Reorganized Debtor.



 Section 4.5    Medicare Reimbursement and Reporting Obligations.

                (a)      The ASF Settlement Trust shall register as a Responsible Reporting Entity
 (“RRE”) under the reporting provisions of section 111 of MMSEA (as defined in the Plan);
 provided that this shall apply only to Channeled Claims that occurred after December 5, 1980.

                 (b)  The ASF Settlement Trust shall timely submit all reports that are required
 under MMSEA on account of any claims settled, resolved, paid, or otherwise liquidated by the
 ASF Settlement Trust. The ASF Settlement Trust, in its capacity as an RRE, shall follow all
 applicable guidance published by the Centers for Medicare & Medicaid Services of the United
 States Department of Health and Human Services and/or any other agency or successor entity
 charged with responsibility for monitoring, assessing, or receiving reports made under MMSEA
 (collectively, “CMS”) to determine whether or not, and, if so, how, to report to CMS pursuant to
 MMSEA.

                 (c)     Before remitting funds to Claimants’ counsel, or to the Claimant if such
 Claimant is acting pro se, in respect of any Channeled Claim, the ASF Settlement Trustee shall
 obtain (i) a certification that said Claimant (or such Claimant’s authorized representative) has
 provided or will provide for the payment and/or resolution of any obligations owing or potentially
 owing under 42 U.S.C. § 1395y(b), or any related rules, regulations, or guidance, in connection
 with, or relating to, such Channeled Claim and (ii) that the Claimants’ counsel or Claimant (if
 Claimant is acting pro se) indemnifies the ASF Settlement Trust for any such obligations.


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 Section 4.6 Religious Order Claims Reserve. Upon receipt of transfer of the ASF Settlement
 Trust Assets and establishment of the ASF Settlement Trust, the ASF Settlement Trustee shall
 identify and segregate, by separate account, the Religious Order Contributions for each
 Participating Religious Order. The ASF Settlement Trustee shall further segregate within each
 Religious Order Contribution the amounts reserved for the Class 3 Tort Claimants that are
 identified as beneficiaries of each of the Religious Order Settlement Agreements as shown on the
 attached Exhibit ___. If a Class 3 Tort Claimant is identified as a beneficiary of a Religious Order
 Settlement Agreement, that Class 3 Tort Claimant shall receive a Distribution from the respective
 Religious Order Contribution in addition to that Tort 3 Tort Claimant’s Distribution from the ASF
 Settlement Trust. The ASF Settlement Trustee shall further identify and segregate the portion of
 the Religious Order Contribution that is to be distributed to all Class 3 Tort Claimants other than
 those identified as beneficiaries of Religious Order Settlement Agreements. Distributions to Class
 3 Tort Claimants identified as beneficiaries of Religious Order Settlement Agreements shall be
 governed by the ASF Settlement Trust Documents the same as all other Distributions to Class 3
 Tort Claimants.

                                        ARTICLE 5.
                                 ASF SETTLEMENT TRUSTEE

 Section 5.1 Initial ASF Settlement Trustee. The initial ASF Settlement Trustee shall be Omni
 Management Group LLC.

 Section 5.2    Term of Service, Successor ASF Settlement Trustee.

                   (a)     The ASF Settlement Trustee shall serve from the Effective Date until the
 earliest of (i) its resignation pursuant to Section 5.2(b) below, (ii) its removal pursuant to Section
 5.2(c) below, (iii) its dissolution and (iv) the termination of the ASF Settlement Trust pursuant to
 Section 8.2 below.

                 (b)   The ASF Settlement Trustee may resign at any time upon written notice
 filed with the Bankruptcy Court. Such notice shall specify a date when such resignation shall take
 effect, which shall not be less than ninety (90) days after the date such notice is given, where
 practicable.

                 (c)     The ASF Settlement Trustee may be removed by order of the Bankruptcy
 Court, in the event that the ASF Settlement Trustee becomes unable to discharge its duties
 hereunder due to accident, physical deterioration, mental incompetence or for other good cause,
 provided the ASF Settlement Trustee has received reasonable notice and an opportunity to be
 heard. Other good cause shall mean gross negligence, fraud, self-dealing, intentional
 misrepresentation, willful misconduct, indictment for or conviction of a felony in each case
 whether or not connected to the ASF Settlement Trust, any substantial failure to comply with the
 administration of the ASF Settlement Trust or a consistent pattern of neglect and failure to perform
 or participate in performing the duties of the ASF Settlement Trustee hereunder.




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 Section 5.3     Appointment of Successor ASF Settlement Trustee.

                 (a)     In the event of any vacancy in the office of the ASF Settlement Trustee,
 including the resignation or removal of any successor ASF Settlement Trustee, such vacancy shall
 be filled by order of the Bankruptcy Court.

                (b)    Immediately upon the appointment of any successor ASF Settlement
 Trustee pursuant to Section 5.3(a) above, all rights, titles, duties, powers and authority of the
 predecessor ASF Settlement Trustee hereunder shall be vested in and undertaken by the successor
 ASF Settlement Trustee without any further act. No successor ASF Settlement Trustee shall be
 liable personally for any act or omission of its predecessor ASF Settlement Trustee. No
 predecessor ASF Settlement Trustee shall be liable personally for any act or omission of its
 successor ASF Settlement Trustee. No successor ASF Settlement Trustee shall have any duty to
 investigate the acts or omissions of its predecessor ASF Settlement Trustee, unless there is
 reasonable cause to do so.

                 (c)     Each successor ASF Settlement Trustee shall serve until the earliest of (i)
 his or her death or dissolution, (ii) its resignation pursuant to Section 5.2(b) above, (iii) its removal
 pursuant to Section 5.2(c) above, and (iv) the termination of the ASF Settlement Trust pursuant to
 Section 8.2 below.

 Section 5.4     Intentionally Omitted.



 Section 5.5 Compensation and Expenses of ASF Settlement Trustee. The ASF Settlement
 Trustee shall receive compensation from the ASF Settlement Trust for his or her services as ASF
 Settlement Trustee. The initial amount of the ASF Settlement Trustee’s compensation shall be
 $290.00 per hour and $145.00 per hour for the ASF Settlement Trustee’s associates. The ASF
 Settlement Trust shall also, upon receipt of appropriate documentation, reimburse all reasonable
 out-of-pocket costs and expenses incurred by the ASF Settlement Trustee in the course of carrying
 out his or her duties as ASF Settlement Trustee in accordance with reasonable policies and
 procedures as may be adopted from time to time, including in connection with attending meetings
 of the ASF Settlement Trustee. The amounts paid to the ASF Settlement Trustee for compensation
 and expenses shall be disclosed in the Annual Report. The Reorganized Debtor is liable for the
 ASF Settlement Trustee’s compensation and expenses and shall pay such fees and expenses to the
 ASF Settlement Trust within 30 days of invoicing by the ASF Settlement Trustee. Notwithstanding
 anything in this Agreement to the contrary, the Reorganized Debtor is not liable for the ASF
 Settlement Trustee’s compensation or expenses, including attorneys’ fees, relating to or incurred
 in connection with Religious Order Claims and the Religious Order Claims Reserve, including but
 not limited to administration, lien resolution, other dispute resolution, distribution, reporting, or
 compliance with any applicable statute or regulation (such compensation and expenses, the




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 “Religious Order Reserve Costs”). The Religious Order Reserve Costs shall be paid from the
 Religious Order Claims Reserve.

 Section 5.6    ASF Settlement Trustee’s Independence.

                  (a)     The ASF Settlement Trustee shall not, during its service, hold a financial
 interest in, act as attorney or agent for or serve as any other professional for Reorganized Debtor
 or its affiliated persons. No ASF Settlement Trustee shall act as an attorney for, or otherwise
 represent, any Person who holds a claim in the Chapter 11 Case.

                (b)    The ASF Settlement Trustee shall be indemnified by the ASF Settlement
 Trust in acting upon any resolution, certificate, statement, instrument, opinion, report, notice,
 request, consent, order or other paper or document believed by them to be genuine and to have
 been signed or presented by the proper party or parties.

                 (c)     Persons dealing with the ASF Settlement Trust and the ASF Settlement
 Trustee, respect to the affairs of the ASF Settlement Trust, shall have recourse only to the ASF
 Settlement Trust Assets to satisfy any liability incurred by the ASF Settlement Trust or the ASF
 Settlement Trustee to such Person in carrying out the terms of this ASF Settlement Trust
 Agreement, and neither the ASF Settlement Trustee, the Beneficiaries, nor any of their
 professionals, advisors, officers, agents, consultants or lawyers shall have any personal obligation
 to satisfy any such liability.

 Section 5.7    Standard of Care; Exculpation.

                 (a)    As used herein, the term “ASF Settlement Trust Indemnified Party” shall
 mean the ASF Settlement Trustee, the Tort Claims Reviewer, and each of their respective
 members, officers, employees, agents, consultants, lawyers, advisors or professionals
 (collectively, the “ASF Settlement Trust Indemnified Parties”).

                 (b)     No ASF Settlement Trust Indemnified Party shall be liable to the ASF
 Settlement Trust, any other ASF Settlement Trust Indemnified Party, any Beneficiary or any other
 Person for any damages arising out of the creation, operation, administration, enforcement or
 termination of the ASF Settlement Trust, except in the case of such ASF Settlement Trust
 Indemnified Party’s gross negligence, willful misconduct, bad faith, or fraud as finally judicially
 determined by a court of competent jurisdiction. To the fullest extent permitted by applicable law,
 the ASF Settlement Trust Indemnified Parties shall have no liability for any action in performance
 of their duties under this ASF Settlement Trust Agreement taken in good faith with or without the
 advice of counsel, accountants, appraisers and other professionals retained by the ASF Settlement
 Trust Indemnified Parties. None of the provisions of this ASF Settlement Trust Agreement shall
 require the ASF Settlement Trust Indemnified Parties to expend or risk their own funds or
 otherwise incur personal financial liability in the performance of any of their duties hereunder or
 in the exercise of any of their respective rights and powers. Any ASF Settlement Trust Indemnified
 Party may rely, without inquiry, upon writings delivered to it under any of the ASF Settlement
 Trust Documents, which the ASF Settlement Trust Indemnified Party reasonably believes to be
 genuine and to have been given by a proper person. Notwithstanding the foregoing, nothing in this
 Section 5.7 shall relieve the ASF Settlement Trust Indemnified Parties from any liability for any


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 actions or omissions arising out of the gross negligence, willful misconduct, bad faith, or fraud as
 finally judicially determined by a court of competent jurisdiction; provided that in no event will
 any such person be liable for punitive, exemplary, consequential or special damages under any
 circumstances. Any action taken or omitted by the ASF Settlement Trust Indemnified Parties with
 the approval of the Bankruptcy Court, or any other court of competent jurisdiction, will
 conclusively be deemed not to constitute willful misconduct, bad faith, or fraud.

                 (c)     The ASF Settlement Trust Indemnified Parties shall not be subject to any
 personal liability whatsoever, whether in tort, contract or otherwise, to any Person in connection
 with the affairs of the ASF Settlement Trust or for any liabilities or obligations of the ASF
 Settlement Trust except for those acts that are finally judicially determined by a court of competent
 jurisdiction to have arisen out of their own willful misconduct, bad faith, or fraud, and all Persons
 claiming against the ASF Settlement Trust Indemnified Parties, or otherwise asserting claims of
 any nature in connection with affairs of the ASF Settlement Trust, shall look solely to the ASF
 Settlement Trust Assets for satisfaction of any such claims.

                 (d)     To the extent that, at law or in equity, the ASF Settlement Trust Indemnified
 Parties have duties (including fiduciary duties) or liability related thereto, to the ASF Settlement
 Trust or the Beneficiaries, it is hereby understood and agreed by the parties hereto and the
 Beneficiaries that such duties and liabilities are eliminated to the fullest extent permitted by
 applicable law, [including Section 3806 of the Act,] and replaced by the duties and liabilities
 expressly set forth in this ASF Settlement Trust Agreement with respect to the ASF Settlement
 Trust Indemnified Parties, provided however, that the duties of care and loyalty are not eliminated
 but are limited and subject to the terms of this ASF Settlement Trust Agreement, including but not
 limited to this Section 5.7 and its subparts.

                 (e)     The ASF Settlement Trust Indemnified Parties shall be indemnified to the
 fullest extent permitted by law by the ASF Settlement Trust against all liabilities arising out of the
 creation, operation, administration, enforcement or termination of the ASF Settlement Trust,
 including actions taken or omitted in fulfillment of their duties with respect to the ASF Settlement
 Trust, except for those acts that are finally judicially determined by a court of competent
 jurisdiction to have arisen out of their own gross negligence, willful misconduct, bad faith, or
 fraud.

                (f)    The ASF Settlement Trust may maintain appropriate insurance coverage for
 the protection of the ASF Settlement Trust Indemnified Parties, as determined by the ASF
 Settlement Trustee in his or her discretion.

 Section 5.8    Protective Provisions.

                 (a)     Every provision of this ASF Settlement Trust Agreement relating to the
 conduct or affecting the liability of or affording protection to ASF Settlement Trust Indemnified
 Parties shall be subject to the provisions of this Section 5.8.

                 (b)     In the event the ASF Settlement Trustee retains counsel (including at the
 expense of the ASF Settlement Trust), the ASF Settlement Trustee shall be afforded the benefit of
 the attorney-client privilege with respect to all communications with such counsel, and in no event


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 shall the ASF Settlement Trustee be deemed to have waived any right or privilege including,
 without limitation, the attorney-client privilege even if the communications with counsel had the
 effect of guiding the ASF Settlement Trustee in the performance of duties hereunder. A successor
 to any ASF Settlement Trustee shall succeed to and hold the same respective rights and benefits
 of the predecessor for purposes of privilege, including the attorney-client privilege. No Beneficiary
 or other party may raise any exception to the attorney-client privilege discussed herein as any such
 exceptions are hereby waived by all parties.

                 (c)      To the extent that, at law or in equity, the ASF Settlement Trustee has duties
 (including fiduciary duties) and liabilities relating hereto, to the ASF Settlement Trust or to the
 Beneficiaries, it is hereby understood and agreed by the Parties and the Beneficiaries that such
 duties and liabilities are eliminated to the fullest extent permitted by applicable law, and replaced
 by the duties and liabilities expressly set forth in this ASF Settlement Trust Agreement with respect
 to the ASF Settlement Trustee, provided however, that the duties of care and loyalty are not
 eliminated but are limited and subject to the terms of this ASF Settlement Trust Agreement,
 including but not limited to Section 5.7 herein.

                 (d)     No ASF Settlement Trust Indemnified Party shall be personally liable under
 any circumstances, except for their own gross negligence, willful misconduct, bad faith, or fraud
 as finally judicially determined by a court of competent jurisdiction.

                  (e)     No provision of this ASF Settlement Trust Agreement shall require the ASF
 Settlement Trust Indemnified Parties to expend or risk their own personal funds or otherwise incur
 financial liability in the performance of their rights, duties, and powers hereunder.

                 (f)      In the exercise or administration of the ASF Settlement Trust hereunder, the
 ASF Settlement Trust Indemnified Parties (i) may act directly or through their respective agents
 or attorneys pursuant to agreements entered into with any of them, and the ASF Settlement Trust
 Indemnified Parties shall not be liable for the default or misconduct of such agents or attorneys if
 such agents or attorneys have been selected by the ASF Settlement Trust Indemnified Parties in
 good faith and with due care, and (ii) may consult with counsel, accountants and other
 professionals to be selected by them in good faith and with due care and employed by them, and
 shall not be liable for anything done, suffered or omitted in good faith by them in accordance with
 the advice or opinion of any such counsel, accountants or other professionals.

 Section 5.9    Indemnification.

                 (a)    Without the need for further court approval, the ASF Settlement Trust
 hereby indemnifies, holds harmless, and defends the ASF Settlement Trust Indemnified Parties in
 the performance of their duties hereunder to the fullest extent that a trust, including a statutory
 trust organized under the laws of the State of New Mexico, is entitled to indemnify, hold harmless
 and defend such persons against any and all liabilities, expenses, claims, damages or losses
 (including attorneys’ fees and costs) incurred by them in the performance of their duties hereunder
 or in connection with activities undertaken by them prior to or after the Effective Date in
 connection with the formation, establishment, funding or operations of the ASF Settlement Trust
 except for those acts that are finally judicially determined by a court of competent jurisdiction to
 have arisen out of their own gross negligence, willful misconduct, bad faith, or fraud.

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                 (b)     Reasonable expenses, costs and fees (including attorneys’ fees and costs)
 incurred by or on behalf of the ASF Settlement Trust Indemnified Parties in connection with any
 action, suit or proceeding, whether civil, administrative or arbitrative, from which they are
 indemnified by the ASF Settlement Trust shall be paid by the ASF Settlement Trust in advance of
 the final disposition thereof upon receipt of an undertaking, by or on behalf of the ASF Settlement
 Trust Indemnified Parties, to repay such amount in the event that it shall be determined ultimately
 by final order of the Bankruptcy Court that the ASF Settlement Trust Indemnified Parties or any
 other potential indemnitee are not entitled to be indemnified by the ASF Settlement Trust.

               (c)     The ASF Settlement Trustee may purchase and maintain appropriate
 amounts and types of insurance on behalf of the ASF Settlement Trust Indemnified Parties, as
 determined by the ASF Settlement Trustee, which may include liability asserted against or incurred
 by such individual in that capacity or arising from his or her status as a ASF Settlement Trust
 Indemnified Party, and/or as an employee, agent, lawyer, advisor or consultant of any such person.

                (d)    The indemnification provisions of this ASF Settlement Trust Agreement
 with respect to any ASF Settlement Trust Indemnified Party shall survive the termination of such
 ASF Settlement Trust Indemnified Party from the capacity for which such ASF Settlement Trust
 Indemnified Party is indemnified. Termination or modification of this ASF Settlement Trust
 Agreement shall not affect any indemnification rights or obligations in existence at such time. In
 making a determination with respect to entitlement to indemnification of any ASF Settlement Trust
 Indemnified Party hereunder, the person, persons or entity making such determination shall
 presume that such ASF Settlement Trust Indemnified Party is entitled to indemnification under
 this ASF Settlement Trust Agreement, and any person seeking to overcome such presumption shall
 have the burden of proof to overcome the presumption.

              (e)    The rights to indemnification hereunder are not exclusive of other rights
 which any ASF Settlement Trust Indemnified Party may otherwise have at law or in equity,
 including common law rights to indemnification or contribution.




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 Section 5.10 Bond. The ASF Settlement Trustee shall not be required to post any bond or other
 form of surety or security unless otherwise ordered by the Bankruptcy Court.

 Section 5.11 Intentionally Omitted.

 Section 5.12 Intentionally Omitted.

                                        ARTICLE 6.
                                 INTENTIONALLY OMITTED.

                                       ARTICLE 7.
                                 INTENTIONALLY OMITTED

                                            ARTICLE 8.

                                    GENERAL PROVISIONS

 Section 8.1 Irrevocability. To the fullest extent permitted by applicable law, the ASF
 Settlement Trust is irrevocable. The Settlor shall not (i) retain any ownership or residual interest
 whatsoever with respect to any ASF Settlement Trust Assets, including, but not limited to, the
 funds transferred to fund the ASF Settlement Trust, and (ii) have any rights or role with respect to
 the management or operation of the ASF Settlement Trust, or the ASF Settlement Trustee’s
 administration of the ASF Settlement Trust.

 Section 8.2    Term; Termination.

                 (a)      The term for which the ASF Settlement Trust is to exist shall commence on
 the date of the filing of the Certificate of ASF Settlement Trust and shall terminate pursuant to the
 following provisions.

                 (b)    The ASF Settlement Trust shall automatically dissolve as soon as
 practicable but no later than ninety (90) days after the date on which the Bankruptcy Court
 approves the dissolution of the ASF Settlement Trust because (i) all reasonably expected assets
 have been collected by the ASF Settlement Trust, (ii) all Distributions have been made to the extent
 set forth in the Tort Claims Allocation Protocol, (iii) necessary arrangements and reserves have
 been made to discharge all anticipated remaining ASF Settlement Trust obligations and ASF
 Settlement Trust Operating Expenses in a manner consistent with the ASF Settlement Trust
 Documents, and (iv) a final accounting has been filed and approved by the Bankruptcy Court (the
 “Dissolution Date”).

                (c)      Following the dissolution and Distribution of the ASF Settlement Trust
 Assets, the ASF Settlement Trust shall terminate, and the ASF Settlement Trustee shall execute
 and cause a Certificate of Cancellation of the Certificate of ASF Settlement Trust to be filed in
 accordance with the Act. Notwithstanding anything to the contrary contained in this ASF
 Settlement Trust Agreement, the existence of the ASF Settlement Trust as a separate legal entity
 shall continue until the filing of such Certificate of Cancellation.



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                (d)     After termination of the ASF Settlement Trust and solely for the purpose of
 liquidating and winding up its affairs, the ASF Settlement Trustee shall continue to act as ASF
 Settlement Trustee until its duties hereunder have been fully performed. The ASF Settlement
 Trustee shall retain the books, records, documents and files that shall have been delivered to or
 created by the ASF Settlement Trustee until Distribution of all the ASF Settlement Trust Assets.
 For purposes of this provision, ASF Settlement Trust Assets will be deemed distributed when the
 total amount remaining in the ASF Settlement Trust is less than $50,000 and no further actions are
 pending or have yet to be brought. At the ASF Settlement Trustee’s discretion, all of such books,
 records, documents and files may be destroyed at any time following the later of: (i) the first
 anniversary of the final Distribution of the ASF Settlement Trust Assets, and (ii) the date until
 which the ASF Settlement Trustee is required by applicable law to retain such books, records,
 documents and files; provided however, that, notwithstanding the foregoing, the ASF Settlement
 Trustee shall not destroy or discard any books, records, documents or files relating to the ASF
 Settlement Trust without giving Reorganized Debtor the opportunity to take control of such books,
 records, documents and/or files.

                 (e)    Upon termination of the ASF Settlement Trust and accomplishment of all
 activities described in this agreement, the ASF Settlement Trustee and its professionals shall be
 discharged and exculpated from liability (except for acts or omissions resulting from the
 recklessness, gross negligence, willful misconduct, knowing and material violation of law or fraud
 of the ASF Settlement Trustee or his agents or representatives). The ASF Settlement Trustee may,
 at the expense of the ASF Settlement Trust, seek an Order of the Bankruptcy Court confirming the
 discharges, exculpations and exoneration referenced in the preceding sentence.

 Section 8.3    Outgoing ASF Settlement Trustee Obligations.

       In the event of the resignation or removal of the ASF Settlement Trustee, the resigning or
 removed ASF Settlement Trustee shall:

              (a)     execute and deliver by the effective date of resignation or removal such
 documents, instruments, records and other writings as may be reasonably requested by the
 successor ASF Settlement Trustee to effect such resignation or removal and the conveyance of the
 ASF Settlement Trust Assets then held by the resigning or removed ASF Settlement Trustee to the
 successor ASF Settlement Trustee;

                (b)     deliver to the successor ASF Settlement Trustee all documents, instruments,
 records and other writings relating to the ASF Settlement Trust Assets as may be in the possession
 or under the control of the resigning or removed ASF Settlement Trustee;

              (c)     otherwise assist and cooperate in effecting the assumption of the resigning
 or removed ASF Settlement Trustee’s obligations and functions by the successor ASF Settlement
 Trustee; and

                  (d)    irrevocably appoint the successor ASF Settlement Trustee (and any interim
 trustee) as its attorney-in-fact and agent with full power of substitution for it and its name, place
 and stead to do any and all acts that such resigning or removed ASF Settlement Trustee is obligated
 to perform under this ASF Settlement Trust Agreement. Such appointment shall not be affected


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 by the subsequent disability or incompetence of the ASF Settlement Trustee making such
 appointment. The Bankruptcy Court also may enter such orders as are necessary to effect the
 termination of the appointment of the ASF Settlement Trustee and the appointment of the
 successor ASF Settlement Trustee.

 Section 8.4    Taxes.

                 (a)     The ASF Settlement Trust is intended to qualify as a “qualified settlement
 fund” within the meaning of Section 1.468B-1 et seq. of the Treasury Regulations promulgated
 under Section 468B of the IRC, as amended (the “QSF Regulations”), with respect to which
 Reorganized Debtor shall timely make an election to treat the ASF Settlement Trust as a “grantor
 trust” for U.S. federal income tax purposes and, to the extent permitted under applicable law, for
 state and local income tax purposes.

                  (b)      The ASF Settlement Trustee shall be the “administrator” of the ASF
 Settlement Trust within the meaning of Section 1.468B-2(k)(3) of the Treasury Regulations and,
 in such capacity, such administrator shall (i) prepare and timely file, or cause to be prepared and
 timely filed, such income tax and other tax returns and statements required to be filed and shall
 timely pay all taxes required to be paid by the ASF Settlement Trust out of the ASF Settlement
 Trust Assets, which assets may be sold by the ASF Settlement Trustee to the extent necessary to
 satisfy tax liabilities of the ASF Settlement Trust, (ii) comply with all applicable tax reporting and
 withholding obligations, (iii) satisfy all requirements necessary to qualify and maintain
 qualification of ASF Settlement Trust as a qualified settlement fund and a grantor trust, within the
 meaning of the QSF Regulations, and (iv) take no action that could cause the ASF Settlement Trust
 to fail to qualify as a qualified settlement fund and a grantor trust within the meaning of the QSF
 Regulations. The ASF Settlement Trustee may request an expedited determination under section
 505(b) of the Bankruptcy Code for all tax returns filed by or on behalf of the ASF Settlement Trust
 for all taxable periods through the Dissolution Date.

                 (c)   As soon as reasonably practicable after the Effective Date, but in no event
 later than one hundred twenty (120) days thereafter, the ASF Settlement Trust shall make a good
 faith valuation of the Aggregate Settlement Consideration and such valuation shall be used
 consistently by all parties for all U.S. federal income tax purposes. In connection with the
 preparation of the valuation contemplated hereby, the ASF Settlement Trust shall be entitled to
 retain such professionals and advisors as the ASF Settlement Trustee shall determine to be
 appropriate or necessary, and the ASF Settlement Trustee shall take such other actions in
 connection therewith as he or she determines to be appropriate or necessary.

                  (d)    The ASF Settlement Trustee may withhold and pay to the appropriate tax
 authority all amounts required to be withheld pursuant to the IRC or any provision of any foreign,
 state or local tax law with respect to any payment or Distribution. All such amounts withheld and
 paid to the appropriate tax authority (or placed in escrow pending resolution of the need to
 withhold) shall be treated as amounts distributed or paid for all purposes of this ASF Settlement
 Trust Agreement. The ASF Settlement Trustee shall be authorized to collect such tax information
 (including tax identification numbers) as in his or her sole discretion is deemed necessary to
 effectuate the Plan, the Confirmation Order and this ASF Settlement Trust Agreement. In order


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 to receive Distributions, all Beneficiaries shall be required to provide tax information to the ASF
 Settlement Trustee to the extent the ASF Settlement Trustee deems appropriate in the manner and
 in accordance with the procedures from time to time established by the ASF Settlement Trustee
 for these purposes. The ASF Settlement Trustee may refuse to make a payment or Distribution
 unless or until such information is delivered; provided however, that, upon the delivery of such
 information, the ASF Settlement Trustee shall make such delayed payment or Distribution, without
 interest. Notwithstanding the foregoing, if a person fails to furnish any tax information reasonably
 requested by the ASF Settlement Trustee before the date that is three hundred sixty-five (365)
 calendar days after the request is made, the amount of such Distribution shall irrevocably revert to
 the ASF Settlement Trust. In no event shall any escheat to any federal, state or local government
 or any other entity.

 Section 8.5    Modification.

                (a)      Material modifications to this ASF Settlement Trust Agreement, including
 Exhibits hereto, may be made only with the approval of the Bankruptcy Court; provided however,
 that the ASF Settlement Trustee may amend this ASF Settlement Trust Agreement from time to
 time without the consent, approval or other authorization of, but with notice to, the Bankruptcy
 Court, to make minor corrective or clarifying amendments necessary to enable the ASF Settlement
 Trustee to effectuate the provisions of this ASF Settlement Trust Agreement, provided such minor
 corrective or clarifying amendments shall not take effect until ten (10) days after notice to the
 Bankruptcy Court. Except as permitted pursuant to the preceding sentence, the ASF Settlement
 Trustee shall not modify this ASF Settlement Trust Agreement in any manner that is inconsistent
 with the Plan or the Confirmation Order without the approval of the Bankruptcy Court. The ASF
 Settlement Trustee shall file notice of any modification of this ASF Settlement Trust Agreement
 with the Bankruptcy Court.

                (b)     Intentionally omitted.

                (c)     Notwithstanding anything set forth in this ASF Settlement Trust Agreement
 to the contrary, none of this ASF Settlement Trust Agreement, nor any document related thereto
 shall be modified or amended in any way that could jeopardize or impair (i) the applicability of
 section 105 of the Bankruptcy Code to the Plan and the Confirmation Order, (ii) the efficacy or
 enforceability of the Channeling Injunction or any other injunction or release issued or granted in
 connection with the Plan and Confirmation Order or (iii) the ASF Settlement Trust’s qualified
 settlement fund status and grantor trust status under the QSF Regulations.

 Section 8.6    Intentionally Omitted.

 Section 8.7 Severability. If any provision of this ASF Settlement Trust Agreement or
 application thereof to any person or circumstance shall be finally determined by a court of
 competent jurisdiction to be invalid or unenforceable to any extent, the remainder of this ASF
 Settlement Trust Agreement, or the application of such provisions to persons or circumstances
 other than those as to which it is held invalid or unenforceable, shall not be affected thereby, and




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 such provision of this ASF Settlement Trust Agreement shall be valid and enforced to the fullest
 extent permitted by law.

 Section 8.8 Notices. Any notices or other communications required or permitted hereunder to
 the following parties shall be in writing and delivered at the addresses designated below, or sent
 by email or facsimile pursuant to the instructions listed below, or mailed by overnight courier,
 addressed as follows, or to such other address or addresses as may hereafter be furnished in writing
 to each of the other parties listed below in compliance with the terms hereof.

        To the ASF Settlement Trustee:

        Omni Management Group, Inc.
        Attn: Eric Schwarz
        5955 De Soto Ave., Suite 100
        Woodland Hills, CA 91367

        with a copy (which shall not constitute notice) to:

        Pachulski Stang Ziehl & Jones LLP
        Attn: James I. Stang
        10100 Santa Monica Blvd., 13th Floor
        Los Angeles, California 90067
        Email: jstang@pszjlaw.com

        To Reorganized Debtor:

        Archdiocese of Santa Fe
        Attn: Tony Salgado, CPA
        4000 St. Joseph Pl NW
        Albuquerque, NM 87120
        tsalgado@asfcca.org

        with a copy (which shall not constitute notice) to:

         Ford Elsaesser
        Elsaesser Anderson, Chtd.
        P. O. Box 369
        535 High Street
        Priest River, ID 83856
        ford@eaidaho.com

        and

        Thomas D. Walker
        Walker & Associates, P.C.
        500 Marquette Ave. NW, Suite 650
        Albuquerque, NM 87102


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        twalker@walkerlawpc.com

         All such notices and communications, if mailed, shall be effective when physically
 delivered at the designated addresses, or if electronically transmitted, shall be effective upon
 transmission.

 Section 8.9 Successors and Assigns. The provisions of this ASF Settlement Trust Agreement
 shall be binding upon and inure to the benefit of the ASF Settlement Trust, the ASF Settlement
 Trustee, and their respective successors and assigns, except that none of such persons may assign
 or otherwise transfer any of its, or their, rights or obligations under this ASF Settlement Trust
 Agreement except, in the case of the ASF Settlement Trust and the ASF Settlement Trustee, as
 contemplated by Section 2.1 and Section 5.2 above.

 Section 8.10 Limitation on Transferability; Beneficiaries’ Interests. The Beneficiaries’ interests
 in the ASF Settlement Trust shall not (a) be assigned, conveyed, hypothecated, pledged or
 otherwise transferred, voluntarily or involuntarily, directly or indirectly and any purported
 assignment, conveyance, pledge or transfer shall be null and void ab initio, except to the extent
 necessary for the Beneficiary to create a qualified settlement trust; (b) be evidenced by a certificate
 or other instrument; (c) possess any voting rights; (d) give rise to any right or rights to participate
 in the management or administration of the ASF Settlement Trust or the ASF Settlement Trust
 Assets; (e) entitle the holders thereof to seek the removal or replacement of any ASF Settlement
 Trustee, whether by petition to the Bankruptcy Court or any other court or otherwise; (f) entitle
 the holders thereof to receive any interest on Distributions; and (g) give rise to any rights to seek
 a partition or division of the ASF Settlement Trust Assets. Beneficiaries shall have no interest of
 any kind in any of the ASF Settlement Trust Assets; rather, the Beneficiaries shall have an
 undivided beneficial interest only in cash assets of but only to the extent such cash assets are
 declared by the ASF Settlement Trustee to be distributable as Distributions in accordance with the
 ASF Settlement Trust Documents. For the avoidance of doubt, the Beneficiaries shall have only
 such rights as expressly set forth in the ASF Settlement Trust Documents.

 Section 8.11 Exemption from Registration.

         The Parties hereto intend that the rights of the Beneficiaries arising under this ASF
 Settlement Trust Agreement shall not be “securities” under applicable laws, but none of the Parties
 hereto represent or warrant that such rights shall not be securities or shall be entitled to exemption
 from registration under applicable securities laws. If it should be determined that any such interests
 constitute “securities,” the Parties hereto intend that the exemption provisions of section 1145 of
 the Bankruptcy Code will be satisfied and the offer and sale under the Plan of the beneficial
 interests in the ASF Settlement Trust will be exempt from registration under the Securities Act, all
 rules and regulations promulgated thereunder, and all applicable state and local securities laws and
 regulations.

 Section 8.12 Entire Agreement; No Waiver.

        The entire agreement of the parties relating to the subject matter of this ASF Settlement
 Trust Agreement is contained herein and in the documents referred to herein, and this ASF
 Settlement Trust Agreement and such documents supersede any prior oral or written agreements

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 concerning the subject matter hereof. No failure to exercise or delay in exercising any right, power
 or privilege hereunder shall operate as a waiver thereof, nor shall any single or partial exercise of
 any right, power or privilege hereunder preclude any further exercise thereof or of any other right,
 power or privilege. The rights and remedies herein provided are cumulative and are not exclusive
 of rights under law or in equity.

 Section 8.13 Headings. The headings used in this ASF Settlement Trust Agreement are inserted
 for convenience only and do not constitute a portion of this ASF Settlement Trust Agreement, nor
 in any manner affect the construction of the provisions of this ASF Settlement Trust Agreement.

 Section 8.14 Governing Law.

         This ASF Settlement Trust Agreement shall be governed by, and construed in accordance
 with, the laws of the State of New Mexico, without regard to the conflicts of law provisions thereof
 which would purport to apply the law of any other jurisdiction. None of the following provisions
 of New Mexico law shall apply to the extent inconsistent with the terms of the ASF Settlement
 Trust Documents: (a) the filing with any court or governmental body or agency of trustee accounts
 or schedules of trustee fees and charges, (b) affirmative requirements to post bonds for trustees,
 officers, agents or employees of a trust, (c) the necessity for obtaining court or other governmental
 approval concerning the acquisition, holding or disposition of property, (d) fees or other sums
 payable to trustees, officers, agents or employees of a trust, (e) the allocation of receipts and
 expenditures to income or principal, (f) restrictions or limitations on the permissible nature,
 amount or concentration of trust investments or requirements relating to the titling, storage or other
 manner of holding of ASF Settlement Trust Assets, (g) the existence of rights or interests
 (beneficial or otherwise) in ASF Settlement Trust Assets, (h) the ability of beneficial owners or
 other persons to terminate or dissolve a trust, and (i) the establishment of fiduciary or other
 standards or responsibilities or limitations on the acts or powers of trustees or beneficial owners
 that are inconsistent with the limitations on liability or authorities and powers of the ASF
 Settlement Trustee set forth or referenced in this ASF Settlement Trust Agreement.

 Section 8.15 Settlor’s Representative.

         Pursuant to the ASF Settlement Trust Documents, the Reorganized Debtor is hereby
 irrevocably designated as the “Settlor’s Representative” and is hereby authorized to take any
 action consistent with Reorganized Debtor’s obligations under the ASF Settlement Trust
 Documents that is reasonably requested of the Settlor by the ASF Settlement Trustee pursuant to
 the ASF Settlement Trust Documents. Pursuant to the ASF Settlement Trust Documents, the
 Settlor’s Representative shall cooperate with the ASF Settlement Trustee and the ASF Settlement
 Trust’s officers, employees and professionals in connection with the ASF Settlement Trust’s
 administration of the Aggregate Settlement Consideration, including, but not limited to, providing
 the ASF Settlement Trustee or his or her officers, employees and professionals, upon written
 request (including e-mail), reasonable access to information related to the Aggregate Settlement
 Consideration, including, without limitation, delivery of documents in the possession of, or
 witnesses under the control of, Reorganized Debtor to the extent that the ASF Settlement Trustee
 could obtain the same by subpoena, notice of deposition or other permissible discovery request,
 without the need for a formal discovery request.


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 Section 8.16 Intentionally Omitted.

 Section 8.17 Independent Legal and Tax Counsel.

         All parties to this ASF Settlement Trust Agreement have been represented by counsel and
 advisors of their own selection in this matter. Consequently, the parties agree that the language in
 all parts of this ASF Settlement Trust Agreement shall in all cases be construed as a whole
 according to its fair meaning and shall not be construed either strictly for or against any party. It
 is specifically acknowledged and understood that this ASF Settlement Trust Agreement has not
 been submitted to, nor reviewed or approved by, the IRS or the taxing authorities of any state or
 territory of the United States of America.

 Section 8.18 Waiver of Jury Trial.

         Each party hereto and each Beneficiary hereof hereby irrevocably waives, to the fullest
 extent permitted by applicable law, any and all right to a trial by jury in any legal proceeding
 arising out of or relating to this ASF Settlement Trust Agreement.

 Section 8.19 Effectiveness.

        This ASF Settlement Trust Agreement shall not become effective until it has been executed
 and delivered by all the parties hereto.

 Section 8.20 Counterpart Signatures.

         This ASF Settlement Trust Agreement may be executed in any number of counterparts,
 each of which shall constitute an original, but such counterparts shall together constitute but one
 and the same instrument. A signed copy of this ASF Settlement Trust Agreement or any
 amendment hereto delivered by facsimile, email or other means of Electronic Transmission, shall
 be treated in all manner and respects as an original agreement or instrument and shall be considered
 to have the same binding legal effect as if it were the original signed version thereof delivered in
 person.

                               [SIGNATURE PAGES TO FOLLOW]




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       IN WITNESS WHEREOF, the parties have executed this ASF Settlement Trust
 Agreement as of the date first set forth above to be effective as of the Effective Date.

                                                                             [SETTLOR]


                                                                             [TRUSTEE]




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                               EXHIBIT 1
                   TORT CLAIMS ALLOCATION PROTOCOL




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                                                Exhibit D - ASF Parish List
          Name
          The Cathedral Basilica of St. Francis of Assisi
          Cristo Rey Parish
          San Isidro
          Santa Maria de La Paz Catholic Community
          Shrine of Our Lady of Guadalupe
          St. Anne’s
          St. John the Baptist




          Name
          Church of the Ascension
          Holy Family
          Holy Ghost
          Immaculate Conception
          Nativity of the Blessed Virgin Mary
          Our Lady of Fatima
          Our Lady of Guadalupe
          Our Lady of Lavang
          Our Lady of the Annunciation
          Our Lady of the Assumption
          Our Lady of the Most Holy Rosary
          Prince of Peace Catholic Community
          Queen of Heaven
          Risen Savior Catholic Community
          Sacred Heart
          Saint John XXIII Catholic Community
          San Felipe de Neri
          San Ignacio
          San Jose
          Sangre de Cristo
          Santuario de San Martin de Porres
          Shrine of St. Bernadette
          Shrine of the Little Flower /
             St. Therese of the Infant Jesus
          St. Anne
          St. Charles Borromeo
          St. Edwin
          St. Francis Xavier
          St. Joseph on the Rio Grande
          St. Jude Thaddeus
          St. Thomas Aquinas University Parish
          Our Lady of Perpetual Help




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                          Parishes Outside of Santa Fe and Albuquerque
          Name
          Abiquiu - St. Thomas Apostle
          Anton Chico - San Jose
          Arroyo Seco - La Santisima Trinidad
          Belen - Our Lady of Belen
          Bernalillo - Our Lady of Sorrows
          Cerrillos - St. Joseph
          Chama - St. Patrick
          Chimayo - Holy Family
          Cimarron - Immaculate Conception Church
          Clayton - St. Francis Xavier
          Clovis - Our Lady of Guadalupe
          Clovis - Sacred Heart
          Corrales - San Ysidro
          Dixon - St. Anthony
          El Rito - San Juan Nepomuceno
          Española - Sacred Heart
          Fort Sumner - St. Anthony of Padua
          Isleta Pueblo - St. Augustine
          Jemez Pueblo - San Diego Mission
          Jemez Springs - Our Lady of the Assumption
          La Joya - Our Lady of Sorrows
          Las Vegas - Immaculate Conception
          Las Vegas - Our Lady of Sorrows Church
          Los Alamos - Immaculate Heart of
          Mary
          Los Lunas - San Clemente
          Los Ojos - San Jose
          Mora - St. Gertrude the Great
          Moriarty - Estancia Valley Catholic Parish
          Mountainair - St. Alice
          Pecos - St. Anthony of Padua
          Peña Blanca - Nuestra Señora de Guadalupe
          Peñasco - San Antonio de Padua
          Peralta - Our Lady of Guadalupe
          Pojoaque - Nuestra Senora de Guadalupe
          Portales - St. Helen
          Questa - St. Anthony
          Ranchos de Taos - San Francisco de Asis
          Raton - St. Patrick-St. Joseph
          Ribera, San Miguel del Vado
          Rio Rancho, Church of the Incarnation
          Rio Rancho, St. John Vianney Church
          Rio Rancho, St. Thomas Aquinas
          Roy Mosquero, Holy Family-St. Joseph
          San Juan, Ohkay Owingeh - San Juan Bautista
          Santa Cruz - Holy Cross
          Santa Rosa - St. Rose of Lima
          Socorro - San Miguel
          Springer - St. Joseph
          Taos - Nuestra Señora de Guadalupe
          Tierra Amarilla - Santo Niño
          Tijeras - Holy Child
          Tome - Immaculate Conception
          Tucumcari - St. Anne
          Vaughn - St. Mary
          Villanueva - Our Lady of Guadalupe
          Wagon Mound - Santa Clara



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                       PARTICIPATING PARTY AGREEMENT




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                            ASF PARTICIPATING PARTY AGREEMENT

         This Agreement is entered into on the date below indicated, by and among The Roman
  Catholic Church of the Archdiocese of Santa Fe (“Debtor” or “Archdiocese”) and the
  undersigned, each identified as an ASF Participating Party, and together with Debtor, the
  “Parties”).

                                                  RECITALS

        A.      Debtor filed its Chapter 11 case on December 3, 2018 in the United States
  Bankruptcy Court for the District of New Mexico. The case is administered under Case Number
  18-13027-t11 (the “Reorganization Case”).

          B.       The Archdiocese contains “parishes” and other juridic persons. Each Parish is led
  by a pastor appointed by the Archbishop and is a separately incorporated corporation pursuant to
  New Mexico law. There are other Catholic religious and public benefit corporations operating
  high schools, cemeteries, scholarship and other assistance programs within the geographic
  territory of the Archdiocese and subject to the canonical jurisdiction of the Archbishop.

           C.      Certain Tort Claimants, holders of Claims, and The Official Committee of
  Unsecured Creditors (the “Committee”) have alleged or may in the future allege that the
  Parishes and related entities are legally identical to Debtor, so that their property has direct
  liability for Claims against Debtor, including claimants in connection with Tort Claims who have
  alleged or that may in the future allege actions or failures to act arising within the territory of the
  Archdiocese.

          D.     Debtor or its Estate (including by or through the Committee) may have rights
  against Parishes and related Entities.

          E.     The Committee filed certain actions against Parishes and related Entities that are
  pending in the Bankruptcy Court, Case Nos. 20-ap-01058, 20-ap-01059, and 20-ap-01061 (the
  “Actions”). The Parish Steering Committee of the Archdiocese of Santa Fe has sought to appeal
  to the United States Court of Appeals for the Tenth Circuit the order of the Bankruptcy Court
  authorizing the Committee’s commencement of the Actions, pending in No. 21-702.

         F.      Debtor will file the Debtor’s Plan of Reorganization dated October [], 2022, as
  amended (the “Plan”), for the purpose of fairly and finally resolving all their legal and other
  disputes, including with Tort Claimants. The ASF Participating Parties are interested in seeing
  Debtor accomplish that reorganization and in fact are contributing to the funding required of
  Debtor for purposes of creating a trust for the benefit of the Tort Claimants.

         G.     Debtor will establish the ASF Settlement Trust under the Plan for the benefit of
  the Tort Claimants and fund it with an initial contribution of at least $65,000,000.

         H.      The ASF Participating Parties will collectively make a contribution to support the
  Plan and the transactions contemplated thereunder, including funding the Trust, and in exchange
  each ASF Participating Party will be named as an “ASF Participating Party” and “Protected
  Party” under the Plan.

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          I.    Absent entry of the Channeling Injunction and related protections provided by the
  Plan, the ASF Participating Parties would not be able to fund contributions to support Debtor’s
  payments under the Plan.

           J.     The Plan provides for compromise of Debtor’s and the ASF Participating Parties’
  rights against certain Settling Insurers. Absent entry of the Channeling Injunction and related
  protections provided by the Plan, the ASF Participating Parties would not be willing to consent
  to settlement and release of claims against Settling Insurers.

           K.      By this Agreement, the Parties intend to adopt, by way of compromise, and
  without prejudice to or waiver of their respective positions in matters with other unrelated
  parties, without future trial or adjudication of any issues of fact or law, and without admission of
  liability or responsibility, a full and final settlement that releases and terminates all obligations
  and liabilities of the Parties between themselves and provides for a General Release and
  Channeling Injunction against any present or future Tort Claims asserted against the ASF
  Participating Parties, as well as dismissal of the Actions and Tenth Circuit appeal.

                                                AGREEMENTS

          1.     Consideration. Now, therefore, in full settlement of the claims between the ASF
  Participating Parties and Debtor and in consideration of the Channeling Injunction, General
  Release, and other provisions in the Plan, the undersigned shall pay or contribute an amount
  agreed upon by the undersigned and Debtor (the “Settlement Payment”) subject to the terms
  and conditions contained in this Agreement, the Plan, and the final order of the bankruptcy court
  confirming the Plan (“Confirmation Order”).

          2.      Dismissal of Actions. The undersigned directs its counsel to execute and file a
  stipulation for dismissal of the Actions and the Tenth Circuit appeal with prejudice, each party to
  bear its own costs and attorneys’ fees.

           3.     Dismissal of State Court Litigation. To the extent that a Parish or school is a party
  to an action pending seeking damages or other recovery in connection with a Tort Claim subject
  to the Channeling Injunction provided in the Plan, the undersigned directs counsel to execute and
  file a dismissal with prejudice in any state court in which litigation regarding the relevant Tort
  Claim is pending against a Parish (“State Court Litigation”), each party to bear its own costs
  and attorneys’ fees incurred therein.

          4.     Plan Provisions. Provided that the Plan which is confirmed by the Bankruptcy
  Court in the Reorganization Case is substantially consistent with the terms of the Plan circulated
  on October 11, 2022 (the “Plan”) and a Confirmation Order is entered which is consistent with
  the Plan and does not materially and adversely affect the rights, duties, or interests of Debtor or
  the ASF Participating Parties under this Agreement, the undersigned shall pay the Settlement
  Payment prior to the Contribution Date required under the Plan.

           5.     Agreement Effective Date. This Agreement shall be effective upon the date that
  all Parties have executed this Agreement and shall be binding upon Debtor on the Effective Date
  of the Plan. This Agreement shall be effective upon all of the Parishes and other entities
  identified on Schedule 1 upon the Effective Date of the Plan.

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          6.      Escrow. If this Agreement does not become effective, all contributions by ASF
  Participating Parties to the Archdiocese to fund the Plan shall be returned to the applicable
  funding entity. Prior to the Effective Date, all contributions by ASF Participating Parties shall be
  held in trust for the benefit of the respective contributing entities.

          7.     Neutrality. Nothing herein shall affect ASF Participating Parties’ rights relating to
  their own insurers, indemnitors, subrogees, or others against whom the ASF Participating Parties
  may have rights to seek indemnity or reimbursement unless any such Entity is a Protected Party
  or is otherwise expressly protected by or under the Plan, the Confirmation Order, or this
  Agreement.

          8.       Jurisdiction. The ASF Participating Parties shall be subject to the Bankruptcy
  Court’s jurisdiction for the purpose of enforcing this Agreement and the provisions of the
  Confirmation Order applicable to the ASF Participating Parties. The Bankruptcy Court’s
  jurisdiction is exclusive, to the fullest extent permitted by applicable law, with respect to
  enforcement of the Channeling Injunction, the Plan, the Confirmation Order, and this Agreement
  including certain other issues related to or arising in the Reorganization Case.

         9.      Merger and Enforcement. The Parties intend that this Agreement shall be
  complete and shall not be subject to any claims of accident, unilateral mistake, mutual mistake,
  mistake of fact, rescission, reformation, or claims of similar effect, and they intend by this
  Agreement to resolve all present and future disputes between them relating to the Claims
  including Tort Claims.

         10.      Representation by Counsel. The Parties acknowledge and agree that this
  Agreement was bargained for and entered into in good faith and as the result of arm’s length
  negotiations, and that at all times material they have been represented by counsel of their own
  choosing concerning the rights affected by this Agreement, the form and content of it, and the
  advisability of executing it. This Agreement has been reviewed by counsel for each of the Parties
  and shall not be strictly construed against any Party.

          11.     Representations and Warranties. Each Party represents and warrants that this
  Agreement has been thoroughly negotiated and analyzed by its counsel and has been executed
  and delivered in good faith, pursuant to arm’s length negotiations, and for value and valuable
  consideration. Subject to confirmation of the Plan and entry of the Confirmation Order, each
  Party represents and warrants that it has authority to execute this Agreement as its binding and
  legal obligation. Each Party represents and warrants that the person signing this Agreement on its
  behalf is authorized to execute this Agreement and that it has read this Agreement in full.

           12.    Non-Prejudice and Construction of Agreement. This Agreement is subject to
  Federal Rule of Evidence 408 and similar state law rules of evidence applicable to compromises,
  is intended to be and is a compromise between the Parties, and shall not be construed as an
  admission of liability. This Agreement is without prejudice to positions taken or that may be
  taken by the Parishes relating to other insureds or claimants, and without prejudice to positions
  taken or that will be taken by Debtor relating to third parties. Nothing in this Agreement, express
  or implied, confers on any Entity, other than the Parties, any benefit or any legal or equitable
  right, remedy, or Claim.


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          13.     No Modification. Before the entry of the Confirmation Order, no change or
  modification of this Agreement shall be valid, even if supported by additional consideration,
  unless it is made in writing and signed by the Parties. After the entry of the Confirmation Order,
  this Agreement may be changed or modified only in a written notice signed by the Parties and
  approved by the Bankruptcy Court to the extent required by law.

          14.     No Waiver. Any Party may specifically and expressly waive in writing any
  portion of this Agreement or any breach hereof, but only to the extent such provision is for the
  benefit of the waiving Party, and no such waiver shall constitute a further or continuing waiver
  of any preceding or succeeding breach of the same or any other provision. The consent by one
  Party to any act for which such consent was required shall not be deemed to imply consent or
  waiver of the necessity of obtaining such consent for the same or similar acts in the future, and
  no forbearance by a Party to seek a remedy for noncompliance or breach by the other Party shall
  be construed as a waiver of any right or remedy with respect to such noncompliance or breach.

         15.    Governing Law. This Agreement shall be governed by and shall be construed in
  accordance with the laws of New Mexico without regard to its conflict of law principles, and
  where necessary, in accordance with federal bankruptcy law.

          16.    Integration. This Agreement, together with the Plan and the Confirmation Order
  (when entered), constitutes the entire Agreement among the Parties with respect to the subject
  matter hereof and thereof, and supersedes all discussions, agreements and understandings, both
  written and oral, between the Parties with respect thereto.

         17.    Additional Documents. The Parties shall execute any such other documents as
  may be reasonably required to obtain the Confirmation Order as set forth herein, or as may
  reasonably be necessary to effectuate any other requirement or agreement herein.

          18.     Counterparts. This Agreement may be executed in several counterparts, each of
  which shall be deemed an original. This Agreement is binding when one or more counterparts,
  individually or taken together, is signed by each of the Parties. This Agreement may be effected
  by facsimile or other electronic transmission of executed copies of the signature page delivered
  to counsel for the Parties.

         19.    Captions and Headings. The captions and headings used in this Agreement are for
  reference purposes only and shall not be taken into account in construing or interpreting this
  Agreement.

         20.    Terms. Terms used in this Agreement shall have the meaning provided in the Plan
  except where otherwise stated specifically herein.

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                                                     ROMAN CATHOLIC CHURCH OF THE
                                                     ARCHDIOCESE OF SANTA FE, a New Mexico
                                                     religious corporation sole,

                                                     By:
                                                               Archbishop John Wester

                                                     Parish Steering Committee of the Archdiocese of
                                                     Santa Fe, for the benefit of the Parishes, Missions,
                                                     Shrines and Schools of the Archdiocese identified
                                                     on Schedule 1

                                                     By
                                                     Lewis Roca Rothgerber Christie LLP
                                                            Robert M. Charles, Jr.
                                                     Attorneys for the Parish Steering Committee of the
                                                     Archdiocese of Santa Fe

                                                     The Archdiocese of Santa Fe Real Estate
                                                     Corporation, as Trustee of the Archdiocese of Santa
                                                     Fe Real Estate Trust

                                                     By
                                                     Its

                                                     The Archdiocese of Santa Fe Deposit and Loan
                                                     Fund

                                                     By
                                                     Its

                                                     Catholic Cemetery Association

                                                     By
                                                     Its

                                                     Catholic Foundation

                                                     By
                                                     Its

                                                     Catholic Charities

                                                     By
                                                     Its



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                                                     St. Pius X High School

                                                     By
                                                     Its

                                                     St. Pius X High School Foundation

                                                     By
                                                     Its




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                                          EXHIBIT F
                             PARTICIPATING RELIGIOUS ORDERS
 Servants of the Paraclete
 Brothers of the Christian Schools, SFNO District
 Sons of the Holy Family
 Congregation of the Blessed Sacrament
 The Province of St. John the Baptist of the Order of the Friars Minor and The Province of Our
 Lady of Guadalupe of the Order of Friars Minor




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                                           Protected Parties
                                     Archdiocese Parties
   •   Roman Catholic Church of the Archdiocese of Santa Fe, a New Mexico corporation
       sole, the debtor and debtor-in-possession in the Bankruptcy Case, its Estate, its
       predecessors, successors, and assigns (the “Archdiocese”).
   •   Archdiocese of Santa Fe Catholic Foundation
   •   Catholic Cemetery Association
   •   Catholic Charities
   •   Annual Catholic Appeal Foundation
   •   Archbishop’s School Fund, Inc.
   •   Santo Nino Regional Catholic School
   •   Villa Therese Clinic
   •   St. Pius X High School
   •   St. Pius X Foundation
   •   St. Pius X High School, Inc.
   •   SPX Real Estate Corp.
   •   Archdiocese of Santa Fe Deposit & Loan Trust
   •   Archdiocese of Santa Fe Real Estate Trust
   •   Archdiocese of Santa Fe Real Estate Corporation
   •   Society of St. Vincent DePaul
   •   Parishes
       •   The Cathedral Basilica of St. Francis of Assisi
       •   Cristo Rey Parish
       •   San Isidro
       •   Santa Maria de La Paz Catholic Community
       •   Shrine of Our Lady of Guadalupe
       •   St. Anne’s
       •   St. John the Baptist
       •   Church of the Ascension
       •   Holy Family
       •   Holy Ghost
       •   Immaculate Conception
       •   Nativity of the Blessed Virgin Mary
       •   Our Lady of Fatima
       •   Our Lady of Guadalupe
       •   Our Lady of Lavang
       •   Our Lady of the Annunciation
       •   Our Lady of the Assumption
       •   Our Lady of the Most Holy Rosary
       •   Prince of Peace Catholic Community
       •   Queen of Heaven
       •   Risen Savior Catholic Community
       •   Sacred Heart
       •   Saint John XXIII Catholic Community



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      •   San Felipe de Neri
      •   San Ignacio San Jose
      •   Sangre de Cristo
      •   Santuario de San Martin de Porres
      •   Shrine of St. Bernadette
      •   Shrine of the Little Flower/St. Therese of the Infant Jesus
      •   St. Anne
      •   St. Charles Borromeo
      •   St. Edwin
      •   St. Francis Xavier
      •   St. Joseph on the Rio Grande
      •   St. Jude Thaddeus
      •   St. Thomas Aquinas University Parish
      •   Our Lady of Perpetual Help
      •   Abiquiu - St. Thomas Apostle
      •   Anton Chico - San Jose
      •   Arroyo Seco - La Santisima Trinidad
      •   Belen - Our Lady of Belen
      •   Bernalillo - Our Lady of Sorrows
      •   Cerrillos - St. Joseph
      •   Chama - St. Patrick
      •   Chimayo - Holy Family
      •   Cimarron - Immaculate Conception Church
      •   Clayton - St. Francis Xavier
      •   Clovis - Our Lady of Guadalupe
      •   Clovis - Sacred Heart
      •   Corrales - San Ysidro
      •   Dixon - St. Anthony
      •   El Rito - San Juan Nepomuceno
      •   Española - Sacred Heart
      •   Fort Sumner - St. Anthony of Padua
      •   Isleta Pueblo - St. Augustine
      •   Jemez Pueblo - San Diego Mission
      •   Jemez Springs - Our Lady of the Assumption
      •   La Joya - Our Lady of Sorrows
      •   Las Vegas - Immaculate Conception
      •   Las Vegas - Our Lady of Sorrows Church
      •   Los Alamos - Immaculate Heart of Mary
      •   Los Lunas - San Clemente
      •   Los Ojos - San Jose
      •   Mora - St. Gertrude the Great
      •   Moriarty - Estancia Valley Catholic Parish
      •   Mountainair - St. Alice
      •   Pecos - St. Anthony of Padua
      •   Peña Blanca - Nuestra Señora de Guadalupe
      •   Peñasco - San Antonio de Padua
      •   Peralta - Our Lady of Guadalupe
      •    Pojoaque - Nuestra Senora de Guadalupe
      •   Portales - St. Helen
      •   Questa - St. Anthony
      •   Ranchos de Taos - San Francisco de Asis
      •   Raton - St. Patrick-St. Joseph



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        •   Ribera - San Miguel del Vado
        •   Rio Rancho - Church of the Incarnation
        •   Rio Rancho, St. John Vianney Church
        •   Rio Rancho, St. Thomas Aquinas
        •   Roy Mosquero, Holy Family-St. Joseph
        •   San Juan, Ohkay Owingeh - San Juan Bautista
        •   Santa Cruz - Holy Cross
        •   Santa Rosa - St. Rose of Lima
        •   Socorro - San Miguel
        •   Springer - St. Joseph
        •   Taos - Nuestra Señora de Guadalupe
        •   Tierra Amarilla - Santo Niño
        •   Tijeras - Holy Child
        •   Tome - Immaculate Conception
        •   Tucumcari - St. Anne
        •   Vaughn - St. Mary
        •   Villanueva - Our Lady of Guadalupe
        •   Wagon Mound - Santa Clara

•   Missions
Location                Mission                               Mother Parish
Abeytas                 San Antonio                           Our Lady of Sorrows, La Joya
Abo                     San Lorenzo                           St. Alice, Mountainair
Alamillo                San Antonio                           San Miguel, Socorro
Albert                  San Isidro                            Holy Family-St. Joseph, Roy
Albuquerque             Our Lady of Mount Carmel              Nativity of the BVM, Albuquerque
Albuquerque             San Jose de Los Duranes               San Felipe de Neri, Albuquerque
Alcalde                 St. Anne                              San Juan Bautista, San Juan Pueblo
Alcalde                 San Antonio                           San Juan Bautista, San Juan Pueblo
Algodones               San Jose                              Our Lady of Sorrows, Bernalillo
Alto del Talco          San Santiago                          St. Gertrude the Great, Mora
Amalia                  Santo Niño                            St. Anthony, Questa
Angel Fire              Holy Angels                           Immaculate Conception Church, Cimarron
Arroyo Hondo            Nuestra Señora de Dolores             La Santísima Trinidad, Arroyo Seco
Aurora                  San Antonio                           Our Lady of Guadalupe, Villanueva
Bernal                  Santa Rita                            San Miguel del Vado, Ribera
Bernalillo              Santuario de San Lorenzo              Our Lady of Sorrows, Bernalillo
Black Lake              San Antonio                           Immaculate Conception Church, Cimarron
Borica                  San Isidro                            St. Rose of Lima, Santa Rosa
Bosque                  Cristo Rey                            Our Lady of Belen, Belen
Buena Vista             El Santo Niño de Atocha               St. Gertrude the Great, Mora
Bueyeros                Sacred Heart                          Holy Family-St. Joseph, Roy
Canjilon                San Juan Nepomuceno                   St. Patrick, Chama
Cañon                   Nuestra Señora de los Dolores         Nuestra Señora de Guadalupe, Taos
Cañon                   Our Lady of Guadalupe                 San Diego Mission, Jemez Pueblo
Cañon Plaza             Our Lady of Mount Carmel              San Juan Nepomuceno, El Rito
Cañoncito               Nuestra Señora de La Luz              St. Anthony of Padua, Pecos
Cañoncito               San Jose                              St. Gertrude the Great, Mora
Cañoncito               San Lorenzo                           Holy Child, Tijeras
Cañones                 San Miguel Archangel                  St. Thomas Apostle, Abiquiu
Capulin                 Santo Niño                            St. Thomas Apostle, Abiquiu
Carnuel                 Holy Child                            Holy Child, Tijeras
Casa Colorada           Immaculate Conception                 Immaculate Conception, Tome



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Cebolla             Santo Niño de Atocha                   St. Patrick, Chama
Cedar Crest         San Antonio                            Holy Child, Tijeras
Cerro               Nuestra Señora de Guadalupe            St. Anthony, Questa
Chacon              San Antonio de Padua                   St. Gertrude the Great, Mora
Chamisal            Santa Cruz                             San Antonio de Padua, Peñasco
Chamita             San Pablo                              San Juan Bautista, San Juan Pueblo
Chililli            San Juan Nepomuceno                    Holy Child, Tijeras
Cleveland           San Antonio de Padua                   St. Gertrude the Great, Mora
Cochiti Pueblo      St. Bonaventure                        Nuestra Señora de Guadalupe, Peña Blanca
Colonias            San Jose                               St. Rose of Lima, Santa Rosa
Contreras           San Jose                               Our Lady of Sorrows, La Joya
Cordova             San Antonio                            Holy Family, Chimayo
Costilla            Sagrado Corazon                        St. Anthony, Questa
Coyote              San Juan Bautista                      St. Thomas Apostle, Abiquiu
Cuarteles           La Sangre de Cristo                    Holy Cross, Santa Cruz
Cuervo              Santo Niño                             St. Rose of Lima, Santa Rosa
Cundiyo             Santo Domingo                          Holy Family, Chimayo
Dahlia               Santo Niño de Atocha                  San Jose, Anton Chico
Des Moines          Our Lady of Guadalupe                  St. Francis Xavier, Clayton
Dilia               Sacred Heart-San Isidro                San Jose, Anton Chico
Duran               St. John the Baptist                   St. Mary, Vaughn
Eagle Nest          St. Mel                                Immaculate Conception Church, Cimarron
Edgewood            St. Elizabeth Ann Seaton               Estancia Valley Catholic Parish, Moriarity
El Carmen           Nuestra Señora de Carmel               St. Gertrude the Great, Mora
El Cerrito          Nuestra Señora de Los Desamparados     OL of Guadalupe, Villanueva
El Duende           San Francisco                          Sacred Heart, Española
El Guache           San Antonio                            Sacred Heart, Española
El Guique           San Rafael                             San Juan Bautista, San Juan Pueblo
El Llanito          Christ the King                        Our Lady of Sorrows Church, Las Vegas
El Macho Nuestra    Señora de Guadalupe                    St. Anthony of Padua, Pecos
El Porvenir         San Antonio                            Our Lady of Sorrows Church, Las Vegas
El Prado            Santa Teresita de Jesús                Nuestra Señora de Guadalupe, Taos
El Pueblo           San Antonio                            San Miguel del Vado, Ribera
El Rancho           San Antonio de Padua                   Nuestra Señora de Guadalupe, Pojoaque
El Valle            San Miguel                             Holy Family, Chimayo
Encino              Our Lady of Guadalupe                  St. Mary, Vaughn
Ensenada            San Joaquin                            San Jose, Los Ojos
Escobosa            San Isidro                             Holy Child, Tijeras
Estaca              San Francisco                          San Juan Bautista, San Juan Pueblo
Estancia            Sts. Peter and Paul                    Estancia Valley Catholic Parish, Moriarity
Folsom              St. Joseph                             St. Francis Xavier, Clayton
Galisteo            Nuestra Señora de Los Remedios         St. Joseph, Cerrillos
Gallegos            Immaculate Conception                  Holy Family-St. Joseph, Roy
Gallina             Nuestra Señora de Guadalupe            St. Thomas Apostle, Abiquiu
Gallinas            Santo Niño                             Our Lady of Sorrows Church, Las Vegas
Glorieta            Nuestra Señora de Guadalupe            St. Anthony of Padua, Pecos
Golden              San Francisco de Asis                  St. Joseph, Cerrillos
Golondrinas         San Acacio                              St. Gertrude the Great, Mora
Gonzales Ranch      San Isidro & Santa Teresita            Our Lady of Guadalupe, Villanueva
Guachupangue        Our Lady of Guadalupe                  Sacred Heart, Española
Guadalupita         Nuestra Señora de Guadalupe            St. Gertrude the Great, Mora
Hernandez           San Jose                               Sacred Heart, Española
Holman              Immaculate Heart of Mary               St. Gertrude the Great, Mora
Jarales             St. Francis Xavier                     Our Lady of Belen, Belen
Kelly               San Juan Bautista                      San Miguel, Socorro
La Bajada           San Miguel                             Nuestra Señora de Guadalupe, Peña Blanca


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La Cañada de Los Alamos Our Lady of Guadalupe                Cristo Rey Parish, Santa Fe
La Cienega              San Jose                             San Isidro, Santa Fe
La Cueva                San Rafael                           St. Gertrude the Great, Mora
La Loma                 San Antonio                          Nuestra Señora de Guadalupe, Taos
La Madera               Our Lady of Guadalupe                San Juan Nepomuceno, El Rito
La Manga                Santo Niño                           Our Lady of Sorrows Church, Las Vegas
La Mesilla              San Isidro                           Holy Cross, Santa Cruz
La Petaca               Nuestra Divina Pastora               San Juan Nepomuceno, El Rito
La Puebla               Naciemento de Santo Niño Jesús       Holy Cross, Santa Cruz
La Puente               St. Michael                          San Jose, Los Ojos
Lagunita                Our Lady of the Rosary               San Miguel del Vado, Ribera
Las Colonias            Santo Niño                           St. Anthony of Padua, Pecos
Las Colonias            Santo Niño de Atocha                 La Santísima Trinidad, Arroyo Seco
Las Nutrias             San Isidro                           Our Lady of Sorrows, La Joya
Las Tablas              San Luis Gonzaga                     San Juan Nepomuceno, El Rito
Ledoux                  San Jose                             St. Gertrude the Great, Mora
Lemitar                 La Sagrada Familia                   San Miguel, Socorro
Leyba                   San Francisco                        Our Lady of Guadalupe, Villanueva
Llano de San Juan       San Juan Nepomuceno                  San Antonio de Padua, Peñasco
Los Chavez              Nuestra Señora de Guadalupe          Our Lady of Belen, Belen
Llano Quemado           Nuestra Señora del Carmen            San Francisco de Asis, Ranchos de Taos
Logan                   St. Anthony                          St. Anne, Tucumcari
Los Cordovas            San Ysidro                           San Francisco de Asis, Ranchos de Taos
Los Hueros              San Juan Bautista                    Santa Clara, Wagon Mound
Los LeFebres            Nuestro Señor de Esquipula           Santa Clara, Wagon Mound
Los Lentes              San Antonio                          San Clemente, Los Lunas
Los Luceros             Sagrada Familia                      San Juan Bautista, San Juan Pueblo
Los Montoyas            San Antonio                          Our Lady of Sorrows Church, Las Vegas
Los Vigiles             Our Lady of Refuge                   Immaculate Conception, Las Vegas
Lower Rociada           Santo Niño                           Our Lady of Sorrows Church, Las Vegas
Lucero                  Santa Rita                           St. Gertrude the Great, Mora
Luis Lopez              San Jose                             San Miguel, Socorro
Lyden                   San Jose                             St. Anthony, Dixon
Maes                    San Santiago                         Our Lady of Sorrows Church, Las Vegas
Magdalena               St. Mary Magdalene                   San Miguel, Socorro
Manzano                 Nuestra Señora de Dolores            St. Alice, Mountainair
Maxwell                 St. Vincent de Paul                  St. Patrick-St. Joseph, Raton
Meadowlake              Misión de San Juan Diego             San Clemente, Los Lunas
Medanales               San Antonio                          St. Thomas Apostle, Abiquiu
Melrose                 St. Catherine                        Sacred Heart, Clovis
Mesa de Poleo           Santa Teresa                         St. Thomas Apostle, Abiquiu
Milagro                 Our Lady of Sorrows                  St. Rose of Lima, Santa Rosa
Monte Aplanado          El Santo Niño de Atocha              St. Gertrude the Great, Mora
Montoya                 St. Joan of Arc                      St. Anne, Tucumcari
Nambe                   Sagrado Corazon de Jesús             Nuestra Señora de Guadalupe, Pojoaque
Nambe                   Pueblo San Francisco de Asisi        Nuestra Señora de Guadalupe, Pojoaque
Nara Visa               Sacred Heart                         St. Anne, Tucumcari
Ocate                   Nuestra Señora de Guadalupe          Santa Clara, Wagon Mound
Ojo Caliente            St. Mary San Juan                    Nepomuceno, El Rito
Ojo Feliz               San Isidro                           St. Gertrude the Great, Mora
Ojo Sarco               Santo Tomas                          Holy Family, Chimayo
Palo Blanco             Our Lady of Mount Carmel             St. Joseph, Springer
Pastura                 St. Helen                            St. Mary, Vaughn
Picuris Pueblo          San Lorenzo                          San Antonio de Padua, Peñasco
Pilar                   Nuestra Señora de Dolores            St. Anthony, Dixon
Pinos Wells             San Jose                             St. Mary, Vaughn


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Pintada                Holy Family                               St. Rose of Lima, Santa Rosa
Placita                Nuestra Señora de la Asuncion             San Antonio de Padua, Peñasco
Placitas               San Antonio                               Our Lady of Sorrows, Bernalillo
Placitas               St. Anthony                               San Juan Nepomuceno, El Rito
Plaza Blanca           San Antonio                               San Jose, Los Ojos
Plaza de Arriba        Sangre de Cristo                          San Jose, Anton Chico
Polvadera              San Lorenzo                               San Miguel, Socorro
Ponderosa              Santo Toribio                             San Diego Mission, Jemez Pueblo
Pueblitos              San Isidro                                Our Lady of Belen, Belen
Puerto de Luna         Our Lady of Refuge                        St. Rose of Lima, Santa Rosa
Punta de Agua          St. Vincent de Paul                       St. Alice, Mountainair
Rainsville             Sacred Heart of Jesus                     St. Gertrude the Great, Mora
Ranchitos              Imaculada Concepcion                      Nuestra Señora de Guadalupe, Taos
Ranchitos              St. Michael Archangel                     San Juan Bautista, San Juan Pueblo
Rayado                 Holy Child Chapel                         Immaculate Conception, Cimarron
Red River              St. Edwin                                 St. Anthony, Questa
Riley                  Santa Rita                                San Miguel, Socorro
Rio Chiquito           San Ysidro & Sagrado Corazon              Holy Family, Chimayo
Rio en Medio           Our Lady of Sorrows                       Shrine of Our Lady of Guadalupe, Santa Fe
Rio Lucio              Sagrada Corazon de Jesús                  San Antonio de Padua, Peñasco
Rodarte                Santa Barbara                             San Antonio de Padua, Peñasco
Rowe                   Sagrada Familia                           St. Anthony of Padua, Pecos
Sabinal                San Antonio                               Our Lady of Sorrows, La Joya
Sabinoso               Nuestra Señora de Guadalupe               Holy Family-St. Joseph, Roy
San Antonio            San Antonio                               San Miguel, Socorro
San Antonito           Nuestro Señor de Mapimi                    Holy Child, Tijeras
San Augustine          San Augustine                             Our Lady of Sorrows Church, Las Vegas
San Cristobal          San Cristobal                             La Santísima Trinidad, Arroyo Seco
San Felipe Pueblo      San Felipe                                Nuestra Señora de Guadalupe, Peña Blanca
San Geronimo           San Geronimo                              Our Lady of Sorrows Church, Las Vegas
San Idelfonso          Pueblo San Idelfonso                      San Juan Bautista, San Juan Pueblo
San Ignacio            San Ignacio                               Our Lady of Sorrows Church, Las Vegas
San Ignacio            San Ignacio                               St. Rose of Lima, Santa Rosa
San Isidro del Sur     Nuestra Señora de Guadalupe               San Miguel del Vado, Ribera
San Isidro Norte       San Isidro Labrador                       San Miguel del Vado, Ribera
San Jon                Our Lady of Guadalupe                     St. Anne, Tucumcari
San Jose               San Jose                                  San Miguel del Vado, Ribera
San Juan               San Juan Nepomuceno                       San Miguel del Vado, Ribera
San Pedro              San Pedro                                 Holy Cross, Santa Cruz
San Ysidro             San Ysidro                                San Diego Mission, Jemez Pueblo
Sandia Pueblo          St. Anthony                               Our Lady of Sorrows, Bernalillo
Santa Ana Pueblo       Santa Ana (St. Anthony)                   San Diego Mission, Jemez Pueblo
Santa Clara Pueblo     Santa Clara                               San Juan Bautista, San Juan Pueblo
Santo Domingo Pueblo   Santo Domingo                             Nuestra Señora de Guadalupe, Peña Blanca
Santo Niño             Santo Niño                                Holy Cross, Santa Cruz
Sapello                Nuestra Señora de Guadalupe               Our Lady of Sorrows, Las Vegas
Sedillo                San Isidro                                Holy Child, Tijeras
Sena Nuestro           Señor Esquipula                           Our Lady of Guadalupe, Villanueva
Servilleta             St. Anthony                               San Juan Nepomuceno, El Rito
Sile                   Santa Barbara                             Nuestra Señora de Guadalupe, Peña Blanca
Tajique                San Antonio                               Estancia Valley Catholic Parish, Moriarity
Talpa                  Nuestra Señora de San Juan de Los Lagos   Ranchos de Taos
Taos Pueblo            San Geronimo                              Nuestra Señora de Guadalupe, Taos
Tecolote               Our Lady of Sorrows                       Our Lady of Sorrows Church, Las Vegas
Tecolotito             Our Lady of Guadalupe                     San Jose, Anton Chico
Tesuque                San Ysidro                                Shrine of Our Lady of Guadalupe, Santa Fe


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Tesuque Pueblo          San Diego                                  San Juan Bautista, San Juan Pueblo
Texico                  San Jose                                   Our Lady of Guadalupe, Clovis
Tinaja                  San Isidro                                 St. Joseph, Springer
Torreon                 St. Anthony                                St. Alice, Mountainair
Trampas                 San Jose                                   Holy Family, Chimayo
Trementina              San Rafael                                 Our Lady of Sorrows Church, Las Vegas
Tres Piedras            Immaculate Conception                      San Juan Nepomuceno, El Rito
Truchas                 Santo Rosario                              Holy Family, Chimayo
Trujillo                San Isidro                                 Our Lady of Sorrows Church, Las Vegas
Turquillo               Santa Teresita del Niño Jesus              St. Gertrude the Great, Mora
Upper Rociada           San Jose                                   Our Lady of Sorrows Church, Las Vegas
Upper Town              San Antonio                                Immaculate Conception, Las Vegas
Vadito                  Nuestra Señora de Dolores                  San Antonio de Padua, Peñasco
Valdez                  San Antonio de Padua                       La Santísima Trinidad, Arroyo Seco
Valencia                Sangre de Cristo                           Our Lady of Guadalupe, Peralta
Vallecitos              Our Lady of Sorrows                        San Juan Nepomuceno, El Rito
Variadero               Holy Family                                Our Lady of Sorrows Church, Las Vegas
Veguita                 San Juan                                   Our Lady of Sorrows, La Joya
Velarde                 Nuestra Señora de Guadalupe                St. Anthony, Dixon
Watrous                 Sagrado Corazon                            Santa Clara, Wagon Mound
White Rock              St. Joseph                                 Immaculate Heart of Mary, Los Alamos
Willard                 Our Lady of Sorrows                        St. Alice, Mountainair
Youngsville             San Pedro                                  St. Thomas Apostle, Abiquiu
Zia Pueblo              Our Lady of the Assumption                 San Diego Mission, Jemez Pueblo

•   Shrines
Shrine                                       Mother Parish
Santuario de Chimayo\                        Holy Family, Chimayo
Shrine of the Little Flower                  St. Therese of the Infant Jesus, Albuquerque
Shrine of Our Lady of Guadalupe              Shrine of Our Lady of Guadalupe, Santa Fe
Shrine of Our Lady of Lourdes                San Juan Baustista, San Juan Pueblo
Shrine of St. Bernadette                     Shrine of St. Bernadette, Albuquerque Shrine of St. Kateri
Tekakwitha                                   St. Augustine, Isleta Pueblo
•   Schools
    •   Annunciation Catholic School
    •   Holy Ghost Catholic School
    •   Our Lady of Fatima Catholic School
    •   Our Lady of the Assumption Catholic School
    •   Risen Savior Catholic School
    •   San Felipe de Neri Catholic School
    •   St. Charles Borromeo Catholic School
    •   St. Mary Catholic School
    •   St. Pius X High School
    •   St. Therese Catholic School
    •   St. Mary Catholic School (Belen)
    •   Holy Child Catholic School
    •   St. Thomas Aquinas Catholic School
    •   Holy Cross Catholic School
    •   Santo Niño Regional Catholic School
    •   St. Michael's High School

•   Any and all past and present shareholders, principals, teachers, staff, members, boards,
    administrators, priests, deacons, brothers, sisters, nuns, other clergy or religious, volunteers,


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    and Representatives of the Archdiocese and of the ASF Participating Parties.

•   Each of the past, present, and future Affiliates, holding companies, merged companies, related
    companies, divisions, and acquired companies of the Archdiocese and ASF Participating
    Parties, and each of their respective past, present and future Affiliates, holding companies,
    merged companies, related companies, divisions and acquired companies, and each of their
    respective predecessors, successors, and assigns, each in their capacity as such.

•   Settling Insurers

    •   Arrowood Indemnity Company, formerly known as Royal Indemnity Company, successor by merger to
        Royal Insurance Company of America, and, solely in their capacity as such, (i) each of its past, present, and
        future parents, subsidiaries, affiliates, and divisions; (ii) each of the foregoing Persons’ or Entities’ respective
        past, present, and future parents, subsidiaries, affiliates, holding companies, merged companies, related
        companies, divisions and acquired companies, each of the foregoing Persons’ or Entities’ respective past,
        present, and future directors, officers, shareholders, employees, subrogees, partners, principals, managers,
        agents, attorneys, joint ventures, joint venturers, representatives, and claims handling administrators; and
        (iii) each of the foregoing Persons’ or Entities’ respective predecessors, successors, assignors, and assigns,
        whether known or unknown, and all Persons or Entities acting on behalf of, by, through or in concert with
        them. For the avoidance of doubt, the inclusion of the phrase “future parents” in this definition is limited to
        such Entity in its capacity as a “future parent,” and nothing contained herein shall limit or alter the obligations
        of any such Entity to the extent that such obligations exist independent of such Entity’s role as a “future
        parent.”
    •   Catholic Mutual Relief Society of America, and solely in the capacity as such, (i) each of its past and
        present parents, subsidiaries, affiliates, reinsurers, retrocessionaires, and divisions; (ii) each of the foregoing
        Entities’ respective past and present, parents, subsidiaries, affiliates, holding companies, merged companies,
        related companies, divisions and acquired companies,; (iii) each of the foregoing Entities’ respective past,
        present and future, directors, officers, shareholders, employees, subrogees, partners, principals, agents,
        attorneys, joint ventures, joint venturers, representatives, and claims handling administrators; and (iv) each
        of the foregoing Entities’ respective predecessors, successors, assignors, and assigns, whether known or
        unknown, and all Entities acting on behalf of, by, through or in concert with them.
    •   Continental Insurance Company, and solely in the capacity as such, (i) each of its past and present parents,
        subsidiaries, affiliates, and divisions; (ii) each of their respective past and present parents, subsidiaries,
        affiliates, holding companies, merged companies, related companies, divisions and acquired companies, each
        of their respective past, present and future, directors, officers, shareholders, employees, subrogees, partners,
        principals, agents, attorneys, joint ventures, joint venturers, representatives, and claims handling
        administrators; and (iii) each of their respective predecessors, successors, assignors, and assigns, whether
        known or unknown, and all Entities acting on behalf of, by, through or in concert with them.
    •   Great American Insurance Company, and, solely in the capacity as such: (i) each of its past and present
        parents, subsidiaries, affiliates, and divisions; (ii) each of their respective past and present parents,
        subsidiaries, affiliates, holding companies, merged companies, related companies, divisions and acquired
        companies, each of their respective past, present and future, directors, officers, shareholders, employees,
        subrogees, partners, principals, agents, attorneys, joint ventures, joint venturers, representatives, and claims
        handling administrators; and (iii) each of their respective predecessors, successors, assignors, and assigns,
        whether known or unknown, and all Entities acting on behalf of, by, through or in concert with them.
    •   Travelers Indemnity Company and St. Paul Fire and Marine Insurance Company, as itself and as a
        successor to or assignee of St. Paul Mercury Indemnity Company, and solely in the capacity as such, i) each
        of their past and present parents, subsidiaries, affiliates, and divisions; ii) each of their respective past and
        present parents, subsidiaries, affiliates, holding companies, merged companies, related companies, divisions
        and acquired companies, each of their respective past, present and future, directors, officers, shareholders,
        employees, subrogees, partners, principals, agents, attorneys, joint ventures, joint venturers, representatives,
        and claims handling administrators; and iii) each of their respective predecessors, successors, assignors, and
        assigns, whether known or unknown, and all Entities acting on behalf of, by, through or in concert with them.



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    •   United States Fire Insurance Company, and solely in the capacity as such, (i) each of its past and present
        parents, subsidiaries, affiliates, and divisions; (ii) each of their respective past and present parents,
        subsidiaries, affiliates, holding companies, merged companies, related companies, divisions and acquired
        companies, each of their respective past, present and future, directors, officers, shareholders, employees,
        subrogees, partners, principals, agents, attorneys, joint ventures, joint venturers, representatives, and claims
        handling administrators; and (iii) each of their respective predecessors, successors, assignors, and assigns,
        whether known or unknown, and all Entities acting on behalf of, by, through or in concert with them.

•   Participating Religious Orders and Funding Insurers

    •   Brothers of the Christian Schools, SFNO District
    •   Sons of the Holy Family
    •   Congregation of the Blessed Sacrament
    •   The Province of St. John the Baptist of the Order of the Friars Minor and The Province of Our Lady
        of Guadalupe of the Order of Friars Minor
    •   Servants of the Paraclete
    •   Arrowood Indemnity Company, formerly known as Royal Indemnity Company, successor by merger to
        Royal Insurance Company of America and each of its past, present, and future parents, subsidiaries, affiliates,
        and divisions; each of the foregoing Persons’ or Entity’s respective past, present, and future parents,
        subsidiaries, affiliates, holding companies, merged companies, related companies, divisions, and acquired
        companies; each of the foregoing Persons’ or Entity’s respective past, present, and future directors, officers,
        shareholders, employees, partners, principals, agents, attorneys, joint ventures, joint venturers,
        representatives, and claims handling administrators; and each of the foregoing Persons’ or Entity’s respective
        predecessors, successors, assignors, and assigns, whether known or unknown, and all Persons or Entities
        acting on behalf of, by, through, or in concert with them.
    •   The Catholic Mutual Relief Society of America, and solely in the capacity as such, (i) each of its past and
        present parents, subsidiaries, affiliates, reinsurers, retrocessionaires, and divisions; (ii) each of the foregoing
        Entities’ respective past and present, parents, subsidiaries, affiliates, holding companies, merged companies,
        related companies, divisions and acquired companies; and (iii) each of the foregoing Entities’ respective
        past, present and future, directors, officers, shareholders, employees, subrogees, partners, principals, agents,
        attorneys, joint ventures, joint venturers, representatives, and claims handling administrators; and (iv) each
        of the foregoing Entities’ respective predecessors, successors, assignors, and assigns, whether known or
        unknown, and all Entities acting on behalf of, by, through or in concert with them.
    •   Liberty Mutual and each of its past, present, and future parents, subsidiaries, affiliates, reinsurers and
        retrocessionaires, and divisions; each of the foregoing Persons’ respective past, present, and future parents,
        subsidiaries, affiliates, holding companies, merged companies, related companies, divisions, and acquired
        companies; each of the foregoing Persons’ respective past, present, and future directors, officers,
        shareholders, employees, partners, principals, agents, attorneys, joint ventures, joint venturers,
        representatives, and claims handling administrators; and each of the foregoing Persons’ respective
        predecessors, successors, assignors, and assigns, whether known or unknown, and all Persons acting on
        behalf of, by, through, or in concert with them.
    •   Travelers Indemnity Company and St. Paul Fire and Marine Insurance Company, as itself and as a
        successor to or assignee of St. Paul Mercury Indemnity Company, and solely in the capacity as such, (i) each
        of its past and present parents, subsidiaries, affiliates, and divisions; (ii) each of their respective past and
        present parents, subsidiaries, affiliates, holding companies, merged companies, related companies, divisions
        and acquired companies, each of their respective past, present and future, directors, officers, shareholders,
        employees, subrogees, partners, principals, agents, attorneys, joint ventures, joint venturers, representatives,
        and claims handling administrators; and (iii) each of their respective predecessors, successors, assignors, and
        assigns, whether known or unknown, and all Entities acting on behalf of, by, through or in concert with them.
    •   United States Fire Insurance Company, and solely in the capacity as such, (i) each of its past and present
        parents, subsidiaries, affiliates, and divisions; (ii) each of their respective past and present parents,



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        subsidiaries, affiliates, holding companies, merged companies, related companies, divisions and acquired
        companies, each of their respective past, present and future, directors, officers, shareholders, employees,
        subrogees, partners, principals, agents, attorneys, joint ventures, joint venturers, representatives, and claims
        handling administrators; and (iii) each of their respective predecessors, successors, assignors, and assigns,
        whether known or unknown, and all Entities acting on behalf of, by, through or in concert with them.
    •   Hartford Accident and Indemnity Company and each of its past, present, and future parents, subsidiaries,
        affiliates, and divisions; each of the foregoing Persons’ or Entities’ respective past, present, and future
        parents, subsidiaries, affiliates, holding companies, merged companies, related companies, divisions, and
        acquired companies; each of the foregoing Persons’ or Entities’ respective past, present, and future directors,
        officers, shareholders, employees, partners, principals, managers, agents, attorneys, joint ventures, joint
        venturers, representatives, and claims handling administrators; and each of the foregoing Persons’ or Entities’
        respective predecessors, successors, assignors, and assigns, whether known or unknown, and all Persons or
        Entities acting on behalf of, by, through, or in concert with them.

 Protected Parties DO NOT include any of the following: (i) any Perpetrator, (ii) any diocese or
 archdiocese (other than the Archdiocese itself), (iii) any Religious Order other than a Participating
 Religious Order, or (iv) the Holy See. A liability carrier to a Participating Religious Order in that
 capacity and a Participating Religious Order will not become Protected Parties unless its respective
 share of the Participating Religious Order Contribution is made on or before the applicable
 Participating Religious Orders Contribution Date.




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      TORT CLAIMS ALLOCATION PROTOCOL FOR TORT CLAIMS FILED IN THE
                        CHAPTER 11 CASE OF THE
         ROMAN CATHOLIC CHURCH OF THE ARCHDIOCESE OF SANTA FE
 1.      PURPOSE

 The purpose of the Tort Claims Allocation Protocol is to provide for the distribution of funds to
 Tort Claimants. This protocol does not apply to the distribution of funds to any other
 creditors, including Unknown Tort Claimants.

 2.      DEFINITIONS

         2.1        Capitalized Terms.

         Capitalized terms used herein shall have the meanings given them in the Plan or the
         Bankruptcy Code, unless otherwise defined herein, and such definitions are incorporated
         herein by reference.

                    “Adult Tort Claimant” means any Tort Claimant who was abused by a
                    Perpetrator of the Debtor for the first time on or after the date that such Tort
                    Claimant was eighteen (18) years of age.

                     “Perpetrator of Debtor” Means a person: (1) who was an employee or other agent
                    of the Debtor or any other Protected Party (as defined in the Plan) at the time such
                    person committed an act of Abuse; or (2) for whom or for whose actions the Debtor
                    or any other Protected Party (as defined in the Plan) was otherwise responsible.

                    “Tort Claimants” means, collectively, Holders of Class 3 Tort Claims.

 3.      RULES OF INTERPRETATION AND GENERAL GUIDELINES

         3.1        Sole and Exclusive Method.

         The Plan and the Trust Agreement contemplate that the ASF Settlement Trust will be
         established for payment of Tort Claims. The Plan and this protocol shall together be the
         sole and exclusive method by which a Tort Claimant (and not an Unknown may seek
         distribution on account of a Tort Claim against the Debtor. The Plan and the Trust
         Agreement further contemplate that a separate trust will be established for payment of
         Unknown Tort Claims; provided that none of the $121.5 million paid to the ASF
         Settlement Trust shall be used to fund any distribution to an Unknown Tort Claimant or
         payment to a trust for payment of Unknown Tort Claims.

         3.2        Conflict with Plan.

         The terms of the confirmed Plan (as it may be amended) or the Confirmation Order shall
         prevail if there is any conflict between the terms of the Plan and the terms of this allocation
         protocol.

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       3.3    Non-Compensatory Damages and Other Theories of Liability.

       In determining the distribution to any Tort Claimant, punitive damages and damages that
       can be classified as economic damages that do not compensate the Tort Claimant for bodily
       injury and/or emotional distress or mental anguish attributable to their bodily injury shall
       not be considered or allowed, even if these damages could have been considered or allowed
       under applicable non-bankruptcy law. Any distribution to a Tort Claimant shall be solely
       on account of bodily injury and/or emotional distress or mental anguish attributable to the
       bodily injury to such Tort Claimant.

       3.4    Withdrawal of Claims.

       A Tort Claimant can irrevocably withdraw a Tort Claim, as the case may be, at any time
       upon written notice to the Trustee and the Archdiocese. Once withdraw, the Tort Claim
       may not be reasserted against the Trust (including filing an Unknown Tort Claim by a Tort
       Claimant who withdrew his or her Tort Claim).

       3.5    Res Judicata Effect.

       The TCR’s determination with respect to a Tort Claim shall have no preclusive, res judicata
       judicial estoppel or similar effect outside of this Case as to any third party. That is, the
       TCR’s determination shall not be used against any Tort Claimant in any other matter, case
       or proceeding.

       3.6    Confidentiality and Privilege.

       All information that the TCR receives from any source about any Tort Claimant shall be
       held in strict confidence and shall not be disclosed absent an Order of the Bankruptcy Court
       or the written consent of the Tort Claimant (or such Claimant’s counsel of record). All
       information that the TCR received from any Tort Claimant (including from counsel to such
       Claimant) shall be subject to a mediation privilege and receipt of such information by the
       TCR shall not constitute a waiver of any attorney-client privilege or attorney work-product
       claim or any similar privilege or doctrine.

 4.    ABUSE CLAIMS REVIEWER

       Hon. William Bettinelli (retd) has been appointed as the “Tort Claims Reviewer” (the
       “TCR”) under the terms of this protocol and an order of the Bankruptcy Court. The TCR
       shall conduct a review of each of the Tort Claims (as and when such Claims may be filed)
       and, according to the guidelines set forth in section 5 below, make determinations upon
       which individual monetary distributions will be made subject to the Plan and the Trust
       Documents. The TCR’s review as to each Tort Claimant shall be the final review, subject
       only to reconsideration as set forth in section 7 below.

       The Debtor shall provide electronic copies of all Sexual Abuse Proof of Claim forms
       (including any attachments thereto and as the same may have been amended from time to
       time) to the TCR.


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 5.    PROCEDURE FOR ALLOCATION
       AMONG ALLOWED TORT CLAIMS

       5.1    Proof of Abuse.

       The TCR shall consider all of the facts and evidence presented by the Tort Claimant in the
       Tort Claimant’s filed proof of claim. Tort Claimants may provide supplemental evidence
       and information to the TCR pursuant to the below procedures.

       The TCR shall consider all of the facts and evidence presented by the Tort Claimant.
       However, it is recognized that many Abuse Claimants may not have such documents as
       medical or counseling records. The TCR shall not distinguish between documentary
       evidence and Supplemental Submission by video in terms of weight or value in making his
       findings. One is not necessarily more or less valuable than the other. The presence or
       absence of such documents shall not, alone, advantage or disadvantage the Tort Claimant
       if the information presented is otherwise reliable and credible.

       The TCR shall be authorized to request additional information from a Tort Claimant.
       Failure to respond to such request shall not be construed against the Tort Claimant.

       Each Tort Claimant will have the opportunity to submit a written statement (a
       “Supplemental Submission”) to the TCR or his designated assistant(s), provided that, any
       Tort Claimant may opt out of the written statement at any time. The TCR shall establish a
       deadline (the “Submission Deadline”) of no less than 30 days for Tort Claimants to submit
       Supplemental Statements to the TCR. Notice of the Submission Deadline (the
       “Supplement Notice”) shall provide, among other things, the method for submission of
       Supplemental Statements. All notices by the TCR to Tort Claimants, including the
       Supplement Notice, shall be sent to each Tort Claimant’s counsel of record via email and
       first class mail at the address(es) provided in the applicable Sexual Abuse Proof of Claim
       Form.

       The Supplemental Submission shall be no longer than 10 pages in length, single sided,
       double spaced with 12-point font; provided, however, that a Tort Claimant not represented
       by counsel may submit a handwritten Supplemental Submission not to exceed 10 single
       sided pages in length. A Supplemental Submission shall be submitted by the Submission
       Deadline unless the TCR determines, in his sole discretion, there is good cause for delay.
       The TCR, in his sole discretion, may allow a Tort Claimant to exceed the page limit for the
       Supplemental Submission. Tort Claimant may submit a Supplemental Submission to the
       TCR, in lieu of a written statement, via video that is no more than ten minutes in length. A
       Tort Claimant may submit either a written or video Supplemental Submission, but not both.
       A video submission may only record the Tort Claimant and may not record any other
       person, including an agent or representative of a Tort Claimant; provided, however, a video
       may include a recording of the Tort Claimant’s deposition, provided that such recording is
       not more than ten minutes in length. If a Tort Claimant declines to submit a written or
       video Supplemental Submission, such declination shall not be held against the Tort
       Claimant or be used as grounds to discount the claim. The medium of the Supplemental


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       Submission (whether in writing or by video) shall not advantage or disadvantage a
       Tort Claimant.

       5.2    Guidelines for Allocation for Allowed Tort Claims.

              (a)    Initial Evaluation.

              The TCR shall consider whether the Tort Claimant has proven by a preponderance
              of the evidence that the Tort was perpetrated by a Perpetrator of the Debtor. The
              TCR shall give notice to the Tort Claimant and the Trustee if he determines that the
              Tort Claimant has not met the burden of proof and will provide the Tort Claimant
              a reasonable opportunity to provide facts and/or legal basis to establish that the
              burden of proof has been met. The Debtor and any Protected Party (other than a
              Settling Insurer) are required to cooperate with any information or discovery
              request by a Tort Claimant that is related to the TCR’s determination that the Tort
              Claimant has not met the burden of proof. On request of the Trustee, the TCR shall
              evaluate the Claim pursuant to Section 5.2(d) to allow the Trustee to reserve
              sufficient amounts to pay the Tort Claimant if the TCR subsequently determines
              that the Tort Claimant has met the burden of proof hereunder.

              (b)    Adult Tort Claims.

              Any Adult Tort Claimant must submit a written statement (no longer than 10 pages
              in length, single sided, double spaced with 12-point font) regarding whether such
              Claimant was abused within the applicable statute of limitation. If an Adult Tort
              Claim is based on acts that are outside of the applicable statute of limitations, then
              the TCR, in his sole discretion, shall reduce the points award of the claim in an
              amount between 20% and 80%. The TCR shall reduce the points award for any
              Adult Tort Claimant that fails to submit such written statement by 80%. Claimants
              who must submit such statement are listed on Schedule __ hereto. The deadline to
              submit such statement shall be the Submission Deadline provided upon notice by
              the TCR to the Adult Tort Claimant.


              (c)    Released Tort Claims.

              With respect to any Tort Claim that is filed by a Tort Claimant who previously
              released the Archdiocese from liability (a “Releasor”), the TCR shall assess
              whether such Releasor has proven by a preponderance of the evidence that:

                             (a) such Releasor was not represented by counsel at the time such
                                 release was executed (the “Release Date”); and

                              (b)    (i) any payment received by such Claimant in
                                     consideration of the release was unjust under the
                                     circumstances; or



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                                     (ii) such Releasor was incapacitated or disabled as of the
                                     Release Date; or
                                     (iii) such Releasor was fraudulently induced to execute the
                                     release.

              A Releasor must submit a written statement (no longer than 10 pages in length,
              single sided, double spaced with 12-point font) with respect to Tort Claim
              asserted after such Tort Claimant executed a release in favor of the Archdiocese.
              The TCR shall award zero (0) points for any applicable Releasor that fails to
              submit such statement. Releasors who must submit such statement are listed on
              Schedule __ hereto. The deadline to submit such statement shall be the
              Submission Deadline provided upon notice by the TCR to the Releasor. The
              Trustee shall deduct the amount received by any Releasor in exchange for the
              release from such Claimants award. Any Releasor that fails to provide written
              evidence of the amount received in exchange for executing such a release within
              30 days of a written request for such information by the Trustee shall be awarded
              zero (0) points.

              (d)    Evaluation Factors

              Each Tort Claim will be evaluated by the TCR. Each Claim will be scored on a
              scale of up to 110 based on the following factors:

                     (i)    Nature of the Sexual Abuse:

                            (1)     Duration;

                            (2)     Frequency/number of instances;

                            (3)     Degree of intrusiveness into child’s body (e.g.
                                    clothed/unclothed, masturbation by or of perpetrator, oral
                                    penetration, anal penetration, vaginal penetration);

                            (4)     Level or severity of force/violence/coercion/threats;

                            (5)     Control of environment (e.g. boarding school, orphanage,
                                    trip under supervision of perpetrator, day school,
                                    employment relationship with Perpetrator of the Debtors);

                            (6)     Number of Perpetrators of the Debtors that abused the
                                    Claimant;

                            (7)     Physical pain suffered;

                            (8)     Grooming; and/or

                            (9)     Additional factors that may be provided by the Claimant.


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                       (ii)    Impact of Abuse:

                               (1)    School behavior problems;

                               (2)    School academic problems;

                               (3)    Getting into legal trouble as a minor;

                               (4)    Loss of faith;

                               (5)    Damage to family relationships/ interpersonal difficulties;

                               (6)    Mental health symptoms, including:

                                      a.      Depression;

                                      b.      Suicide Attempt and suicidal ideation;

                                      c.      Anxiety;

                                      d.      Substance abuse;

                                      e.      Sexual acting out;

                                      f.      Runaway;

                                      g.      Flashbacks; and/or

                                      h.      Nightmares; and/or

                               (7)    Adult and current functioning:

                                      a.      Criminal record as an adult;

                                      b.      Underemployment/unemployment;

                                      c.      Relationship problems

                                      d.      Substance abuse; and/or

                               (8)    The risk of the foregoing factors affecting the Abuse
                                      Claimant in the future based on the Abuse Claimant’s age
                                      at the present time; and/or

                               (9)    Additional factors that may be provided by the Claimant.

         The TCR shall not consider the mere fact that a Claimant has been or is incarcerated in
 the review of the claim unless an element of the crime for which the Claimant was convicted
 includes any type of fraud or misrepresentation.

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                        (iii)   Additional Factors:

                        Tort Claimants level of participation by the Tort Claimant in
                        public/litigation events related to the Tort Claims, including but not
                        limited to:
                                        a.      leadership role in organizations dedicated to
                                                assisting sexual abuse survivors;

                                       b.      participation in litigation against the Archdiocese
                                               prior to the Petition Date;

                                       c.      participation in criminal proceedings against a
                                               Perpetrator of the Debtor; and/or


        5.3     In evaluating the claims, the TCR shall disregard any considerations related to the
        statute of limitations with respect to sexual abuse and/or sexual assault claims other than
        with respect to Adult Claims pursuant to Section 5.2(b) above.

        5.4     There will be no consideration of a Tort Claimant’s claims against any other
        entity that may be liable for the abuse to the Tort Claimant.

 6.     MONETARY DISTRIBUTION.

 The TCR will arrive at a point total for each Tort Claimant taking into account the above factors.

 The Trustee of the Trust shall calculate the value of an individual “point” after all Tort Claims
 have been reviewed. The point value will be determined by dividing (a) the total amount of dollars
 in the amount funded to the Trust for the Tort Claims by (b) the total number of points among all
 of the individual Tort Claims. By way of example, if there are 50 claimants awarded a total of
 10,000 points within a given Claimant Pool, with a total settlement fund of $2 million, each point
 would be valued at $200.

 7.     DETERMINATIONS BY THE TCR
        AND REQUESTS FOR RECONSIDERATION AND APPEAL.

 The Trustee shall notify each Tort Claimant in writing of the monetary distribution with respect to
 the Tort Claimant’s Claim, which distribution may be greater or smaller than the actual distribution
 to be received based on reserves established by the Trustee and the outcome of any reconsideration
 of claims. The Trustee shall mail this preliminary determination to the Tort Claimant to the Tort
 Claimant’s counsel of record, or in the case of unrepresented parties, to the last address based on
 the Tort Claimant’s filed proof of claim. The TCR’s determination shall be final unless the Tort
 Claimant makes a timely request for the point award to be reconsidered by the TCR. The Tort
 Claimant shall not have a right to any other appeal of the TCR’s point award. The Tort Claimant
 may request reconsideration of the TCR’s point award by delivering a written request for
 reconsideration to the TCR within 10 calendar days after the date of mailing of the preliminary
 monetary distribution. The Tort Claimant, with the request for reconsideration, may submit

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 additional evidence and argument in support of such request upon a showing that such additional
 information could not have been provided in accordance with this protocol. The TCR shall have
 sole discretion to determine how to respond to the request for reconsideration. The TCR’s
 determination of such request for reconsideration shall be final and not subject to any further
 reconsideration, review or appeal by any party, including a court.

 8.     ADJUSTMENTS.

 The TCR shall adjust all Reviewed Claims as follows:

                      a.      No Award for Non-Sexual Abuse.

                      The TCR shall allocate points only for Tort Claims, subject to paragraph
                      3.3 above. Zero (0) points shall be allocated for any Claim that is not a Tort
                      Claim.


                      b.      Late Claims.

                      The TCR shall assess Tort Claims filed between November 21, 2019 and
                      March 30, 2022 (any such claim, a “Late Claim” and the claimant, a “Late
                      Claimant”). A Late Claimant must submit a written statement (no longer
                      than 10 pages in length, single sided, double spaced with 12-point font) with
                      respect to any Late Claim. Late Claims are listed on Schedule __ hereto.
                      The deadline to submit such statement shall be the Submission Deadline
                      provided upon notice by the TCR to the Late Claimant. The TCR shall
                      award zero (0) points for any Late Claimant that fails to submit such
                      statement. A Tort Claim filed after June 17, 2019 and before November 21,
                      2019 is not a Late Claim and the TCR shall assess such Tort Claim as if it
                      was filed on or before June 17, 2019. The TCR (a) shall reduce any Late
                      Claim by 50% and (b) may, in his sole discretion based on the Late
                      Claimant’s statement, reduce the points awarded to any Late Claim by up
                      to 80%. For example, if the TCR assesses a Late Claim at 100 points, he
                      shall reduce the assessment to 50 points and may, in his sole discretion
                      based on the Late Claimant’s statement, further reduce the assessment but
                      he may not assess it to less than 20 points.

                      The TCR shall consider whether the statute of limitations would apply
                      to a Tort Claim first filed on or after April 1, 2022 (such claim, a “Post
                      April 1 Claim” and the claimant a “Post April 1 Claimant”). A Post
                      April 1 Claimant must submit a written statement (no longer than 10
                      pages in length, single sided, double spaced with 12-point font) with
                      respect to any Late Claim no later than the later of: (i) fifteen (15) days
                      after the Effective Date of the Plan and (ii) the date of filing of the Post
                      April 1 Claim. The TCR shall award zero (0) points for any Post April
                      1 Claimant that fails to timely submit such statement. The TCR shall
                      reduce any Post April 1 Claim by 75% and (b) may, in his sole discretion
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                       based on the Post April 1 Claimant’s statement and any statement by
                       the Trustee, reduce the points awarded to such claimant to zero (0).



 9.     SPECIFIC ALLOCATIONS.

 Notwithstanding the foregoing, the Claims Reviewer and/or the Trustee shall allocate (a) $20,000
 to each of Tort Claim number 363, Tort Claim number 366, Tort Claim number 367; and (b)
 $60,000 to each of Tort Claim number 441, Tort Claim number 442, Tort Claim number 443, Tort
 Claim number 444, Tort Claim number 445.




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   ALLOCATION PROTOCOL FOR CLASS 4 UNKNOWN TORT CLAIMS FILED IN THE
    CHAPTER 11 BANKRUPTCY CASE OF THE ROMAN CATHOLIC CHURCH OF THE
                       ARCHDIOCESE OF SANTA FE

         1.    Unknown Tort Claims Reviewer

        _____________ shall have the title, responsibility and authority of “Abuse Claims Reviewer”
(hereinafter “ACR”) under the terms of this Allocation Protocol. The ACR shall conduct a review of each
Class 4 Unknown Tort Claim and make individual point allocations according to the guidelines set forth
in sections 6.5 and 6.6 below. The Unknown Tort Claims Trustee shall make individual monetary
distributions to Class 4 Unknown Tort Claimants pursuant to the terms of this Allocation Protocol and the
Plan based on the ACR’s point award. The ACR’s point award as to each Claimant shall be final, subject
only to reconsideration as set forth in section 6.7 below.

         2.    Source of Payment

       Holders of compensable Class 4 Unknown Tort Claims shall be paid from the Unknown Tort
Claims Trust on account of such Claims pursuant to the terms of the Plan, Plan Documents, the Unknown
Tort Claims Trust Documents, and this Allocation Protocol.

         3.    Definitions

       3.1     Capitalized Terms. Capitalized, undefined terms used in this Allocation Protocol shall
have the meanings given to them in the Plan, the Unknown Tort Claims Trust Agreement or the
Bankruptcy Code, unless otherwise defined herein, and such definitions are incorporated in this
Allocation Protocol by reference.

       3.2     “Adult Unknown Tort Claimant” means any Unknown Tort Claimant who was abused by
a Perpetrator on or after the date that such Tort Claimant was eighteen (18) years of age.

         3.3   “Documentary Information” means any writing or recorded information regarding a Tort
Claim.

       3.4     “Perpetrator of Debtor” means a person: (1) who was a priest, brother, nun, religious,
employee or other agent of the Archdiocese or any other Protected Party at the time such person
committed an act of Sexual Abuse; or (2) for whom or for whose actions the Debtor, the Archdiocese, or
any other Protected Party was otherwise responsible.

      3.5    “Plan” means and refers to the Debtor’s Plan of Reorganization as confirmed and as the
same may be amended or modified.

        3.6    “Tort Claim” has the same meaning as in the Plan; provided, however, that as used herein
such term refers only to a Class 4 Unknown Tort Claim and not any other claim, including a Class 3 Tort
Claim.
        3.7    “Tort Claimant” has the same meaning as in the Plain; provided, however, that as used
herein such term refers only to a holder of a Class 4 Unknown Tort Claim and not any other claim,
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including a Class 3 Tort Claim.

       4.      Purpose

       4.1     Purpose: The purpose of this Allocation Protocol is to provide for the just, fair and
reasonable distribution of settlement funds to Unknown Tort Claimants.

      4.2    Sole and Exclusive Method: This Allocation Protocol shall be the sole and exclusive
method by which Class 4 Unknown Tort Claimants may receive a distribution on account of their Claims.

      4.3      Interpretation: The terms of the confirmed Plan shall prevail if there is any discrepancy
between the terms of the Plan and the terms of this Allocation Protocol.

        4.4    Tort Claims Separately Allocated: Tort Claims filed in the Bankruptcy Case prior to the
Effective Date of the Plan shall not be subject to this Allocation Protocol and shall be subject to the Class
3 Tort Claims Allocation Protocol.

       5.      Procedure for Allocation Protocol

       5.1     Filing of Unknown Tort Claim: An Unknown Tort Claimant may assert an Unknown Tort
Claim by filing a claim form with the Unknown Tort Claims Trustee. Such form shall be substantially
similar to the form of Claim attached hereto as Exhibit 1. The Unknown Tort Claims Trustee shall
transmit a copy of any claims received to the ACR within a reasonable time after receipt thereof.

       5.2    Monetary Distribution on Account of Each Unknown Tort Claim: The ACR shall evaluate
each Unknown Tort Claim and shall determine the number of points, if any, which should be allocated to
each Tort Claimant under the guidelines set forth in section 6.5 below.

       5.3     Additional Information Regarding Tort Claim: The ACR, including through the Unknown
Tort Claims Trustee, shall provide each Unknown Tort Claimant thirty days’ notice of the opportunity to
provide Documentary Information to the ACR (the “Submission Deadline”); provided, however, that the
ACR may grant extensions of time for good cause shown upon written application (including via email)
before the Submission Deadline. Unless the ACR requests Documentary Information, the failure to
submit any Documentary Information shall not be grounds for denial or reduction of the Unknown Tort
Claimant’s allocation. A failure to respond to the ACR’s request for Documentary Information may be
grounds for denial or reduction of the Unknown Tort Claimant’s allocation

       5.4     Guidelines for Use of Protocol:

               a.      Initial-Evaluation:

       Before determining an Unknown Tort Claimant’s point award, the ACR shall consider the degree
to which each Unknown Tort Claimant has proven by a preponderance of the evidence that such
Unknown Tort Claimant was abused and that such Unknown Tort Claimant’s Abuse was perpetrated by a
Perpetrator of Debtor. The ACR shall also determine whether the Unknown Tort Claimant may be
designated as an Unknown Tort Claimant under the terms of the Plan (including the definition of
Unknown Tort Claimant).

       The ACR shall have sole discretion to determine that an Unknown Tort Claimant has proven that
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such Unknown Tort Claimant was: (a) abused (b) by a Perpetrator of the Debtors. Nothing herein shall
prohibit the ACR from requesting information about a particular Unknown Tort Claimant from the
Unknown Tort Claims Trustee or the Unknown Tort Claims Trustee’s counsel.

        The ACR should consider the coherence, credibility and consistency of each Unknown Tort
Claimant’s accounts of the abuse and should consider any and all evidence that may enhance or diminish
the reliability of such claims.

              b.     Nature, severity, and impact of the sexual abuse.

       Each Unknown Tort Claimant will be evaluated by the ACR and scored according to the
following system. If an Unknown Tort Claimant does not have an interview or does not provide
additional Documentary Information, then the ACR will allocate points according to the same factors
based on the Unknown Tort Claimant’s filed claim to extent the ACR deems such claim is reliable and
probative.

              c.     No Award for Adult Unknown Tort Claimants.

       The ACR shall allocate zero (0) points to an Unknown Tort Claimant who is an Adult Unknown
Tort Claimant regardless of the applicability of any other factors.

              d.     No Award for Non-Sexual Abuse.

        The ACR shall allocate points only for Unknown Tort Claims that are based on Abuse. Zero (0)
points shall be allocated for any Unknown Tort Claim based on any act or omission that is not Abuse.

              e.     No Award for Released Tort Claims.

       The ACR shall allocate zero (0) points to any Unknown Tort Claimant who executed a release of
the Debtor or the Archdiocese prior to asserting his or her Tort Claim in the Bankruptcy Case.

              f.     No Award for Deceased Unknown Tort Claimants.

        The ACR shall allocate zero (0) points to any Unknown Tort Claim asserted by an estate of a
deceased Unknown Tort Claimant; provided, however, that any Unknown Tort Claim submitted by an
Unknown Tort Claimant who dies while the determination of the Claim is pending shall be reviewed and
paid to the estate of such Claimant pursuant to the terms of the Plan, the Plan Documents, the Unknown
Tort Claims Trust Documents, and this Allocation Protocol.

              g.     Evaluation Factors for Allocation.

Each Tort Claim will be evaluated by the TCR. Each Claim will be scored on a scale of up to 110 based on
the following factors:
              Pre-existing Risk and Resiliency Factors:

              1)      Risk and resiliency factors are aspects of life known to negatively impact life and
       to exacerbate the negative impact of experience such as sexual abuse:

                     a.      Childhood of poverty.
                     b.      Parental divorce or death of a parent.
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                c.     Exposure to substance abuse in home.
                d.     Absence of parent(s).
                e.     Being victim of or witnessing domestic violence or prior abuse.
                f.     Age at the time of abuse.

          Nature of the Abuse:

          2)    Nature of the abuse considers:

                a.     Duration.
                b.     Frequency/number of instances.
                c.     Degree intrusive into child’s body (e.g., clothed/unclothed, oral, anal,
                       vaginal).
                d.     Level of force/violence/coercion/threats.
                e.     Child/family was Catholic.
                f.     Control of environment (e.g., trip under supervision of Perpetrator, day
                       school, Sunday school, employment relationship with Perpetrator, in the
                       rectory of the Debtor, boarding school).
                g.     More than one Perpetrator.
                h.     Physical pain suffered.
                i.     Grooming.
                j.     Additional factors that may be provided by the Claimant.

          Impact of Abuse to Age 18:

          3)    Impact of Abuse (to age 18) considers:

                a.     School behavior problems.
                b.     School academic problems.
                c.     Getting into legal trouble.
                d.     Loss of faith.
                e.     Damage to family relationships.
                f.     Mental health symptoms:

                       i.     Depression.
                       ii.    Suicide attempt or ideation.
                       iii.   Anxiety.
                       iv.    Substance abuse.
                       v.     Sexual acting out/physically acting out.
                       vi.    Runaway.
                       vii.   Flashbacks.
                       viii. Nightmares.
                g.     Additional factors that may be presented by the Claimant.

          Long Term Impact:

          4)    Adult & Current Functioning

                a.     Mental health symptoms - see above list.
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                      b.      Criminal record.
                      c.      Underemployment/unemployment.
                      d.      Relationship problems.
                      e.      Substance abuse.
                      f.      The risk of the foregoing factors affecting the Tort Claimant in the future
                              based on the Tort Claimant’s age at the present time.
                      g.      Additional factors that may be presented by the Claimant.

               Assessment of Global Severity of Impact/Suffering:

              5)      The ACR shall rate the comparative severity of impact/suffering of all Tort
       Claimants (including both Class 3 Tort Claimants and Class 4 Unknown Tort Claimants) in these
       Cases. That is, compared to other Tort Claimants (except Adult Tort Claimants), the ACR will
       consider how much this individual suffered as a result of the Abuse:

                      a.      Compared to other Tort Claimants (except Adult Tort Claimants), the ACR
                              will consider the overall seriousness of the Abuse; and
                      b.      Compared to other Tort Claimants (except Adult Tort Claimants), the ACR
                              will consider the overall negative impact of the Abuse.

        5.5    Monetary Distribution: The ACR will arrive at a point total for each Unknown Tort
Claimant taking into account the factors and guidelines in Section 5.4 above, and assigning a point total
for each Unknown Tort Claimant. The value of an individual “point” will be determined after all
Unknown Claims have been evaluated by dividing the total amount of dollars available in the Unknown
Tort Claims Trust by the total number of points for all of Tort Claimants (subject to the Maximum
Unknown Tort Claim Amount (defined below) and the other payment procedures described below). By
way of example, if there are 100 Unknown Tort Claimants awarded a total of 10,000 points and the
entirety of the $5 million of funds in the Unknown Tort Claims Trust is allocated to Unknown Tort
Claims, then each point would be valued at $500 (subject to the Maximum Unknown Tort Claim
Amount).

        The point value shall be determined and adjusted from time to time as Unknown Tort Claims are
filed. Such adjustment will occur as claims are filed because each additional claims will increase the
points by which the amount to be distributed is divided. As such, as new Unknown Tort Claims are filed,
the value of points may be adjusted.

        The Unknown Tort Claims Trustee shall not make any distribution to an Unknown Tort Claimant
until such Unknown Tort Claimant executed and delivers to the Unknown Tort Claims Trustee a release
in the form attached to the Plan as Exhibit N.

        5.6    Determinations by the ACR and Requests for Reconsideration and Appeal: The ACR shall
notify the Unknown Tort Claims Trustee in writing (including via email) of the points awarded to each
Unknown Tort Claimant. The Unknown Tort Claims Trustee shall send (via email or First Class Mail)
this determination to the Unknown Tort Claimant or the Unknown Tort Claimant’s attorney. The ACR’s
determination shall be final unless the Unknown Tort Claimant makes a timely request for the point
award to be reconsidered by the ACR. The Unknown Tort Claimant shall not have a right to any other
appeal of the ACR’s point award. The Tort Claimant may request reconsideration of the ACR’s point
award by delivering a written request for reconsideration to the ACR within 14 calendar days after the
date of mailing of the award point notice. The ACR shall have sole discretion to determine how to
proceed with the request for reconsideration and ultimately may increase, decrease or leave intact the Tort
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Claimant’s initial point award determination. The ACR’s determination of such request for
reconsideration shall be final and not subject to any further appeal. The ACR shall maintain an
accounting of the costs/expenses incurred for each separate reconsideration request and the
costs/expenses related to a specific request shall be borne by the Unknown Tort Claimant making the
request, which may be deducted from his/her distribution; provided, however, that if and to the extent any
Unknown Tort Claimant’s award is not sufficient to pay for the cost of the ACR’s review, then such
Unknown Tort Claimant must advance the costs and expenses for such review at the time such Unknown
Tort Claimant submits his or her request for reconsideration.

       5.7    Confidentiality: All information that the Unknown Tort Claims Trustee or the ACR
receives from any source about any Unknown Tort Claimant shall be held strictly confidential and shall
not be disclosed to any party, including the Debtor, Settling Insurers, Participating Parties, Religious
Orders, Co-Defendants, or any other Person or Entity.

       6.     General Guidelines

        6.1       Non-Compensatory Damages and Other Theories of Liability: In determining the value of
any Unknown Tort Claim, punitive damages and other damages that do not compensate the Unknown
Tort Claimant, shall not be considered or allowed, even if these damages could have been allowed in a
case or at trial.

       6.2     Award for Personal Injury: Any award to an Unknown Tort Claimant pursuant to this
Allocation Protocol shall be on account of a personal injury to the Unknown Tort Claimant.

        6.3    Res Judicata Effect: The ACR’s determination with respect to an Unknown Tort Claim
shall have no preclusive or res judicata effect outside of the Bankruptcy Case as to any third party other
than a Protected Party. That is, the ACR’s determination may not be used against any Unknown Tort
Claimant in any other case or proceeding.

        6.4    Costs of Administration: All costs of administration associated with the matters discussed
in this Allocation Protocol shall be deducted from the award paid to the Unknown Tort Claimant;
provided, however, that if the ACR awards an unknown Tort Claimant zero (0) points, then the cost of the
ACR’s determination shall be paid by the Unknown Tort Claims Trust.

        6.5     Denial of Claim: If an Unknown Tort Claim is denied payment pursuant to this Allocation
Protocol, the holder of such Unknown Tort Claim will have no further rights against the Debtor,
Reorganized Debtor, the Unknown Tort Claims Trust, the Unknown Tort Claims Trustee, or Protected
Parties arising out of, relating to, or in connection with such Unknown Tort Claim.

       6.6    Payment of Unknown Tort Claims:

        The Unknown Tort Claims Trust shall pay Unknown Tort Claimants in accordance with the terms
of the Plan, Confirmation Order, and Unknown Tort Claims Trust Documents, as follows:

              a.      The Unknown Tort Claims Trustee shall make a Distribution to Unknown Tort
Claimants at least once during every 12 months after the Effective Date if and to the extent any such
claims have been filed. The date of any such Distribution is referred to herein as a “Distribution Date.”

               b.     The maximum value of a point allocated to the Unknown Tort Claimants pursuant
to this Allocation Protocol shall be equal to the average value of a point allocated to all Class 3 Tort
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Claimants who receive payment under the Tort Claims Allocation Protocol (such amount, the
“Maximum Unknown Tort Claim Amount”).

                 c.      During any 12 month period, the Unknown Tort Claims Trustee shall distribute no
more than: (a) 12.5% of the remaining amount available from the Unknown Tort Claims Trust
collectively to all Unknown Tort Claimants who have filed Unknown Tort Claims entitled to a
distribution as of a given Distribution Date and (b) 4% of the remaining amount available from the
Unknown Tort Claims Trust to any single Unknown Tort Claimant; provided, however, that the Trustee
shall not distribute more than the Maximum Unknown Tort Claim Amount to any Unknown Tort
Claimant; provided further, however, that upon any Distribution, the Unknown Tort Claims Trustee shall:
(x) first distribute funds to Unknown Tort Claimants who filed compensable Unknown Tort Claims after
other Unknown Tort Claimants had already received a Distribution until Holders of such later filed
Unknown Claims receive an amount equal (on a per point basis) to the amount already distributed to
Unknown Tort Claimants who previously received a Distribution, and (y) thereafter distribute additional
available funds to all holders of allowed Unknown Tort Claims as of such Distribution Date.




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                UNKNOWN TORT CLAIMS TRUST AGREEMENT


                            DATED AS OF [●], 2022


                     PURSUANT TO CHAPTER 11 PLAN OF

                           REORGANIZATION FOR

     THE ROMAN CATHOLIC CHURCH OF THE ARCHDIOCESE OF SANTA FE




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                         UNKNOWN TORT CLAIMS TRUST AGREEMENT

         This Unknown Tort Claims Trust Agreement (the “Unknown Tort Claims Trust
 Agreement”), dated as of November __, 2022, and effective as of the Effective Date, is entered in
 accordance with the Debtor’s First Amended Plan of Reorganization Dated November 3, 2022,
                                                               1
 (as it may be amended, modified, or supplemented, the “Plan”), by the Roman Catholic Church
 of the Archdiocese of Santa Fe, a New Mexico corporation sole, the debtor and debtor-in-
 possession in the Chapter 11 Case (the “Settlor”); and Omni Management Group, LLC as trustee,
 the “Unknown Tort Claims Trustee”);

                                                        RECITALS

        (A)    The Settlor has, or contemporaneously with the execution of this Unknown Tort
 Claims Trust Agreement will have, reorganized under the provisions of chapter 11 of the
 Bankruptcy Code in a case filed in the Bankruptcy Court, administered and known as In re The
 Roman Catholic Church of the Archdiocese of Santa Fe, Case No. 18-13027-t11 (Bankr. D.N.M.
 (the “Chapter 11 Case”).

         (B)     The Settlor is executing this Unknown Tort Claims Trust Agreement in its capacity
 as Settlor to implement the Plan and to create the Unknown Tort Claims Trust (the “Unknown
 Tort Claims Trust”) for the exclusive benefit of the holders of Class 4 Unknown Tort Claims.

        (C)   The Plan and Confirmation Order provide, among other things, for the creation of
 the Unknown Tort Claims Trust to satisfy all Class 4 Unknown Tort Claims in accordance with
 this Unknown Tort Claims Trust Agreement, the Plan and the Confirmation Order.

        (D)    The Bankruptcy Court held in the Confirmation Order that all the prerequisites for
 the Channeling Injunction have been satisfied, and such Channeling Injunction is fully effective
 and enforceable as provided in the Plan and Confirmation Order with respect to the Channeled
 Claims.

          (E)     The Plan and Confirmation Order provide that, on or before
 _______________(date), the Settlor’s Initial Contribution (as defined in Section 1.3) shall be
 transferred to and vested in the Unknown Tort Claims Trust free and clear of all liens,
 encumbrances, charges, claims, interests or other liabilities of any kind of the Settlor or its
 affiliates, any creditor or any other entity, other than as provided in the Channeling Injunction with
 respect to the Channeled Claims and as provided in Section 1.3.

         NOW, THEREFORE, it is hereby agreed as follows:




 1
     All capitalized terms used but not otherwise defined herein shall have their respective meanings as set forth in the Plan or in
     the Confirmation Order, as applicable, or, if not defined therein, as set forth in the Unknown Tort Claims Allocation Protocol
     (as defined in Section 1.2 below).




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                                        ARTICLE 1.
                                    AGREEMENT OF TRUST

 Section 1.1 Creation and Name. The Settlor hereby creates a trust known as the “Unknown
 Tort Claims Trust” which is the trust provided for and referred to in the Plan. The Unknown Tort
 Claims Trustee may transact the business and affairs of the Unknown Tort Claims Trust in the
 name of the Unknown Tort Claims Trust and references herein to the Unknown Tort Claims Trust
 shall include the Unknown Tort Claims Trustee acting on behalf of the Unknown Tort Claims
 Trust. The Confirmation Order, the Plan and this Unknown Tort Claims Trust Agreement,
 including the Exhibits hereto (the Confirmation Order, the Plan and this Unknown Tort Claims
 Trust Agreement, including all Exhibits hereto, which includes the Unknown Tort Claims
 Allocation Protocol as defined in Section 1.2 below, collectively, the “Unknown Tort Claims
 Trust Documents”), constitute the governing instruments of the Unknown Tort Claims Trust. The
 Unknown Tort Claims Trustee is hereby authorized to execute and file a Certificate of Unknown
 Tort Claims Trust with the New Mexico Secretary of State.

 Section 1.2 Purposes. The purposes of the Unknown Tort Claims Trust are to: (i) assume all
 liability for the Class 4 Unknown Tort Claims, (ii) administer the Class 4 Unknown Tort Claims,
 and (iii) make Distributions to holders of compensable Class 4 Unknown Tort Claims, in each case
 in accordance with the Unknown Tort Claims Allocation Protocol for Class 4 Unknown Tort
 Claims attached hereto as Exhibit 1 (the “Unknown Tort Claims Allocation Protocol”). In
 connection therewith, the Unknown Tort Claims Trust shall hold, manage, and protect the
 Unknown Tort Claims Trust Assets (as defined in Section 1.3 below) in accordance with the terms
 of the Unknown Tort Claims Trust Documents for the benefit of the Beneficiaries (as defined in
 Section 1.6(a) below). All Class 4 Unknown Tort Claims asserted against the Debtor in the Chapter
 11 Case shall be resolved exclusively in accordance with the Unknown Tort Claims Allocation
 Protocol.

 Section 1.3 Transfer of Assets. The Settlor shall pay its Contribution to the Unknown Tort
 Claims Trust as agreed with the Unknown Tort Claims Trustee. The Unknown Tort Claims Trust
 will receive and hold all right, title and interest in and to the Debtor’s Contribution (together with
 any income or gain earned thereon and proceeds derived therefrom, the “Unknown Tort Claims
 Trust Assets”). The Debtor’s Contribution shall be transferred to the Unknown Tort Claims Trust
 free and clear of any liens, encumbrances, charges, claims, interests or other liabilities of any kind
 of the Debtor or its affiliates, any creditor or any other person or entity, other than as provided in
 the Channeling Injunction with respect to Channeled Claims.

 Section 1.4 Acceptance of Assets. In furtherance of the purposes of the Unknown Tort Claims
 Trust, the Unknown Tort Claims Trustee, on behalf of the Unknown Tort Claims Trust, hereby
 expressly accepts the transfer to the Unknown Tort Claims Trust of the Debtor’s Contribution,
 subject to the terms of the Unknown Tort Claims Trust Documents. The Unknown Tort Claims
 Trust shall succeed to all of the Debtor’s respective rights, title, and interest, including all legal
 privileges, in the Debtor’s Contribution and neither the Debtor nor any other person or entity
 transferring such Debtor’s Contribution will have any further equitable or legal interest in, or with




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 respect to, the Unknown Tort Claims Trust Assets, including the Debtor’s Contribution, or the
 Unknown Tort Claims Trust.

                 (b)    Except as otherwise provided in the Plan, Confirmation Order or Unknown
 Tort Claims Trust Documents, the Unknown Tort Claims Trust shall have all defenses, cross-
 claims, offsets, and recoupments, as well as rights of indemnification, contribution, subrogation,
 and similar rights, regarding Class 4 Unknown Tort Claims that the Debtor or the Reorganized
 Debtor have or would have had under applicable law.

                  (c)     No provision herein or in the Unknown Tort Claims Allocation Protocol
 shall be construed or implemented in a manner that would cause the Unknown Tort Claims Trust
 to fail to qualify as a “qualified settlement fund” under the QSF Regulations (as defined in Section
 8.4(a) below).

               (d)     Nothing in this Unknown Tort Claims Trust Agreement shall be construed
 in any way to limit the scope, enforceability, or effectiveness of the Channeling Injunction, the
 Supplemental Injunction or other terms of the Plan or Confirmation Order.

               (e)    In this Unknown Tort Claims Trust Agreement and the Unknown Tort
 Claims Allocation Protocol, the words “must,” “will,” and “shall” are intended to have the same
 mandatory force and effect, while the word “may” is intended to be permissive rather than
 mandatory.

 Section 1.5    Beneficiaries.

                (a)     The Unknown Tort Claims Trust is established for the benefit of the holders
 of Class 4 Unknown Tort Claims that are entitled to a distribution under the Plan Documents
 (the “Beneficiaries”). In the case of holders of Class 4 Unknown Tort Claims who have open
 bankruptcy cases, the bankruptcy estate in those cases is the Beneficiary and the chapter 7 debtor
 is not a Beneficiary.

              (b)    The Beneficiaries shall be subject to the terms of this Unknown Tort Claims
 Trust Agreement and Unknown Tort Claims Trust Documents, including without limitation, the
 Unknown Tort Claims Allocation Protocol.

 Section 1.6 Jurisdiction. The Bankruptcy Court shall have continuing jurisdiction with respect
 to the Unknown Tort Claims Trust; provided however, the courts of the State of New Mexico,
 including any federal court located therein, shall also have jurisdiction over the Unknown Tort
 Claims Trust if and to the extent the Bankruptcy Court cannot or properly abstains from exercising
 jurisdiction over the Unknown Tort Claims Trust.

 Section 1.7    Privileged and confidential information.

         The transfer or assignment of any information subject to an attorney-client or similar
 privilege to the Unknown Tort Claims Trustee shall not result in the destruction or waiver of any
 applicable privileges pertaining thereto. Further, with respect to any such privileges: (a) they are
 transferred to or contributed for the purpose of enabling the Unknown Tort Claims Trustee to


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 perform his or her duties to administer the Unknown Tort Claims Trust, and (b) they are vested
 solely in the Unknown Tort Claims Trustee and not in the Unknown Tort Claims Trust, or any
 other person, committee or subcomponent of the Unknown Tort Claims Trust, or any other person
 (including counsel and other professionals) who has been engaged by, represents, or has
 represented any holder of a Tort Claim.

 Section 1.8    Relation-back election.

        The Unknown Tort Claims Trustee and the Debtor shall fully cooperate in filing a relation-
 back election under Treasury Regulation Section 1.468B-1(j)(2), to treat the Unknown Tort Claims
 Trust as coming into existence as a settlement fund as of the earliest possible date.

 Section 1.9    Employer identification number.

        Upon establishment of the Unknown Tort Claims Trust, the Unknown Tort Claims Trustee
 shall apply for an employer identification number for the Unknown Tort Claims Trust in
 accordance with Treasury Regulation Section 1.468B-2(k)(4).

 Section 1.10 Relationship to Plan.

         The principal purpose of this Unknown Tort Claims Trust Agreement is to aid in the
 implementation of the Plan and the Confirmation Order and therefore, this Unknown Tort Claims
 Trust Agreement incorporates the provisions of the Plan and the Confirmation Order (which may
 amend or supplement the Plan). To the extent that there is conflict between the provisions of this
 Unknown Tort Claims Trust Agreement, the Unknown Tort Claims Allocation Protocol, the
 provisions of the Plan or the Confirmation Order, each document shall have controlling effect in
 the following order: (1) the Confirmation Order; (2) the Plan; (3) this Unknown Tort Claims Trust
 Agreement; and (4) the Unknown Tort Claims Allocation Protocol.

                                     ARTICLE 2.
                          POWERS AND TRUST ADMINISTRATION

 Section 2.1    Powers.

                (a)     The Unknown Tort Claims Trustee is empowered to take all actions,
 including such actions as may be consistent with those expressly set forth above, as the Unknown
 Tort Claims Trustee deems necessary to reasonably ensure that the Unknown Tort Claims Trust is
 treated as a “qualified settlement fund” under Section 468B of the Tax Code and the regulations
 promulgated pursuant thereto. Further, the Unknown Tort Claims Trustee may, unilaterally and
 without court order, amend, either in whole or in part, any administrative provision of this
 Unknown Tort Claims Trust Agreement which causes unanticipated tax consequences or liabilities
 inconsistent with the foregoing.

              (b)    The Unknown Tort Claims Trustee is and shall act as the fiduciary to the
 Unknown Tort Claims Trust in accordance with the provisions of this Unknown Tort Claims Trust
 Agreement. The Unknown Tort Claims Trustee shall administer the Unknown Tort Claims Trust,
 the Unknown Tort Claims Trust Assets, and any other amounts to be received under the terms of


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 the Unknown Tort Claims Trust Documents in accordance with the purposes set forth in Section
 1.2 above and in the manner prescribed by the Unknown Tort Claims Trust Documents. Subject
 to the limitations set forth in the Unknown Tort Claims Trust Documents, the Unknown Tort
 Claims Trustee shall have the power to take any and all actions that in the judgment of the
 Unknown Tort Claims Trustee are necessary or advisable to fulfill the purposes of the Unknown
 Tort Claims Trust, including, without limitation, each power expressly granted in this Section 2.1,
 any power reasonably incidental thereto and any trust power now or hereafter permitted under the
 laws of the State of New Mexico. Nothing in the Unknown Tort Claims Trust Documents or any
 related document shall require the Unknown Tort Claims Trustee to take any action if the
 Unknown Tort Claims Trustee reasonably believes that such action is contrary to law. In addition
 to all powers enumerated in the Unknown Tort Claims Trust Documents, including, but not limited
 to, the Unknown Tort Claims Trustee’s powers and authority in respect of the interpretation,
 application of definitions and rules of construction set forth in Sections 2 and 3 of the Plan to the
 fullest extent set forth therein, from and after the Effective Date, the Unknown Tort Claims Trust
 shall succeed to all of the rights and standing of the Debtor with respect to the Debtor’s
 Contribution in its capacity as a trust administering assets for the benefit of the Beneficiaries.

                 (c)    Except as required by applicable law or the Unknown Tort Claims Trust
 Documents, the Unknown Tort Claims Trustee need not obtain the order or approval of any court
 in the exercise of any power or discretion conferred hereunder.

                 (d)   Without limiting the generality of Sections 2.1(a) and (b) above, and except
 as limited in the Unknown Tort Claims Trust Documents and by applicable law, the Unknown
 Tort Claims Trustee shall have the power to:

                      (i)   supervise and administer the Unknown Tort Claims Trust in
 accordance with the Unknown Tort Claims Trust Documents, including the Unknown Tort Claims
 Allocation Protocol;

                         (ii)   receive and hold the Unknown Tort Claims Trust Assets, and
 exercise all rights with respect thereto including the right to vote and sell any securities that are
 included in such funds;

                       (iii) invest the monies held from time to time by the Unknown Tort
 Claims Trust in accordance with Section 3.2;

                       (iv)    enter into leasing, financing or other agreements with third parties,
 as determined by the Unknown Tort Claims Trustee, in his or her discretion, to be useful in
 carrying out the purposes of the Unknown Tort Claims Trust;

                      (v)     determine and pay liabilities and pay all fees and expenses incurred
 in administering the Unknown Tort Claims Trust, managing the Unknown Tort Claims Trust
 Assets and making Distributions in accordance with the Unknown Tort Claims Trust Documents
 (the “Unknown Tort Claims Trust Operating Expenses”);




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                       (vi)    establish accounts and reasonable reserves within the Unknown Tort
Claims Trust, in his discretion, to be necessary, prudent or useful in administering the Unknown
Tort Claims Trust;

                         (vii) sue, be sued and participate, as a party or otherwise, in any judicial,
administrative, arbitrative or other proceeding, however nothing herein shall be deemed to either
(a) affect, limit or expand any party’s rights to sue or otherwise commence a case or proceeding
against a trustee in a case under chapter 11 of the Bankruptcy Code or (b) allow any party asserting
a Class 4 Unknown Tort Claim, a Tort Claim and/or Channeled Claim to commence any action
against the Unknown Tort Claims Trustee or the Unknown Tort Claims Trust with respect to such
claim;

                        (viii) appoint such officers and retain such employees, consultants,
advisors, independent contractors, experts and agents and engage in such legal, financial,
administrative, accounting, investment, auditing and alternative dispute resolution services and
activities as the Unknown Tort Claims Trust requires, and delegate to such persons such powers
and authorities as this Unknown Tort Claims Trust Agreement provides or the fiduciary duties of
the Unknown Tort Claims Trustee permits and as the Unknown Tort Claims Trustee, in his or her
discretion, deems advisable or necessary in order to carry out the terms of this Unknown Tort
Claims Trust Agreement;

                       (ix)    pay reasonable compensation and reimbursement of expenses to any
of the Unknown Tort Claims Trust’s employees, consultants, advisors, independent contractors,
experts and agents for legal, financial, administrative, accounting, investment, auditing and
alternative dispute resolution services and activities as the Unknown Tort Claims Trust requires;

                        (x)    compensate professionals for services, costs and expenses incurred
prior to the Effective Date in accordance with the terms of the Plan and Confirmation Order;

                      (xi)    execute and deliver such instruments as the Unknown Tort Claims
Trustee considers advisable or necessary in administering the Unknown Tort Claims Trust;

                       (xii) timely file such income tax and other tax returns and statements
required to be filed and timely pay all taxes, if any, required to be paid from the Unknown Tort
Claims Trust Assets and comply with all applicable tax reporting and withholding obligations;

                       (xiii) require, in respect of any Distribution of Unknown Tort Claims
Trust Assets, the timely receipt of properly executed documentation (including, without limitation,
IRS Form W-9) as the Unknown Tort Claims Trustee determines in his or her discretion necessary
or appropriate to comply with applicable tax laws;

                      (xiv) resolve all applicable lien resolution matters with respect to
Beneficiaries that may be subject to liens arising pursuant to the MMSEA; provided, however, that
for claims where there is an open chapter 7 bankruptcy case, to the approval of the chapter 7
bankruptcy trustee and applicable bankruptcy court; and provided further, however, that in such
cases, the chapter 7 bankruptcy trustee shall have sole responsibility to seek court approval for
such lien resolution;


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                       (xv) register as a responsible reporting entity (“RRE”) and timely submit
all reports under the reporting provisions of section 111 of the Medicare, Medicaid, and SCHIP
Extension Act of 2007 (Pub. L. 110-173) (“MMSEA”) as required under Section 4.6 below;

                       (xvi)   intentionally omitted;

                     (xvii) enter into such other arrangements with third parties as are deemed
by the Unknown Tort Claims Trustee to be useful in carrying out the purposes of the Unknown
Tort Claims Trust, provided such arrangements do not conflict with any other provision of the
Unknown Tort Claims Trust Documents;

                        (xviii) in accordance with Section 5.9 below, defend, indemnify, and hold
harmless (and purchase insurance indemnifying) the Unknown Tort Claims Trust Indemnified
Parties (as defined in Section 5.7(a) below) solely from the Unknown Tort Claims Trust Assets
and to the fullest extent permitted by law; provided that the cost of any such insurance shall be an
expense of the Unknown Tort Claims Trust that is payable by the Debtor;

                       (xix) delegate any or all of the authority herein conferred with respect to
the investment of all or any portion of the Unknown Tort Claims Trust Assets to any one or more
reputable investment advisors or investment managers without liability for any action taken or
omission made because of any such delegation;

                      (xx) initiate, prosecute, defend, settle, maintain, administer, preserve,
pursue, and resolve, pursuant to section 1123(b)(3)(B) of the Bankruptcy Code, all legal actions
and other proceedings related to any asset, liability, or responsibility of the Unknown Tort Claims
Trust;

                      (xxi) take any and all actions appropriate or necessary in order to carry
out the terms of the Unknown Tort Claims Trust Documents; and

                       (xxii) except as otherwise expressly provided in the Unknown Tort Claims
Trust Documents, exercise any other powers now or hereafter conferred upon or permitted to be
exercised by a trustee under the laws of the State of New Mexico.

Section 2.2    Limitations on the Unknown Tort Claims Trustee.

       (a)     Notwithstanding anything in the Unknown Tort Claims Trust Documents to the
contrary, the Unknown Tort Claims Trustee shall not do or undertake any of the following:

               (i)     guaranty any debt;

               (ii)    make or enter into any loan of Unknown Tort Claims Trust Assets;

               (iii) make any transfer or Distribution of Unknown Tort Claims Trust Assets
               other than those authorized by the Unknown Tort Claims Trust Documents;




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              (iv)   engage in any trade or business with respect to the Unknown Tort Claims
              Trust Assets or proceeds therefrom, other than managing such assets;

              (v)     engage in any investment of the Unknown Tort Claims Trust Assets, other
              than as explicitly authorized by this Unknown Tort Claims Trust Agreement; and

              (vi)   engage in any activities inconsistent with the treatment of the Unknown Tort
              Claims Trust as a “qualified settlement fund” within the meaning of Treasury
              Regulations issued under Section 468B of the Tax Code.

        2.3     General Administration. The Unknown Tort Claims Trustee shall act in accordance
with the Unknown Tort Claims Trust Documents. The Unknown Tort Claims Trustee shall
establish the location of the principal office of the Unknown Tort Claims Trust and may change
the location of the principal office or establish other offices at other locations in his or her
discretion.

Section 2.4 Accounting. The fiscal year of the Unknown Tort Claims Trust shall begin on
January 1 and shall end on December 31 of each calendar year. The Unknown Tort Claims Trustee
shall maintain the books and records relating to the Unknown Tort Claims Trust Assets and income
and the payment of Unknown Tort Claims Trust Operating Expenses and other liabilities of the
Unknown Tort Claims Trust. The detail of these books and records and the duration of time during
which the Unknown Tort Claims Trustee shall keep such books and records shall be such as to
allow the Unknown Tort Claims Trustee to make a full and accurate accounting of all Unknown
Tort Claims Trust Assets, as well as to comply with applicable provisions of law and standard
accounting practices necessary or appropriate to produce an annual report containing special-
purpose financial statements of the Unknown Tort Claims Trust, including, without limitation, the
assets and liabilities of the Unknown Tort Claims Trust as of the end of such fiscal year and the
additions, deductions and cash flows for such fiscal year (the “Annual Report”); provided
however, that the Unknown Tort Claims Trustee shall maintain such books and records until the
wind-up of the Unknown Tort Claims Trust’s affairs and satisfaction of all of Unknown Tort
Claims Trust liabilities. The Unknown Tort Claims Trustee shall serve the Annual Report on all
counsel of record of Class 4 Tort Claimants and the Office of the United States Trustee.

Section 2.5   Financial Reporting.

              (a)   Within one hundred twenty (120) days following the end of each calendar
year, the Unknown Tort Claims Trustee shall file with the Bankruptcy Court the Annual Report.

               (b)    All materials filed with the Bankruptcy Court pursuant to this Section 2.5
need not be served on any parties in the Chapter 11 Case.

Section 2.6   Names and addresses.

       The Unknown Tort Claims Trustee shall keep a register (the “Register”) in which the
Unknown Tort Claims Trustee shall at all times maintain the names and addresses of the
Beneficiaries and the awards made to the Beneficiaries pursuant to the Unknown Tort Claims Trust
Documents. The Unknown Tort Claims Trustee may rely upon this Register for the purposes of


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delivering Distributions or notices. In preparing and maintaining this Register, the Unknown Tort
Claims Trustee may rely on the name and address of each Class 4 Tort Claimant Claim holder as
set forth in a claim submitted to the Unknown Tort Claims Trustee by such holder, or proper notice
of a name or address change, which has been delivered by such Class 4 Tort Claimant to the
Unknown Tort Claims Trustee; provided, that in the case of Class 4 Tort Claimants who have open
chapter 7 bankruptcy cases, the Unknown Tort Claims Trustee shall rely on the docket of the
chapter 7 case to identify the current chapter 7 trustee. The Unknown Tort Claims Trustee may
deliver Distributions and notices to counsel for any Class 4 Tort Claimant identified in such
Beneficiary’s submitted claim or proper notice of a name or address change; provided that
Distributions and notices to Class 4 Claimants with open chapter 7 cases shall be delivered to the
chapter 7 trustee or counsel for the chapter 7 trustee. The Register shall be confidential and will
not be disclosed to any third party except for the Protected Parties, absent a court order.

Section 2.7    Transfers of the Unknown Tort Claims Trust Assets.

       To the fullest extent permitted by law, neither the principal nor income of the Unknown
Tort Claims Trust, in whole or part, shall be subject to any legal or equitable claims of creditors
of any Beneficiary or others, nor to legal process, nor be voluntarily or involuntarily transferred,
assigned, anticipated, pledged or otherwise alienated or encumbered except as may be ordered by
the Bankruptcy Court or other competent court of jurisdiction.

                                      ARTICLE 3.
                           ACCOUNTS, INVESTMENTS, EXPENSES

Section 3.1    Accounts.

               (a)    The Unknown Tort Claims Trustee shall maintain one or more accounts
(“Unknown Tort Claims Trust Accounts”) on behalf of the Unknown Tort Claims Trust with
one or more financial depository institutions (each a “Financial Institution”).

                (b)    The Unknown Tort Claims Trustee may replace any retained Financial
Institution with a successor Financial Institution at any time, and such successor shall be subject
to the considerations set forth in Section 3.1(a).

                (c)    The Unknown Tort Claims Trustee may, from time to time, create such
accounts and reasonable reserves within the Unknown Tort Claims Trust Accounts as authorized
in this Section 3.1 and as he or she may deem necessary, prudent or useful in order to provide for
Distributions to the Beneficiaries and the payment of Unknown Tort Claims Trust Operating
Expenses and may, with respect to any such account or reserve, restrict the use of money therein
for a specified purpose (the “Unknown Tort Claims Trust Subaccounts”). Any such Unknown
Tort Claims Trust Subaccounts established by the Unknown Tort Claims Trustee shall be held as
Unknown Tort Claims Trust Assets and are not intended to be subject to separate entity tax
treatment as a “disputed claims reserve” or a “disputed ownership fund” within the meaning of the
Internal Revenue Code (“IRC”) or Treasury Regulations.




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Section 3.2    Investment Guidelines.

               (a)     The Unknown Tort Claims Trustee may invest the Unknown Tort Claims
Trust Assets in insured checking accounts, money market accounts and certificates of deposit.

Section 3.3 Payment of Unknown Tort Claims Trust Operating Expenses. All Unknown Tort
Claims Trust operating expenses shall be payable out of the Unknown Tort Claims Trust Assets.
None of the Unknown Tort Claims Trustee, the Beneficiaries nor any of their officers, agents,
advisors, professionals or employees shall be personally liable for the payment of any Unknown
Tort Claims Trust operating expense or any other liability of the Unknown Tort Claims Trust. The
Plan provides that the Reorganized Debtor shall pay to the Unknown Tort Claims Trust all of the
Unknown Tort Claims Trust Operating Expenses (as defined below) within 30 days of invoice
from the Unknown Tort Claims Trust.

                                  ARTICLE 4.
                   CLAIMS ADMINISTRATION AND DISTRIBUTIONS

Section 4.1 Claims Administration and Distributions. The Unknown Tort Claims Trust shall
fairly and reasonably compensate Allowed Class 4 Unknown Tort Claims, solely in accordance
with the Unknown Tort Claims Trust Documents, including the Unknown Tort Claims Allocation
Protocol.

Section 4.2 Manner of Payment. Distributions from the Unknown Tort Claims Trust to the
Beneficiaries may be made by the Unknown Tort Claims Trustee on behalf of the Unknown Tort
Claims Trust or by a disbursing agent retained by the Unknown Tort Claims Trust to make
Distributions on behalf of the Unknown Tort Claims Trust.

Section 4.3    Delivery of Distributions.

                (a)    Distributions shall be payable to the Beneficiary (or to counsel for the
Beneficiary) by the Unknown Tort Claims Trustee in accordance with the terms of the Unknown
Tort Claims Trust Documents, including the Unknown Tort Claims Allocation Protocol. With
respect to each compensable Class 4 Tort Claim approved for payment, Distributions shall be made
only after the Unknown Tort Claims Trustee has determined that all obligations of the Unknown
Tort Claims Trust with respect to each such Class 4 Tort Claim have been satisfied. In the event
that any Distribution to a Beneficiary is returned as undeliverable, no further Distribution to such
Beneficiary shall be made unless and until the Unknown Tort Claims Trustee has been notified of
the then current address of such Beneficiary, at which time such Distribution shall be made to such
Beneficiary without interest; provided however, that all Distributions shall be deemed unclaimed
property under section 347(b) of the Bankruptcy Code at the expiration of six (6) months from the
applicable final Distribution date. After such date, (i) all unclaimed Distributions shall revert to
the Unknown Tort Claims Trust (notwithstanding any applicable federal or state escheat,
abandoned or unclaimed property laws to the contrary), (ii) the Class 4 Tort Claim of such
Beneficiary shall be released, settled, compromised and forever barred as against the Unknown
Tort Claims Trust, and (iii) all unclaimed property interests shall be distributed to other
Beneficiaries in accordance with the Unknown Tort Claims Trust Documents, as if the Class 4
Tort Claim of such Beneficiary had been disallowed as of the date the undeliverable Distribution


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was first made. The Unknown Tort Claims Trustee shall take reasonable efforts to obtain a current
address for any Beneficiary with respect to which any Distribution is returned as undeliverable.

                (b)    In the event the Unknown Tort Claims Trust holds cash after paying all
Unknown Tort Claims Trust Operating Expenses and making all Distributions contemplated under
the Unknown Tort Claims Trust Documents, such remaining cash shall be distributed to
Beneficiaries in accordance with the Unknown Tort Claims Allocation Protocol. If the Unknown
Tort Claims Trustee determines that such a Distribution is not economically reasonable in light of
the costs associated with distributing such cash to Beneficiaries, the Unknown Tort Claims Trustee
shall deliver such cash to a nationally recognized charitable organization of the Unknown Tort
Claims Trustee’s choice, which charitable organization shall have a charitable purpose consistent
with the protection of children from sexual abuse or its ramifications. No Unknown Tort Claims
Trust Asset or any unclaimed property shall escheat to any federal, state, or local government or
any other entity.

                (c)     Notwithstanding any provision in the Unknown Tort Claims Trust
Documents to the contrary, no payment shall be made to any Beneficiary on account of any Class
4 Tort Claim if the Unknown Tort Claims Trustee determines that the costs of making such
Distribution is greater than the amount of the Distribution to be made.

               (d)     The Distributions from the Unknown Tort Claims Trust are in full
settlement of the Class 4 Unknown Tort Claims against each of the Protected Parties. The
Unknown Tort Claims Trustee shall not make any Distribution to a Beneficiary unless and until
the Settlement Trustee has received an original general release of all Claims in favor of all
Protected Parties and Exculpated Parties executed by such Beneficiary, in the form attached to the
Plan. The Unknown Tort Claims Trustee shall not make any Distribution to a chapter 7 trustee for
those Class 4 Tort Claimants who have open bankruptcy cases, unless and until the Unknown Tort
Claims Trustee has received an original general release of all Claims in favor of all Protected
Parties and Exculpated Parties executed by such chapter 7 trustee in the form attached to the Plan.
The Unknown Tort Claims Trustee shall provide copies of the Beneficiaries’ executed releases to
the Reorganized Debtor within five business days of any initial distribution to such Beneficiary.
Any requests by Protected Parties or Exculpated Parties for copies of such executed releases shall
be made to and fulfilled by the Reorganized Debtor.

Section 4.4    Medicare Reimbursement and Reporting Obligations.

             (a)     The Unknown Tort Claims Trust shall register as a Responsible Reporting
Entity (“RRE”) under the reporting provisions of section 111 of MMSEA (as defined in the Plan).

              (b)    The Unknown Tort Claims Trust shall timely submit all reports that are
required under MMSEA on account of any claims settled, resolved, paid, or otherwise liquidated
by the Unknown Tort Claims Trust or with respect to contributions to the Unknown Tort Claims
Trust. The Unknown Tort Claims Trust, in its capacity as an RRE, shall follow all applicable
guidance published by the Centers for Medicare & Medicaid Services of the United States
Department of Health and Human Services and/or any other agency or successor entity charged
with responsibility for monitoring, assessing, or receiving reports made under MMSEA



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(collectively, “CMS”) to determine whether or not, and, if so, how, to report to CMS pursuant to
MMSEA.

                 (c)      Before remitting funds to claimants’ counsel, or to the claimant if such
claimant is acting pro se, in respect of any Class 4 Tort Claim, the Unknown Tort Claims Trustee
shall obtain: (i) a certification that said claimant (or such claimant’s authorized representative) has
provided or will provide for the payment and/or resolution of any obligations owing or potentially
owing under 42 U.S.C. § 1395y(b), or any related rules, regulations, or guidance, in connection
with, or relating to, such Class 4 Tort Claim and (ii) that the claimants’ counsel or claimant (if
claimant is acting pro se) indemnifies the Unknown Tort Claims Trust for any such obligations.

                                     ARTICLE 5.
                            UNKNOWN TORT CLAIMS TRUSTEE

Section 5.1 Initial Unknown Tort Claims Trustee. The initial Unknown Tort Claims Trustee
shall be Omni Management Group, LLC.

Section 5.2    Term of Service, Successor Unknown Tort Claims Trustee.

                (a)      The Unknown Tort Claims Trustee shall serve from the Effective Date until
the earliest of: (i) its resignation pursuant to Section 5.2(b) below, (ii) its removal pursuant to
Section 5.2(c) below, (iii) its dissolution, or (iv) the termination of the Unknown Tort Claims Trust
pursuant to Section 8.2 below.

                (b)    The Unknown Tort Claims Trustee may resign at any time upon written
notice filed with the Bankruptcy Court. Such notice shall specify a date when such resignation
shall take effect, which shall not be less than ninety (90) days after the date such notice is given,
where practicable.

                (c)    The Unknown Tort Claims Trustee may be removed by order of the
Bankruptcy Court, in the event that the Unknown Tort Claims Trustee becomes unable to discharge
its duties hereunder due to accident, physical deterioration, mental incompetence or for other good
cause, provided the Unknown Tort Claims Trustee has received reasonable notice and an
opportunity to be heard. Other good cause shall mean gross negligence, fraud, self-dealing,
intentional misrepresentation, willful misconduct, indictment for or conviction of a felony in each
case whether or not connected to the Unknown Tort Claims Trust, any substantial failure to comply
with the administration of the Unknown Tort Claims Trust or a consistent pattern of neglect and
failure to perform or participate in performing the duties of the Unknown Tort Claims Trustee
hereunder.

Section 5.3    Appointment of Successor Unknown Tort Claims Trustee.

               (a)    In the event of any vacancy in the office of the Unknown Tort Claims
Trustee, including the resignation or removal of any successor Unknown Tort Claims Trustee,
such vacancy shall be filled by order of the Bankruptcy Court.




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              (b)     Immediately upon the appointment of any successor Unknown Tort Claims
Trustee pursuant to Section 5.3(a) above, all rights, titles, duties, powers and authority of the
predecessor Unknown Tort Claims Trustee hereunder shall be vested in and undertaken by the
successor Unknown Tort Claims Trustee without any further act. No successor Unknown Tort
Claims Trustee shall be liable personally for any act or omission of its predecessor Unknown Tort
Claims Trustee. No predecessor Unknown Tort Claims Trustee shall be liable personally for any
act or omission of its successor Unknown Tort Claims Trustee. No successor Unknown Tort
Claims Trustee shall have any duty to investigate the acts or omissions of its predecessor Unknown
Tort Claims Trustee unless there is reasonable cause to do so.

                (c)     Each successor Unknown Tort Claims Trustee shall serve until the earliest
of (i) his or her death or dissolution, (ii) its resignation pursuant to Section 5.2(b) above, (iii) its
removal pursuant to Section 5.2(c) above, and (iv) the termination of the Unknown Tort Claims
Trust pursuant to Section 8.2 below.

Section 5.4 Compensation and Expenses of Unknown Tort Claims Trustee. The Unknown Tort
Claims Trustee shall receive compensation from the Unknown Tort Claims Trust for its services
as Unknown Tort Claims Trustee. The initial amount of the Unknown Tort Claims Trustee’s
compensation shall be $290 per hour, $145.00 per hour for the Unknown Tort Claims Trustee’s
associates. The Unknown Tort Claims Trust shall also, upon receipt of appropriate documentation,
reimburse all reasonable out-of-pocket costs and expenses incurred by the Unknown Tort Claims
Trustee in the course of carrying out its duties as Unknown Tort Claims Trustee in accordance
with reasonable policies and procedures as may be adopted from time to time, including in
connection with attending meetings of the Unknown Tort Claims Trustee. The amounts paid to
the Unknown Tort Claims Trustee for compensation and expenses shall be disclosed in the Annual
Report. The Reorganized Debtor is liable for the Unknown Tort Claims Trustee’s compensation
and expenses and shall pay such fees and expenses to the Unknown Tort Claims Trust within 30
days of invoicing by the Unknown Tort Claims Trustee.

Section 5.5    Unknown Tort Claims Trustee’s Independence.

                (a)      The Unknown Tort Claims Trustee shall not, during its service, hold a
financial interest in, act as attorney or agent for or serve as any other professional for Reorganized
Debtor or its affiliated persons. No Unknown Tort Claims Trustee shall act as an attorney for, or
otherwise represent, any Person who holds a claim in the Chapter 11 Case.

                (b)    The Unknown Tort Claims Trustee shall be indemnified by the Unknown
Tort Claims Trust in acting upon any resolution, certificate, statement, instrument, opinion, report,
notice, request, consent, order or other paper or document believed by them to be genuine and to
have been signed or presented by the proper party or parties.

              (c)     Persons dealing with the Unknown Tort Claims Trust and the Unknown
Tort Claims Trustee, respect to the affairs of the Unknown Tort Claims Trust, shall have recourse
only to the Unknown Tort Claims Trust Assets to satisfy any liability incurred by the Unknown
Tort Claims Trust or the Unknown Tort Claims Trustee to such Person in carrying out the terms
of this Unknown Tort Claims Trust Agreement, and neither the Unknown Tort Claims Trustee, the



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Beneficiaries, nor any of their professionals, advisors, officers, agents, consultants or lawyers shall
have any personal obligation to satisfy any such liability.

Section 5.6    Standard of Care; Exculpation.

                (a)    As used herein, the term “Unknown Tort Claims Trust Indemnified
Party” shall mean the Unknown Tort Claims Trustee, the Tort Claims Reviewer, and each of their
respective members, officers, employees, agents, consultants, lawyers, advisors or professionals
(collectively, the “Unknown Tort Claims Trust Indemnified Parties”).

                (b)      No Unknown Tort Claims Trust Indemnified Party shall be liable to the
Unknown Tort Claims Trust, any other Unknown Tort Claims Trust Indemnified Party, any
Beneficiary or any other Person for any damages arising out of the creation, operation,
administration, enforcement or termination of the Unknown Tort Claims Trust, except in the case
of such Unknown Tort Claims Trust Indemnified Party’s gross negligence, willful misconduct,
bad faith, or fraud as finally judicially determined by a court of competent jurisdiction. To the
fullest extent permitted by applicable law, the Unknown Tort Claims Trust Indemnified Parties
shall have no liability for any action in performance of their duties under this Unknown Tort
Claims Trust Agreement taken in good faith with or without the advice of counsel, accountants,
appraisers and other professionals retained by the Unknown Tort Claims Trust Indemnified Parties.
None of the provisions of this Unknown Tort Claims Trust Agreement shall require the Unknown
Tort Claims Trust Indemnified Parties to expend or risk their own funds or otherwise incur
personal financial liability in the performance of any of their duties hereunder or in the exercise of
any of their respective rights and powers. Any Unknown Tort Claims Trust Indemnified Party may
rely, without inquiry, upon writings delivered to it under any of the Unknown Tort Claims Trust
Documents, which the Unknown Tort Claims Trust Indemnified Party reasonably believes to be
genuine and to have been given by a proper person. Notwithstanding the foregoing, nothing in this
Section 5.6 shall relieve the Unknown Tort Claims Trust Indemnified Parties from any liability for
any actions or omissions arising out of the gross negligence, willful misconduct, bad faith, or fraud
as finally judicially determined by a court of competent jurisdiction; provided that in no event will
any such person be liable for punitive, exemplary, consequential or special damages under any
circumstances. Any action taken or omitted by the Unknown Tort Claims Trust Indemnified
Parties with the approval of the Bankruptcy Court, or any other court of competent jurisdiction,
will conclusively be deemed not to constitute willful misconduct, bad faith, or fraud.

               (c)     The Unknown Tort Claims Trust Indemnified Parties shall not be subject to
any personal liability whatsoever, whether in tort, contract or otherwise, to any Person in
connection with the affairs of the Unknown Tort Claims Trust or for any liabilities or obligations
of the Unknown Tort Claims Trust except for those acts that are finally judicially determined by a
court of competent jurisdiction to have arisen out of their own willful misconduct, bad faith, or
fraud, and all Persons claiming against the Unknown Tort Claims Trust Indemnified Parties, or
otherwise asserting claims of any nature in connection with affairs of the Unknown Tort Claims
Trust, shall look solely to the Unknown Tort Claims Trust Assets for satisfaction of any such
claims.




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                (d)     To the extent that, at law or in equity, the Unknown Tort Claims Trust
Indemnified Parties have duties (including fiduciary duties) or liability related thereto, to the
Unknown Tort Claims Trust or the Beneficiaries, it is hereby understood and agreed by the parties
hereto and the Beneficiaries that such duties and liabilities are eliminated to the fullest extent
permitted by applicable law, [including Section 3806 of the Act,] and replaced by the duties and
liabilities expressly set forth in this Unknown Tort Claims Trust Agreement with respect to the
Unknown Tort Claims Trust Indemnified Parties, provided however, that the duties of care and
loyalty are not eliminated but are limited and subject to the terms of this Unknown Tort Claims
Trust Agreement, including but not limited to this Section 5.6 and its subparts.

                (e)     The Unknown Tort Claims Trust Indemnified Parties shall be indemnified
to the fullest extent permitted by law by the Unknown Tort Claims Trust against all liabilities
arising out of the creation, operation, administration, enforcement or termination of the Unknown
Tort Claims Trust, including actions taken or omitted in fulfillment of their duties with respect to
the Unknown Tort Claims Trust, except for those acts that are finally judicially determined by a
court of competent jurisdiction to have arisen out of their own gross negligence, willful
misconduct, bad faith, or fraud.

               (f)     The Unknown Tort Claims Trust may maintain appropriate insurance
coverage for the protection of the Unknown Tort Claims Trust Indemnified Parties, as determined
by the Unknown Tort Claims Trustee in its discretion.

Section 5.7    Protective Provisions.

              (a)     Every provision of this Unknown Tort Claims Trust Agreement relating to
the conduct or affecting the liability of or affording protection to Unknown Tort Claims Trust
Indemnified Parties shall be subject to the provisions of this Section 5.7.

               (b)     In the event the Unknown Tort Claims Trustee retains counsel (including at
the expense of the Unknown Tort Claims Trust), the Unknown Tort Claims Trustee shall be
afforded the benefit of the attorney-client privilege with respect to all communications with such
counsel, and in no event shall the Unknown Tort Claims Trustee be deemed to have waived any
right or privilege including, without limitation, the attorney-client privilege even if the
communications with counsel had the effect of guiding the Unknown Tort Claims Trustee in the
performance of duties hereunder. A successor to any Unknown Tort Claims Trustee shall succeed
to and hold the same respective rights and benefits of the predecessor for purposes of privilege,
including the attorney-client privilege. No Beneficiary or other party may raise any exception to
the attorney-client privilege discussed herein as any such exceptions are hereby waived by all
parties.

                (c)     To the extent that, at law or in equity, the Unknown Tort Claims Trustee
has duties (including fiduciary duties) and liabilities relating hereto, to the Unknown Tort Claims
Trust or to the Beneficiaries, it is hereby understood and agreed by the Parties and the Beneficiaries
that such duties and liabilities are eliminated to the fullest extent permitted by applicable law, and
replaced by the duties and liabilities expressly set forth in this Unknown Tort Claims Trust
Agreement with respect to the Unknown Tort Claims Trustee, provided however, that the duties



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of care and loyalty are not eliminated but are limited and subject to the terms of this Unknown
Tort Claims Trust Agreement, including but not limited to Section 5.6 herein.

                (d)     No Unknown Tort Claims Trust Indemnified Party shall be personally liable
under any circumstances, except for their own gross negligence, willful misconduct, bad faith, or
fraud as finally judicially determined by a court of competent jurisdiction.

              (e)     No provision of this Unknown Tort Claims Trust Agreement shall require
the Unknown Tort Claims Trust Indemnified Parties to expend or risk their own personal funds or
otherwise incur financial liability in the performance of their rights, duties, and powers hereunder.

                (f)    In the exercise or administration of the Unknown Tort Claims Trust
hereunder, the Unknown Tort Claims Trust Indemnified Parties (i) may act directly or through
their respective agents or attorneys pursuant to agreements entered into with any of them, and the
Unknown Tort Claims Trust Indemnified Parties shall not be liable for the default or misconduct
of such agents or attorneys if such agents or attorneys have been selected by the Unknown Tort
Claims Trust Indemnified Parties in good faith and with due care, and (ii) may consult with
counsel, accountants and other professionals to be selected by them in good faith and with due
care and employed by them, and shall not be liable for anything done, suffered or omitted in good
faith by them in accordance with the advice or opinion of any such counsel, accountants or other
professionals.

Section 5.8    Indemnification.

                 (a)    Without the need for further court approval, the Unknown Tort Claims Trust
hereby indemnifies, holds harmless, and defends the Unknown Tort Claims Trust Indemnified
Parties in the performance of their duties hereunder to the fullest extent that a trust, including a
statutory trust organized under the laws of the State of New Mexico, is entitled to indemnify, hold
harmless and defend such persons against any and all liabilities, expenses, claims, damages or
losses (including attorneys’ fees and costs) incurred by them in the performance of their duties
hereunder or in connection with activities undertaken by them prior to or after the Effective Date
in connection with the formation, establishment, funding or operations of the Unknown Tort
Claims Trust except for those acts that are finally judicially determined by a court of competent
jurisdiction to have arisen out of their own gross negligence, willful misconduct, bad faith, or
fraud.

               (b)     Reasonable expenses, costs and fees (including attorneys’ fees and costs)
incurred by or on behalf of the Unknown Tort Claims Trust Indemnified Parties in connection with
any action, suit or proceeding, whether civil, administrative or arbitrative, from which they are
indemnified by the Unknown Tort Claims Trust shall be paid by the Unknown Tort Claims Trust
in advance of the final disposition thereof upon receipt of an undertaking, by or on behalf of the
Unknown Tort Claims Trust Indemnified Parties, to repay such amount in the event that it shall be
determined ultimately by final order of the Bankruptcy Court that the Unknown Tort Claims Trust
Indemnified Parties or any other potential indemnitee are not entitled to be indemnified by the
Unknown Tort Claims Trust.




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               (c)     The Unknown Tort Claims Trustee may purchase and maintain appropriate
amounts and types of insurance on behalf of the Unknown Tort Claims Trust Indemnified Parties,
as determined by the Unknown Tort Claims Trustee, which may include liability asserted against
or incurred by such individual in that capacity or arising from his or her status as a Unknown Tort
Claims Trust Indemnified Party, and/or as an employee, agent, lawyer, advisor or consultant of
any such person.

               (d)     The indemnification provisions of this Unknown Tort Claims Trust
Agreement with respect to any Unknown Tort Claims Trust Indemnified Party shall survive the
termination of such Unknown Tort Claims Trust Indemnified Party from the capacity for which
such Unknown Tort Claims Trust Indemnified Party is indemnified. Termination or modification
of this Unknown Tort Claims Trust Agreement shall not affect any indemnification rights or
obligations in existence at such time. In making a determination with respect to entitlement to
indemnification of any Unknown Tort Claims Trust Indemnified Party hereunder, the person,
persons or entity making such determination shall presume that such Unknown Tort Claims Trust
Indemnified Party is entitled to indemnification under this Unknown Tort Claims Trust
Agreement, and any person seeking to overcome such presumption shall have the burden of proof
to overcome the presumption.

             (e)    The rights to indemnification hereunder are not exclusive of other rights
which any Unknown Tort Claims Trust Indemnified Party may otherwise have at law or in equity,
including common law rights to indemnification or contribution.

Section 5.9 Bond. The Unknown Tort Claims Trustee shall not be required to post any bond or
other form of surety or security unless otherwise ordered by the Bankruptcy Court.

                                          ARTICLE 6.

                                   GENERAL PROVISIONS

Section 6.1 Irrevocability. To the fullest extent permitted by applicable law, the Unknown Tort
Claims Trust is irrevocable. The Settlor shall not: (i) retain any ownership or residual interest
whatsoever with respect to any Unknown Tort Claims Trust Assets, including, but not limited to,
the funds transferred to fund the Unknown Tort Claims Trust, and (ii) have any rights or role with
respect to the management or operation of the Unknown Tort Claims Trust, or the Unknown Tort
Claims Trustee’s administration of the Unknown Tort Claims Trust.

Section 6.2    Term; Termination.

               (a)     The term for which the Unknown Tort Claims Trust is to exist shall
commence on the date of the filing of the Certificate of Unknown Tort Claims Trust and shall
terminate pursuant to the following provisions.

               (b)    The Unknown Tort Claims Trust shall automatically dissolve as soon as
practicable but no later than ninety (90) days after the date on which the Bankruptcy Court
approves the dissolution of the Unknown Tort Claims Trust because: (i) all reasonably expected
assets have been collected by the Unknown Tort Claims Trust, (ii) all Distributions have been


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made to the extent set forth in the Unknown Tort Claims Allocation Protocol, (iii) necessary
arrangements and reserves have been made to discharge all anticipated remaining Unknown Tort
Claims Trust obligations and Unknown Tort Claims Trust Operating Expenses in a manner
consistent with the Unknown Tort Claims Trust Documents, and (iv) a final accounting has been
filed and approved by the Bankruptcy Court (the “Dissolution Date”).

               (c)    Following the dissolution and Distribution of the Unknown Tort Claims
Trust Assets, the Unknown Tort Claims Trust shall terminate, and the Unknown Tort Claims
Trustee shall execute and cause a Certificate of Cancellation of the Certificate of Unknown Tort
Claims Trust to be filed in accordance with the Act. Notwithstanding anything to the contrary
contained in this Unknown Tort Claims Trust Agreement, the existence of the Unknown Tort
Claims Trust as a separate legal entity shall continue until the filing of such Certificate of
Cancellation.

                 (d)   After termination of the Unknown Tort Claims Trust and solely for the
purpose of liquidating and winding up its affairs, the Unknown Tort Claims Trustee shall continue
to act as Unknown Tort Claims Trustee until its duties hereunder have been fully performed. The
Unknown Tort Claims Trustee shall retain the books, records, documents and files that shall have
been delivered to or created by the Unknown Tort Claims Trustee until Distribution of all the
Unknown Tort Claims Trust Assets. For purposes of this provision, Unknown Tort Claims Trust
Assets will be deemed distributed when the total amount remaining in the Unknown Tort Claims
Trust is less than $_________ and no further actions are pending or have yet to be brought. At the
Unknown Tort Claims Trustee’s discretion, all of such books, records, documents and files may
be destroyed at any time following the later of: (i) the first anniversary of the final Distribution of
the Unknown Tort Claims Trust Assets, and (ii) the date until which the Unknown Tort Claims
Trustee is required by applicable law to retain such books, records, documents and files; provided
however, that, notwithstanding the foregoing, the Unknown Tort Claims Trustee shall not destroy
or discard any books, records, documents or files relating to the Unknown Tort Claims Trust
without giving Reorganized Debtor the opportunity to take control of such books, records,
documents and/or files.

                  (e)    Upon termination of the Unknown Tort Claims Trust and accomplishment
of all activities described in this agreement, the Unknown Tort Claims Trustee and its professionals
shall be discharged and exculpated from liability (except for acts or omissions resulting from the
recklessness, gross negligence, willful misconduct, knowing and material violation of law or fraud
of the Unknown Tort Claims Trustee or his agents or representatives). The Unknown Tort Claims
Trustee may, at the expense of the Unknown Tort Claims Trust, seek an Order of the Bankruptcy
Court confirming the discharges, exculpations and exoneration referenced in the preceding
sentence.

Section 6.3    Outgoing Unknown Tort Claims Trustee Obligations.

        In the event of the resignation or removal of the Unknown Tort Claims Trustee, the
resigning or removed Unknown Tort Claims Trustee shall:

             (a)    execute and deliver by the effective date of resignation or removal such
documents, instruments, records and other writings as may be reasonably requested by the

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successor Unknown Tort Claims Trustee to effect such resignation or removal and the conveyance
of the Unknown Tort Claims Trust Assets then held by the resigning or removed Unknown Tort
Claims Trustee to the successor Unknown Tort Claims Trustee;

               (b)    deliver to the successor Unknown Tort Claims Trustee all documents,
instruments, records and other writings relating to the Unknown Tort Claims Trust Assets as may
be in the possession or under the control of the resigning or removed Unknown Tort Claims
Trustee;

              (c)     otherwise assist and cooperate in effecting the assumption of the resigning
or removed Unknown Tort Claims Trustee’s obligations and functions by the successor Unknown
Tort Claims Trustee; and

                (d)      irrevocably appoint the successor Unknown Tort Claims Trustee (and any
interim trustee) as its attorney-in-fact and agent with full power of substitution for it and its name,
place and stead to do any and all acts that such resigning or removed Unknown Tort Claims Trustee
is obligated to perform under this Unknown Tort Claims Trust Agreement. Such appointment shall
not be affected by the subsequent disability or incompetence of the Unknown Tort Claims Trustee
making such appointment. The Bankruptcy Court also may enter such orders as are necessary to
effect the termination of the appointment of the Unknown Tort Claims Trustee and the
appointment of the successor Unknown Tort Claims Trustee.

Section 6.4    Taxes.

               (a)      The Unknown Tort Claims Trust is intended to qualify as a “qualified
settlement fund” within the meaning of Section 1.468B-1 et seq. of the Treasury Regulations
promulgated under Section 468B of the IRC, as amended (the “QSF Regulations”), with respect
to which Reorganized Debtor shall timely make an election to treat the Unknown Tort Claims
Trust as a “grantor trust” for U.S. federal income tax purposes and, to the extent permitted under
applicable law, for state and local income tax purposes.

                (b)    The Unknown Tort Claims Trustee shall be the “administrator” of the
Unknown Tort Claims Trust within the meaning of Section 1.468B-2(k)(3) of the Treasury
Regulations and, in such capacity, such administrator shall (i) prepare and timely file, or cause to
be prepared and timely filed, such income tax and other tax returns and statements required to be
filed and shall timely pay all taxes required to be paid by the Unknown Tort Claims Trust out of
the Unknown Tort Claims Trust Assets, which assets may be sold by the Unknown Tort Claims
Trustee to the extent necessary to satisfy tax liabilities of the Unknown Tort Claims Trust, (ii)
comply with all applicable tax reporting and withholding obligations, (iii) satisfy all requirements
necessary to qualify and maintain qualification of Unknown Tort Claims Trust as a qualified
settlement fund and a grantor trust, within the meaning of the QSF Regulations, and (iv) take no
action that could cause the Unknown Tort Claims Trust to fail to qualify as a qualified settlement
fund and a grantor trust within the meaning of the QSF Regulations. The Unknown Tort Claims
Trustee may request an expedited determination under section 505(b) of the Bankruptcy Code for
all tax returns filed by or on behalf of the Unknown Tort Claims Trust for all taxable periods
through the Dissolution Date.



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                (c)    As soon as reasonably practicable after the Effective Date, but in no event
later than one hundred twenty (120) days thereafter, the Unknown Tort Claims Trust shall make a
good faith valuation of the Debtor’s Contribution and such valuation shall be used consistently by
all parties for all U.S. federal income tax purposes. In connection with the preparation of the
valuation contemplated hereby, the Unknown Tort Claims Trust shall be entitled to retain such
professionals and advisors as the Unknown Tort Claims Trustee shall determine to be appropriate
or necessary, and the Unknown Tort Claims Trustee shall take such other actions in connection
therewith as he or she determines to be appropriate or necessary.

                 (d)     The Unknown Tort Claims Trustee may withhold and pay to the appropriate
tax authority all amounts required to be withheld pursuant to the IRC or any provision of any
foreign, state or local tax law with respect to any payment or Distribution. All such amounts
withheld and paid to the appropriate tax authority (or placed in escrow pending resolution of the
need to withhold) shall be treated as amounts distributed or paid for all purposes of this Unknown
Tort Claims Trust Agreement. The Unknown Tort Claims Trustee shall be authorized to collect
such tax information (including tax identification numbers) as in his or her sole discretion is
deemed necessary to effectuate the Plan, the Confirmation Order and this Unknown Tort Claims
Trust Agreement. In order to receive Distributions, all Beneficiaries shall be required to provide
tax information to the Unknown Tort Claims Trustee to the extent the Unknown Tort Claims
Trustee deems appropriate in the manner and in accordance with the procedures from time to time
established by the Unknown Tort Claims Trustee for these purposes. The Unknown Tort Claims
Trustee may refuse to make a payment or Distribution unless or until such information is delivered;
provided however, that, upon the delivery of such information, the Unknown Tort Claims Trustee
shall make such delayed payment or Distribution, without interest. Notwithstanding the foregoing,
if a person fails to furnish any tax information reasonably requested by the Unknown Tort Claims
Trustee before the date that is three hundred sixty-five (365) calendar days after the request is
made, the amount of such Distribution shall irrevocably revert to the Unknown Tort Claims Trust.
In no event shall any escheat to any federal, state or local government or any other entity.

Section 6.5    Modification.

                (a)   Material modifications to this Unknown Tort Claims Trust Agreement,
including Exhibits hereto, may be made only with the approval of the Bankruptcy Court; provided
however, that the Unknown Tort Claims Trustee may amend this Unknown Tort Claims Trust
Agreement from time to time without the consent, approval or other authorization of, but with
notice to, the Bankruptcy Court, to make minor corrective or clarifying amendments necessary to
enable the Unknown Tort Claims Trustee to effectuate the provisions of this Unknown Tort Claims
Trust Agreement, provided such minor corrective or clarifying amendments shall not take effect
until ten (10) days after notice to the Bankruptcy Court. Except as permitted pursuant to the
preceding sentence, the Unknown Tort Claims Trustee shall not modify this Unknown Tort Claims
Trust Agreement in any manner that is inconsistent with the Plan or the Confirmation Order
without the approval of the Bankruptcy Court. The Unknown Tort Claims Trustee shall file notice
of any modification of this Unknown Tort Claims Trust Agreement with the Bankruptcy Court.

              (b)     Notwithstanding anything set forth in this Unknown Tort Claims Trust
Agreement to the contrary, none of this Unknown Tort Claims Trust Agreement, nor any document


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related thereto shall be modified or amended in any way that could jeopardize or impair (i) the
applicability of section 105 of the Bankruptcy Code to the Plan and the Confirmation Order, (ii)
the efficacy or enforceability of the Channeling Injunction or any other injunction or release issued
or granted in connection with the Plan and Confirmation Order or (iii) the Unknown Tort Claims
Trust’s qualified settlement fund status and grantor trust status under the QSF Regulations.

Section 6.6 Severability. If any provision of this Unknown Tort Claims Trust Agreement or
application thereof to any person or circumstance shall be finally determined by a court of
competent jurisdiction to be invalid or unenforceable to any extent, the remainder of this Unknown
Tort Claims Trust Agreement, or the application of such provisions to persons or circumstances
other than those as to which it is held invalid or unenforceable, shall not be affected thereby, and
such provision of this Unknown Tort Claims Trust Agreement shall be valid and enforced to the
fullest extent permitted by law.

Section 6.7 Notices. Any notices or other communications required or permitted hereunder to
the following parties shall be in writing and delivered at the addresses designated below, or sent
by email pursuant to the instructions listed below, or mailed by overnight courier, addressed as
follows, or to such other address or addresses as may hereafter be furnished in writing to each of
the other parties listed below in compliance with the terms hereof.

       To the Unknown Tort Claims Trustee:



       with a copy (which shall not constitute notice) to:



       To Reorganized Debtor:

       Tony Salgado, CPA
       Archdiocese of Santa Fe
       4000 St. Joseph Pl NW
       Albuquerque, NM 87120
       tsalgado@asfcca.org

       with a copy (which shall not constitute notice) to:

       Ford Elsaesser
       Elsaesser Anderson, Chtd.
       P. O. Box 369
       535 High Street
       Priest River, ID 83856
       ford@eaidaho.com

       and



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       Thomas D. Walker
       Walker & Associates, P.C.
       500 Marquette Ave. NW, Suite 650
       Albuquerque, NM 87102
       twalker@walkerlawpc.com


       All such notices and communications, if mailed, shall be effective when physically
delivered at the designated addresses, or if electronically transmitted, shall be effective upon
transmission.

Section 6.8 Successors and Assigns. The provisions of this Unknown Tort Claims Trust
Agreement shall be binding upon and inure to the benefit of the Unknown Tort Claims Trust, the
Unknown Tort Claims Trustee, and their respective successors and assigns, except that none of
such persons may assign or otherwise transfer any of its, or their, rights or obligations under this
Unknown Tort Claims Trust Agreement except, in the case of the Unknown Tort Claims Trust and
the Unknown Tort Claims Trustee, as contemplated by Section 2.1 and Section 5.2 above.

Section 6.9 Limitation on Transferability; Beneficiaries’ Interests. The Beneficiaries’ interests
in the Unknown Tort Claims Trust shall not: (a) be assigned, conveyed, hypothecated, pledged or
otherwise transferred, voluntarily or involuntarily, directly or indirectly and any purported
assignment, conveyance, pledge or transfer shall be null and void ab initio, except to the extent
necessary for the Beneficiary to create a qualified settlement trust; (b) be evidenced by a certificate
or other instrument; (c) possess any voting rights; (d) give rise to any right or rights to participate
in the management or administration of the Unknown Tort Claims Trust or the Unknown Tort
Claims Trust Assets; (e) entitle the holders thereof to seek the removal or replacement of any
Unknown Tort Claims Trustee, whether by petition to the Bankruptcy Court or any other court or
otherwise; (f) entitle the holders thereof to receive any interest on Distributions; and (g) give rise
to any rights to seek a partition or division of the Unknown Tort Claims Trust Assets. Beneficiaries
shall have no interest of any kind in any of the Unknown Tort Claims Trust Assets; rather, the
Beneficiaries shall have an undivided beneficial interest only in cash assets of but only to the extent
such cash assets are declared by the Unknown Tort Claims Trustee to be distributable as
Distributions in accordance with the Unknown Tort Claims Trust Documents. For the avoidance
of doubt, the Beneficiaries shall have only such rights as expressly set forth in the Unknown Tort
Claims Trust Documents.

Section 6.10 Exemption from Registration.

        The Parties hereto intend that the rights of the Beneficiaries arising under this Unknown
Tort Claims Trust Agreement shall not be “securities” under applicable laws, but none of the
Parties hereto represent or warrant that such rights shall not be securities or shall be entitled to
exemption from registration under applicable securities laws. If it should be determined that any
such interests constitute “securities,” the Parties hereto intend that the exemption provisions of
section 1145 of the Bankruptcy Code will be satisfied and the offer and sale under the Plan of the
beneficial interests in the Unknown Tort Claims Trust will be exempt from registration under the




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Securities Act, all rules and regulations promulgated thereunder, and all applicable state and local
securities laws and regulations.

Section 6.11 Entire Agreement; No Waiver.

        The entire agreement of the parties relating to the subject matter of this Unknown Tort
Claims Trust Agreement is contained herein and in the documents referred to herein, and this
Unknown Tort Claims Trust Agreement and such documents supersede any prior oral or written
agreements concerning the subject matter hereof. No failure to exercise or delay in exercising any
right, power or privilege hereunder shall operate as a waiver thereof, nor shall any single or partial
exercise of any right, power or privilege hereunder preclude any further exercise thereof or of any
other right, power or privilege. The rights and remedies herein provided are cumulative and are
not exclusive of rights under law or in equity.

Section 6.12 Headings. The headings used in this Unknown Tort Claims Trust Agreement are
inserted for convenience only and do not constitute a portion of this Unknown Tort Claims Trust
Agreement, nor in any manner affect the construction of the provisions of this Unknown Tort
Claims Trust Agreement.

Section 6.13 Governing Law.

         This Unknown Tort Claims Trust Agreement shall be governed by, and construed in
accordance with, the laws of the State of New Mexico, without regard to the conflicts of law
provisions thereof which would purport to apply the law of any other jurisdiction. None of the
following provisions of New Mexico law shall apply to the extent inconsistent with the terms of
the Unknown Tort Claims Trust Documents: (a) the filing with any court or governmental body or
agency of trustee accounts or schedules of trustee fees and charges, (b) affirmative requirements
to post bonds for trustees, officers, agents or employees of a trust, (c) the necessity for obtaining
court or other governmental approval concerning the acquisition, holding or disposition of
property, (d) fees or other sums payable to trustees, officers, agents or employees of a trust, (e) the
allocation of receipts and expenditures to income or principal, (f) restrictions or limitations on the
permissible nature, amount or concentration of trust investments or requirements relating to the
titling, storage or other manner of holding of Unknown Tort Claims Trust Assets, (g) the existence
of rights or interests (beneficial or otherwise) in Unknown Tort Claims Trust Assets, (h) the ability
of beneficial owners or other persons to terminate or dissolve a trust, and (i) the establishment of
fiduciary or other standards or responsibilities or limitations on the acts or powers of trustees or
beneficial owners that are inconsistent with the limitations on liability or authorities and powers
of the Unknown Tort Claims Trustee set forth or referenced in this Unknown Tort Claims Trust
Agreement.

Section 6.14 Settlor’s Representative.

       Pursuant to the Unknown Tort Claims Trust Documents, the Reorganized Debtor is hereby
irrevocably designated as the “Settlor’s Representative” and is hereby authorized to take any
action consistent with Reorganized Debtor’s obligations under the Unknown Tort Claims Trust
Documents that is reasonably requested of the Settlor by the Unknown Tort Claims Trustee.
Pursuant to the Unknown Tort Claims Trust Documents. Pursuant to the Unknown Tort Claims


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Trust Documents, the Settlor’s Representative shall cooperate with the Unknown Tort Claims
Trustee and the Unknown Tort Claims Trust’s officers, employees and professionals in connection
with the Unknown Tort Claims Trust’s administration of the Debtor’s Contribution, including, but
not limited to, providing the Unknown Tort Claims Trustee or his or her officers, employees and
professionals, upon written request (including e-mail), reasonable access to information related to
the Debtor’s Contribution, including, without limitation, delivery of documents in the possession
of, or witnesses under the control of, Reorganized Debtor (and others) to the extent that the
Unknown Tort Claims Trustee could obtain the same by subpoena, notice of deposition or other
permissible discovery request, without the need for a formal discovery request.

Section 6.15 Independent Legal and Tax Counsel.

        All parties to this Unknown Tort Claims Trust Agreement have been represented by
counsel and advisors of their own selection in this matter. Consequently, the parties agree that the
language in all parts of this Unknown Tort Claims Trust Agreement shall in all cases be construed
as a whole according to its fair meaning and shall not be construed either strictly for or against any
party. It is specifically acknowledged and understood that this Unknown Tort Claims Trust
Agreement has not been submitted to, nor reviewed or approved by, the IRS or the taxing
authorities of any state or territory of the United States of America.

Section 6.16 Waiver of Jury Trial.

        Each party hereto and each Beneficiary hereof hereby irrevocably waives, to the fullest
extent permitted by applicable law, any and all right to a trial by jury in any legal proceeding
arising out of or relating to this Unknown Tort Claims Trust Agreement.

Section 6.17 Effectiveness.

       This Unknown Tort Claims Trust Agreement shall not become effective until it has been
executed and delivered by all the parties hereto.

Section 6.18 Counterpart Signatures.

        This Unknown Tort Claims Trust Agreement may be executed in any number of
counterparts, each of which shall constitute an original, but such counterparts shall together
constitute but one and the same instrument. A signed copy of this Unknown Tort Claims Trust
Agreement or any amendment hereto delivered by facsimile, email or other means of Electronic
Transmission, shall be treated in all manner and respects as an original agreement or instrument
and shall be considered to have the same binding legal effect as if it were the original signed
version thereof delivered in person.

                               [SIGNATURE PAGES TO FOLLOW]




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      IN WITNESS WHEREOF, the parties have executed this Unknown Tort Claims Trust
Agreement as of the date first set forth above to be effective as of the Effective Date.

[SETTLOR]


[TRUSTEE]




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                            EXHIBIT 1
             UNKNOWN TORT CLAIMS ALLOCATION PROTOCOL




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                             LIST OF CLASS 5 CLAIMS

    Claim Claimant Name      Claim         Proposed Treatment
    No.                      Amount
    1     Christine Romero   $250,000.00   No Distribution except as provided in
                                           Section 8.3.5 of the Plan. The discharge
                                           injunction shall be modified as to this Claim,
                                           to permit the Claimant to file and prosecute
                                           and to permit the Reorganized Debtor to
                                           defend, to final judgment, the Claim in the
                                           appropriate non-bankruptcy forum and to
                                           permit Claimant to seek to collect on any
                                           judgment that may be obtained in that action
                                           from the Preserved Coverage, up to the limits
                                           of such coverage for the Claim. In the
                                           alternative, Claimant may elect to accept
                                           $2,500 in full satisfaction as set forth in
                                           Section 8.3.5 of the Plan.
    12     Benito Garcia     $4,001.00     No Distribution except as provided in the
                                           Section 8.3.5 of the Plan. The discharge
                                           injunction shall be modified as to this Claim,
                                           to permit the Claimant to file and prosecute
                                           and to permit the Reorganized Debtor to
                                           defend, to final judgment, the Claim in the
                                           appropriate non-bankruptcy forum and to
                                           permit Claimant to seek to collect on any
                                           judgment that may be obtained in that action
                                           from the Preserved Coverage, up to the limits
                                           of such coverage for the Claim. In the
                                           alternative, Claimant may elect to accept
                                           $2,500 in full satisfaction as set forth in
                                           Section 8.3.5 of the Plan.
    98     Rudy Blea         $200,000.00   No Distribution except as provided in the
                                           Section 8.3.5 of the Plan. The Debtor has
                                           objected to this Claim. If the Debtor’s
                                           objection is upheld, this Claim will receive
                                           no distribution. If the Claim is allowed, the
                                           Debtor will pay the allowed amount of the
                                           Claim over a period of 10 years, in annual
                                           installments. No interest will accrue on the
                                           allowed amount of the Claim. In the
                                           alternative, Claimant may elect to accept
                                           $2,500 in full satisfaction as set forth in
                                           Section 8.3.5 of the Plan.




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    105   Marc Hilton        $500,000.00   No Distribution except as provided in the
                                           Section 8.3.5 of the Plan. The discharge
                                           injunction shall be modified as to this Claim,
                                           to permit the Claimant to file and prosecute
                                           and to permit the Reorganized Debtor to
                                           defend, to final judgment, the Claim in the
                                           appropriate non-bankruptcy forum and to
                                           permit Claimant to seek to collect on any
                                           judgment that may be obtained in that action
                                           from the Preserved Coverage, up to the limits
                                           of such coverage for the Claim. In the
                                           alternative, Claimant may elect to accept
                                           $2,500 in full satisfaction as set forth in
                                           Section 8.3.5 of the Plan.
    222   Bank of America    $1,079,000.00 No balance is owed on this Claim and the
                                           Debtor has objected to this Claim. If the
                                           Debtor’s objection is upheld, this Claim will
                                           receive no distribution. If the Claim is
                                           allowed, the Debtor will pay the allowed
                                           amount of the Claim over a period of 10
                                           years, in annual installments. No interest will
                                           accrue on the allowed amount of the Claim.
    223   Bank of America    $30,000.00    No balance is owed on this Claim and the
                                           Debtor has objected to this Claim. If the
                                           Debtor’s objection is upheld, this Claim will
                                           receive no distribution. If the Claim is
                                           allowed, the Debtor will pay the allowed
                                           amount of the Claim over a period of 10
                                           years, in annual installments. No interest will
                                           accrue on the allowed amount of the Claim.
    259   Emma Banuelos      $30,000.00    No Distribution except as provided in
                                           Section 8.3.5 of the Plan. The discharge
                                           injunction shall be modified as to this Claim,
                                           to permit the Claimant to file and prosecute
                                           and to permit the Reorganized Debtor to
                                           defend, to final judgment, the Claim in the
                                           appropriate non-bankruptcy forum and to
                                           permit Claimant to seek to collect on any
                                           judgment that may be obtained in that action
                                           from the Preserved Coverage, up to the limits
                                           of such coverage for the Claim. In the
                                           alternative, Claimant may elect to accept
                                           $2,500 in full satisfaction as set forth in
                                           Section 8.3.5 of the Plan.




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    268   Candelaria Lopez   $--               No Distribution except as provided in the
                                               Section 8.3.5 of the Plan. The discharge
                                               injunction shall be modified as to this Claim,
                                               to permit the Claimant to file and prosecute
                                               and to permit the Reorganized Debtor to
                                               defend, to final judgment, the Claim in the
                                               appropriate non-bankruptcy forum and to
                                               permit Claimant to seek to collect on any
                                               judgment that may be obtained in that action
                                               from the Preserved Coverage, up to the limits
                                               of such coverage for the Claim. In the
                                               alternative, Claimant may elect to accept
                                               $2,500 in full satisfaction as set forth in
                                               Section 8.3.5 of the Plan.
    376   Cynthia Buckner    $60,000.00        No Distribution except as provided in the
                                               Section 8.3.5 of the Plan. The discharge
                                               injunction shall be modified as to this Claim,
                                               to permit the Claimant to file and prosecute
                                               and to permit the Reorganized Debtor to
                                               defend, to final judgment, the Claim in the
                                               appropriate non-bankruptcy forum and to
                                               permit Claimant to seek to collect on any
                                               judgment that may be obtained in that action
                                               from the Preserved Coverage, up to the limits
                                               of such coverage for the Claim. In the
                                               alternative, Claimant may elect to accept
                                               $2,500 in full satisfaction as set forth in
                                               Section 8.3.5 of the Plan.
    422   Mick Rich          $126,679.06       The Debtor has objected to this Claim. If the
          Contractors                          Debtor’s objection is upheld, this Claim will
                                               receive no distribution. If the Claim is
                                               allowed, the Debtor will pay the allowed
                                               amount of the Claim over a period of 10
                                               years, in annual installments. No interest will
                                               accrue on the allowed amount of the Claim.
                                               In the alternative, Claimant may elect to
                                               accept $2,500 in full satisfaction as set forth
                                               in Section 8.3.5 of the Plan.




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                  STIPULATED NON-MONETARY COVENANTS




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  In re Roman Catholic Church of the Archdiocese of Santa Fe, a New Mexico corporation sole,
          Case No. 18-13027-t11, U.S. Bankruptcy Court for the District of New Mexico

                              Stipulated Non-Monetary Covenants

 Introduction

 The historical experience of the Archdiocese in connection with decades of childhood sexual abuse
 has led not only to its Chapter 11 Bankruptcy Case, but also to a historical disclosure of documents
 in a public Archive. The document disclosure to the UNM Southwest Special Collections Archive
 at Zimmerman Library is unprecedented across the country. This is in keeping with the
 Archdiocese’s desires to provide transparency as to how these decades of widespread abuse and
 occurred, and to try to prevent any future abuse going forward. In the 1990’s, the Archdiocese
 dealt with disclosures from many survivors, including some through related litigation. As a result,
 the Archdiocese developed experience with implementing safeguards and developing policies and
 procedures that, as far as the data shows, has been largely effective in protecting children.
 Nonetheless, these Non-Monetary Covenants are hereby stipulated to in keeping with those goals,
 and continuing or even advancing the measures adopted over the past few decades, especially as
 funneled through the Archive.

    A. Definitions

    1. “Abuse Documents Archive” means a repository created, organized, maintained and
       administered by the Regents of the University of New Mexico for its College of
       University Libraries and Learning Sciences’ Center for Southwest Research and Special
       Collections (“CSWR”) to allow public access to Abuse Documents that have been
       reviewed, redacted and produced to CSWR in accordance with the terms of a
       Memorandum Agreement among ASF, the Committee, and the CSWR dated May 15,
       2019, a copy of which is attached to the Plan. as Exhibit A. Documents from any
       historical period (including the present) shall not be withheld by Debtor from the Archive
       because the document comes from or involves a Religious Order, whether or not that
       Religious Order successfully sought a Channeling Injunction in the Chapter 11 case.

    2. “Additional Publications” means the news publications identified in the Publication Plan
       attached as Exhibit G to the Bar Date Order in the Chapter 11 Case.

    3. “Affiliate” means the Canon law juridical person and civil entity of (a) any parish or
       mission of the Archdiocese of Santa Fe (“ASF”) at any time and (b) any parish or mission
       of ASF that has merged or suppressed, as may be amended from time to time, in the
       Chapter 11 Case. It does not include Religious Orders.

    4. “ASF” includes both the civil entity and Canon law juridical person identified as The
       Roman Catholic Church of the Archdiocese of Santa Fe, a New Mexico corporation sole,
       on its voluntary petition for chapter 11 relief, and any predecessor or successor thereof,
       and any person (including the archbishop or apostolic administrator of ASF) acting on
       behalf of ASF.




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    5. “ASF Parties” means ASF and the Affiliates.

    6. “ASF Publications” means physical and digital publications, magazines, newspapers,
       bulletins, websites, and social media accounts published, hosted or controlled by ASF
       Parties.

    7. “ASF School” means any school that is owned and operated as a unit of ASF at any time,
       and including without limitation, any school that has merged or closed into ASF.

    8. “Clergy” means any bishops, priests, and deacons vicars operating within ASF.

    9. “Committee” means the Official Committee of Unsecured Creditors. To the extent the
       Committee is disbanded by a plan of reorganization or otherwise, any responsibility
       designated herein for the Committee shall be performed by an entity designated in the
       plan.

    10. “Non-ASF School” means any Roman Catholic school operating within the geographical
        area of ASF that is not an ASF School.

    11. “Religious” means any individual whom a diocesan archbishop, bishop, the Apostolic
        See, religious superior, or other authority of the Roman Catholic Church has considered,
        treated, or determined is a member of a Roman Catholic religious institute, society, house,
        or order and should be treated as religious, and includes but is not limited to, nun,
        postulant, novice, temporary professed, perpetually professed, religious brother, religious
        sister, superior, major superior, prior, abbot, abbot primate, abbot superior, supreme
        moderator, superior of a monastic congregation, provincial, prior provincial, provincial
        superior, supreme superior, monk, and member of religious institute, and may include
        cardinal, archbishop, bishop, auxiliary bishop, regional bishop, titular bishop vicar
        general, chancellor, episcopal vicar, vicar forane, dean, archpriest, priest, simplex, pastor,
        prior, sub-prior, rector, parochial vicar, assistant pastor, associate pastor, deacon, vicar,
        moderator, director, counselor, councilor, president, and master.

    12. “Sexual Abuse” means the following: Any actual or alleged sexual conduct or misconduct,
        sexual abuse or molestation, indecent assault and/or battery, rape, pedophilia, ephebophilia,
        or sexually-related physical, psychological, or emotional harm, or contacts, or interactions
        of a sexual nature between a child and an adult, or a nonconsenting adult and another adult,
        sexual assault, sexual battery, sexual, psychological or emotional abuse, humiliation, or
        intimidation, or any other sexual misconduct.

    13. “Sexual Abuse Claimant” means a holder of a Claim arising out of Sexual Abuse.

    B. Prevention

         1.    Compliance Audit. ASF has engaged a law firm to serve as a consultant to
 conduct an independent audit of compliance with the Archdiocese’s reporting policies and
 procedures and to provide recommendations on child protection policies and procedures. The law
 firm is Conklin Woodcock & Ziegler, P.C. (the “Consultant”) The Consultant will have full


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 access to the ASF Parties’ records including but not limited to documents provided to the
 Committee and to the SWSC Archive, and the ASF Parties will make all of their current and past
 employees and Clergy available for interviews with the Consultant. The Consultant l will publish
 a report of findings. ASF Parties shall post such findings on their websites with one-click access
 from the website home pages. The policy review shall include recommendations regarding
 appropriate credentials for any adult that interacts with children within ASF Parties’ programs
 and activities, and the ongoing requirements for the ASF Parties’ disclosure, investigation,
 adjudication, and reporting of future abuse claims.

         2.      Compliance with Laws and Policies and Third-Party Child Protection Audits.
 ASF Parties shall continue to comply with all of their policies and procedures, all Catholic Church
 policies and procedures, including but not limited to the U.S. Conference of Catholic Bishops’
 Charter for the Protection of Children and Young People, and all governmental laws and policies
 regarding child abuse and child protection. The ASF Parties shall continue to conduct annual
 third-party clergy audits of their child safety programs and compliance obligations by
 Stonebridge Business Partners, or its successor, for a period of not less than twenty-five years.
 ASF Parties shall post each such audit on: (a) any social media account (e.g., Facebook, Twitter
 or Instagram) controlled by ASF Parties within sixty (60) days of completion of each audit and
 (b) ASF Parties’ website for a period of not less than five (5) years after such audit is completed.
 The auditor shall provide a full written report regarding ASF Parties’ compliance with its child
 safety programs, including any rubric and scores for each category. ASF Parties shall maintain
 copies of such audits for not less than 50 years and shall make them available to any person or
 entity upon request.

          3.     Improved Reporting Mechanism. ASF Parties shall, through a prominent (“one-
 click”) link on their websites, provide a phone number and email to which anonymous abuse
 complaints can be made.
             (a) If a report of abuse is made to an ASF Party or through the phone number, email
 or direct report to an ASF Party, the ASF Party will encourage the survivor or reporting person
 to report the abuse to law enforcement. The ASF Party shall report the allegations of abuse to law
 enforcement within seventy-two (72) hours of receipt of any such allegation of abuse complaint.
             (b) Any report of abuse received by an ASF Party shall immediately be sent to ASF.
 The ASF Parties will require all adults who are in contact with minors—including Clergy,
 teachers, counselors, and volunteers—to follow the same requirements regarding reporting as
 those subject to mandatory reporting obligations. ASF shall demand of Non-ASF Schools and
 Religious operating within ASF to follow the same requirements regarding reporting as those
 subject to mandatory reporting obligations as a condition of operating their Catholic school
 within ASF geographic boundaries. For reporting abuse by a bishop or Archbishop, ASF shall,
 also through a prominent (“one-click”) link on its website, provide the reporting link
 (https://reportbishopabuse.org/) and phone number for the Catholic Bishop Abuse Reporting
 Service.
             (c) The Archdiocese shall provide confidential quarterly summary reports of Sexual
 Abuse to the ASF presbyteral council, ASF pastoral committee, and ASF School principals and
 school boards (regardless of whether the report is deemed credible by the Archdiocese) with
 appropriate redactions of personally identifying information of the survivor or the abuser.
        4.      Whistle-Blower Policy. The ASF Parties shall immediately adopt a whistle-



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 blower policy concerning the method by which a report concerning abuse within ASF can be
 made and expressly providing that the ASF Parties will not take any retaliatory actions against
 person(s) who report(s) such information.

         5.     Continued Protection Initiatives. ASF Parties will implement and continue the
 protection of children initiatives they are currently implementing—including the VIRTUS
 training program, background checks, and psychological evaluations for seminarians—as well
 as consideration of any initiatives recommended by the Consultant.

         6.      Prohibition on Being Alone With a Child. ASF’s child protection policies will
 continue to prohibit ASF Parties’ Clergy, employees, and volunteers from being alone (i.e., out of
 sight of at least one other adult) with any unrelated minor while serving as Clergy, employee or
 volunteer of ASF or an Affiliate; provided that when a cleric is hearing confession that another
 adult be immediately nearby at the time. The policies will continue to prohibit: (a) adults from
 traveling alone with or taking overnight trips alone with any minor other than the adult’s child;
 and (b) adults from sleeping in the same private space (e.g., room, tent, bed, vehicle, etc.) with any
 minor other than the adult’s child. In connection with this subject and throughout the Archdiocese’s
 program, the definition of “Church Personnel” should not be limited to those in ministry to
 children.

         7.       Evaluation of Priests: Written attestation of suitability for non-incardinated
 priests shall include a statement as to whether the priest has been the subject of a claim regarding
 sexual abuse of a minor. Every five years, all incardinated priests and deacons complete
 VIRTUS child protection training for adults and a background check. All clergy and volunteers
 shall continue to undergo VIRTUS child protection training and obtain a background check.

         8.     Mandatory Reporting. The ASF Parties shall comply with all applicable laws for
 reporting allegations of Sexual Abuse.
        9.      Anti-Abuse Plaque. ASF shall prominently and visibly display a plaque (no
 smaller than 8.5 inches by 11 inches) in each operating ASF School and Non-ASF School within
 the geographic boundaries of ASF stating that abuse of children will not be tolerated. Such
 plaques shall be ordered within sixty days of the Effective Date and will promptly deliver the
 plaques to ASF Schools and Non- ASF Schools after received by ASF. Plaques will be installed
 within 10 days of receipt.

        10.     Annual Remembrance. ASF will designate one month per year to emphasize the
 importance of youth protection and preventing child sexual abuse. This annual campaign will be
 dedicated to raising awareness and preventing child abuse within the ASF Parties and more
 broadly in society. This focused campaign will be implemented at the ASF Parties and ASF
 Schools. Recognition of the National Child Abuse Prevention Month will satisfy this requirement.

         11.    Disclosure Requirement. ASF will continue to maintain and update the list of
 credibly accused clergy as soon as reasonably practicable but, in any event, no later than forty-
 five (45) days after the relevant determination. ASF will share this information with the public
 by posting the information on its website.


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    C. Transparency

         12.     Document Publication. Upon Confirmation of the Plan, the redacted documents
 for the Archive will be provided to the Archivists at the College of University Libraries and
 Learning Sciences’ Center for Southwest Research and Special Collections that have been
 collected during this Chapter 11, so that they can begin assessing and organizing. Within 30 days
 of the Effective Date, the Reorganized Debtor shall perform its financial obligations under the
 Memorandum Agreement among ASF, the Committee, and the College of University Libraries
 and Learning Sciences’ Center for Southwest Research and Special Collections dated May 15,
 2019. The existence of the Archive and the performance of obligations shall be advertised, and
 survivors of sexual abuse shall be provided a way to ‘opt in’ on an on-going basis inclusion of
 their stories or documents to the Archive. If future additions to the Archive are made, the
 contributing survivor will be responsible for his or her own redaction costs, and the scope of any
 redactions per the Redaction Protocol attached to the Archive MOU, by working directly with
 the SWSC Archivists.

        13.    Survivor Access to Documents. ASF will produce to Sexual Abuse Claimants or
 to anyone who has stated that they are a survivor of sexual or physical abuse within ASF, or their
 designee, copies of any and all personal records of the survivor, including but not limited to
 school records and sacramental records within thirty (30) days of written, signed release, and
 such documents shall not redact the identity of the requesting abuse survivor.

        14.     Improved Terminology. The ASF Parties shall instruct their employees,
 representatives, agents and spokesperson, including any individuals communicating with the
 media on the ASF Parties’ collective or individual behalf, to refrain from referring either
 verbally or in print to sexual abuse survivors as “alleged” claimants, “alleged” victims, or
 “alleged” survivors and will instruct the same to refer to Sexual Abuse Claimants as “claimants,”
 “survivors” or “survivors of sexual abuse.”

         15.    Publication of Accused List. Within ten (10) days of the effective date of a
 chapter 11 plan, ASF will prominently (“one-click”) post on its website the list of names of all
 known past and present alleged clergy perpetrators of ASF, who have been determined by the
 Archbishop in consultation with the Independent Review Board to be credibly accused of sexual
 abuse. ASF will update the list to include any clergy who are identified in any proof of claim
 filed in the Chapter 11 Case (unless the identification has been withdrawn in any amendment or
 supplementation to the Proof of Claim). Survivors will provide ASF with permission to use their
 confidential proofs of claims to update the list and the deadline to add a name will be extended
 until such permission is received. ASF shall maintain this list on its website in perpetuity.

         16.    Release from Confidentiality. Following the Effective Date of ASF’s Chapter
 11 Plan of Reorganization, ASF will publicly announce and post on the website the full and
 complete release of all sexual abuse survivors from any confidentiality requirement in the sex
 abuse settlements that they have previously signed. No survivor's identity may be released or
 revealed without his or her express written permission. Any future settlement related to sexual
 abuse entered into by the ASF Parties shall not contain any confidentiality provision except at
 the written request of the settling survivor and such a provision may be subsequently revoked
 by the survivor without prejudice to the settlement agreement.



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    D. Recognition

        17.     Individual Archbishop Meetings. The Archbishop of ASF will continue to be
 available upon reasonable notice to have a private conference with any survivor of sexual abuse
 within one (1) year of the Effective Date of ASF’s Chapter 11 Plan of Reorganization.

          18.    Individual Apology Letters. Within ninety days (90) days after the effective
 date of a reorganization plan, ASF will send letters of apology to all Sexual Abuse Claimants.
 Letters of apology, inter alia, shall state that survivors were not at fault for the abuse and that
 ASF takes responsibility for the abuse. The Committee must approve the final language of the
 letters. The Archbishop will personally sign the letters of apology. In order to protect the
 confidentiality of the survivors, the apology letters will be sent directly to survivors who have
 so requested in writing and otherwise they will be sent to counsel for survivors.

        19.     Public Apology Letter. Within thirty (30) days after the effective date of a
 reorganization plan, ASF will publish a letter of apology to all Sexual Abuse Claimants. ASF
 will buy advertising space to print the letter in the ASF Publications and will issue a press release
 regarding the apology and include therein the letter’s text that is circulated to the Additional
 Publications. The letter of apology, inter alia, shall state that survivors were not at fault for the
 abuse and that ASF takes responsibility for the abuse. The Committee must approve the final
 language of the letter and the related press release. The Archbishop will personally sign the letter
 of apology.

         20.     Remove Perpetrator Recognitions. The ASF Parties will undertake to remove
 all plaques, pictures, statutes, or other public recognitions of all known past and present alleged
 perpetrators who have been determined by the Archbishop in consultation with the Independent
 Review Board to be credibly accused of sexual abuse, including those who are identified in any
 proof of claim filed in the Chapter 11 Case.

        21. Publish Survivor Stories. On its website, ASF will direct all survivors to the
 UNM SWSC Archive to tell their stories if they desire to do so, following the Archive redaction
 protocol.

         22.     Place of Remembrance. ASF, in consultation with individuals designated by the
 Committee, will design and install a place of remembrance for all child sexual abuse survivors
 at a prominent location at the entrance of ASF chancery. ASF will organize a dedication
 ceremony to be attended by the Archbishop, which will not include mass or any religious
 ceremony and will publish notice of the ceremony in the ASF Publications and issue a press
 release regarding the ceremony to the Additional Publications no more than thirty (30) and not
 less than fifteen (15) days before the ceremony.

    E. Continuing Support for Survivors

        23.    Counseling. The Diocese shall continue to provide counselling for all Sexual
 Abuse Claimants in accordance with its current policies and procedures, up to ten sessions
 following Distribution such Sexual Abuse Claimant from the ASF Settlement Trust or the
 Unknown Tort Claims Trust.



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         24.    Surplus Trust Proceeds. Any trust proceeds that remain and were not
 exhausted within (10) ten years of the date of formation of the ASF Settlement Trust shall
 be contributed to a local nonprofit organization unaffiliated with ASF that provides support
 to survivors of child sexual abuse to be selected by the ASF Settlement Trustee of the ASF
 Settlement Trust established under a plan of reorganization. If the ASF Settlement Trustee
 does not select an organization, ASF shall do so.

    F. Miscellaneous

         25.     Reports: Any reports provided herein or in the Archdiocese’s existing child
 protection program shall be in writing. If any report is made verbally, the report shall be reduced
 to a written report that shall be delivered to the addressee within five days of the verbal report.

         26.    Anti-Lobbying. The ASF Parties will never seek to direct, pay or hire any
 attorney, agent or employee or third party to retract, oppose, or challenge the existing New
 Mexico mandatory child abuse reporting statutory requirements or statutes of limitations relating
 to childhood sexual abuse.

        27.     Jurisdiction and Standing. The Bankruptcy Court shall retain jurisdiction to
 adjudicate disputes that arise with respect to these non-monetary provisions. The Committee and
 any trust created for the benefit of Sexual Abuse Claimants shall have standing and shall be
 authorized, but not directed, to seek enforcement of any of the terms of these non-monetary
 undertakings.

         28.     Publication of Non-Monetary Provisions. ASF shall publish on its website, as
 a stand-alone document related to abuse, these non-monetary plan provisions for a period of no
 less than ten (10) years.

       29.     Reporting. ASF shall provide to the Court an annual compliance report regarding
 compliance with these non-monetary provisions for ten years.




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                                        EXHIBIT M


                         IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF NEW MEXICO

In re:
ROMAN CATHOLIC CHURCH OF THE
ARCHDIOCESE OF SANTA FE, a New                      Chapter 11
Mexico Corporation,
                                                    Case No. 18-13027-t11
         Debtor,
ROMAN CATHOLIC CHURCH OF THE
ARCHDIOCESE OF SANTA FE, a New
Mexico Corporation,
                                                    Adversary Proceeding No: 18-
                                                    13027-t11
         Plaintiff,

v.                                                  No. 21-cv-0975 KG/GJF

GREAT AMERICAN INSURANCE
COMPANY; ARROWOOD INDEMNITY
COMPANY, formerly known as Royal
Indemnity Company, successor by merger to
Royal Insurance Company of America; ST.
PAUL FIRE AND MARINE INSURANCE
COMPANY, as itself and as successor to or
assignee of St. Paul Mercury Insurance
Company and St. Paul Mercury Indemnity
Company; and UNITED STATES FIRE
INSURANCE COMPANY,
         Defendants,

AND

In re:
ROMAN CATHOLIC CHURCH OF THE
ARCHDIOCESE OF SANTA FE, a New                      Chapter 11
Mexico Corporation,
                                                    Case No. 18-13027-t11
         Debtor,
ROMAN CATHOLIC CHURCH OF THE
ARCHDIOCESE OF SANTA FE, a New
Mexico Corporation,
                                             Adversary Proceeding No: 22- 01005-t
         Plaintiff,
v.                                           No. 22-cv-0156 KG/GJF

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GREAT AMERICAN INSURANCE
COMPANY; ARROWOOD INDEMNITY
COMPANY, formerly known as Royal
Indemnity Company, successor by merger to
Royal Insurance Company of America; ST.
PAUL FIRE AND MARINE INSURANCE
COMPANY, as itself and as successor to or
assignee of St. Paul Mercury Insurance
Company and St. Paul Mercury Indemnity
Company; and UNITED STATES FIRE
INSURANCE COMPANY,
       Defendants.


                     STIPULATION OF DISMISSAL WITH PREJUDICE
                 PURSUANT TO F.R. BANKR. P. 7041 AND F.R. CIV. P. 41(a)(1)

       Plaintiff Roman Catholic Church of the Archdiocese of Santa Fe, a New Mexico corporation sole

(“Plaintiff”), and Defendants Great American Insurance Company, Arrowood Indemnity Company, St.

Paul Fire and Marine Insurance Company, and United States Fire Insurance Company (collectively, the

“Defendants”), pursuant to F.R. Bankr. P. 7041 and F.R. Civ. P. 41(a)(1), hereby stipulate to dismissal

with prejudice of this adversary proceeding in its entirety, including without limitation the Complaint and

all claims or counterclaims which were brought or could have been brought herein.


                                               Respectfully submitted,

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                                     subsidiary of The Travelers Companies,
                                     Inc




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                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW MEXICO
 In re:

 ROMAN CATHOLIC CHURCH OF                                Chapter 11
   THE ARCHDIOCESE OF SANTA                              Case No. 18-13027-t11
   FE, a New Mexico corporation sole,
   Debtor-in-Possession.


  ROMAN CATHOLIC CHURCH OF
  THE ARCHDIOCESE OF SANTA FE,
  a New Mexico corporation sole,
         Plaintiff,
 v.                                                      Adversary Proceeding No. 22-01005 t
 GREAT AMERICAN INSURANCE COMPANY;
 ARROWOOD INDEMNITY COMPANY, formerly
 known as Royal Indemnity Company, successor by
 merger to Royal Insurance Company of America; ST.
 PAUL FIRE AND MARINE INSURANCE
 COMPANY, as itself and as successor to or assignee of
 St. Paul Mercury Insurance Company and St. Paul
 Mercury Indemnity Company; and UNITED STATES
 FIRE INSURANCE COMPANY,
          Defendants.




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                    STIPULATION OF DISMISSAL WITH PREJUDICE
                PURSUANT TO F.R. BANKR. P. 7041 AND F.R. CIV. P. 41(a)(1)

          Plaintiff Roman Catholic Church of the Archdiocese of Santa Fe, a New Mexico corporation

sole and Defendants Great American Insurance Company; Arrowood Indemnity Company,

formerly known as Royal Indemnity Company, successor by merger to Royal Insurance Company

of America; St. Paul Fire And Marine Insurance Company, as itself and as successor to or assignee

of St. Paul Mercury Insurance Company and St. Paul Mercury Indemnity Company; and United

States Fire Insurance Company, pursuant to F.R. Bankr. P. 7041 and F.R. Civ. P. 41(a)(1), hereby

stipulate to dismissal with prejudice of this adversary proceeding in its entirety, including without

limitation the Complaint and all claims or counterclaims which were brought or could have been brought

herein.

                                              Respectfully submitted by:

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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW MEXICO
 In re:                                            Chapter 11

 Roman Catholic Church of the Archdiocese of       Bankruptcy Case No. 18-13027-t11
   Santa Fe, a New Mexico corporation sole,
   Debtor.

 Official Committee of Unsecured Creditors,        Adv. Proc. No. 20-ap-01058

          Plaintiff,

          v.

 The Archdiocese of Santa Fe Real Estate
 Corporation, as Trustee of the Archdiocese of
 Santa Fe Real Estate Trust; Shrine of Our
 Lady of Guadalupe – Santa Fe; Santa Maria de
 La Paz Catholic Community; Immaculate
 Conception - Albuquerque; Nuestro Senora de
 Guadalupe – Taos; St. John the Baptist – Santa
 Fe; Cristo Rey Parish; Church of the
 Ascension; Our Lady of Belen; St. Jude
 Thaddeus; Nativity of the Blessed Virgin
 Mary; and the Roman Catholic Church of the
 Archdiocese of Santa Fe,

          Defendants.

                    STIPULATION OF DISMISSAL WITH PREJUDICE
                PURSUANT TO F.R. BANKR. P. 7041 AND F.R. CIV. P. 41(a)(1)

          Plaintiff Official Committee of Unsecured Creditors, and Defendants the Roman Catholic

Church of the Archdiocese of Santa Fe, a New Mexico corporation sole; The Archdiocese of Santa

Fe Real Estate Corporation, as Trustee of the Archdiocese of Santa Fe Real Estate Trust; Shrine of

Our Lady of Guadalupe – Santa Fe; Santa Maria de La Paz Catholic Community; Immaculate

Conception - Albuquerque; Nuestro Senora de Guadalupe – Taos; St. John the Baptist – Santa Fe;

Cristo Rey Parish; Church of the Ascension; Our Lady of Belen; St. Jude Thaddeus; and Nativity of

the Blessed Virgin Mary, pursuant to F.R. Bankr. P. 7041 and F.R. Civ. P. 41(a)(1), hereby



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 stipulate to dismissal with prejudice of this adversary proceeding in its entirety, including
 without limitation the Complaint and all claims or counterclaims which were brought or could
 have been brought herein.



                                               Submitted by:

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                                               Unsecured Creditors

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                                               Archdiocese of Santa Fe




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                                    Trustee of the Archdiocese of Santa Fe Real Estate
                                    Trust; Shrine of Our Lady of Guadalupe – Santa Fe;
                                    Santa Maria de La Paz Catholic Community;
                                    Immaculate Conception - Albuquerque; Nuestro
                                    Senora de Guadalupe – Taos; St. John the Baptist –
                                    Santa Fe; Cristo Rey Parish; Church of the Ascension;
                                    Our Lady of Belen; St. Jude Thaddeus; and Nativity of
                                    the Blessed Virgin Mary




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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW MEXICO
In re:
                                                     Chapter 11
Roman Catholic Church of the Archdiocese
                                                     Bankruptcy Case No. 18-13027-t11
of Santa Fe, a New Mexico corporation sole,

                Debtor-in-Possession.

Official Committee of Unsecured Creditors,           Adv. Proc. No. 20-ap-01059

                       Plaintiff,

          v.

The Roman Catholic Church of the
Archdiocese of Santa Fe; St. Patrick - St.
Joseph; Holy Cross; Sacred Heart - Espanola;
Sacred Heart – Albuquerque; Holy Family –
Chimayo; Our Lady of Guadalupe – Clovis;
St. Thomas Apostle; St. Patrick - Chama; La
Santisima Trinidad; and St. Anthony -
Questa,


                   STIPULATION OF DISMISSAL WITH PREJUDICE
               PURSUANT TO F.R. BANKR. P. 7041 AND F.R. CIV. P. 41(a)(1)

         Plaintiff Official Committee of Unsecured Creditors and Defendants Roman Catholic

Church of the Archdiocese of Santa Fe, a New Mexico corporation sole, and St. Patrick - St.

Joseph; Holy Cross; Sacred Heart - Espanola; Sacred Heart – Albuquerque; Holy Family –

Chimayo; Our Lady of Guadalupe – Clovis; St. Thomas Apostle; St. Patrick - Chama; La Santisima

Trinidad; and St. Anthony – Questa, pursuant to F.R. Bankr. P. 7041 and F.R. Civ. P. 41(a)(1), and

by their respective undersigned counsel of record, hereby stipulate to dismissal with prejudice of

this adversary proceeding in its entirety, including without limitation the Complaint and all claims

or counterclaims which were brought or could have been brought herein.




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                                     Respectfully submitted,

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                                     Counsel for Debtor




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                                     LEWIS ROCA ROTHGERBER CHRISTIE LLP

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                                     Attorneys for Parish Steering Committee of the
                                     Roman Catholic Church of the Archdiocese of Santa
                                     Fe, the Archdiocese of Santa Fe Real Estate
                                     Corporation, as Trustee of the Archdiocese of Santa
                                     Fe Real Estate Trust, Shrine of Our Lady of
                                     Guadalupe – Santa Fe, Immaculate Conception –
                                     Albuquerque, Nuestro Senora de Guadalupe – Taos,
                                     St. John the Baptist – Santa Fe, Cristo Rey Parish,
                                     Church of the Ascension, Our Lady of Belen, St. Jude
                                     Thaddeus, and Nativity of the Blessed Virgin Mary




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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW MEXICO
In re:
                                                     Chapter 11
Roman Catholic Church of the Archdiocese of
                                                     Bankruptcy Case No. 18-13027-t11
Santa Fe, a New Mexico corporation sole,

         Debtor-in-Possession.

Official Committee of Unsecured Creditors,           Adv. Proc. No. 20-ap-01061
        Plaintiff,

         v.

The Roman Catholic Church of the Archdiocese
of Santa Fe; Rev. Msgr. Lambert J. Luna; Rev.
John Cannon; Rev. Timothy A. Martinez; Rev.
Clarence Maes; Rev. John Trambley; Very Rev.
James Marshall; Rev. Msgr. Bennett J. Voorhies;
Tony Salgado; Jennifer Cantrell; Bernard E.
“Gig” Brummell; and Stan Sluder, solely in their
capacity as trustees of The Archdiocese of Santa
Fe Deposit and Loan Fund; Nativity of the
Blessed Virgin Mary; Our Lady of the
Annunciation; Our Lady of the Assumption –
Albuquerque; Risen Savior Catholic Community;
Our Lady of Belen; Immaculate Heart of Mary;
San Clemente; St. John Vianney Church; St.
Thomas Aquinas; and San Miguel,

         Defendants.

                      STIPULATION OF DISMISSAL WITH PREJUDICE
                  PURSUANT TO F.R. BANKR. P. 7041 AND F.R. CIV. P. 41(a)(1)

         Plaintiff Official Committee of Unsecured Creditors, and Defendants the Roman Catholic

Church of the Archdiocese of Santa Fe, a New Mexico corporation sole; Rev. Msgr. Lambert J.

Luna; Rev. John Cannon; Rev. Timothy A. Martinez; Rev. Clarence Maes; Rev. John Trambley;

Very Rev. James Marshall; Rev. Msgr. Bennett J. Voorhies; Tony Salgado; Jennifer Cantrell;

Bernard E. “Gig” Brummell; and Stan Sluder, solely in their capacity as trustees of The Archdiocese

of Santa Fe Deposit and Loan Fund; Nativity of the Blessed Virgin Mary; Our Lady




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of the Annunciation; Our Lady of the Assumption – Albuquerque; Risen Savior Catholic

Community; Our Lady of Belen; Immaculate Heart of Mary; San Clemente; St. John Vianney

Church; St. Thomas Aquinas; and San Miguel, pursuant to F.R. Bankr. P. 7041 and F.R. Civ. P.

41(a)(1), hereby stipulate to dismissal with prejudice of this adversary proceeding in its entirety,

including without limitation the Complaint and all claims or counterclaims which were brought or

could have been brought herein.

                                              Submitted by:

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                                              Unsecured Creditors

                                              Approved:
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                                              Counsel for The Roman Catholic Church of the
                                              Archdiocese of Santa Fe




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                                     LEWIS ROCA ROTHGERBER CHRISTIE LLP

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                                     Attorneys for Parish Steering Committee of the
                                     Roman Catholic Church of the Archdiocese of
                                     Santa Fe; Trustees of The Archdiocese of Santa Fe
                                     Deposit and Loan Fund; Nativity of the Blessed
                                     Virgin Mary; Our Lady of the Annunciation; Our
                                     Lady of the Assumption – Albuquerque; Risen
                                     Savior Catholic Community; Our Lady of Belen;
                                     Immaculate Heart of Mary; San Clemente; St. John
                                     Vianney Church; St. Thomas Aquinas; and San
                                     Miguel




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                                           EXHIBIT N

                      CERTIFICATION AND GENERAL RELEASE
              (To be used for Distributions after the Effective Date of the Plan.)

 THIS DOCUMENT HAS TWO PARTS:

    (1) AN ACKNOWLEDGEMENT, DISCLOSURE, AND CERTIFICATION
 (“CERTIFICATION”) REGARDING MEDICARE AND MEDICAID BENEFITS, 1 AND

    (2) A GENERAL RELEASE OF CLAIMS AGAINST THE PROTECTED PARTIES
 (“RELEASE”) AND RELATED ACKNOWLEDGEMENTS AND CONSENTS.

    References to the “Plan” or “Bankruptcy Plan” are to the Plan of Reorganization
 confirmed in the above captioned bankruptcy case of the Roman Catholic Church of the
 Archdiocese of Santa Fe, a New Mexico corporate sole.

                                PART I
            ACKNOWLEDGEMENT, DISCLOSURE, AND CERTIFICATION

    •   I accept and acknowledge that I will provide any information necessary to comply
        with reporting obligations arising under the Medicare Secondary Payer Act Or
        Medicare, Medicaid, and SCHIP Extension Act of 2007, and I have provided or I will
        provide for the payments/and or resolution of any obligations owing or potentially
        owing under the MSPA relating to my Tort Claim or Distribution from the ASF
        Settlement Trust (as defined in the Plan). By signing this Certification, I acknowledge
        that if I do have any obligations owing or potentially owing under the MSPA relating
        to any Tort Claim or Distribution from the ASF Settlement Trust, the ASF Settlement
        Trustee may withhold from any payment directly or indirectly to me funds sufficient
        to assure that any obligations owing or potentially owing under the MSPA relating to
        such Tort Claims are paid to the applicable agency.

    •   I accept that except as expressly provided in the Plan, none of the Protected Parties
        will have or incur any liability to, or be subject to any right of action by, any Claimant,
        any other party in interest, or any of their respective representatives, financial
        advisors, or affiliates, or any of their successors or assigns, for any act or omission in
        or relating to the Bankruptcy Case, including the exercise of their respective business
        judgment and the performance of their respective fiduciary obligations, the pursuit
        of confirmation of the Plan, or the administration of the Plan or the ASF Settlement
        Trust, except liability for their willful misconduct or gross negligence, and in all
        respects, such parties will be entitled to reasonably rely upon the advice of counsel
        with respect to their duties and responsibilities under the Plan or in the context of the
        Bankruptcy Case. Without limiting the generality of the foregoing, the Debtor and
        its financial advisors, and other professionals shall be entitled to and granted the
        benefits of the Bankruptcy Code § 1125(e).

    •   I accept that the Reorganized Debtor, the ASF Settlement Trust, the ASF Settlement
        Trustee, the Protected Parties, and professionals employed by the foregoing shall not



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        have any liability to any entity, including any governmental entity or insurer, on
        account of payments made to a Tort Claimant, including any liability under the
        Medicare Secondary Payer Act.

    •   I accept and acknowledge that the Plan provides for the Tort Claims to be determined
        as part of confirmation of the Plan solely by an individual proposed by the Official
        Committee of Unsecured Creditors and approved by the Bankruptcy Court. That
        individual is referred to in the Plan as the “Tort Claims Reviewer.” I accept,
        acknowledge and understand that review of my Tort Claim by the Tort Claims
        Reviewer and any compensation to be received on account of my Tort Claim is
        determined solely by the Tort Claims Reviewer and based upon the allocation
        protocol that was attached to the Plan. I further certify that I understand that the
        decision of the Tort Claims Reviewer is final and that there is no review of the decision
        by a court or any other party. I agree to waive and release any right to a trial by jury
        or otherwise against the Reorganized Debtor and the Protected Parties. I certify that
        by signing this Certification that I consent to this method for determining the
        distribution on account of my Tort Claim.



 TO BE COMPLETED BY TORT CLAIMANT:


                                     Print or Type Name and Claim Number (if known)


                                     Signature of Tort Claimant


                                     Address of Tort Claimant
                                     ____________________________________________
                                     Telephone Number of Tort Claimant

                                     DATED: _____________________




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                                               PART II

 A Claimant will not receive a distribution unless they sign and return a General Release, in
 the following form.

          GENERAL RELEASE OF CLAIMS AGAINST PROTECTED PARTIES

        I, for myself and my heirs, successors, assigns, agents, and representatives (collectively,
 “Releasor”) acknowledge that, after having received and had the opportunity to review copies of
 the Disclosure Statement, the Plan, and each of the exhibits thereto and to consult with counsel of
 my choice regarding those documents and this Release:

         1.     Fully, finally, and completely release, remise, acquit, and forever discharge the
 Settling Insurers and the Settling Insurers’ reinsurers and retrocessionaires with respect to the
 Insurance Policies and Certificates;

         2.     Fully, finally, and completely release, remise, acquit, and forever discharge the
 Protected Parties and Exculpated Parties, including the Settling Insurers, the Settling Insurers’
 reinsurers and retrocessionaires, the Debtor, the Reorganized Debtor, and the Archdiocese Parties,
 of and from any and all past, present, and future Claims, and each such Persons’ portion or share
 of my damages that, directly or indirectly, arise out of, relate to, or are connected with the: (i) Tort
 Claims and other Channeled Claims; (ii) Claims that directly or indirectly arise out of, relate to,
 or are in connection with the handling of Tort Claims or Channeled Claims; (iii) the Insurance
 Policies and Certificates; (iv) any Medicare Claim; and (v) all Claims that, directly or indirectly,
 arise from, relate to, or are connected with the Bankruptcy Case or the Adversary Proceedings;
 and

         3.      Agree: (i) not to sue or seek recovery or relief of any kind from the Protected Parties
 and Exculpated Parties, including the Settling Insurers, the Settling Insurers’ reinsurers and
 retrocessionaires, the Debtor, the Reorganized Debtor, and the Archdiocese Parties, in connection
 with any and all past, present, and future Claims that directly or indirectly arise out of, relate to or
 are in connection with Tort Claims and other Channeled Claims, or the handling of Tort Claims,
 Channeled Claims, the Insurance Policies, the Certificates, any Medicare Claim, the Bankruptcy
 Case, or Adversary Proceedings; (ii) to forever and irrevocably discharge that fraction, portion,
 or percentage of damages I claim to have suffered in connection with any Abuse which is by trial
 or other disposition determined to be the causal fault or responsibility, if any, of any Protected
 Party or Exculpated Party, including the Settling Insurers, the Settling Insurers’ reinsurers and
 retrocessionaires, the Debtor, Reorganized Debtor, and the Archdiocese Parties; (iii) that the trial
 court in any future action that, directly or indirectly, arises out of, relates to, or is connected with
 the Claims released hereby will be bound by this Release, and that Releasor will not oppose any
 future defense counsel submitting this Release in such an action (either attached to or separated
 from my Ballot), provided that all other rights in such future action other than my released claims
 are reserved, (iv) that this Release extinguishes any potential liability of each and every Protected
 Party and Exculpated Party, including the Settling Insurers, the Settling Insurers’ reinsurers and
 retrocessionaires, the Debtor, Reorganized Debtor, and the Archdiocese Parties, for contribution
 or indemnity to any Person who has been or may be held liable to me for any Tort Claim or
 Channeled Claim, and (v) to be bound by the injunctions set forth in the Bankruptcy Plan, including
 those injunctions contained in Section 19 thereof for the benefit of the Settling Insurers and the
 other Protected Parties, and the terms of the Insurer Settlement Agreements and Participating
 Religious Orders Settlement Agreements incorporated into the Bankruptcy Plan.
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          I represent and warrant that I have not assigned or otherwise transferred any interest in
 such Tort Claims or Channeled Claims, nor have I assigned or otherwise transferred any Claims
 against the Settling Insurers, the other Protected Parties, or the other Exculpated Parties, including,
 without limitation, the Settling Insurers, the Debtor, the Reorganized Debtor, and the Archdiocese
 Parties.

        This General Release of Claims shall be effective as of the Effective Date of the Plan.

        Capitalized terms not otherwise defined herein are defined in Section 3 of the Plan.

         By signing this Certification and Release, I make the certifications herein and agree to the
 other terms herein and further certify all of the foregoing under penalty of perjury.

                                        TO BE COMPLETED BY TORT CLAIMANT:


                                        Print or Type Name and Claim Number (if known)


                                        Signature of Tort Claimant


                                        Address of Tort Claimant


                                        ____________________________________________
                                        Telephone Number of Tort Claimant

                                        DATED: _________________.




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                                                 EXHIBIT A

             LIST OF PROTECTED PARTIES AND EXCULPATED PARTIES

                                            Protected Parties
                                      Archdiocese Parties
    •   Roman Catholic Church of the Archdiocese of Santa Fe, a New Mexico corporation
        sole, the debtor and debtor-in-possession in the Bankruptcy Case, its Estate, its
        predecessors, successors, and assigns (the “Archdiocese”).
    •   Archdiocese of Santa Fe Catholic Foundation
    •   Catholic Cemetery Association
    •   Catholic Charities
    •   Annual Catholic Appeal Foundation
    •   Archbishop’s School Fund, Inc.
    •   Santo Nino Regional Catholic School
    •   Villa Therese Clinic
    •   St. Pius X High School
    •   St. Pius X Foundation
    •   St. Pius X High School, Inc.
    •   SPX Real Estate Corp.
    •   Archdiocese of Santa Fe Deposit & Loan Trust
    •   Archdiocese of Santa Fe Real Estate Trust
    •   Archdiocese of Santa Fe Real Estate Corporation
    •   Society of St. Vincent DePaul
    •   Parishes
        •   The Cathedral Basilica of St. Francis of Assisi
        •   Cristo Rey Parish
        •   San Isidro
        •   Santa Maria de La Paz Catholic Community
        •   Shrine of Our Lady of Guadalupe
        •   St. Anne’s
        •   St. John the Baptist
        •   Church of the Ascension
        •   Holy Family
        •   Holy Ghost
        •   Immaculate Conception
        •   Nativity of the Blessed Virgin Mary
        •   Our Lady of Fatima
        •   Our Lady of Guadalupe
        •   Our Lady of Lavang
        •   Our Lady of the Annunciation
        •   Our Lady of the Assumption
        •   Our Lady of the Most Holy Rosary
        •   Prince of Peace Catholic Community
        •   Queen of Heaven
        •   Risen Savior Catholic Community
        •   Sacred Heart
        •   Saint John XXIII Catholic Community
        •   San Felipe de Neri

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       •   San Ignacio San Jose
       •   Sangre de Cristo
       •   Santuario de San Martin de Porres
       •   Shrine of St. Bernadette
       •   Shrine of the Little Flower/St. Therese of the Infant Jesus
       •   St. Anne
       •   St. Charles Borromeo
       •   St. Edwin
       •   St. Francis Xavier
       •   St. Joseph on the Rio Grande
       •   St. Jude Thaddeus
       •   St. Thomas Aquinas University Parish
       •   Our Lady of Perpetual Help
       •   Abiquiu - St. Thomas Apostle
       •   Anton Chico - San Jose
       •   Arroyo Seco - La Santisima Trinidad
       •   Belen - Our Lady of Belen
       •   Bernalillo - Our Lady of Sorrows
       •   Cerrillos - St. Joseph
       •   Chama - St. Patrick
       •   Chimayo - Holy Family
       •   Cimarron - Immaculate Conception Church
       •   Clayton - St. Francis Xavier
       •   Clovis - Our Lady of Guadalupe
       •   Clovis - Sacred Heart
       •   Corrales - San Ysidro
       •   Dixon - St. Anthony
       •   El Rito - San Juan Nepomuceno
       •   Española - Sacred Heart
       •   Fort Sumner - St. Anthony of Padua
       •   Isleta Pueblo - St. Augustine
       •   Jemez Pueblo - San Diego Mission
       •   Jemez Springs - Our Lady of the Assumption
       •   La Joya - Our Lady of Sorrows
       •   Las Vegas - Immaculate Conception
       •   Las Vegas - Our Lady of Sorrows Church
       •   Los Alamos - Immaculate Heart of Mary
       •   Los Lunas - San Clemente
       •   Los Ojos - San Jose
       •   Mora - St. Gertrude the Great
       •   Moriarty - Estancia Valley Catholic Parish
       •   Mountainair - St. Alice
       •   Pecos - St. Anthony of Padua
       •   Peña Blanca - Nuestra Señora de Guadalupe
       •   Peñasco - San Antonio de Padua
       •   Peralta - Our Lady of Guadalupe
       •    Pojoaque - Nuestra Senora de Guadalupe
       •   Portales - St. Helen
       •   Questa - St. Anthony
       •   Ranchos de Taos - San Francisco de Asis
       •   Raton - St. Patrick-St. Joseph
       •   Ribera - San Miguel del Vado
       •   Rio Rancho - Church of the Incarnation
       •   Rio Rancho, St. John Vianney Church
       •   Rio Rancho, St. Thomas Aquinas
       •   Roy Mosquero, Holy Family-St. Joseph

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         •   San Juan, Ohkay Owingeh - San Juan Bautista
         •   Santa Cruz - Holy Cross
         •   Santa Rosa - St. Rose of Lima
         •   Socorro - San Miguel
         •   Springer - St. Joseph
         •   Taos - Nuestra Señora de Guadalupe
         •   Tierra Amarilla - Santo Niño
         •   Tijeras - Holy Child
         •   Tome - Immaculate Conception
         •   Tucumcari - St. Anne
         •   Vaughn - St. Mary
         •   Villanueva - Our Lady of Guadalupe
         •   Wagon Mound - Santa Clara

 •   Missions
 Location                Mission                           Mother Parish
 Abeytas                 San Antonio                       Our Lady of Sorrows, La Joya
 Abo                     San Lorenzo                       St. Alice, Mountainair
 Alamillo                San Antonio                       San Miguel, Socorro
 Albert                  San Isidro                        Holy Family-St. Joseph, Roy
 Albuquerque             Our Lady of Mount Carmel          Nativity of the BVM, Albuquerque
 Albuquerque             San Jose de Los Duranes           San Felipe de Neri, Albuquerque
 Alcalde                 St. Anne                          San Juan Bautista, San Juan Pueblo
 Alcalde                 San Antonio                       San Juan Bautista, San Juan Pueblo
 Algodones               San Jose                          Our Lady of Sorrows, Bernalillo
 Alto del Talco          San Santiago                      St. Gertrude the Great, Mora
 Amalia                  Santo Niño                        St. Anthony, Questa
 Angel Fire              Holy Angels                       Immaculate Conception Church, Cimarron
 Arroyo Hondo            Nuestra Señora de Dolores         La Santísima Trinidad, Arroyo Seco
 Aurora                  San Antonio                       Our Lady of Guadalupe, Villanueva
 Bernal                  Santa Rita                        San Miguel del Vado, Ribera
 Bernalillo              Santuario de San Lorenzo          Our Lady of Sorrows, Bernalillo
 Black Lake              San Antonio                       Immaculate Conception Church, Cimarron
 Borica                  San Isidro                        St. Rose of Lima, Santa Rosa
 Bosque                  Cristo Rey                        Our Lady of Belen, Belen
 Buena Vista             El Santo Niño de Atocha           St. Gertrude the Great, Mora
 Bueyeros                Sacred Heart                      Holy Family-St. Joseph, Roy
 Canjilon                San Juan Nepomuceno               St. Patrick, Chama
 Cañon                   Nuestra Señora de los Dolores     Nuestra Señora de Guadalupe, Taos
 Cañon                   Our Lady of Guadalupe             San Diego Mission, Jemez Pueblo
 Cañon Plaza             Our Lady of Mount Carmel          San Juan Nepomuceno, El Rito
 Cañoncito               Nuestra Señora de La Luz          St. Anthony of Padua, Pecos
 Cañoncito               San Jose                          St. Gertrude the Great, Mora
 Cañoncito               San Lorenzo                       Holy Child, Tijeras
 Cañones                 San Miguel Archangel              St. Thomas Apostle, Abiquiu
 Capulin                 Santo Niño                        St. Thomas Apostle, Abiquiu
 Carnuel                 Holy Child                        Holy Child, Tijeras
 Casa Colorada           Immaculate Conception             Immaculate Conception, Tome
 Cebolla                 Santo Niño de Atocha              St. Patrick, Chama
 Cedar Crest             San Antonio                       Holy Child, Tijeras
 Cerro                   Nuestra Señora de Guadalupe       St. Anthony, Questa
 Chacon                  San Antonio de Padua              St. Gertrude the Great, Mora
 Chamisal                Santa Cruz                        San Antonio de Padua, Peñasco
 Chamita                 San Pablo                         San Juan Bautista, San Juan Pueblo
 Chililli                San Juan Nepomuceno               Holy Child, Tijeras
 Cleveland               San Antonio de Padua              St. Gertrude the Great, Mora
 Cochiti Pueblo          St. Bonaventure                   Nuestra Señora de Guadalupe, Peña Blanca
 Colonias                San Jose                          St. Rose of Lima, Santa Rosa
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 Contreras               San Jose                             Our Lady of Sorrows, La Joya
 Cordova                 San Antonio                          Holy Family, Chimayo
 Costilla                Sagrado Corazon                      St. Anthony, Questa
 Coyote                  San Juan Bautista                    St. Thomas Apostle, Abiquiu
 Cuarteles               La Sangre de Cristo                  Holy Cross, Santa Cruz
 Cuervo                  Santo Niño                           St. Rose of Lima, Santa Rosa
 Cundiyo                 Santo Domingo                        Holy Family, Chimayo
 Dahlia                   Santo Niño de Atocha                San Jose, Anton Chico
 Des Moines              Our Lady of Guadalupe                St. Francis Xavier, Clayton
 Dilia                   Sacred Heart-San Isidro              San Jose, Anton Chico
 Duran                   St. John the Baptist                 St. Mary, Vaughn
 Eagle Nest              St. Mel                              Immaculate Conception Church, Cimarron
 Edgewood                St. Elizabeth Ann Seaton             Estancia Valley Catholic Parish, Moriarity
 El Carmen               Nuestra Señora de Carmel             St. Gertrude the Great, Mora
 El Cerrito              Nuestra Señora de Los Desamparados   OL of Guadalupe, Villanueva
 El Duende               San Francisco                        Sacred Heart, Española
 El Guache               San Antonio                          Sacred Heart, Española
 El Guique               San Rafael                           San Juan Bautista, San Juan Pueblo
 El Llanito              Christ the King                      Our Lady of Sorrows Church, Las Vegas
 El Macho Nuestra        Señora de Guadalupe                  St. Anthony of Padua, Pecos
 El Porvenir             San Antonio                          Our Lady of Sorrows Church, Las Vegas
 El Prado                Santa Teresita de Jesús              Nuestra Señora de Guadalupe, Taos
 El Pueblo               San Antonio                          San Miguel del Vado, Ribera
 El Rancho               San Antonio de Padua                 Nuestra Señora de Guadalupe, Pojoaque
 El Valle                San Miguel                           Holy Family, Chimayo
 Encino                  Our Lady of Guadalupe                St. Mary, Vaughn
 Ensenada                San Joaquin                          San Jose, Los Ojos
 Escobosa                San Isidro                           Holy Child, Tijeras
 Estaca                  San Francisco                        San Juan Bautista, San Juan Pueblo
 Estancia                Sts. Peter and Paul                  Estancia Valley Catholic Parish, Moriarity
 Folsom                  St. Joseph                           St. Francis Xavier, Clayton
 Galisteo                Nuestra Señora de Los Remedios       St. Joseph, Cerrillos
 Gallegos                Immaculate Conception                Holy Family-St. Joseph, Roy
 Gallina                 Nuestra Señora de Guadalupe          St. Thomas Apostle, Abiquiu
 Gallinas                Santo Niño                           Our Lady of Sorrows Church, Las Vegas
 Glorieta                Nuestra Señora de Guadalupe          St. Anthony of Padua, Pecos
 Golden                  San Francisco de Asis                St. Joseph, Cerrillos
 Golondrinas             San Acacio                            St. Gertrude the Great, Mora
 Gonzales Ranch          San Isidro & Santa Teresita          Our Lady of Guadalupe, Villanueva
 Guachupangue            Our Lady of Guadalupe                Sacred Heart, Española
 Guadalupita             Nuestra Señora de Guadalupe          St. Gertrude the Great, Mora
 Hernandez               San Jose                             Sacred Heart, Española
 Holman                  Immaculate Heart of Mary             St. Gertrude the Great, Mora
 Jarales                 St. Francis Xavier                   Our Lady of Belen, Belen
 Kelly                   San Juan Bautista                    San Miguel, Socorro
 La Bajada               San Miguel                           Nuestra Señora de Guadalupe, Peña Blanca
 La Cañada de Los Alamos Our Lady of Guadalupe                Cristo Rey Parish, Santa Fe
 La Cienega              San Jose                             San Isidro, Santa Fe
 La Cueva                San Rafael                           St. Gertrude the Great, Mora
 La Loma                 San Antonio                          Nuestra Señora de Guadalupe, Taos
 La Madera               Our Lady of Guadalupe                San Juan Nepomuceno, El Rito
 La Manga                Santo Niño                           Our Lady of Sorrows Church, Las Vegas
 La Mesilla              San Isidro                           Holy Cross, Santa Cruz
 La Petaca               Nuestra Divina Pastora               San Juan Nepomuceno, El Rito
 La Puebla               Naciemento de Santo Niño Jesús       Holy Cross, Santa Cruz
 La Puente               St. Michael                          San Jose, Los Ojos
 Lagunita                Our Lady of the Rosary               San Miguel del Vado, Ribera
 Las Colonias            Santo Niño                           St. Anthony of Padua, Pecos
 Las Colonias            Santo Niño de Atocha                 La Santísima Trinidad, Arroyo Seco
 Las Nutrias             San Isidro                           Our Lady of Sorrows, La Joya
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 Las Tablas          San Luis Gonzaga                San Juan Nepomuceno, El Rito
 Ledoux              San Jose                        St. Gertrude the Great, Mora
 Lemitar             La Sagrada Familia              San Miguel, Socorro
 Leyba               San Francisco                   Our Lady of Guadalupe, Villanueva
 Llano de San Juan   San Juan Nepomuceno             San Antonio de Padua, Peñasco
 Los Chavez          Nuestra Señora de Guadalupe     Our Lady of Belen, Belen
 Llano Quemado       Nuestra Señora del Carmen       San Francisco de Asis, Ranchos de Taos
 Logan               St. Anthony                     St. Anne, Tucumcari
 Los Cordovas        San Ysidro                      San Francisco de Asis, Ranchos de Taos
 Los Hueros          San Juan Bautista               Santa Clara, Wagon Mound
 Los LeFebres        Nuestro Señor de Esquipula      Santa Clara, Wagon Mound
 Los Lentes          San Antonio                     San Clemente, Los Lunas
 Los Luceros         Sagrada Familia                 San Juan Bautista, San Juan Pueblo
 Los Montoyas        San Antonio                     Our Lady of Sorrows Church, Las Vegas
 Los Vigiles         Our Lady of Refuge              Immaculate Conception, Las Vegas
 Lower Rociada       Santo Niño                      Our Lady of Sorrows Church, Las Vegas
 Lucero              Santa Rita                      St. Gertrude the Great, Mora
 Luis Lopez          San Jose                        San Miguel, Socorro
 Lyden               San Jose                        St. Anthony, Dixon
 Maes                San Santiago                    Our Lady of Sorrows Church, Las Vegas
 Magdalena           St. Mary Magdalene              San Miguel, Socorro
 Manzano             Nuestra Señora de Dolores       St. Alice, Mountainair
 Maxwell             St. Vincent de Paul             St. Patrick-St. Joseph, Raton
 Meadowlake          Misión de San Juan Diego        San Clemente, Los Lunas
 Medanales           San Antonio                     St. Thomas Apostle, Abiquiu
 Melrose             St. Catherine                   Sacred Heart, Clovis
 Mesa de Poleo       Santa Teresa                    St. Thomas Apostle, Abiquiu
 Milagro             Our Lady of Sorrows             St. Rose of Lima, Santa Rosa
 Monte Aplanado      El Santo Niño de Atocha         St. Gertrude the Great, Mora
 Montoya             St. Joan of Arc                 St. Anne, Tucumcari
 Nambe               Sagrado Corazon de Jesús        Nuestra Señora de Guadalupe, Pojoaque
 Nambe               Pueblo San Francisco de Asisi   Nuestra Señora de Guadalupe, Pojoaque
 Nara Visa           Sacred Heart                    St. Anne, Tucumcari
 Ocate               Nuestra Señora de Guadalupe     Santa Clara, Wagon Mound
 Ojo Caliente        St. Mary San Juan               Nepomuceno, El Rito
 Ojo Feliz           San Isidro                      St. Gertrude the Great, Mora
 Ojo Sarco           Santo Tomas                     Holy Family, Chimayo
 Palo Blanco         Our Lady of Mount Carmel        St. Joseph, Springer
 Pastura             St. Helen                       St. Mary, Vaughn
 Picuris Pueblo      San Lorenzo                     San Antonio de Padua, Peñasco
 Pilar               Nuestra Señora de Dolores       St. Anthony, Dixon
 Pinos Wells         San Jose                        St. Mary, Vaughn
 Pintada             Holy Family                     St. Rose of Lima, Santa Rosa
 Placita             Nuestra Señora de la Asuncion   San Antonio de Padua, Peñasco
 Placitas            San Antonio                     Our Lady of Sorrows, Bernalillo
 Placitas            St. Anthony                     San Juan Nepomuceno, El Rito
 Plaza Blanca        San Antonio                     San Jose, Los Ojos
 Plaza de Arriba     Sangre de Cristo                San Jose, Anton Chico
 Polvadera           San Lorenzo                     San Miguel, Socorro
 Ponderosa           Santo Toribio                   San Diego Mission, Jemez Pueblo
 Pueblitos           San Isidro                      Our Lady of Belen, Belen
 Puerto de Luna      Our Lady of Refuge              St. Rose of Lima, Santa Rosa
 Punta de Agua       St. Vincent de Paul             St. Alice, Mountainair
 Rainsville          Sacred Heart of Jesus           St. Gertrude the Great, Mora
 Ranchitos           Imaculada Concepcion            Nuestra Señora de Guadalupe, Taos
 Ranchitos           St. Michael Archangel           San Juan Bautista, San Juan Pueblo
 Rayado              Holy Child Chapel               Immaculate Conception, Cimarron
 Red River           St. Edwin                       St. Anthony, Questa
 Riley               Santa Rita                      San Miguel, Socorro
 Rio Chiquito        San Ysidro & Sagrado Corazon    Holy Family, Chimayo
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Rio en Medio           Our Lady of Sorrows                       Shrine of Our Lady of Guadalupe, Santa Fe
Rio Lucio              Sagrada Corazon de Jesús                  San Antonio de Padua, Peñasco
Rodarte                Santa Barbara                             San Antonio de Padua, Peñasco
Rowe                   Sagrada Familia                           St. Anthony of Padua, Pecos
Sabinal                San Antonio                               Our Lady of Sorrows, La Joya
Sabinoso               Nuestra Señora de Guadalupe               Holy Family-St. Joseph, Roy
San Antonio            San Antonio                               San Miguel, Socorro
San Antonito           Nuestro Señor de Mapimi                    Holy Child, Tijeras
San Augustine          San Augustine                             Our Lady of Sorrows Church, Las Vegas
San Cristobal          San Cristobal                             La Santísima Trinidad, Arroyo Seco
San Felipe Pueblo      San Felipe                                Nuestra Señora de Guadalupe, Peña Blanca
San Geronimo           San Geronimo                              Our Lady of Sorrows Church, Las Vegas
San Idelfonso          Pueblo San Idelfonso                      San Juan Bautista, San Juan Pueblo
San Ignacio            San Ignacio                               Our Lady of Sorrows Church, Las Vegas
San Ignacio            San Ignacio                               St. Rose of Lima, Santa Rosa
San Isidro del Sur     Nuestra Señora de Guadalupe               San Miguel del Vado, Ribera
San Isidro Norte       San Isidro Labrador                       San Miguel del Vado, Ribera
San Jon                Our Lady of Guadalupe                     St. Anne, Tucumcari
San Jose               San Jose                                  San Miguel del Vado, Ribera
San Juan               San Juan Nepomuceno                       San Miguel del Vado, Ribera
San Pedro              San Pedro                                 Holy Cross, Santa Cruz
San Ysidro             San Ysidro                                San Diego Mission, Jemez Pueblo
Sandia Pueblo          St. Anthony                               Our Lady of Sorrows, Bernalillo
Santa Ana Pueblo       Santa Ana (St. Anthony)                   San Diego Mission, Jemez Pueblo
Santa Clara Pueblo     Santa Clara                               San Juan Bautista, San Juan Pueblo
Santo Domingo Pueblo   Santo Domingo                             Nuestra Señora de Guadalupe, Peña Blanca
Santo Niño             Santo Niño                                Holy Cross, Santa Cruz
Sapello                Nuestra Señora de Guadalupe               Our Lady of Sorrows, Las Vegas
Sedillo                San Isidro                                Holy Child, Tijeras
Sena Nuestro           Señor Esquipula                           Our Lady of Guadalupe, Villanueva
Servilleta             St. Anthony                               San Juan Nepomuceno, El Rito
Sile                   Santa Barbara                             Nuestra Señora de Guadalupe, Peña Blanca
Tajique                San Antonio                               Estancia Valley Catholic Parish, Moriarity
Talpa                  Nuestra Señora de San Juan de Los Lagos   Ranchos de Taos
Taos Pueblo            San Geronimo                              Nuestra Señora de Guadalupe, Taos
Tecolote               Our Lady of Sorrows                       Our Lady of Sorrows Church, Las Vegas
Tecolotito             Our Lady of Guadalupe                     San Jose, Anton Chico
Tesuque                San Ysidro                                Shrine of Our Lady of Guadalupe, Santa Fe
Tesuque Pueblo         San Diego                                 San Juan Bautista, San Juan Pueblo
Texico                 San Jose                                  Our Lady of Guadalupe, Clovis
Tinaja                 San Isidro                                St. Joseph, Springer
Torreon                St. Anthony                               St. Alice, Mountainair
Trampas                San Jose                                  Holy Family, Chimayo
Trementina             San Rafael                                Our Lady of Sorrows Church, Las Vegas
Tres Piedras           Immaculate Conception                     San Juan Nepomuceno, El Rito
Truchas                Santo Rosario                             Holy Family, Chimayo
Trujillo               San Isidro                                Our Lady of Sorrows Church, Las Vegas
Turquillo              Santa Teresita del Niño Jesus             St. Gertrude the Great, Mora
Upper Rociada          San Jose                                  Our Lady of Sorrows Church, Las Vegas
Upper Town             San Antonio                               Immaculate Conception, Las Vegas
Vadito                 Nuestra Señora de Dolores                 San Antonio de Padua, Peñasco
Valdez                 San Antonio de Padua                      La Santísima Trinidad, Arroyo Seco
Valencia               Sangre de Cristo                          Our Lady of Guadalupe, Peralta
Vallecitos             Our Lady of Sorrows                       San Juan Nepomuceno, El Rito
Variadero              Holy Family                               Our Lady of Sorrows Church, Las Vegas
Veguita                San Juan                                  Our Lady of Sorrows, La Joya
Velarde                Nuestra Señora de Guadalupe               St. Anthony, Dixon
Watrous                Sagrado Corazon                           Santa Clara, Wagon Mound
White Rock             St. Joseph                                Immaculate Heart of Mary, Los Alamos
Willard                Our Lady of Sorrows                       St. Alice, Mountainair
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Youngsville                San Pedro                                       St. Thomas Apostle, Abiquiu
Zia Pueblo                 Our Lady of the Assumption                      San Diego Mission, Jemez Pueblo

•   Shrines
Shrine                                            Mother Parish
Santuario de Chimayo\                             Holy Family, Chimayo
Shrine of the Little Flower                       St. Therese of the Infant Jesus, Albuquerque
Shrine of Our Lady of Guadalupe                   Shrine of Our Lady of Guadalupe, Santa Fe
Shrine of Our Lady of Lourdes                     San Juan Baustista, San Juan Pueblo
Shrine of St. Bernadette                          Shrine of St. Bernadette, Albuquerque Shrine of St. Kateri
Tekakwitha                                        St. Augustine, Isleta Pueblo
•   Schools
    •   Annunciation Catholic School
    •   Holy Ghost Catholic School
    •   Our Lady of Fatima Catholic School
    •   Our Lady of the Assumption Catholic School
    •   Risen Savior Catholic School
    •   San Felipe de Neri Catholic School
    •   St. Charles Borromeo Catholic School
    •   St. Mary Catholic School
    •   St. Pius X High School
    •   St. Therese Catholic School
    •   St. Mary Catholic School (Belen)
    •   Holy Child Catholic School
    •   St. Thomas Aquinas Catholic School
    •   Holy Cross Catholic School
    •   Santo Niño Regional Catholic School
    •   St. Michael's High School

•   Any and all past and present shareholders, principals, teachers, staff, members, boards,
    administrators, priests, deacons, brothers, sisters, nuns, other clergy or religious, volunteers,
    and Representatives of the Archdiocese and of the ASF Participating Parties.

•   Each of the past, present, and future Affiliates, holding companies, merged companies, related
    companies, divisions, and acquired companies of the Archdiocese and ASF Participating
    Parties, and each of their respective past, present and future Affiliates, holding companies,
    merged companies, related companies, divisions and acquired companies, and each of their
    respective predecessors, successors, and assigns, each in their capacity as such.

•   Settling Insurers

    •   Arrowood Indemnity Company, formerly known as Royal Indemnity Company, successor by merger to
        Royal Insurance Company of America, and, solely in their capacity as such, (i) each of its past, present, and
        future parents, subsidiaries, affiliates, and divisions; (ii) each of the foregoing Persons’ or Entities’ respective
        past, present, and future parents, subsidiaries, affiliates, holding companies, merged companies, related
        companies, divisions and acquired companies, each of the foregoing Persons’ or Entities’ respective past,
        present, and future directors, officers, shareholders, employees, subrogees, partners, principals, managers,
        agents, attorneys, joint ventures, joint venturers, representatives, and claims handling administrators; and
        (iii) each of the foregoing Persons’ or Entities’ respective predecessors, successors, assignors, and assigns,
        whether known or unknown, and all Persons or Entities acting on behalf of, by, through or in concert with
        them. For the avoidance of doubt, the inclusion of the phrase “future parents” in this definition is limited to
        such Entity in its capacity as a “future parent,” and nothing contained herein shall limit or alter the obligations
        of any such Entity to the extent that such obligations exist independent of such Entity’s role as a “future
        parent.”

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    •   Catholic Mutual Relief Society of America, and solely in the capacity as such, (i) each of its past and
        present parents, subsidiaries, affiliates, reinsurers, retrocessionaires, and divisions; (ii) each of the foregoing
        Entities’ respective past and present, parents, subsidiaries, affiliates, holding companies, merged companies,
        related companies, divisions and acquired companies; (iii) each of the foregoing Entities’ respective past,
        present and future, directors, officers, shareholders, employees, subrogees, partners, principals, agents,
        attorneys, joint ventures, joint venturers, representatives, and claims handling administrators; and (iv) each
        of the foregoing Entities’ respective predecessors, successors, assignors, and assigns, whether known or
        unknown, and all Entities acting on behalf of, by, through or in concert with them.
    •   Continental Insurance Company, and solely in the capacity as such, (i) each of its past and present parents,
        subsidiaries, affiliates, and divisions; (ii) each of their respective past and present parents, subsidiaries,
        affiliates, holding companies, merged companies, related companies, divisions and acquired companies, each
        of their respective past, present and future, directors, officers, shareholders, employees, subrogees, partners,
        principals, agents, attorneys, joint ventures, joint venturers, representatives, and claims handling
        administrators; and (iii) each of their respective predecessors, successors, assignors, and assigns, whether
        known or unknown, and all Entities acting on behalf of, by, through or in concert with them.
    •   Great American Insurance Company, and, solely in the capacity as such: (i) each of its past and present
        parents, subsidiaries, affiliates, and divisions; (ii) each of their respective past and present parents,
        subsidiaries, affiliates, holding companies, merged companies, related companies, divisions and acquired
        companies, each of their respective past, present and future, directors, officers, shareholders, employees,
        subrogees, partners, principals, agents, attorneys, joint ventures, joint venturers, representatives, and claims
        handling administrators; and (iii) each of their respective predecessors, successors, assignors, and assigns,
        whether known or unknown, and all Entities acting on behalf of, by, through or in concert with them.
    •   Travelers Indemnity Company and St. Paul Fire and Marine Insurance Company, as itself and as a
        successor to or assignee of St. Paul Mercury Indemnity Company, and solely in the capacity as such, i) each
        of their past and present parents, subsidiaries, affiliates, and divisions; ii) each of their respective past and
        present parents, subsidiaries, affiliates, holding companies, merged companies, related companies, divisions
        and acquired companies, each of their respective past, present and future, directors, officers, shareholders,
        employees, subrogees, partners, principals, agents, attorneys, joint ventures, joint venturers, representatives,
        and claims handling administrators; and iii) each of their respective predecessors, successors, assignors, and
        assigns, whether known or unknown, and all Entities acting on behalf of, by, through or in concert with them.
    •   United States Fire Insurance Company, and solely in the capacity as such, (i) each of its past and present
        parents, subsidiaries, affiliates, and divisions; (ii) each of their respective past and present parents,
        subsidiaries, affiliates, holding companies, merged companies, related companies, divisions and acquired
        companies, each of their respective past, present and future, directors, officers, shareholders, employees,
        subrogees, partners, principals, agents, attorneys, joint ventures, joint venturers, representatives, and claims
        handling administrators; and (iii) each of their respective predecessors, successors, assignors, and assigns,
        whether known or unknown, and all Entities acting on behalf of, by, through or in concert with them.

•   Participating Religious Orders and Funding Insurers

    •   Brothers of the Christian Schools, SFNO District
    •   Sons of the Holy Family
    •   Congregation of the Blessed Sacrament
    •   The Province of St. John the Baptist of the Order of the Friars Minor and The Province of Our Lady
        of Guadalupe of the Order of Friars Minor
    •   Servants of the Paraclete
    •   Arrowood Indemnity Company, formerly known as Royal Indemnity Company, successor by merger to
        Royal Insurance Company of America and each of its past, present, and future parents, subsidiaries, affiliates,
        and divisions; each of the foregoing Persons’ or Entity’s respective past, present, and future parents,
        subsidiaries, affiliates, holding companies, merged companies, related companies, divisions, and acquired
        companies; each of the foregoing Persons’ or Entity’s respective past, present, and future directors, officers,
        shareholders, employees, partners, principals, agents, attorneys, joint ventures, joint venturers,
        representatives, and claims handling administrators; and each of the foregoing Persons’ or Entity’s respective
        predecessors, successors, assignors, and assigns, whether known or unknown, and all Persons or Entities
        acting on behalf of, by, through, or in concert with them.
    •   The Catholic Mutual Relief Society of America, and solely in the capacity as such, (i) each of its past and
        present parents, subsidiaries, affiliates, reinsurers, retrocessionaires, and divisions; (ii) each of the foregoing

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       Entities’ respective past and present, parents, subsidiaries, affiliates, holding companies, merged companies,
       related companies, divisions and acquired companies;(iii) each of the foregoing Entities’ respective past,
       present and future, directors, officers, shareholders, employees, subrogees, partners, principals, agents,
       attorneys, joint ventures, joint venturers, representatives, and claims handling administrators; and (iv) each
       of the foregoing Entities’ respective predecessors, successors, assignors, and assigns, whether known or
       unknown, and all Entities acting on behalf of, by, through or in concert with them.
   •   Liberty Mutual and each of its past, present, and future parents, subsidiaries, affiliates, reinsurers and
       retrocessionaires, and divisions; each of the foregoing Persons’ respective past, present, and future parents,
       subsidiaries, affiliates, holding companies, merged companies, related companies, divisions, and acquired
       companies; each of the foregoing Persons’ respective past, present, and future directors, officers,
       shareholders, employees, partners, principals, agents, attorneys, joint ventures, joint venturers,
       representatives, and claims handling administrators; and each of the foregoing Persons’ respective
       predecessors, successors, assignors, and assigns, whether known or unknown, and all Persons acting on
       behalf of, by, through, or in concert with them.
   •   Travelers Indemnity Company and St. Paul Fire and Marine Insurance Company, as itself and as a
       successor to or assignee of St. Paul Mercury Indemnity Company, and solely in the capacity as such, (i) each
       of its past and present parents, subsidiaries, affiliates, and divisions; (ii) each of their respective past and
       present parents, subsidiaries, affiliates, holding companies, merged companies, related companies, divisions
       and acquired companies, each of their respective past, present and future, directors, officers, shareholders,
       employees, subrogees, partners, principals, agents, attorneys, joint ventures, joint venturers, representatives,
       and claims handling administrators; and (iii) each of their respective predecessors, successors, assignors, and
       assigns, whether known or unknown, and all Entities acting on behalf of, by, through or in concert with them.
   •   United States Fire Insurance Company, and solely in the capacity as such, (i) each of its past and present
       parents, subsidiaries, affiliates, and divisions; (ii) each of their respective past and present parents,
       subsidiaries, affiliates, holding companies, merged companies, related companies, divisions and acquired
       companies, each of their respective past, present and future, directors, officers, shareholders, employees,
       subrogees, partners, principals, agents, attorneys, joint ventures, joint venturers, representatives, and claims
       handling administrators; and (iii) each of their respective predecessors, successors, assignors, and assigns,
       whether known or unknown, and all Entities acting on behalf of, by, through or in concert with them.
   •   Hartford Accident and Indemnity Company and each of its past, present, and future parents, subsidiaries,
       affiliates, and divisions; each of the foregoing Persons’ or Entities’ respective past, present, and future
       parents, subsidiaries, affiliates, holding companies, merged companies, related companies, divisions, and
       acquired companies; each of the foregoing Persons’ or Entities’ respective past, present, and future directors,
       officers, shareholders, employees, partners, principals, managers, agents, attorneys, joint ventures, joint
       venturers, representatives, and claims handling administrators; and each of the foregoing Persons’ or Entities’
       respective predecessors, successors, assignors, and assigns, whether known or unknown, and all Persons or
       Entities acting on behalf of, by, through, or in concert with them.

Protected Parties DO NOT include any of the following: (i) any Perpetrator, (ii) any diocese or
archdiocese (other than the Archdiocese itself), (iii) any Religious Order other than a Participating
Religious Order, or (iv) the Holy See. A liability carrier to a Participating Religious Order in that
capacity and a Participating Religious Order will not become Protected Parties unless its respective
share of the Participating Religious Order Contribution is made on or before the applicable
Participating Religious Orders Contribution Date.




                                        EXCULPATED PARTIES


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   -   Archdiocese Parties

   -   Settling Insurers

   -   Participating Religious Orders and Funding Insurers

   -   Committee and its present, former, and ex officio members

   -   Chapter 11 Professionals (as defined in the Plan)

   -   Representatives of the foregoing, acting in such capacity.

Exculpated Parties do not include: (a) any Perpetrator, (b) any diocese or archdiocese (other than
the Archdiocese itself), (c) any Religious Order other than the Participating Religious Orders, or
(d) the Holy See.




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